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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                 )
 UNITED STATES SECURITIES                        )
 AND EXCHANGE COMMISSION,                        )
                                                 )
                       Plaintiff,                )      Civil Action No. 18-cv-5587
                                                 )
 v.                                              )      Hon. John Z. Lee
                                                 )
 EQUITYBUILD, INC., EQUITYBUILD                  )      Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                  )
 and SHAUN D. COHEN,                             )
                                                 )
                       Defendants.               )
                                                 )

                         RECEIVER’S NINTH STATUS REPORT
                                (Third Quarter 2020)

       Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Docket

No. 16), as supplemented by Order entered March 14, 2019 (Docket No. 290) and Order entered

February 21, 2020 (Docket No. 634) (collectively, the “Receivership Defendants”), and pursuant

to the powers vested in him by Order of this Court, respectfully submits this Ninth Status Report

for the quarter ending September 30, 2020.

I.     SUMMARY OF THE OPERATIONS OF THE RECEIVER

       The Receiver, together with his legal counsel, Rachlis Duff & Peel, LLC (“RDP”),

accountants BrookWeiner, LLC (“BrookWeiner”) and Whitley Penn LLP (“Whitley Penn”),

forensic consultant Prometheum Technologies, Inc. (“Prometheum”), asset management and real

estate brokerage services provider SVN Chicago Commercial, LLC (“SVN”), and claims
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administration service provider Axos Fiduciary Services (“Axos”), have undertaken, without

limitation, the following activities since the submission of his Eighth Status Report (Docket No.

757):

         a.     Identification and Preservation of Assets

         Since the filing of his Eighth Status Report, the Receiver continued using reasonable efforts

to determine the nature, location, and value of all property interests of the Receivership

Defendants, including monies, funds, securities, credits, effects, goods, chattels, lands, premises,

leases, claims, rights, and other assets, together with all profits, interest, or other income

attributable thereto, of whatever kind, which the Receivership Defendants owned, possessed, had

a beneficial interest in, or controlled directly or indirectly.

         At the end of the Third Quarter 2020, there were 64 properties in the Receivership Estate,

including 63 properties in the Chicago area and one in Houston, Texas.1 The Receiver’s primary

focus has been and continues to be the preservation, operation, maintenance, and sale of the

properties within the Receivership Estate, as well as the implementation and handling of claims

administration.

         As previously stated, the Receiver, in connection with his counsel, asset manager/real

estate broker, and property managers, continues to plan for cash flow needs at the properties

including but not limited to the underperforming properties, to control and minimize expenditures

where possible, and to address health, safety, and other essential needs at each property. To that




1
  There were 116 properties in the Receivership Estate at the inception of the Receivership, not
including a property in Plano, Texas, that Defendant had used as a residence. (See Exhibit 7) The
Receiver sold ten properties in the second quarter of 2019 (formerly reported as six properties
because five of these properties were sold together), eleven properties in the fourth quarter of 2019,
two properties in the first quarter of 2020, 17 properties in the second quarter of 2020, and 12
properties in the third quarter of 2020. (See Exhibit 2)


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end, the Receiver and his counsel have regularly communicated with the property managers to

address operational and cash needs. The Receiver and his retained professionals also have

reviewed monthly financial reporting and analyzed the cash position of the Estate. In consultation

with his asset managers, the Receiver has assessed the prudence and necessity of property

maintenance and repair work. Consistent with the Liquidation Plan filed with the Court (Docket

No. 166), the Receiver remains committed, in accordance with the advice of his retained

professionals, the property managers, and asset management consultants, and subject to

availability of funds, to undertake capital improvements needed to address health and safety

concerns, cure building code violations, or yield increases in occupancy that would drive

commensurate increases in property value.

       During the Third Quarter 2020, the Receiver paid $286,772.94 in real estate taxes. See

Exhibit 1. Additionally, the Receiver has paid real estate taxes at the closings of the sales of

receivership properties. As of September 30, 2020, delinquent property taxes across the remaining

real estate portfolio totaled $110,075.08 for 2018 taxes and $130,603.84 for 2019 taxes. Id.

       Through an auction process that commenced on May 4, 2018, the delinquent 2016 Cook

County property taxes assessed against 431 E 42nd Place were sold to a third-party investor. The

Receiver will be obtaining an estimate of redemption in order to redeem these taxes (approximately

$4,100 before interest and penalties) before the November 9, 2020 deadline imposed by the county,

as it appears the property may not be conveyed before this deadline (See Tenth Motion to Confirm

Sales (Dkt. 809) for which an October 21, 2020 deadline for objections has been set (Dkt. 811)).

       The Receiver is maintaining casualty and liability insurance for all assets in the portfolio

and paid $123,029.26 for insurance in the Third Quarter 2020. The cost of maintaining this

insurance decreases, however, with each conveyance. The cost of the monthly general liability




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and umbrella policy is $23,164.40, and the last monthly payment on the property insurance was

$16,012.98.

       b.      Property Sales

       The sales of twelve receivership properties closed during the Third Quarter 2020,

generating aggregate net proceeds in the amount of $7,754,439. See Exhibit 2 for a listing of

property sales and net proceeds by properties since the inception of the receivership, including

properties closed during the third quarter by closing date, property address and gross and net

proceeds. Consistent with the Court’s orders approving these sales, the Receiver segregated the

net proceeds into separate subaccounts. (Docket Nos. 615, 616)

       During the Third Quarter, the Receiver marketed the remaining properties approved for

public sale in the Order granting Receiver’s Sixth Motion For Court Approval Of The Process For

Public Sale Of Real Estate By Sealed Bid (Docket No. 676) and the Receiver’s Eighth Motion For

Approval Of The Process For Public Sale Of A Parcel Of Vacant Land (Docket No. 711):

       •    6217-27 South Dorchester Avenue, Chicago, Illinois 60637
       •    7255-57 South Euclid Avenue, Chicago, Illinois 60649
       •    4317-19 South Michigan Avenue, Chicago, IL 60653
       •    7442-48 South Calumet Avenue, Chicago, Illinois 60619
       •    7701-03 South Essex Avenue, Chicago, Illinois 60649
       •    816-20 East Marquette Road, Chicago, Illinois 60621
       •    1422-24 East 68th Street, Chicago, Illinois 60637
       •    2800-06 East 81st Street, Chicago, Illinois 60617
       •    4750-52 South Indiana Avenue, Chicago, Illinois 60615
       •    7840-42 South Yates Avenue, Chicago, Illinois 60649
       •    7024-32 South Paxton Avenue, Chicago, Illinois 60649
       •    4533-47 South Calumet Avenue, Chicago, Illinois 60653
       •    4611-17 South Drexel Boulevard, Chicago, Illinois 60653
       •    431 East 42nd Place, Chicago, Illinois 60653

       Along with other promotional efforts, the Receiver advertised these properties for public

bid for four consecutive weeks between July 6 and July 27, 2020, with an August 5, 2020 deadline

for the submission of offers. The Receiver entered purchase and sale agreements for each of these


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properties, and on October 5, 2020 filed the Tenth Motion to Confirm the Sale of these properties.

(Docket No. 809)

       On April 2, 2020, the Court granted the Receiver’s Seventh Motion For Court Approval

Of The Process For Public Sale Of Real Property By Sealed Bid, seeking approval to list a portfolio

of 37 single-family residences that contain four dwelling units or less (Docket No. 682) which

includes the following:

       •   1017 West 102nd Street, Chicago, IL 60643
       •   1516 East 85th Place, Chicago, IL 60619
       •   2136 W 83rd Street, Chicago, IL 60620
       •   417 Oglesby Avenue, Chicago, IL 60409
       •   7922 S Luella Avenue, Chicago, IL 60617
       •   7925 S Kingston Avenue, Chicago, IL 60617
       •   7933 S Kingston Avenue, Chicago, IL 60617
       •   8030 S Marquette Avenue, Chicago, IL 60617
       •   8104 S Kingston Avenue, Chicago, IL 60617
       •   8403 S Aberdeen Street, Chicago, IL 60620
       •   8405 S Marquette Avenue, Chicago, IL 60617
       •   8529 S Rhodes Avenue, Chicago, IL 60619
       •   8800 S Ada Street, Chicago, IL 60620
       •   9212 S Parnell Avenue, Chicago, IL 60620
       •   10012 S LaSalle Avenue, Chicago, IL 60628
       •   11318 S Church Street, Chicago, IL 60643
       •   3213 S Throop Street, Chicago, IL 60608
       •   3723 W 68th Place, Chicago, IL 60629
       •   406 E 87th Place, Chicago, IL 60619
       •   61 E 92nd Street, Chicago, IL 60619
       •   6554 S Rhodes Avenue, Chicago, IL 60637
       •   6825 S Indiana Avenue, Chicago, IL 60637
       •   7210 S Vernon Avenue, Chicago, IL 60619
       •   7712 S Euclid Avenue, Chicago, IL 60649
       •   7953 S Woodlawn Avenue, Chicago, IL 60619
       •   8107 S Kingston Avenue, Chicago, IL 60617
       •   8346 S Constance Avenue, Chicago, IL 60617
       •   8432 S Essex Avenue, Chicago, IL 60617
       •   8517 S Vernon Avenue, Chicago, IL 60619
       •   2129 W 71st Street, Chicago, IL 60636
       •   9610 S Woodlawn Avenue, Chicago, IL 60628
       •   5437 S Laflin Street, Chicago, IL 60609



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        •   6759 S Indiana Avenue, Chicago, IL 60637
        •   1401 W 109th Place, Chicago, IL 60643
        •   310 E 50th Street, Chicago, IL 60615
        •   6807 S Indiana Avenue, Chicago, IL 60637
        •   1414-18 E 62nd Place, Chicago, IL 60637

Following an extensive document and data collection process, the retention of a nationally-

recognized property inspection service, and the assembly of property reports, bids, and cost

estimates associated with recommended repairs, the Receiver created due diligence folders for

each of the single-family residence properties and notified its Arizona-based broker that it was

ready to commence the marketing of the portfolio. The Receiver is aiming to conclude the public

listing and active marketing of the single-family residence portfolio during the 4th Quarter of 2020.

        On June 11, 2020, the Receiver filed his Eighth Motion to Confirm the Sale of Certain Real

Estate (Docket No. 712).

        •   7600-10 South Kingston, Chicago IL 60649
        •   7656-58 South Kingston, Chicago IL 60649
        •   6949-59 South Merrill Ave, Chicago IL 60649

Objections to the Receiver’s Eighth Motion to Confirm the Sale of these three properties were

filed by Liberty EBCP, LLC and Thorofare Assed Based Lending Reit Fund IV, LLC on July 2,

2020 (Docket Nos. 728, 730), and on July 10, 2020, the Court granted several motions to intervene

filed by Ventus Holdings, LLC, Pioneer Acquisitions, LLC, and Southside Property Group, LLC,

allowing these intervenors to file responses in support of the motion. (Docket No. 742) These

objections and responses were fully briefed as of July 17, 2020 (see Docket Nos. 728, 730, 739,

746, 747, 748, 763, 772), and the Court has indicated that it will rule on the papers (Docket No.

743).

        On July 24, 2020, the Receiver filed his Ninth Motion to Confirm the Sale (Docket No.

749) of the following properties:



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       •   7201 S Constance Ave/ 1825-31 E 72nd Street, Chicago IL 60649 (20-25-119-001-
           0000)
       •   7201-07 S Dorchester Ave/ 1401 E 72nd St. Chicago IL 60619 (20-26-210-001-0000)
       •   7953-59 S Marquette Rd / 2708-10 E 80th St, Chicago IL 60617 (21-31-106-024-0000)
       •   7051 S Bennett Ave, Chicago IL 60649 (20-24-328-011-0000)
       •   6250 S Mozart St/ 2832-36 W 63rd St, Chicago IL 60629 (19-13-330-038-0000)
       •   6356 S California Ave / 2804 W 64th St, Chicago IL 60629 (19-24-107-037-0000)
       •   2736-44 W 64th Street, Chicago IL 60629 (19-24-200-029-0000)
       •   6355-59 S Talman Ave / 2616-22 W 64th St, Chicago IL 60629 (19-24-203-023-0000)
       •   1131-41 E 79th Place, Chicago IL 60619 (20-35-106-022-0000)
       •   7836 S Shore Drive / 3074 Cheltenham Place, Chicago IL 60649 (21-30-414-040-
           0000)
       •   7508 S Essex Avenue / 2453-59 E 75th Street, Chicago IL 60649 (21-30-301-030-
           0000)
       •   5618-20 S Martin Luther King Drive, Chicago IL 60637 (20-15-112-018-0000 and 20-
           15-112-019-0000)
       •   6558 S Vernon Ave / 416-24 E 66th Street, Chicago IL 60637 (20-22-216-038-0000
           and 20-22-216-039-0000)

       An objection to the sale of two of these properties—1131-41 E 79th St. and 6250 S

Mozart—was filed by Certain Mortgagees on August 24, 2020 (Docket No. 769). The Receiver

responded to these objections on September 15, 2020 (Docket No. 790), and the motion and the

movants’ request for an oral argument remain pending. On September 25, 2020, the Court entered

an Amended Order Partially Granting the Ninth Sales Motion as to the remaining 12 of the 14

properties addressed in the motion. (Docket No. 802) As of September 30, eight of these twelve

properties had closed.

       Aside from the 13 apartment buildings and the vacant land parcel that are the subject of the

Receiver’s Tenth Motion to Confirm Sales filed October 5, 2020 (Docket No. 809), and the 37

single-family residence properties for which marketing will soon commence, the following

properties have not closed as of September 30, 2020:

       •   638 North Avers (for which the Receiver is working to resolve insurance claim

           resulting from a fire)




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       •    7109-19 South Calumet (the terms of a proposed letter of credit to be posted by an

            institutional lender have not been resolved)

       •    1102 Bingham (a parcel of land in Houston, Texas, containing a single-family home

            and six adjacent vacant lots, which remains on the market)

       •    7237-43 South Bennett (which is subject to a dispute that the Receiver is attempting to

            resolve)

       •    7600-10 South Kingston (pending ruling on objections to Eighth Motion to Confirm

            Sales)

       •    7656-58 South Kingston (pending ruling on objections to Eighth Motion to Confirm

            Sales)

       •    6949-59 South Merrill (pending ruling on objections to Eighth Motion to Confirm

            Sales)

       •    1131-41 E. 79th (pending ruling on objections to Ninth Motion to Confirm Sales)

       •    6250 S Mozart (pending ruling on objections to Ninth Motion to Confirm Sales)

       c.      Code Violations and Property Damage

       During the COVID-19 pandemic, the City’s citation of code violations diminished and the

administrative courts have extended most dates with respect to the enforcement of code violations.

During the Third Quarter 2020, the Receiver received six new notices of violations issued by the

City of Chicago’s Department of Sanitation relating to pre-pandemic inspections. The Receiver

also received a notice from the City of Chicago Fire Prevention Bureau, for which the property

manager addressed the violations to the inspector’s satisfaction.

       The City of Chicago’s Department of Administrative Hearings resumed in-person hearings

for Department of Sanitation cases on July 9, 2020, and during the Third Quarter 2020, counsel



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for the Receiver appeared at six scheduled hearings on violations issued by the Department of

Sanitation, obtaining non-suits in three of these matters and a reduced fine in three others.

         The Department of Administrative Hearings has not yet resumed hearings in Department

of Buildings matters, and therefore each of the hearings that were scheduled during the quarter in

pending matters was continued. However, counsel for the Receiver was able to resolve three such

matters by online submissions to the Department, obtaining nonsuit orders dismissing two of them

and a favorable settlement in the third matter. Additionally, during the quarter, the Receiver’s

counsel received numerous orders continuing hearings, updated its docket, and continued to work

closely with the property managers to address life and safety issues, and to preserve the respective

properties.

         As of September 30, 2020, there were 20 known pending City of Chicago matters involving

code violations. These included 7 pending City of Chicago municipal housing court matters, and

13 pending City of Chicago administrative proceedings filed by the Buildings Department. There

were no pending administrative proceeding filed by the Department of Sanitation.

         d.     Financial Reporting and Rents Restoration

         In accordance with the February 13, 2019 Order (Docket No. 223), the Receiver continues

to provide institutional lenders with monthly accounting relating to rents generated by, and

expenses incurred in connection with, the 89 properties on which they assert liens. To that end,

monthly reports covering the periods March 31, 2020 and April 30, 2020 were sent to lenders’

counsel during the quarter.2 Reports for each property include the following information: (a) net

operating income, (b) expenditures made by the Receiver for the benefit of the property (primarily




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  Beginning in September 2019, the Receiver and his counsel also began generating monthly
reports for properties not encumbered by institutional debt.


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for insurance, real estate taxes, and funds sent to the property manager to cover property

management expenses not payable through operating income), (c) net income distributed to the

Receiver or to other property accounts from which funds were previously borrowed, and (d) a

computation of the amount (if any) of rentals remaining to be restored to the property pursuant to

the February 13, 2019 Order. (Docket No. 223) Each report also includes a computation of the

cumulative amount (if any) reimbursable from each property, representing the amount that has

been expended for the benefit of the property from sources other than its operating income.

       On July 24, 2020, the Receiver filed his Second Motion for Restoration of Funds Expended

for the Benefit of Other Properties, seeking the Court’s approval to use proceeds from the sale of

those properties on which the Receiver expended funds in excess of rents (a) for the purpose of

rent restoration in accordance with the Court’s Order of February 13, 2019, and (b) to reimburse

the Receivership for any remaining reimbursable amount in excess of such rent restoration.

(Docket No. 749) Two objections to the Receiver’s motion were filed by “the Indiana/Yates

Mortgagees” (Docket No. 764) and by Midland Loan Services (Docket No. 766). The latter

objections were resolved by agreement, and the Receiver responded to the former objections

(concerning two properties, one at 5450-52 S. Indiana and the other at 7749 S. Yates) on September

15, 2020. (Docket No. 791) On September 18, 2020, the Court granted the portion of the Second

Restoration Motion for the remaining properties not subject to the Objections (Docket No. 796).

In accordance with the Court’s Order, the Receiver transferred $391,830.42 to the properties due

funds under the Court’s prior order (Docket No. 223), after which the total $767,192.75 of rent to

be restored pursuant to the Court’s February 13, 2019 order (Docket No. 223) has been restored.

As part of the same restoration of funds, the Receiver’s account was reimbursed $1,047,972.77 for




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expenses that had been paid for the benefit of the sold properties, to be available to pay ongoing

and approved administrative fees and expenses of the Receivership Estate.

        Additional reimbursable amounts were expended to preserve, maintain, and improve

properties sold during the third quarter 2020. As of May 31, 2020, the aggregate amount

reimbursable from properties that were sold during the third quarter 2020 (calculated as described

above) was approximately $593,851, which was reduced by funds transferred pursuant to Docket

No. 796 to approximately $505,317. Because the balance of the rents required to be restored to

properties pursuant to Docket No. 223 were restored in September 2020, the Receiver will seek

the Court’s approval to reimburse the Receiver’s Account for these funds that the Receiver

expended on the sold properties.

        e.     Open Litigation

        Settlement of the matter captioned Foley v. EquityBuild, Inc., Case No. 16 L 8903, Circuit

Court of Cook County, was finalized during the Third Quarter 2020, and the matter was dismissed

on September 24, 2020.

        During the Third Quarter 2020, a settlement was reached in the matter captioned Barnes v.

EquityBuild, et al., Case No. 19 L 7852, Circuit Court of Cook County, and a dismissal order was

entered. A settlement and release agreement remains to be executed due to the hospitalization of

plaintiff.

        Discovery has proceeded in the matter captioned Byrd v. EquityBuild et al., Case No. 18 L

1993, Circuit Court of Cook County, with additional written discovery completed during the

quarter. Depositions of medical witnesses have been completed, and three fact witnesses remain

to be deposed. The matter has been set for a mandatory pre-trial hearing on November 6, 2020,




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and it is anticipated that the court will set a final deadline for the completion of fact and expert

discovery if the case is not settled on that date

        A claim brought by a tenant of 4520 S Drexel Avenue was settled by the insurance carrier

during the quarter without a lawsuit having been filed, resulting in a $25,000 deductible payment

owed.

        The Receiver also received notice of a personal injury claim made by a tenant for injuries

allegedly sustained at 7114 S Cornell on August 9, 2020. The Receiver’s counsel has provided

notice of the receivership to the tenant’s lawyer and notice of the claim to the institutional lender’s

counsel.

        f.     Notice of Appointment of Receiver

        The Receiver continued his efforts to notify all necessary and relevant individuals and

entities of the appointment and to protect and preserve the assets of the Receivership Estate. To

that end, as they are identified, the Receiver will continue to deliver notices to individuals or

entities that have been identified as potentially possessing property, business, books, records, or

accounts of the Receivership Defendants, or who may have retained, managed, held, insured, or

encumbered, or otherwise been involved with, any of the assets of the Receivership Defendants.

        g.     Claimant Communications

        The Receiver has provided numerous resources to keep claimants informed. To provide

basic information, the Receiver established a webpage (http://rdaplaw.net/receivership-for-

equitybuild) for claimants and other interested parties to obtain information and certain court

filings related to the Receivership Estate. A copy of this Status Report will be posted on the

receivership web site.




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       Court filings and orders are also available through PACER, which is an electronic filing

system used for submissions to the Court. Investor claimants and others seeking court filings and

orders can visit www.ilnd.uscourts.gov for information about accessing filings through PACER.

       Beyond those avenues, the Receiver continues to receive and respond to numerous emails

and voicemails from claimants and their representatives. The Receiver and his staff responded to

about 150 such inquiries during the Third Quarter 2020, in addition to numerous oral and other

written communications. The Receiver will continue to work to ensure that information is

available and/or otherwise provided as quickly and completely as practicable, asks all stakeholders

and interested parties for patience during this lengthy process, and reiterates that responding to

individual inquiries depletes Receivership assets. These quarterly status reports and the Receiver’s

other court filings remain the most efficient means of communicating information regarding the

activities of the Receivership Estate.

       h.      Control of Receivership Property and Records

       The Receiver has continued efforts to preserve all EquityBuild property and records. The

Receiver is maintaining two platforms of records and data. During the Third Quarter 2020, the

Court directed the institutional lenders to formulate a plan to collect and process the EquityBuild

internal documents, including whether the documents can be made available to other claimants

and parties and on what terms. (Docket No. 745) The institutional lenders submitted their proposal

to the Court on October 9, 2020 (Docket No. 812).

       i.      Securing Bank and Investment Accounts

       The Receiver notified, contacted, and conferred with the banks and other financial

institutions identified as having custody or control of funds, accounts, or other assets held by, in




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the name of, or for the benefit of, directly or indirectly, the Receivership Defendants. The Receiver

is still pursuing records from certain institutions.

        j.      Factual Investigation

        The Receiver and his retained professionals have continued to review and analyze the

following: (i) documents and correspondence sent to or received from the EquityBuild principals,

to whose email accounts the Receiver has access; (ii) bank records from EquityBuild and its

affiliate entities; (iii) EquityBuild documents (largely stored in cloud-based and other electronic

media, plus a limited number of hard copy records); (iv) available underlying transaction

documents received to-date from former Chicago-based EquityBuild counsel; and (v) files

produced by former EquityBuild counsel, accountants, and employees. During the third quarter,

the Receiver has also issued certain subpoenas in order to obtain factual information from the

following: Old Republic, NNNT LLC, Rock Fusco & Connelly, Bryce Downey, Patty San Martin

and Tyler DeRoo. The Receiver anticipates that additional subpoenas will be issued in the coming

months.

        k.      Tax Issues

        The Receiver has informed investors that he cannot provide advice on tax matters.

Moreover, the Receiver and his retained professionals do not plan to issue 1099-INT’s. With

respect to valuation, loss, or other tax issues, investors and their tax advisors may wish to seek

independent tax advice and to consider IRS Rev. Proc. 2009-20 and IRS Rev. Rul. 2009-9.

        Whitley Penn was retained to prepare income tax returns for EquityBuild and its affiliates

for the tax years 2016 and 2017. Whitley Penn provided draft tax returns to the Receiver on June

30, 2020 and July 31, 2020. At the Receiver’s request, Whitley Penn filed nine of these returns on

August 13, 2020.




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       BrookWeiner was retained to perform accounting, tax, and related work in connection with

winding down the business operations of the Receivership Defendants. BrookWeiner also has

compiled monthly property statements and property spreadsheets and assisted with cash flow

analysis matters. In addition, BrookWeiner also has assisted with reviewing and preparing other

returns for 2017. The Receiver does not plan to issue Form K-1s for 2016 and 2017.

       l.      Accounts Established by the Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash proceeds from the sale of the Receivership property. These interest-bearing checking

accounts are used by the Receiver to collect liquid assets of the Estate and to pay portfolio-related

and administrative expenses. The Receiver also established separate interest-bearing accounts to

hold funds from the sale of real estate, as directed by Court order, until such time as it becomes

appropriate to distribute such funds, upon Court approval, to the various creditors of the Estate,

including but not limited to the defrauded investors or lenders. Attached as Exhibit 3 is a schedule

reflecting the balance of funds in these property specific accounts as of September 30, 2020, with

a description of any changes to the account balance during the quarter.

II.    RECEIVER’S FUND ACCOUNTING

       The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the Third Quarter

2020 is attached hereto as Exhibit 4. The SFAR discloses the funds received and disbursed from

the Receivership Estate during this reporting period. As reported in the SFAR, cash on hand as of

September 30, 2020 equaled $1,167,227.32. The information reflected in the SFAR is based on

records and information currently available to the Receiver. The Receiver and his advisors are

continuing with their evaluation and analysis.




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III.   RECEIVER’S SCHEDULE OF RECEIPTS AND DISBURSEMENTS

       The Receiver’s Schedules of Receipts and Disbursements (“Schedule”) for the Third

Quarter 2020 are attached hereto as Exhibit 5.         These Schedules in the aggregate reflect

$1,446,698.24 in total receipts and $538,063.82 in total disbursements.

IV.    RECEIVERSHIP PROPERTY

       All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit 6. Additionally, a list of real estate that has been in the Receivership

Estate since its inception is attached as Exhibit 7, and the balance of the 79 separate interest-

bearing accounts established to hold the proceeds from sold real estate is attached as Exhibit 3.

       The Master Asset List identifies 56 checking accounts in the names of the affiliate entities

identified as Receivership Defendants, reflecting transfers of $128,936.37 to the Receiver’s

account. (See also Docket No. 348 at 23-24 for additional information relating to these funds.)

The Master Asset List also identifies funds in the Receiver’s account in the amount of

$1,167,227.32, which includes funds that were restored pursuant to the Court’s September 21,

2020 Order Partially Approving Receiver’s Second Motion for Restoration of Funds Expended for

the Benefit of Other Properties (Docket No. 796). The 79 property-specific accounts holding funds

from the sale of those properties cumulatively contained $35,433,323 as of September 30, 2020

(Exhibit 3).

       The Master Asset List does not include funds received or recovered after September 30,

2020. Nor does it include potentially recoverable assets for which the Receiver is still evaluating

the value, potential value, and/or ownership interests. The Receiver is in the process of evaluating

certain other types of assets that may be recoverable by the Receivership Estate.




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V.     LIQUIDATED AND UNLIQUIDATED CLAIMS HELD BY THE RECEIVERSHIP
       ESTATE

       The Receiver and his attorneys are analyzing and identifying potential claims, including,

but not limited to, potential fraudulent transfer claims and claims for aiding and abetting the fraud

of the Receivership Defendants.

       On August 17, 2020, the Receiver through his retained counsel filed a lawsuit in the Circuit

Court of Cook County’s Law Division against certain of EquityBuild’s former lawyers: (1) the

law firm Rock Fusco & Connelly LLC, (2) Ioana Salajanu, a lawyer formerly at Rock Fusco, and

(3) the law firm Bregman, Berbert, Schwatz & Gilday, LLC. The Amended Complaint, filed on

September 23, 2020, alleges, inter alia, professional malpractice as well as aiding and abetting the

Cohen’s breaches of their fiduciary duties. The Receiver is represented in this matter by Spellmire

Bruck LLP, Roeder Law Offices, and Rachlis Duff & Peel. LLC. (See Docket Nos. 759, 801)

       As it relates to claimants, and as discussed as part of the pending motion for establishment

of a claims resolution process, the Receiver anticipates that such claims would be brought as part

of the claims dispute resolution process.

VI.    CREDITORS AND CLAIMS AGAINST THE RECEIVERSHIP ESTATE

       The identification and compilation of claims submitted in this matter has been

extraordinarily complex and time-consuming due to the unique circumstances and facts in this

case. For example, it appears that in many instances anticipated proceeds of investor-lender loans

rolled into new offerings rather than being paid off at maturity. It also appears that in some

circumstances the mortgages securing loans may have been released without investor-lenders’

knowledge or consent, allowing the Defendants to refinance the properties with new loans without

retiring the existing loans. Moreover, some investor-lenders may have been induced to exchange

secured loans for unsecured loans or equity positions through false representations. Additionally,



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claims against many properties are complicated by cross-collateralized mortgages. The claims

process has also been complicated by, among other things: (i) improperly completed proofs of

claim, (ii) claims relating to properties that were conveyed to third parties prior to the establishment

of the Receivership; and (iii) claims lacking reference to properties, or relating solely to what

appear to be equity investment vehicles.

        During the Third Quarter 2020, the Receiver continued to work on the accuracy and

completeness of its records regarding the nearly 2400 submitted claims.3 An updated version of

the Receiver’s “Master Claims Exhibit” listing, for each individual claim submitted, (i) the

property address or fund name, (ii) the type (e.g., property in the Receivership Estate, a former

EquityBuild property disposed of prior to the establishment of the receivership, or an equity fund),

(iii) the claimant name, (iv) the total amount claimed, (v) the category identified by the claimant

(e.g., investor-lender, equity investor, institutional lender, trade creditor, independent contractor

or other), and (vi) the amount claimed to have been loaned or invested in the particular property

or fund (where it could be determined from the face of the claim form), is attached hereto as

Exhibit 8. The updated Exhibit reflects additional information provided to the Receiver by

claimants since the filing of the Receiver’s last status report.

        However, despite the claims review and analysis undertaken to date, and the Receiver’s

good faith belief that the Master Claims Exhibit accurately reflects the claims that have been




3
  Because many of the Proof of Claim (“POC”) forms submitted to the Receiver included claims
against more than one property, and many claimants submitted more than one POC for the same
claims, the most accurate measure of the total number of claims is the number of unique claims
against a particular property or fund, which total nearly 2400. About 165 of these claims, however,
are asserted against properties that are not part of the Receivership Estate, because they were sold
or otherwise disposed of before the Order Appointing Receiver was entered.


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submitted,4 the Receiver has not yet been able to review all of the documents submitted with each

claim form, and thus makes no conclusions or recommendations to the Court or to the claimants

as to the validity, certainty, eligibility, or priority of any particular claim at this time. Such review

will occur as part of the claims process that is currently under review, and discussed further below.

        The Motion To Establish A Process For Resolution of Claims.

        On July 15, August 13, and September 23, 2020, the Court held telephonic hearings on the

Receiver’s February 28, 2020, Motion for Approval of Process for Resolution of Disputed Claims

(Docket Nos. 638, 693), which proposed a process for the orderly resolution of claims against

properties with both investor lender and institutional debt that is consistent with the discussions

with the Court and interested parties in late 2019. (Docket Nos. 745, 762, 801)

        The process proposed by the Receiver would group the claims against properties with both

investor lender and institutional debt into “tranches” consisting of all claims against properties

mortgaged to the same institutional lender. For each tranche, the Receiver would provide a

framing report identifying the properties included in the tranche and all of the claimants purporting

to hold a secured interest in those properties. The Court would then issue an order commencing

summary proceedings for the tranche, providing notice to each of the claimants whose claims will

be considered in that tranche. The Receiver would then provide access to each claimant in the

tranche who signs a confidentiality acknowledgement to all of the claim forms and supporting

documentation submitted by every other claimant asserting a claim against the same property.5



4
  Claimants and interested parties are encouraged to review the Master Claims Exhibit 8 and
promptly notify the Receiver of any errors, omissions, or inaccuracies with respect to the
information set forth therein.
5
  To that end, the Receiver’s has been working with its current claims portal vendor, Axos, to
organize the claim forms and supporting documentation that claimants have submitted to the
Receiver on a property-by-property basis, so that once the process and confidentiality order are


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Following a period for expedited discovery6, the Court has ruled that to the extent affirmative

claims are appropriate, the Receiver would identify the facts supporting such a claim through a

disclosure statement filed within 14 days of the completion of written and oral discovery. The

claimant to which that disclosure statement is directed would then be in a position to request leave

to take additional discovery with respect to the claim disclosed. Next, the claimants in the tranche

would have an opportunity to submit a position statement in support of their claim(s) or in

opposition to any other claimant’s claim(s). The Receiver would then file a submission regarding

the claims in the tranche, and the claimants would have an opportunity to respond to the Receiver’s

and any other claimant’s submission. The Court would then schedule a hearing to present evidence

(if necessary, to the extent factual disputes exist). In this manner, the Court would consider and

resolve all claims against the group of properties in each tranche at the same time.

       The institutional lenders have raised a myriad of objections regarding each stage of the

proposed process for the resolution of claims, which the Receiver responded to both orally and in

writing during the quarter. These objections include the Receiver’s role in the evaluation and

resolution of competing claims and the Court’s priority determinations, the scope and timing of

discovery, the appropriateness of summary proceedings, the timing and mechanism for the

Receiver’s affirmative assertion of avoidance claims, and the means through which the costs for

the administrative expenses associated with the process will be handled.




approved by the Court, these folders can be exported and hosted in a claims document repository
to which competing claimants will be granted access consistent with Court orders.
6
  As discussed infra, on July 15, 2020, the Court ordered the parties to work together to draft a
standard list of interrogatories and document requests for each claimant to be used as part of the
claims process. (Docket No. 745) A joint motion to resolve a few remaining disputes regarding
these standard discovery requests was filed on October 2, 2020. (Docket No. 807)


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       On July 15, 2020, the Court ordered the Receiver and the institutional lenders to work

together (1) to formulate a plan to collect and process the EquityBuild internal documents, and to

determine whether these documents can be made available to all claimants and parties, and (2) to

draft a standard list of interrogatories and document requests for each claimant to be used as part

of the claims process. (Docket No. 745). Pursuant to the Court’s Order, the Receiver and his

counsel worked with counsel for the institutional lenders on the collection and hosting of

EquityBuild’s internal documents, and to prepare standard discovery requests to investor-lender

claimants and to institutional-lender claimants and a proposed protective order governing the

discovery of confidential information.

       Other activity during the quarter that related to the claims against the Estate involved (1)

responding to the institutional lenders’ July 24, 2020 motion to intervene (Docket No. 751), which

the Court denied on August 13, 2020 (Docket No. 762), (2) conferring with counsel for institutional

lender claimants regarding their claims, (3) conducting research regarding claims against specific

properties, (4) investigating and responding to numerous inquiries from investor claimants, (5)

responding to certain claimants’ objections to the Receiver’s Second Motion for the Restoration

of Funds (Docket Nos. 749, 764, 766, 791), responding to certain institutional lender claimants’

objections to the Receiver’s Eighth Motion to Confirm the Sale of properties free and clear of liens

(Docket Nos. 712, 721, 728, 730, 732, 734, 739, 746, 747, 748, 763, 772, 782), responding to other

institutional lender claimants’ objections to the Receiver’s Ninth Motion to Confirm Sales (Docket

Nos. 749, 769, 770, 787, 790), and responding to an institutional lender claimants’ motion for a

Priority Determination and Turnover of Sales Proceeds (Docket Nos. 785, 806, 817).

       For properties in the Receivership Estate that are encumbered exclusively by investor-

lender mortgages or institutional debt, or other claims that may not have as many disputed issues,




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the Receiver is considering whether a more streamlined process can be used for addressing such

claims. Any process must still address the validity, fairness, legality, classification, and priority

of claims and would likely entail some discovery. It would include adequate notice and an

opportunity to be heard. However, given the extensive pleadings, discussions and hearings

regarding all elements of the claims review and dispute resolution process, and the Court’s

statements that all issues with regard to a property, including properties without competing liens,

will be determined within the claims process, the Receiver’s ultimate approach in regards to a

process for the resolution of all claims will be informed and impacted by the Court’s resolution of

the claims process motion discussed above.

       Finally, some reminders regarding claims: Claimants may want to consider whether to hire

counsel to assist them with the claims process. Claimants do not have an obligation to retain

counsel in order to participate in the claims process, but the Receiver and his counsel cannot

provide legal advice to any claimant, nor can the Receiver advise claimants regarding whether or

not they should retain counsel. Any claimant that choses to proceed without counsel should visit

the section of the Court’s website (www.ilnd.uscourts.gov) named “Information for People

Without Lawyers (Pro Se)” which provides useful information and also states the following: "The

rules, procedures and law that affect your case are very often hard to understand. With that in mind,

you should seriously consider trying to obtain professional legal assistance from an attorney

instead of representing yourself as a pro se party.” Claimants may also want to speak with a lawyer

to assist them in determining for themselves whether or not to retain counsel.

       All claimants have a continuing responsibility to ensure that the Receiver at all times has

current and up-to-date contact information so that the Receiver may provide important information

relating to the claims process, the claimant’s claim, or the Receivership Estate. Claimants may




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 provide      changes   to    or   updated     contact    information     to    the    Receiver     at

 equitybuildclaims@rdaplaw.net.

 VII.    PROFESSIONAL FEES AND EXPENSES

         As of September 30, 2020, there were $1,249,837.09 in unpaid fees and expenses for all

 professionals that have been approved by the Court, and the Receiver has submitted applications

 for an additional $362,102.16 of professional fees for the first quarter of 2020 (Docket No. 755)

 and $451,944.97 of professional fees for the second quarter of 2020 (Docket No. 778). Receiver

 has requested that claims-related fees and expenses be paid pursuant to a receiver’s lien against

 the properties in the Estate and/or from the proceeds of sales of properties which are the subject of

 each phase of the proceedings as outlined in the Claims Process Motion (Docket No. 638). The

 Receiver believes that this approach is the most fair and equitable manner to spread the

 administrative costs of the Receivership across the Estate and corresponds to the efforts that have

 been and will be required to preserve, maintain, and liquidate the real estate assets of the Estate

 and implement the claims process to determine who is entitled to distributions from the proceeds

 of property sales or from the general assets of the Estate. Certain institutional investor claimants

 filed objections to those applications (Docket Nos. 777, 781 & 792), to which the Receiver and

 the SEC have responded. (Docket Nos. 797, 800 & 803)

 VIII. CONCLUSION

         At this time, the Receiver recommends the continuation of the Receivership for at least the

following reasons:

         1.      Preservation, maintenance, and operation of the assets in the Receivership Estate;




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       2.      The continued investigation and analysis of current assets and potentially

recoverable assets for which the Receiver is still evaluating the value, potential value, and/or

ownership interests;

       3.      The continued efforts of the Receiver to dispose of            various assets of the

Receivership Estate on the best possible terms;

       4.      The continued investigation and analysis of the potential claims against the

Receivership Estate, including, but not limited to, the claims and records of investors;

       5.      The continued investigation, analysis, and recovery of potential fraudulent transfer

claims and claims against third parties;

       6.      The continued analysis and formulation, in consultation with the SEC and the

Court, of a just and fair distribution plan for the creditors of the Receivership Estate; and

       7.      The discharge of any other legal and/or appointed duties of the Receiver as

identified in the August 17, 2018 Order Appointing Receiver, or as the Court deems necessary.


Dated: October 29, 2020                                Kevin B. Duff, Receiver

                                               By:     /s/    Michael Rachlis
                                                       Michael Rachlis (mrachlis@rdaplaw.net)
                                                       Jodi Rosen Wine (jwine@rdaplaw.net)
                                                       Rachlis Duff & Peel, LLC
                                                       542 South Dearborn Street, Suite 900
                                                       Chicago, IL 60605
                                                       Phone (312) 733-3950; Fax (312) 733-3952




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                                  CERTIFICATE OF SERVICE

        I hereby certify that I provided service of the foregoing Receiver’s Ninth Status Report,

via ECF filing, to all counsel of record on October 29, 2020.

        I further certify that I caused true and correct copy of the foregoing to be served upon the

following individuals or entities by electronic mail:

        -       Defendant Jerome Cohen (jerryc@reagan.com);

        -       All known EquityBuild investors; and

        -       All known individuals or entities that submitted a proof of claim in this action (sent

                to the e-mail address each claimant provided on the claim form).

        I further certify that the Receiver’s Ninth Status Report will be posted to the Receivership

webpage at: http://rdaplaw.net/receivership-for-equitybuild




                                                        /s/    Michael Rachlis

                                                        Michael Rachlis
                                                        Rachlis Duff & Peel, LLC
                                                        542 South Dearborn Street, Suite 900
                                                        Chicago, IL 60605
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                        Exhibit 1
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                 3rd Quarter 2020 - Tax Payments & Tax Delinquencies


          Property Address              Amount Paid             Date Paid
          4750 S. Indiana               $3,917.32               08/11/20
          4533 S. Calumet               $3,186.22               08/11/20
          816 E. Marquette              $5,069.76               09/09/20
          1017 W. 102nd                 $1,103.07               09/30/20
          1422 E. 68th                  $2,592.92               09/30/20
          1516 E. 85th                  $1,249.14               09/30/20
          2129 W. 71st                  $699.17                 09/30/20
          2136 W. 83rd                  $887.44                 09/30/20
          2800 E. 81st                  $4,260.59               09/30/20
          3213 S. Throop                $2,702.71               09/30/20
          3723 W. 68th                  $1,527.81               09/30/20
          4533 S. Calumet               $9,623.28               09/30/20
          4611 S. Drexel                $21,986.89              09/30/20
          5437 S. Laflin                $912.99                 09/30/20
          6217 S. Dorchester            $15,209.49              09/30/20
          6554 S. Rhodes                $1,382.82               09/30/20
          6825 S. Indiana               $1,421.80               09/30/20
          6951 S. Merrill               $12,119.53              09/30/20
          7024 S. Paxton                $17,669.38              09/30/20
          7448 S. Calumet               $6,019.73               09/30/20
          7701 S. Essex                 $7,988.62               09/30/20
          7712 S. Euclid                $1,560.43               09/30/20
          7840 S. Yates                 $4,239.14               09/30/20
          7925 S. Kingston              $1,071.68               09/30/20
          7933 S. Kingston              $1,071.78               09/30/20
          7953 S. Woodlawn              $2,327.59               09/30/20
          8104 S. Kingston              $1,375.55               09/30/20
          8107 S. Kingston              $1,187.42               09/30/20
          8346 S. Constance             $1,407.80               09/30/20
          8403 S. Aderdeen              $1,298.42               09/30/20
          8405 S. Marquette             $1,129.40               09/30/20
          8432 S. Essex                 $1,193.42               09/30/20
          8517 S. Vernon                $1,138.34               09/30/20
          8800 S. Ada                   $960.97                 09/30/20
          9212 S. Parnell               $812.90                 09/30/20
          10012 S. LaSalle              $855.34                 09/30/20
          61 E. 92nd                    $952.31                 09/30/20
          406 E. 87th                   $1,153.75               09/30/20
          417 S. Oglesby                $2,383.17               09/30/20
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          1131-41 E 79th              $15,209.16              09/30/20
          6759 S. Indiana             $1,638.80               09/30/20
          7210 S. Vernon              $1,238.09               09/30/20
          2453 E 75th                 $8,656.84               09/30/20
          7922 S. Luella              $1,488.47               09/30/20
          8030 S. Marquette           $1,037.64               09/30/20
          11318 S. Church             $950.87                 09/30/20
          1700-08 W. Juneway          $17,283.79              09/28/20
          310 E. 50th                 $2,911.37               09/18/20
          6554-58 S. Vernon           $16,363.71              09/28/20
          4317-19 S. Michigan         $5,076.39               09/29/20
          6250 S. Mozart              $11,326.09              09/28/20
          6807 S. Indiana             $5,743.94               09/18/20
          7109-19 S. Calumet          $9,386.21               09/18/20
          7255 S. Euclid              $7,106.93               09/18/20
          7600-10 S. Kingston         $32,331.98              09/29/20
          9610 S. Woodlawn            $1,372.57               09/18/20
                                TOTAL $286,772.94



          Property Address              Delinquent 2018 Tax   Delinquent 2019 Tax
          7237 S. Bennett               $24,902.38            $21,490.94
          7656 S. Kingston              $21,988.61            $18,955.45
          7600 S. Kingston              $0.00                 $33,833.64
          1414 East 62nd                $0.00                 $4,131.81
          1418 East 62nd                $0.00                 $1,093.25
          8529 S. Rhodes                $0.00                 $1,480.96
          1401 W. 109th                 $0.00                 $899.29
          1102 Bingham, Houston, TX     $47,974.36            $35,624.26
          431 E. 42nd                   N/A Redeem Deadline   November 9, 2020
          7201-07 S. Dorchester         $15,209.73            $13,094.24
                                TOTAL   $110,075.08           $130,603.84
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                        Exhibit 2
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Prop #      PROPERTY ADDRESS        CLOSING DATE       SALE PRICE        AMOUNT OF NET PROCEEDS
                                      ALL CLOSED PROPERTIES
  3      5001-05 S Drexel                  5/22/2019     $2,800,000.00                 $2,579,171.14
  9      8100 S Essex                      4/30/2019     $1,100,000.00                   $887,701.86
  11     7500-06 S Eggleston               4/26/2019       $960,000.00                   $841,038.85
  14     7549-59 S Essex                   4/26/2019     $1,175,000.00                 $1,074,337.60
  79     6160-6212 S Martin LK             4/30/2019       $785,000.00                   $532,278.72
 102     7927-29 S Essex                    5/1/2019       $175,000.00                   $141,875.84
 103     7933-35 S Essex                    5/1/2019       $175,000.00                   $142,485.14
 104     7937-39 S Essex                    5/1/2019       $175,000.00                   $141,990.37
 105     7943-45 S Essex                    5/1/2019       $175,000.00                   $136,204.61
 106     7947-49 S Essex                    5/1/2019       $175,000.00                   $142,012.95
  10     7301-09 S Stewart                 11/4/2019       $650,000.00                   $587,383.53
  62     7834 S Ellis                      11/4/2019     $1,777,000.00                 $1,655,750.17
  58     5955 S Sacramento                 11/5/2019       $570,000.00                   $497,643.46
  59     6001 S Sacramento                 11/5/2019       $435,000.00                   $379,772.49
  60     7026 Cornell                      11/6/2019     $1,110,000.00                   $918,748.46
  12     3030 E 79th                      11/12/2019       $400,000.00                   $351,680.90
  13     2909 E 78th                      11/14/2019     $1,426,000.00                 $1,276,569.01
  71     701 S 5th Avenue                  3/31/2020       $975,000.00                   $520,541.83
  77     7750 S. Muskegon                 12/18/2019       $700,000.00                   $582,979.54
  92     7748 S. Essex                    12/18/2019     $1,350,000.00                 $1,217,423.87
  75     7625 S. East End                 12/20/2019     $1,250,000.00                 $1,156,782.51
  76     7635 S. East End                 12/20/2019     $1,170,000.00                 $1,084,045.74
  15     8047 S. Manistee                   2/5/2020       $975,000.00                   $867,058.48
  5      7749 S. Yates                     4/22/2020       $925,000.00                   $785,629.17
 115     1050 8th Ave, Naples, FL          4/24/2020       $950,000.00                   $393,043.13
  65     6749 S. Merrill                   4/28/2020     $1,480,000.00                 $1,384,437.44
 112     7450 S. Luella                     5/7/2020       $278,000.00                   $211,313.61
  88     7546 S. Saginaw                   5/13/2020       $625,000.00                   $536,319.43
  95     8201 S. Kingston                  5/21/2020       $400,000.00                   $313,377.74
  63     4520 S. Drexel                    5/21/2020     $6,110,000.00                 $5,814,278.91
  96     8326-32 S Ellis Avenue
  97     8334-40 S Ellis Avenue
                                           6/11/2020     $1,610,000.00                 $1,403,225.03
  98     8342-50 S Ellis Avenue
  99     8352-58 S Ellis Avenue
  4      5450 S. Indiana Avenue            6/25/2020     $1,800,000.00                 $1,656,600.96
  6      6437 S. Kenwood Avenue            6/25/2020     $1,415,000.00                 $1,317,322.28
  50     7760 S. Coles                     6/26/2020       $260,000.00                   $188,195.94
  54     8000 S. Justine                   6/26/2020       $375,000.00                   $297,778.30
  55     8107 S. Ellis                     6/30/2020       $220,000.00                   $175,605.67
  57     8214 S. Ingleside                 6/30/2020       $350,000.00                   $267,219.19
  56     8209 S. Ellis                      7/1/2020       $375,000.00                   $308,848.22           3rd Quarter 2020
 100     11117 S. Longwood                  7/8/2020     $1,750,000.00                 $1,599,854.81
  49     7300-04 S. St. Lawrence           7/27/2020       $330,000.00                   $283,239.84 Total Sale Price   Total Net Proceeds
  66     7110-16 S. Cornell                8/13/2020     $1,240,000.00                 $1,145,576.16
  93     7957-59 S. Marquette              9/21/2020       $351,000.00                   $279,775.32
  84     7051 S. Bennett                   9/23/2020       $600,000.00                   $482,797.05
  74     3074 Cheltenham                   9/24/2020     $1,060,000.00                   $960,348.38
  80     2736-44 W. 64th                   9/29/2020       $418,000.00                   $373,122.98
 110     5618-20 S. King                   9/29/2029       $646,000.00                   $584,772.08
  83     6356 S. California                9/29/2020       $375,000.00                   $312,552.66
  82     6355-59 S. Talman                 9/29/2020       $577,000.00                   $472,139.56
  78     7201 S. Constance                 9/30/2020     $1,100,000.00                   $951,411.73

                                                        $46,103,000.00                $40,214,262.66    $8,822,000.00        $7,754,438.79
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                        Exhibit 3
       Case: 1:18-cv-05587 Document #: 839 Filed: 10/29/20 Page 32 of 125 PageID #:18316
                                                             SEC v. EquityBuild, Inc., et al.
                                                                    No. 18‐cv‐5587
                                       Balances of Funds in Property Specific Accounts as of September 30, 2020




                                                     Account Balance
                                                                                                                  Reason for Change (if any)
 Account Number          Account Name              (as of September 30,     Date of Settlement
                                                                                                                      7/1/20 ‐ 9/30/20
                                                           2020)
0025              7301 S Stewart Ave                          $302,484.66              11/4/2019 Credited interest previously withheld in error,
                                                                                                 $68.76; interest earned, $190.02
0033              5001‐05 S Drexel                         $2,717,615.13               5/22/2019 Credited interest previously withheld in error,
                                                                                                 $606.22; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 $50,975.22; interest earned, $1,677.25

0041              7927‐49 S Essex                            $642,464.92                 5/1/2019 Credited interest previously withheld in error,
                                                                                                  $163.43; funds transfer pursuant to 9/21/05 Court
                                                                                                  order (Dkt 796) on second motion for restoration,
                                                                                                  ($76,458.12); interest earned, $448.50

0058              8100‐14 S Essex                            $926,017.50               4/30/2019 Credited interest previously withheld in error,
                                                                                                 $210.51; interest earned, $581.72
0066              6160‐6212 S King                           $428,587.19               4/30/2019 Credited interest previously withheld in error,
                                                                                                 $113.11; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($69,003.13); interest earned, $309.76

0108              8047 S. Manistee                           $806,440.70                 2/5/2020 Credited interest previously withheld in error,
                                                                                                  $197.85; funds transfer pursuant to 9/21/05 Court
                                                                                                  order (Dkt 796) on second motion for restoration,
                                                                                                  ($64,708.76); interest earned, $544.60

0116              5955 S. Sacramento                         $448,704.90               11/5/2019 Credited interest previously withheld in error,
                                                                                                 $113.86; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($52,169.06); interest earned, $312.51

0124              6001‐05 S. Sacramento                      $326,831.11               11/5/2019 Credited interest previously withheld in error,
                                                                                                 $87.84; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($59,612.38); interest earned, $240.32

0132              7026‐42 S. Cornell                         $865,431.05               11/6/2019 Credited interest previously withheld in error,
                                                                                                 $220.49; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($103,558.90); interest earned, $604.48

0157              7834‐44 S. Ellis                         $1,631,506.61               11/4/2019 Credited interest previously withheld in error,
                                                                                                 $379.00; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($35,670.13); interest earned, $1,045.85

0165              701‐13 S. 5th Avenue                       $454,595.62               3/31/2020 Credited interest previously withheld in error,
                                                                                                 $118.99; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($71,698.88); interest earned, $327.68

0199              7625 S. East End                         $1,237,884.20              12/20/2019 Credited interest previously withheld in error,
                                                                                                 $276.76; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 $20,481.98; interest earned, $765.60
       Case: 1:18-cv-05587 Document #: 839 Filed: 10/29/20 Page 33 of 125 PageID #:18317
                                                             SEC v. EquityBuild, Inc., et al.
                                                                    No. 18‐cv‐5587
                                       Balances of Funds in Property Specific Accounts as of September 30, 2020




                                                     Account Balance
                                                                                                                  Reason for Change (if any)
 Account Number          Account Name              (as of September 30,     Date of Settlement
                                                                                                                      7/1/20 ‐ 9/30/20
                                                           2020)
0207              7635 S. East End                          $1,045,613.10             12/20/2019 Credited interest previously withheld in error,
                                                                                                 $255.92; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($80,156.49); interest earned, $703.92

0215              7748 S. Essex                            $1,168,392.43              12/18/2019 Credited interest previously withheld in error,
                                                                                                 $278.13; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($55,082.59); interest earned, $766.32

0223              7750 S. Muskegon                           $408,281.87              12/18/2019 Credited interest previously withheld in error,
                                                                                                 $136.68; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($192,999.06); interest earned, $369.82

0231              7749‐59 S. Yates                           $786,493.29               4/22/2020 Credited interest previously withheld in error,
                                                                                                 $103.59 interest earned, $494.08
0249              7450 S. Luella                             $186,018.67                5/7/2020 Credited interest previously withheld in error,
                                                                                                 $21.81; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($25,504.73); interest earned, $131.84

0256              4520‐26 S. Drexel                        $5,879,918.74               5/21/2020 Credited interest previously withheld in error,
                                                                                                 $444.85; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 $60,392.70; interest earned, $3,658.35

0264              6749‐59 S. Merrill                       $1,397,330.72               4/28/2020 Credited interest previously withheld in error,
                                                                                                 $166.83; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 $11,426.32; interest earned, $871.10

0272              7110 S. Cornell                          $1,145,959.64               8/13/2020 Proceeds of 8/13/20 property sale, $1,145,576.16;
                                                                                                 interest earned, $383.48
0314              8201 S. Kingston                           $279,028.79               5/21/2020 Credited interest previously withheld in error,
                                                                                                 $23.97; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($34,630.20); interest earned, $195.62

0322              8326‐58 S. Ellis                         $1,308,457.86               6/11/2020 Credited interest previously withheld in error,
                                                                                                 $53.67; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($95,837.14); interest earned, $878.27

0355              7546 S. Saginaw                            $510,295.08               5/13/2020 Credited interest previously withheld in error,
                                                                                                 $49.39; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($27,330.94); interest earned, $337.54

0363              638 N. Avers                               $280,817.95                      n/a Insurance settlement for fire damage, $294,328.19;
                                                                                                  payment of 2019 property taxes to Cook County
                                                                                                  Treasurer, $13,642.01; interest earned, $131.77

0371              5450 S. Indiana                          $1,657,713.29               6/25/2020 Credited interest previously withheld in error,
                                                                                                 $19.06; interest earned, $1,044.25
       Case: 1:18-cv-05587 Document #: 839 Filed: 10/29/20 Page 34 of 125 PageID #:18318
                                                             SEC v. EquityBuild, Inc., et al.
                                                                    No. 18‐cv‐5587
                                       Balances of Funds in Property Specific Accounts as of September 30, 2020




                                                     Account Balance
                                                                                                                  Reason for Change (if any)
 Account Number          Account Name              (as of September 30,     Date of Settlement
                                                                                                                      7/1/20 ‐ 9/30/20
                                                           2020)
0389              6437 S. Kenwood                           $1,316,403.44              6/25/2020 Credited interest previously withheld in error,
                                                                                                 $12.63; funds transfer pursuant to 9/21/05 Court
                                                                                                 order (Dkt 796) on second motion for restoration,
                                                                                                 ($1,794.26); interest earned, $830.31

0397              7300 S. St. Lawrence                       $283,365.96               7/27/2020 Proceeds of 7/27/20 property sale, $283,239.84;
                                                                                                 interest earned, $126.12
0405              7760 S. Coles                             $120,530.46¹               6/26/2020 Credited interest previously withheld in error, $1.80;
                                                                                                 funds transfer pursuant to 9/21/05 Court order (Dkt
                                                                                                 796) on second motion for restoration,
                                                                                                 ($67,787.76); interest earned, $115.84

0413              8000 S. Justine                            $184,367.77               6/26/2020 Credited interest previously withheld in error, $1.13;
                                                                                                 funds transfer pursuant to 9/21/05 Court order (Dkt
                                                                                                 796) on second motion for restoration,
                                                                                                 ($113,597.64); interest earned, $183.04

0421              8107‐09 S. Ellis                            $94,856.83               6/30/2020 Funds transfer pursuant to 9/21/05 Court order (Dkt
                                                                                                 796) on second motion for restoration,
                                                                                                 ($80,850.18); interest earned, $101.34
0439              8209 S. Ellis                              $253,183.15                7/1/2020 Proceeds from 7/1/20 sale of property,
                                                                                                 $308,848.22; funds transfer pursuant to 9/21/05
                                                                                                 Court order (Dkt 796) on second motion for
                                                                                                 restoration, ($55,846.86); interest earned, $181.79

0447              8214‐16 S. Ingleside                       $204,565.33               6/30/2020 Funds transfer pursuant to 9/21/05 Court order (Dkt
                                                                                                 796) on second motion for restoration,
                                                                                                 ($62,821.55); interest earned, $167.69
0454              11117 S. Longwood                        $1,588,101.54                 7/8/2020 Proceeds from 7/8/20 sale of property,
                                                                                                  $1,599,854.81; funds transfer pursuant to 9/21/05
                                                                                                  Court order (Dkt 796) on second motion for
                                                                                                  restoration, ($12,684.43); interest earned, $931.16

0488              2736 W. 64th                               $373,125.53               9/29/2020 Proceeds from 9/29/20 sale of property,
                                                                                                 $373,122.98; interest earned, $2.55
0496              3074 Cheltenham                            $960,394.42               9/24/2020 Proceeds from 9/24/20 sale of property,
                                                                                                 $960,348.38; interest earned, $46.04
0504              5618 S. Martin Luther King                 $600,685.21               9/29/2020 Proceeds from 9/29/20 sale of property,
                                                                                                 $584,772.08; funds transfer pursuant to 9/21/05
                                                                                                 Court order (Dkt 796) on second motion for
                                                                                                 restoration, ($15,908.48); interest earned, $4.65
0512              6250 S. Mozart                              $19,657.69                     n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $19,656.89; interest earned, $0.80
0520              6355 S. Talman                             $472,142.79               9/29/2020 Proceeds from 9/29/20 sale of property,
                                                                                                 $472,139.56; interest earned, $3.23
0538              6356 S. California                         $312,554.80               9/29/2020 Proceeds from 9/29/20 sale of property,
                                                                                                 $312,552.66; interest earned, $2.14
0553              7051 S. Bennett                            $482,823.50               9/23/2020 Proceeds from 9/23/20 sale of property,
                                                                                                 $482,797.05; interest earned, $26.45
0561              7201 S. Constance                          $951,418.24               9/30/2020 Proceeds from 9/30/20 sale of property,
                                                                                                 $951,411.73; interest earned, $6.51
0595              7957 S. Marquette                          $279,794.48               9/21/2020 Proceeds from 9/21/20 sale of property,
                                                                                                 $279,775.32; interest earned, $19.16
0603              4533 S. Calumet                                $450.84                     n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $450.83; interest earned, $0.01
       Case: 1:18-cv-05587 Document #: 839 Filed: 10/29/20 Page 35 of 125 PageID #:18319
                                                            SEC v. EquityBuild, Inc., et al.
                                                                   No. 18‐cv‐5587
                                      Balances of Funds in Property Specific Accounts as of September 30, 2020




                                                    Account Balance
                                                                                                                 Reason for Change (if any)
 Account Number          Account Name             (as of September 30,     Date of Settlement
                                                                                                                     7/1/20 ‐ 9/30/20
                                                          2020)
0611              1017 W. 102nd                                $4,493.48                     n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $4,493.30; interest earned, $0.18
0629              1516 E. 85th                                $2,901.92                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $2,901.81; interest earned, $0.11
0637              417 Oglesby                                   $369.73                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $369.72; interest earned, $0.01
0645              7922 S. Luella                                $200.54                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration, $200.54

0652              7925 S. Kingston                            $2,054.80                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $2,054.72; interest earned, $0.08
0660              8030 S. Marquette                           $1,413.22                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $1,413.17; interest earned, $0.05
0678              8104 S. Kingston                            $2,646.12                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $2,646.02; interest earned, $0.10
0686              8403 S. Aberdeen                            $2,353.10                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $2,353.01; interest earned, $0.09
0694              8405 S. Marquette                           $1,944.55                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $1,944.48; interest earned, $0.07
0702              8529 S. Rhodes                                $935.10                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $935.07; interest earned, $0.03
0710              9212 S. Parnell                             $2,460.21                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $2,460.11; interest earned, $0.10
0728              10012 S. LaSalle                            $2,023.65                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $2,023.57; interest earned, $0.08
0736              11318 S. Church                             $1,159.25                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $1,159.21; interest earned, $0.04
0744              6554 S. Rhodes                              $1,086.05                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $1,086.01; interest earned, $0.04
0751              6825 S. Indiana                             $1,053.45                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $1,053.41; interest earned, $0.04
0769              7210 S. Vernon                                $224.08                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration, $224.08

0777              7712 S. Euclid                              $1,641.21                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $1,641.15; interest earned, $0.06
0785              8107 S. Kingston                              $367.32                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $367.31; interest earned, $0.01
0793              8346 S. Constance                           $1,470.92                      n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                 (Dkt 796) on second motion for restoration,
                                                                                                 $1,470.86; interest earned, $0.06
       Case: 1:18-cv-05587 Document #: 839 Filed: 10/29/20 Page 36 of 125 PageID #:18320
                                                               SEC v. EquityBuild, Inc., et al.
                                                                      No. 18‐cv‐5587
                                         Balances of Funds in Property Specific Accounts as of September 30, 2020




                                                       Account Balance
                                                                                                                    Reason for Change (if any)
 Account Number             Account Name             (as of September 30,        Date of Settlement
                                                                                                                        7/1/20 ‐ 9/30/20
                                                             2020)
0801                8432 S. Essex                                  $393.27                          n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $393.26; interest earned, $0.01
0819                8517 S. Vernon                                 $1,173.74                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $1,173.70; interest earned, $0.04
0827                2129 W. 71st                                   $1,002.06                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $1,002.02; interest earned, $0.04
0835                9610 S. Woodlawn                               $2,329.05                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $2,328.96; interest earned, $0.09
0843                1401 W. 109th                                  $2,367.25                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $2,367.16; interest earned, $0.09
0850                1139 E. 79th                                   $3,703.71                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $3,703.56; interest earned, $0.15
0868                4611 S. Drexel                                $43,792.86                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $43,791.07; interest earned, $1.79
0876                6217 S. Dorchester                            $12,818.57                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $12,818.05; interest earned, $0.52
0884                7255 S. Euclid                                $26,409.06                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $26,407.98; interest earned, $1.08
0892                7024 S. Paxton                                $45,128.91                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $45,127.06; interest earned, $1.85
0900                4317 S. Michigan                               $3,677.03                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $3,676.88; interest earned, $0.15
0918                7701 S. Essex                                  $4,768.36                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $4,768.17; interest earned, $0.19
0926                816 E. Marquette                               $5,080.76                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $5,080.56; interest earned, $0.20
0934                1422 E. 68th                                   $1,822.07                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $1,822.00; interest earned, $0.07
0942                2800 E. 81st                                   $5,397.78                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $5,397.56; interest earned, $0.22
0959                4750 S. Indiana                               $13,124.78                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $13,124.25; interest earned, $0.53
0967                7840 S. Yates                                  $8,758.56                        n/a Funds transfer pursuant to 9/21/05 Court order
                                                                                                        (Dkt 796) on second motion for restoration,
                                                                                                        $8,758.21; interest earned, $0.35

                    TOTAL FUNDS HELD:                        $35,433,323.06

¹ Due to a scrivener's error, the balance of this account was overstated for the second quarter 2020.
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                        Exhibit 4
         Case: 1:18-cv-05587 Document #: 839 Filed: 10/29/20 Page 38 of 125 PageID #:18322

                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                   Receivership; Civil Court Docket No. 18‐cv‐05587
                                      Reporting Period 7/1/2020 to 9/30/2020

Fund Accounting (See Instructions):
                                                                            Detail          Subtotal       Grand Total
Line 1        Beginning Balance (As of 7/1/2020):                          $258,592.90                       $258,592.90
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income¹                                        $250.38
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous ‐ Other²                                      $1,446,447.86
                Total Funds Available (Line 1‐8):                                                          $1,705,291.14
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses³                                       ($538,063.82)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third‐Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third‐Party Litigation Expenses                                               $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($538,063.82)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                    $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                Receivership; Civil Court Docket No. 18‐cv‐05587
                                   Reporting Period 7/1/2020 to 9/30/2020

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund        $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1‐9):                                                  $1,167,227.32
Line 13         Ending Balance (As of 9/30/2020):                                             $1,167,227.32
Line 14     Ending Balance of Fund ‐ Net Assets:
   Line 14a    Cash & Cash Equivalents                                                        $1,167,227.32
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund ‐ Net Assets                                      $1,167,227.32


           ¹ Includes credited interest previously withheld in error.
           ² Refund of insurance premium financing payments for sold
           properties ‐ $6,644.67; funds transfers from property
           accounts per 9/21/20 Court order (Dkt 796) on second
           motion for restoration ‐ $1,439,803.19; TOTAL:
           $1,446,447.86
           ³ Insurance ($123,029.26); property maintenance ($500.00);
           property utilities ($17,177.18); property security installations
           ($5,526.96); funds transfers to property accounts per
           9/21/20 Court order (Dkt 796) on second motion for
           restoration ($391,830.42): TOTAL $538,060.82.




                                                                 Receiver:
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       STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                      Receivership; Civil Court Docket No. 18‐cv‐05587
                         Reporting Period 7/1/2020 to 9/30/2020

                                                                         /s/ Kevin B. Duff
                                                           (Signature)

                                                       Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                           (Printed Name)

                                               Date:                     October __, 2020
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                        Exhibit 5
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                  EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                 July - September 2020
                         Schedule of Receipts and Disbursements


  Beginning Balance
  7/1/20                                                                                    $13,893.35

  RECEIPTS

                                 Received From                         Amount
                                 Credit for Federal Interest
                       7/15/2020 withheld in error                              $49.32

                        8/2/2020 Interest                                        $1.40
                                 Refund of insurance premium
                        8/6/2020 financing installment payments             $6,644.67

                       8/31/2020 Interest                                        $1.58
                                 Transfer of funds from property
                                 accounts pursuant to 9/21/20
                                 Order (Dkt. 796) on second
                       9/25/2020 motion for restoration¹                 $1,439,803.19
                       9/30/2020 Interest                                       $44.49

                                   TOTAL RECEIPTS:                                        $1,446,544.65

  DISBURSEMENTS

                                   Paid To                             Amount

                                   Paper Street (July water bill
                                   payment plan - 7201 Constance
                                   ($353.25), 7237 Bennett
       Wire Transfer    7/2/2020   ($256.78), 8000 Justine ($78.62))         ($688.65)
                                   Paper Street (waste disposal,
                                   gas, electric at various
       Wire Transfer     7/10/20   properties)²                             ($3,938.47)
                                   Paper Street (3 months DAWGS
       Wire Transfer     7/10/20   at 7237 S Bennett)                       ($4,591.08)
                                   Paper Street (3 months DAWGS
       Wire Transfer     7/10/20   at 638 N Avers)                           ($935.88)
                                   M& J Lawn Services (lawn
                                   service at 1102 Bingham, inv
       Wire Transfer     7/29/20   0330)                                     ($250.00)
                                   Paper Street (monthly installment
                                   on past due water bills: 7201
                                   Constance - $353.25; 7237
       Wire Transfer     7/29/20   Bennett - $256.78)                        ($610.83)
                                   Paper Street (utilities: 7656
                                   Kingston - $302.61; 7201
                                   Constance - $73.78; 7957
       Wire Transfer    8/7/2020   Marquette - $379.54)                      ($755.93)
                                   M& J Lawn Services (lawn
                                   service at 1102 Bingham, inv
       Wire Transfer 8/28/2020     0404)                                     ($250.00)
Case: 1:18-cv-05587 Document #: 839 Filed: 10/29/20 Page 43 of 125 PageID #:18327
                     EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                    July - September 2020
                            Schedule of Receipts and Disbursements

                                Transfer of funds to property
                                accounts pursuant to 9/21/20
                                Order (Dkt. 796) on second
         Transfer Out 9/25/2020 motion for restoration³         ($391,830.42)
                                First Funding (installment on
                                premium financing agreement -
        Wire Transfer 9/29/2020 property insurance)              ($16,012.98)

                                TOTAL DISBURSEMENTS:                             ($419,864.24)

                                Grand Total Cash on Hand at
                                9/30/2020:                                      $1,040,573.76
  ¹ See attached
  spreadsheet at Tab
  1

  ²416-24 E 66th St -
  $856.89;
  1401 W 109th -
  $12.77;
  2736-44 W 64th -
  $294.49;
  6356-58 S.
  California - $238.72;
  6357-59 S Talman -
  $216.00;
  7201-07 S
  Dorchester -
  $922.40;
  7201-09 S
  Constance -
  $471.26;
  7237-43 S Bennett -
  $385.08;
  8000 -02 S Justine -
  $540.86

  ³ See attached
  spreadsheet at Tab
  2
Case: 1:18-cv-05587 Document #: 839 Filed: 10/29/20 Page 44 of 125 PageID #:18328
                                EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0348
                                               July - September 2020
                                       Schedule of Receipts and Disbursements



  Beginning Balance
  7/1/20                                                                                          $244,699.55

  RECEIPTS

                                           Received From                        Amount
                                           Credit for Federal Interest
                               7/15/1930   withheld in error                             $42.09
                                8/2/2020   Interest                                      $50.34
                               8/31/2020   Interest                                      $33.63
                               9/30/2020   Interest                                      $27.53

                                           TOTAL RECEIPTS:                                            $153.59

  DISBURSEMENTS

                                           Paid To                              Amount
                                           First Funding (premium finance
                                           agreement on GL & umbrella
  Wire transfer                  7/10/20   policy)                                 ($28,661.52)
                                           First Funding (premium finance
  Wire transfer                  7/29/20   agreement on property policy)           ($19,396.76)
                                           Paper Street (utilities at various
  Wire transfer                  7/29/20   properties)¹                             ($6,151.60)
                                           First Funding (premium finance
                                           agreement on GL & umbrella
  Wire transfer                   8/7/20   policy)                                  (23,164.40)
                                           Paper Street (utilities at various
  Wire transfer                  8/28/20   properties)²                             ($5,031.70)
                                           First Funding (premium finance
  Wire transfer                  8/28/20   agreement on property policy)           ($12,629.20)
                                           First Funding (premium finance
                                           agreement on GL & umbrella
  Wire transfer                  9/11/20   policy)                                  (23,164.40)


                                           TOTAL DISBURSEMENTS:                                   ($118,199.58)

                                           Grand Total Cash on Hand at
                                           9/30/2020:                                             $126,653.56




  ¹ 2736 W 64th - $776.01;
  6356 California - $256.62;
  6357 Talman - $874.33;
  7201 Dorchester -
  $532.62;
  7201 Constance -
  $1,764.94;
  7237 Bennett - $1,117.27;
  7947 Marquette - $434.20;
  1401 W 109th - $395.61;
  TOTAL: $6,151.60




  ²1401 W 109th - $168.19;
  6357 S Talman -
  $1,973.81;
  2736 W 64th - $1,418.48;
  7201 S Dorchester -
  $968.10;
  7237 S Bennett - $151.96;
  6356 S California -
  $351.16;
  TOTAL: $5,031.70
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                        Exhibit 6
     Case: 1:18-cv-05587 Document #: 839 Filed: 10/29/20 Page 46 of 125 PageID #:18330



                                                    Master Asset List
                                        Receiver’s Account (as of 9/30/2020)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking #0181                                                       $1,040,573.76
AXOS Fiduciary Services                      Checking #0348                                                       $126,653.56
                                                                                                                        Total:
                                                                                                                $1,167,227.32

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,828.73³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $128,936.37

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107. See also Exhibit 7 hereto.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.
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                        Exhibit 7
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                                 Master Property List



   Prop #   Property Address                            Alternative Address
      1     1700-08 Juneway Terrace
      2     4533-47 S Calumet Avenue
      3     5001 S Drexel Boulevard                     909 E 50th Street
     4      5450-52 S Indiana Avenue                    118-132 E Garfield
     5      7749-59 S Yates Boulevard
     6      6437-31 S Kenwood Avenue
     7      7109-19 S Calumet Avenue
     8      1414 & 1418 East 62nd Place
     9      8100 S Essex Avenue                         2449-2457 E. 81st St.
     10     7301-09 S Stewart Avenue
     11     7500-06 S Eggleston Avenue
     12     3030-32 E 79th Street
     13     2909-19 E 78th Street
     14     7549-59 S Essex Avenue
     15     8047-55 S Manistee Avenue
     16     1017 W 102nd Street
     17     1516 E 85th Place
     18     2136 W 83rd Street
     19     417 Oglesby Avenue
     20     7922 S Luella Avenue
     21     7925 S Kingston Avenue
     22     7933 S Kingston Avenue
     23     8030 S Marquette Avenue
     24     8104 S Kingston Avenue
     25     8403 S Aberdeen Street
     26     8405 S Marquette Avenue
     27     8529 S Rhodes Avenue
     28     8800 S Ada Street
     29     9212 S Parnell Avenue
     30     10012 S LaSalle Avenue
     31     11318 S Church Street
     32     3213 S Throop Street
     33     3723 W 68th Place
     34     406 E 87th Place
     35     61 E 92nd Street
     36     6554 S Rhodes Avenue
     37     6825 S Indiana Avenue
     38     7210 S Vernon Avenue
     39     7712 S Euclid Avenue
     40     7953 S Woodlawn Avenue
     41     8107 S Kingston Avenue
     42     8346 S Constance Avenue
     43     8432 S Essex Avenue
     44     8517 S Vernon Avenue



                                          1
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                                   Master Property List



   Prop #   Property Address                              Alternative Address
     45     2129 W 71st Street
     46     9610 S Woodlawn Avenue
     47     5437 S Laflin Street
     48     6759 S Indiana Avenue
     49     7300-04 St Lawrence Avenue
     50     7760 S Coles Avenue
     51     1401 W 109th Place
     52     310 E 50th Street
     53     6807 S Indiana Avenue
     54     8000-02 S Justine Street                      1541 E 80th Street
     55     8107-09 S Ellis Avenue
     56     8209 S Ellis Avenue
     57     8214-16 S Ingleside Avenue
     58     5955 S Sacramento Avenue                      2948-56 W 60th Street
     59     6001-05 S Sacramento Avenue                   2945-51 W 60th Street
     60     7026-42 S Cornell Avenue
     61     7237-43 S Bennett Avenue
     62     7834-44 S Ellis Avenue
     63     4520-26 S Drexel Boulevard
     64     4611-17 S Drexel Boulevard
     65     6749-59 S Merrill Avenue                      2136 East 68th Street
     66     7110 S Cornell Avenue
     67     1131-41 E 79th Place
     68     6217-27 S Dorchester Avenue                   1408-10 E. 62nd Place
     69     6250 S Mozart Avenue                          2832-36 W 63rd Street
     70     638-40 N Avers Avenue
     71     701-13 S 5th Avenue, Maywood                  414 Walnut
     72     7024-32 S Paxton Avenue
     73     7255-57 S Euclid Avenue                       1940-44 E 73rd Street
     74     3074 Cheltenham Place                         7836 S Shore Drive
     75     7625-33 S East End Avenue
     76     7635-43 S East End Avenue
     77     7750-58 S Muskegon Avenue                     2818-36 E 78th Street
     78     7201 S Constance Avenue                       1825-31 E 72nd Street
     79     6160-6212 S Martin Luther King Drive
     80     2736 W 64th Street
     81     4317-19 S Michigan Avenue
     82     6355-59 S Talman Avenue                       2616-22 W 64th Street
     83     6356 S California Avenue                      2804 W 64th Street
     84     7051 S Bennett Avenue
     85     7201-07 S Dorchester Avenue                   1401 E 72nd Street
     86     7442-48 S Calumet Avenue
     87     7508 S Essex Avenue                           2453-59 E 75th Street
     88     7546-48 S Saginaw Avenue



                                            2
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                                   Master Property List



   Prop #   Property Address                              Alternative Address
     89     7600-10 S Kingston Avenue                     2527 E 76th Street
     90     7656-58 S Kingston Avenue                     2514-20 E 77th Street
     91     7701-03 S Essex Avenue
     92     7748-52 S Essex Avenue                        2450-52 E 78th Street
     93     7953-59 S Marquette Road                      2708-10 E 80th Street
     94     816-20 E Marquette Road
     95     8201 S Kingston Avenue
     96     8326-32 S Ellis Avenue
     97     8334-40 S Ellis Avenue
     98     8342-50 S Ellis Avenue
     99     8352-58 S Ellis Avenue
    100     11117-11119 S Longwood Drive
    101     6949-59 S Merrill Avenue
    102     7927-29 S Essex Avenue
    103     7933-35 S Essex Avenue
    104     7937-39 S Essex Avenue
    105     7943-45 S Essex Avenue
    106     7947-49 S Essex Avenue
    107     1422-24 East 68th Street
    108     2800-06 E 81st Street
    109     4750-52 S Indiana Avenue
    110     5618-20 S Martin Luther King Drive
    111     6558 S Vernon Avenue                          416-24 E 66th Street
    112     7450 S Luella Avenue                          2220 East 75th Street
    113     7840-42 S Yates Avenue
    114     1050 8th Avenue, Naples, FL
    116     1102 Bingham St, Houston TX
     141    431 E. 42nd Place




                                             3
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                        Exhibit 8
                                                Case: 1:18-cv-05587 Document #: 839 Filed:   10/29/20 Page 52 of 125 PageID #:18336
                                                                                     Exhibit 8
                                                                                                       Master Claims List
                                                                                       SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property         Property Address           Alternative Address            Type                                                  Claimant Name           Claimed Amount Claim Category as            Amount
Number                                                                                                                                                    (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                        Amount in Claim            Form            Invested in
                                                                                                                                                            Category as                              Property
                                                                                                                                                       Identified on Claim
                                                                                                                                                              Form)
   58        5955 S Sacramento Avenue     2948‐56 W 60th Street      Estate Property    1839 Fund I LLC                                                 $         49,937.00 Investor‐Lender       $    42,330.00
   74          3074 Cheltenham Place        7836 S Shore Drive       Estate Property    1839 Fund I LLC                                                 $         90,075.00 Investor‐Lender       $    50,000.00
   80           2736‐44 W 64th Street                                Estate Property    1839 Fund I LLC                                                 $         29,514.00 Investor‐Lender       $    24,500.00
   84          7051 S Bennett Avenue                                 Estate Property    1839 Fund I LLC                                                 $         87,717.00 Investor‐Lender       $    70,470.00
   91          7701‐03 S Essex Avenue                                Estate Property    1839 Fund I LLC                                                 $       105,200.00 Investor‐Lender        $    95,000.00
   93        7953‐59 S Marquette Road      2708‐10 E 80th Street     Estate Property    1839 Fund I LLC                                                 $         47,562.00 Investor‐Lender       $    39,483.00
  117          3915 N Kimball Avenue                                 Former Property    1839 Fund I LLC                                                 $         38,081.00 Investor‐Lender       $    50,000.00
  906                   SSDF6                                        Fund               1839 Fund I LLC                                                 $         92,879.00 Investor‐Lender       $    92,879.00
  100      11117‐11119 S Longwood Drive                              Estate Property    88 Legacy LLC                                                   $         56,000.03 Investor‐Lender       $    50,000.00
    9            8100 S Essex Avenue      2449‐57 East 81st Street   Estate Property    Aaron Beauclair                                                 $         40,000.00 Investor‐Lender       $    10,000.00
   62           7834‐44 S Ellis Avenue                               Estate Property    Aaron Beauclair                                                 $         40,000.00 Investor‐Lender       $    10,000.00
   72         7024‐32 S Paxton Avenue                                Estate Property    Aaron Beauclair                                                 $         40,000.00 Investor‐Lender       $    10,000.00
   78         7201 S Constance Avenue      1825‐31 E 72nd Street     Estate Property    Aaron Beauclair                                                 $         40,000.00 Investor‐Lender       $    10,000.00
  124          6801 S East End Avenue                                Former Property    Aaron Beauclair                                                 $         40,000.00 Investor‐Lender       $    10,000.00
  123        7107‐29 S Bennett Avenue                                Former Property    Adam Epstein                                                    $         50,000.00 Investor‐Lender       $    50,000.00
    3          5001 S Drexel Boulevard       909 E 50th Street       Estate Property    Adir Hazan                                                      $       150,000.00 Investor‐Lender        $    50,000.00
    6       6437‐41 S Kenwood Avenue                                 Estate Property    Adir Hazan                                                      $       150,000.00 Investor‐Lender        $    50,000.00
   63        4520‐26 S Drexel Boulevard                              Estate Property    Adir Hazan                                                      $       151,333.00    Equity Investor     $   100,000.00
   74          3074 Cheltenham Place        7836 S Shore Drive       Estate Property    Adir Hazan                                                      $       150,000.00 Investor‐Lender        $    50,000.00
   82         6355‐59 S Talman Avenue     2616‐22 W 64th Street      Estate Property    Adir Hazan                                                      $       150,000.00 Investor‐Lender        $    50,000.00
  901                   SSDF 1                                       Fund               Adir Hazan                                                      $       151,333.00    Equity Investor     $    10,000.00
  904            LEGACY FUND SSDF 4                                  Fund               Adir Hazan                                                      $       151,333.00    Equity Investor     $    51,333.00
10 to 12                 CCF1                                        Fund               Adir Hazan                                                      $       150,000.00 Investor‐Lender        $    50,000.00
13 to 15                 CCF2                                        Fund               Adir Hazan                                                      $       150,000.00 Investor‐Lender        $    50,000.00
  911          Hybrid Capital Fund, LLC                              Fund               Advanta IRA Services FBO Krushna Dundigalla Acct#8004195        $       100,000.00    Equity Investor     $   100,000.00
    5        7749‐59 S Yates Boulevard                               Estate Property    Advanta IRA Services LLC, FBO Dwight L. Plymale IRA #8006189    $         80,826.56 Investor‐Lender       $    97,000.00
    1         1700‐08 Juneway Terrace                                Estate Property    Agee Family Trust c/o Scott R. Agee                             $       130,000.00 Investor‐Lender        $    40,000.00
    6       6437‐41 S Kenwood Avenue                                 Estate Property    Agee Family Trust c/o Scott R. Agee                             $       130,000.00 Investor‐Lender        $    15,000.00
  100      11117‐11119 S Longwood Drive                              Estate Property    Agee Family Trust c/o Scott R. Agee                             $       130,000.00 Investor‐Lender        $    25,000.00
10 to 12                 CCF1                                        Fund               Agee Family Trust c/o Scott R. Agee                             $       130,000.00    Equity Investor     $    75,000.00
13 to 15                 CCF2                                        Fund               Agee Family Trust c/o Scott R. Agee                             $       130,000.00    Equity Investor     $    55,000.00
 96‐99          8326‐58 S Ellis Avenue                               Estate Property    Agee Family Trust c/o Scott R. Agee                             $       130,000.00 Investor‐Lender        $    50,000.00
    4         5450‐52 S Indiana Avenue      118‐132 E Garfield       Estate Property    Aksel Allouch                                                   $         50,000.00 Investor‐Lender       $    50,000.00
   67            1131‐41 E 79th Place                                Estate Property    Alan & Sheree Gravely                                           $         75,000.00 Investor‐Lender       $    75,000.00
  902            SSDF 2 Holdco 3, LLC                                Fund               Alan & Sheree Gravely                                           $         75,000.00   Equity Investor     $    75,000.00
   62           7834‐44 S Ellis Avenue                               Estate Property    Alan Rubin                                                      $         50,000.00 Investor‐Lender       $    50,000.00
    1         1700‐08 Juneway Terrace                                Estate Property    Alcalli Sabat                                                   $       109,396.68 Investor‐Lender


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                                                                                              Exhibit 8
                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                 Alternative Address           Type                                                  Claimant Name                    Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                     (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                         Amount in Claim            Form            Invested in
                                                                                                                                                                             Category as                              Property
                                                                                                                                                                        Identified on Claim
                                                                                                                                                                               Form)
   4             5450‐52 S Indiana Avenue             118‐132 E Garfield     Estate Property    Alcalli Sabat                                                            $       109,396.68 Investor‐Lender
   5            7749‐59 S Yates Boulevard                                    Estate Property    Alcalli Sabat                                                            $       109,396.68 Investor‐Lender
  58            5955 S Sacramento Avenue            2948‐56 W 60th Street    Estate Property    Alcalli Sabat                                                            $       109,396.68 Investor‐Lender
  59          6001‐05 S Sacramento Avenue           2945‐51 W 60th Street    Estate Property    Alcalli Sabat                                                            $       109,396.68 Investor‐Lender
  75            7625‐33 S East End Avenue                                    Estate Property    Alcalli Sabat                                                            $       109,396.68 Investor‐Lender        $    22,993.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    Alcalli Sabat                                                            $       109,396.68 Investor‐Lender
  90            7656‐58 S Kingston Avenue         2514‐2520 East 77th Street Estate Property    Alcalli Sabat                                                            $       109,396.68 Investor‐Lender
   9                8100 S Essex Avenue            2449‐57 East 81st Street Estate Property     Alex Breslav                                                             $       247,000.00 Investor‐Lender        $    50,000.00
  60             7026‐42 S Cornell Avenue                                    Estate Property    Alex Breslav                                                             $       247,000.00 Investor‐Lender        $    50,000.00
  71                701‐13 S 5th Avenue                  414 Walnut          Estate Property    Alex Breslav                                                             $       247,000.00 Investor‐Lender        $    40,000.00
  86            7442‐48 S Calumet Avenue                                     Estate Property    Alex Breslav                                                             $       247,000.00 Investor‐Lender        $    50,000.00
  87                7508 S Essex Avenue             2453‐59 E 75th Street    Estate Property    Alex Breslav                                                             $       247,000.00 Investor‐Lender        $    57,000.00
  82             6355‐59 S Talman Avenue            2616‐22 W 64th Street    Estate Property    ALICE HAN                                                                $         51,498.62 Investor‐Lender       $    50,000.00
  115              109 N Laramie Avenue                                      Former Property    Alison Schankman                                                         $         99,365.61 Investor‐Lender
  117              3915 N Kimball Avenue                                     Former Property    Alison Schankman                                                         $         99,365.61 Investor‐Lender       $    25,000.00
  142            5209 W Warwick Avenue                                       Former Property    Alison Schankman                                                         $         99,365.61 Investor‐Lender       $    74,000.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property    Alton Motes                                                              $       245,841.62 Investor‐Lender        $    20,000.00
  140                 4528 S Michigan                                        Former Property    Alton Motes                                                              $       245,841.62 Investor‐Lender        $    14,583.00
  64            4611‐17 S Drexel Boulevard                                   Estate Property    Alton Motes (Alton P. Motes Revocable Trust Agreement dated 12‐15‐11)    $       245,841.62 Investor‐Lender        $    15,417.00
  77           7750‐58 S Muskegon Avenue            2818‐36 E 78th Street    Estate Property    Alton Motes (Alton P. Motes Trust UTA 12‐15‐11)                          $       245,841.62 Investor‐Lender        $    43,000.00
  61            7237‐43 S Bennett Avenue                                     Estate Property    Alton Motes and Vicki Elaine Washburn JTWROS                             $       245,841.62 Investor‐Lender        $    35,000.00
  73              7255‐57 S Euclid Avenue           1940‐44 E 73rd Street    Estate Property    Alton Motes and Vicki Elaine Washburn JTWROS                             $       245,841.62 Investor‐Lender        $    60,000.00
  74              3074 Cheltenham Place               7836 S Shore Drive     Estate Property    Alton Motes and Vicki Elaine Washburn JTWROS                             $       245,841.62 Investor‐Lender        $    80,000.00
   1             1700‐08 Juneway Terrace                                     Estate Property    Aluvelu Homes LLC                                                        $       169,271.00 Investor‐Lender        $    20,000.00
   4             5450‐52 S Indiana Avenue             118‐132 E Garfield     Estate Property    Aluvelu Homes LLC                                                        $       169,271.00 Investor‐Lender        $    20,000.00
   9                8100 S Essex Avenue            2449‐57 East 81st Street Estate Property     Aluvelu Homes LLC                                                        $       169,271.00 Investor‐Lender        $    50,000.00
  59          6001‐05 S Sacramento Avenue           2945‐51 W 60th Street    Estate Property    Aluvelu Homes LLC                                                        $       169,271.00 Investor‐Lender        $    54,271.00
  71                701‐13 S 5th Avenue                  414 Walnut          Estate Property    Aluvelu Homes LLC                                                        $       169,271.00 Investor‐Lender        $    20,000.00
  85          7201‐07 S Dorchester Avenue             1401 E 72nd Street     Estate Property    Aluvelu Homes LLC                                                        $       169,271.00 Investor‐Lender        $     5,000.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property    AMark Investment Trust                                                   $       699,490.82 Investor‐Lender        $   125,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    AMark Investment Trust                                                   $       699,490.82 Investor‐Lender        $   375,000.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property    American Estate & Trust, LC FBO Bruce Klingman's IRA                     $         72,333.33 Investor‐Lender       $    63,033.00
   1             1700‐08 Juneway Terrace                                     Estate Property    American Estate and Trust FBO Layne Jones IRA                            $         20,699.99 Investor‐Lender       $    20,000.00
   5            7749‐59 S Yates Boulevard                                    Estate Property    American Estate and Trust, LC FBO Edward J. Netzel IRA                   $         10,000.00 Investor‐Lender       $    10,000.00
  N/A                       N/A                                              Other              American Express                                                         $         54,472.25        Other
   2            4533‐47 S Calumet Avenue                                     Estate Property    Amit Hammer                                                              $       295,980.00 Investor‐Lender        $   100,000.00
   5            7749‐59 S Yates Boulevard                                    Estate Property    Amit Hammer                                                              $       295,980.00 Investor‐Lender        $    30,000.00


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                                                                                            Exhibit 8
                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address               Alternative Address          Type                                                  Claimant Name           Claimed Amount Claim Category as            Amount
Number                                                                                                                                                         (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                             Amount in Claim            Form            Invested in
                                                                                                                                                                 Category as                              Property
                                                                                                                                                            Identified on Claim
                                                                                                                                                                   Form)
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property    Amit Hammer                                                     $       295,980.00 Investor‐Lender        $    10,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Amit Hammer                                                     $       295,980.00 Investor‐Lender        $    50,000.00
   95            8201 S Kingston Avenue                                   Estate Property    Amit Hammer                                                     $       295,980.00 Investor‐Lender        $    50,000.00
  124            6801 S East End Avenue                                   Former Property    Anant Topiwala                                                  $         52,517.48 Investor‐Lender       $    50,000.00
  116      1102 Bingham St, Houston TX 77007                              Estate Property    Anatoly B. Naritsin                                             $         55,417.00 Investor‐Lender       $    50,000.00
13 to 15                   CCF2                                           Fund               Anatoly B. Naritsin                                             $         56,987.14   Equity Investor     $    55,417.00
   71              701‐13 S 5th Avenue                414 Walnut          Estate Property    Andrew Matviishin                                               $         64,600.00 Investor‐Lender       $    55,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Anjie Comer                                                     $         25,000.00   Equity Investor
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    Anjie Comer                                                     $         25,000.00   Equity Investor
    2          4533‐47 S Calumet Avenue                                   Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $    50,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $    15,000.00
    6          6437‐41 S Kenwood Avenue                                   Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $    15,500.00
   60           7026‐42 S Cornell Avenue                                  Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $     3,500.00
   61           7237‐43 S Bennett Avenue                                  Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $     7,921.00
   64          4611‐17 S Drexel Boulevard                                 Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $    35,459.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $    50,000.00
   71              701‐13 S 5th Avenue                 414 Walnut         Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $    50,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $    16,882.00
   84            7051 S Bennett Avenue                                    Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $     2,618.00
   88          7546‐48 S Saginaw Avenue                                   Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $    63,000.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $     5,000.00
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $    28,000.00
  904          SSDF4 (Legacy Fund SSDF4)                                  Fund               Annie Chang                                                     $       246,935.34 Investor‐Lender and    $    50,000.00
                                                                                                                                                                                   Equity Investor
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Annie Chang                                                     $       246,935.34 Investor‐Lender        $     6,620.00
  68          6217‐27 S Dorchester Avenue                                 Estate Property    Annmarie Shuster                                                $         47,000.00 Investor‐Lender       $    47,000.00
  80             2736‐44 W 64th Street                                    Estate Property    Applefield Family Trust, Paul and Robin Applefield, Trustees    $       155,000.00 Investor‐Lender        $    20,000.00
  92             7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property    Applefield Family Trust, Paul and Robin Applefield, Trustees    $       155,000.00 Investor‐Lender        $    30,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Applefield Family Trust, Paul and Robin Applefield, Trustees    $       155,000.00 Investor‐Lender        $   105,000.00
  56               8209 S Ellis Avenue                                    Estate Property    ARBOR VENTURES OVERSEAS LIMITED, LLC                            $       176,122.67 Investor‐Lender        $   115,000.00
  80             2736‐44 W 64th Street                                    Estate Property    ARBOR VENTURES OVERSEAS LIMITED, LLC                            $       176,122.67 Investor‐Lender        $    10,000.00
  116      1102 Bingham St, Houston TX 77007                              Estate Property    ARBOR VENTURES OVERSEAS LIMITED, LLC                            $       176,122.67 Investor‐Lender        $    50,000.00
  68          6217‐27 S Dorchester Avenue                                 Estate Property    Arman Kale Heaton, Natoshia Lamborn Heaton                      $         52,416.68 Investor‐Lender       $    50,000.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Armoogam, Clifton                                               $         29,940.00 Investor‐Lender       $    21,500.00
  904                    SSDF4                                            Fund               Arnold Kunio Kameda (Roth IRA via iPlan Group)                  $         50,000.00   Equity Investor     $    50,000.00
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property    Arthur and Dinah Bertrand                                       $     1,000,000.00 Investor‐Lender        $    50,000.00
  59          6001‐05 S Sacramento Avenue         2945‐51 W 60th Street   Estate Property    Arthur and Dinah Bertrand                                       $     1,000,000.00 Investor‐Lender        $     7,552.00


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                                                                                             Exhibit 8
                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                Alternative Address            Type                                                  Claimant Name     Claimed Amount Claim Category as           Amount
Number                                                                                                                                                      (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                          Amount in Claim            Form           Invested in
                                                                                                                                                              Category as                             Property
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
  76            7635‐43 S East End Avenue                                    Estate Property    Arthur and Dinah Bertrand                                 $     1,000,000.00 Investor‐Lender       $   217,448.00
  77           7750‐58 S Muskegon Avenue           2818‐36 E 78th Street     Estate Property    Arthur and Dinah Bertrand                                 $     1,000,000.00 Investor‐Lender       $   100,000.00
  78             7201 S Constance Avenue           1825‐31 E 72nd Street     Estate Property    Arthur and Dinah Bertrand                                 $     1,000,000.00 Investor‐Lender       $   100,000.00
  80               2736‐44 W 64th Street                                     Estate Property    Arthur and Dinah Bertrand                                 $     1,000,000.00 Investor‐Lender       $   100,000.00
  115              109 N Laramie Avenue                                      Former Property    Arthur and Dinah Bertrand                                 $     1,000,000.00 Investor‐Lender       $    50,000.00
  122          7616‐7624 S Phillips Avenue                                   Former Property    Arthur and Dinah Bertrand                                 $     1,000,000.00 Investor‐Lender       $   150,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Arthur and Dinah Bertrand                                 $     1,000,000.00 Investor‐Lender       $   225,000.00
  58            5955 S Sacramento Avenue          2948‐56 W 60th Street      Estate Property    Arthur Bertrand                                           $         78,079.82 Investor‐Lender      $     4,825.00
  76            7635‐43 S East End Avenue                                    Estate Property    Arthur Bertrand                                           $         78,079.82 Investor‐Lender      $     2,875.00
  86            7442‐48 S Calumet Avenue                                     Estate Property    Arthur Bertrand                                           $         78,079.82 Investor‐Lender      $    50,000.00
  89            7600‐10 S Kingston Avenue          2527‐29 E 76th Street     Estate Property    Arthur Bertrand                                           $         78,079.82 Investor‐Lender      $    17,300.00
  110       5618‐20 S Martin Luther King Drive                               Estate Property    Arthur Bertrand                                           $         78,079.82 Investor‐Lender      $    50,000.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    Arvind Kinjarapu                                          $       145,500.00 Investor‐Lender       $    35,000.00
  95              8201 S Kingston Avenue                                     Estate Property    Arvind Kinjarapu                                          $       145,500.00 Investor‐Lender       $   100,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    Arvind Kinjarapu                                          $       145,500.00 Investor‐Lender       $    10,500.00
  89            7600‐10 S Kingston Avenue          2527‐29 E 76th Street     Estate Property    Aryeh (Judah) Smith                                       $         50,000.00 Investor‐Lender      $    50,000.00
  63            4520‐26 S Drexel Boulevard                                   Estate Property    Asbury R. Lockett                                         $       100,000.00    Equity Investor    $   100,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    Asbury R. Lockett                                                              Investor‐Lender     $   100,000.00
  56                 8209 S Ellis Avenue                                     Estate Property    Ashwin D Patel                                            $       100,000.00 Investor‐Lender       $   100,000.00
   1             1700‐08 Juneway Terrace                                     Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    15,000.00
   3              5001 S Drexel Boulevard            909 E 50th Street       Estate Property    Asians Investing In Real Estate LLC                       $       415,000.00    Equity Investor    $    95,000.00
   6           6437‐41 S Kenwood Avenue                                      Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    70,000.00
   9                8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    60,000.00
  59          6001‐05 S Sacramento Avenue          2945‐51 W 60th Street     Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    60,000.00
  60             7026‐42 S Cornell Avenue                                    Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    69,402.00
  62               7834‐44 S Ellis Avenue                                    Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    65,000.00
  63            4520‐26 S Drexel Boulevard                                   Estate Property    Asians Investing In Real Estate LLC                       $       415,000.00    Equity Investor    $   160,000.00
  69               6250 S Mozart Avenue           2832‐36 W 63rd Street      Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    50,000.00
  73             7255‐57 S Euclid Avenue          1940‐44 E 73rd Street      Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    60,000.00
  75            7625‐33 S East End Avenue                                    Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    50,000.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    25,000.00
  85          7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    60,000.00
  87                7508 S Essex Avenue            2453‐59 E 75th Street     Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    55,000.00
  88            7546‐48 S Saginaw Avenue                                     Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $   115,000.00
  89            7600‐10 S Kingston Avenue          2527‐29 E 76th Street     Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $    50,000.00
  92              7748‐52 S Essex Avenue           2450‐52 E 78th Street     Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $   130,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Asians Investing In Real Estate LLC                       $     1,278,402.00 Investor‐Lender       $   150,000.00


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                                                                                    Exhibit 8
                                                                                                      Master Claims List
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property        Property Address           Alternative Address             Type                                                 Claimant Name                            Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                    (Total Claimed   Identified on Claim    Claimed to be
                                                                                                                                                                        Amount in Claim           Form             Invested in
                                                                                                                                                                            Category as                              Property
                                                                                                                                                                       Identified on Claim
                                                                                                                                                                              Form)
  122      7616‐7624 S Phillips Avenue                              Former Property    Asians Investing In Real Estate LLC                                              $     1,278,402.00 Investor‐Lender        $    50,000.00
  124        6801 S East End Avenue                                 Former Property    Asians Investing In Real Estate LLC                                              $     1,278,402.00 Investor‐Lender        $    25,000.00
10 to 12              CCF1                                          Fund               Asians Investing In Real Estate LLC                                              $       415,000.00   Equity Investor      $   100,000.00
102‐106      7927‐49 S Essex Avenue                                 Estate Property    Asians Investing In Real Estate LLC                                              $     1,278,402.00 Investor‐Lender        $   119,000.00
13 to 15              CCF2                                          Fund               Asians Investing In Real Estate LLC                                              $       415,000.00   Equity Investor      $    60,000.00
    5       7749‐59 S Yates Boulevard                               Estate Property    Austin Capital Trust Company on behalf of Summit Trust Company, custodian FBO    $         77,520.06 Investor‐Lender       $    25,000.00
                                                                                       David R Theil MD
  81       4317‐19 S Michigan Avenue                                Estate Property    Austin Capital Trust Company on behalf of Summit Trust Company, custodian FBO    $       77,520.06    Investor‐Lender      $    19,000.00
                                                                                       David R Theil MD
  92         7748‐52 S Essex Avenue       2450‐52 E 78th Street     Estate Property    Austin Capital Trust Company on behalf of Summit Trust Company, custodian FBO    $       77,520.06    Investor‐Lender      $    31,000.00
                                                                                       David R Theil MD
   7       7109‐19 S Calumet Avenue                                 Estate Property    B & H Creative Investments LLC                                                   $      428,533.00    Investor‐Lender      $   220,000.00
  122      7616‐7624 S Phillips Avenue                              Former Property    B & H Creative Investments LLC                                                   $      428,533.00    Investor‐Lender      $   100,000.00
  904                SSDF4                                          Fund               B & H Creative Investments LLC                                                   $      428,533.00     Equity Investor
   4        5450‐52 S Indiana Avenue       118‐132 E Garfield       Estate Property    Bancroft, Ed                                                                     $      258,060.00     Investor‐Lender
                                                                                                                                                                                            and Equity Investor
   5        7749‐59 S Yates Boulevard                               Estate Property    Bancroft, Ed                                                                     $      258,060.00     Investor‐Lender
                                                                                                                                                                                            and Equity Investor
   6       6437‐41 S Kenwood Avenue                                 Estate Property    Bancroft, Ed                                                                     $      258,060.00     Investor‐Lender
                                                                                                                                                                                            and Equity Investor
   9           8100 S Essex Avenue       2449‐57 East 81st Street   Estate Property    Bancroft, Ed                                                                     $      258,060.00     Investor‐Lender
                                                                                                                                                                                            and Equity Investor
  60        7026‐42 S Cornell Avenue                                Estate Property    Bancroft, Ed                                                                     $      258,060.00     Investor‐Lender
                                                                                                                                                                                            and Equity Investor
  64       4611‐17 S Drexel Boulevard                               Estate Property    Bancroft, Ed                                                                     $      258,060.00     Investor‐Lender
                                                                                                                                                                                            and Equity Investor
  68       6217‐27 S Dorchester Avenue                              Estate Property    Bancroft, Ed                                                                     $      258,060.00     Investor‐Lender
                                                                                                                                                                                            and Equity Investor
  94        816‐20 E Marquette Road                                 Estate Property    Bancroft, Ed                                                                     $      258,060.00     Investor‐Lender
                                                                                                                                                                                            and Equity Investor
  904         LEGACY FUND SSDF 4                                    Fund               Bancroft, Ed                                                                     $      258,060.00     Investor‐Lender
                                                                                                                                                                                            and Equity Investor
13 to 15              CCF2                                          Fund               Bancroft, Ed                                                                     $      258,060.00     Investor‐Lender
                                                                                                                                                                                            and Equity Investor
  123       7107‐29 S Bennett Avenue                                Former Property    Bancroft, Ed                                                                     $      258,060.00    Investor‐Lender      $    10,000.00
  124        6801 S East End Avenue                                 Former Property    Bancroft, Ed (iPLanGroup Agent Ed Bancroft Roth)                                 $       66,007.00    Investor‐Lender      $    20,800.00




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                                                                                            Exhibit 8
                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address               Alternative Address          Type                                                  Claimant Name                           Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                         (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                             Amount in Claim            Form            Invested in
                                                                                                                                                                                 Category as                              Property
                                                                                                                                                                            Identified on Claim
                                                                                                                                                                                   Form)
  61            7237‐43 S Bennett Avenue                                  Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)              $       258,060.00    Investor‐Lender
                                                                                                                                                                                                 and Equity Investor
  71               701‐13 S 5th Avenue                 414 Walnut         Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)              $       258,060.00    Investor‐Lender
                                                                                                                                                                                                 and Equity Investor
  77           7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)              $       258,060.00    Investor‐Lender
                                                                                                                                                                                                 and Equity Investor
  78            7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)              $       258,060.00    Investor‐Lender
                                                                                                                                                                                                 and Equity Investor
  83             6356 S California Avenue          2804 W 64th Street     Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)              $       258,060.00    Investor‐Lender
                                                                                                                                                                                                 and Equity Investor
  86            7442‐48 S Calumet Avenue                                  Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)              $       258,060.00    Investor‐Lender
                                                                                                                                                                                                 and Equity Investor
  120            7823‐27 S Essex Avenue                                   Former Property    Bancroft, Ed A                                                                  $       258,060.00 Investor‐Lender        $    75,000.00
   84            7051 S Bennett Avenue                                    Estate Property    Barbara Burton                                                                  $         99,000.00 Investor‐Lender       $    99,000.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi, members    $       406,000.00 Investor‐Lender
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property    Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi, members    $       406,000.00 Investor‐Lender        $   106,000.00
10 to 12                   CCF1                                           Fund               Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi, members    $       406,000.00    Equity Investor     $   300,000.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    Bauer Latoza Studio, Ltd.                                                       $         30,525.00   Trade Creditor      $     3,075.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Bauer Latoza Studio, Ltd.                                                       $         30,525.00   Trade Creditor      $   274,500.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property    BC57, LLC                                                                       $     6,439,502.67 Institutional Lender
   75          7625‐33 S East End Avenue                                  Estate Property    BC57, LLC                                                                       $     6,439,502.67 Institutional Lender
   76          7635‐43 S East End Avenue                                  Estate Property    BC57, LLC                                                                       $     6,439,502.67 Institutional Lender
   77         7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property    BC57, LLC                                                                       $     6,439,502.67 Institutional Lender
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property    BC57, LLC                                                                       $     6,439,502.67 Institutional Lender
   61           7237‐43 S Bennett Avenue                                  Estate Property    BCL Associates, LLC                                                             $         10,266.66 Investor‐Lender       $    50,000.00
  120            7823‐27 S Essex Avenue                                   Former Property    Bedford, Bert and Sadie                                                         $         45,477.28 Investor‐Lender       $    46,131.00
    3            5001 S Drexel Boulevard            909 E 50th Street     Estate Property    Benjamin J Serebin                                                              $       289,736.11    Equity Investor     $   300,000.00
13 to 15                   CCF2                                           Fund               Benjamin J Serebin                                                              $       289,736.11    Equity Investor     $   150,000.00
  122          7616‐7624 S Phillips Avenue                                Former Property    Bernadette Chen (Eleven St Felix St. Realty)                                    $     1,000,000.00    Equity Investor     $    50,000.00
  123           7107‐29 S Bennett Avenue                                  Former Property    Bernadette Chen (Eleven St Felix St. Realty)                                    $     1,000,000.00    Equity Investor     $    50,000.00
  124            6801 S East End Avenue                                   Former Property    Bernadette Chen (Eleven St Felix St. Realty)                                    $     1,000,000.00    Equity Investor     $    31,619.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                                    $     1,000,000.00    Equity Investor     $    50,000.00
    3            5001 S Drexel Boulevard            909 E 50th Street     Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                                    $     1,000,000.00    Equity Investor     $   300,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                                    $     1,000,000.00    Equity Investor     $    50,000.00
    8              1414 East 62nd Place                                   Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                                    $     1,000,000.00    Equity Investor     $    50,000.00
    9              8100 S Essex Avenue            2449‐2457 E. 81st St.   Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                                    $     1,000,000.00    Equity Investor     $    31,619.00
   49         7300‐04 St Lawrence Avenue                                  Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                                    $     1,000,000.00    Equity Investor     $    50,000.00


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                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address               Alternative Address          Type                                                  Claimant Name                 Claimed Amount Claim Category as            Amount
Number                                                                                                                                                               (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                   Amount in Claim            Form            Invested in
                                                                                                                                                                       Category as                              Property
                                                                                                                                                                  Identified on Claim
                                                                                                                                                                         Form)
   64          4611‐17 S Drexel Boulevard                                 Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $    50,000.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $    50,000.00
   70            638‐40 N Avers Avenue                                    Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $   100,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $   100,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $    50,000.00
   88          7546‐48 S Saginaw Avenue                                   Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $    50,000.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $    68,381.00
  904                     SSDF4                                           Fund               Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $    50,000.00
10 to 12                   CCF1                                           Fund               Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $    50,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $    50,000.00
13 to 15                   CCF2                                           Fund               Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $    50,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                          $     1,000,000.00    Equity Investor     $    50,000.00
   84            7051 S Bennett Avenue                                    Estate Property    Best Capital Funding Inc                                              $         28,000.00 Investor‐Lender       $    25,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    BETH DENTON (Elisabeth Denton)                                        $         51,751.49 Investor‐Lender       $    50,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    BETH DENTON (IRA Services Trust Company CFBO Beth Denton)             $         20,699.99 Investor‐Lender       $    20,000.00
   94           816‐20 E Marquette Road                                   Estate Property    Betty Mize (iPlanGroup Agent for Custodian FBO Betty Beal Mize IRA    $         38,000.00 Investor‐Lender       $    38,000.00
   40           7953 S Woodlawn Avenue                                    Estate Property    Blessing Strategies, LLC                                              $         29,784.00 Investor‐Lender       $    12,500.00
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property    Blessing Strategies, LLC                                              $         29,784.00 Investor‐Lender       $     7,000.00
  123           7107‐29 S Bennett Avenue                                  Former Property    Blessing Strategies, LLC                                              $         29,784.00 Investor‐Lender       $    22,282.00
  904                     SSDF4                                           Fund               Blessing Strategies, LLC                                              $         29,784.00   Equity Investor     $     7,000.00
13 to 15                   CCF2                                           Fund               BLT Florida, LLC                                                      $       100,000.00 Investor‐Lender        $   100,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property    BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                        $       463,999.95 Investor‐Lender        $   150,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                        $       463,999.95 Investor‐Lender        $    84,255.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                        $       463,999.95 Investor‐Lender        $   100,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                        $       463,999.95 Investor‐Lender        $    65,745.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    Bluebridge Partners Limited                                           $       791,620.17 Investor‐Lender        $   100,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property    Bluebridge Partners Limited                                           $       791,620.17 Investor‐Lender        $   100,000.00
   64          4611‐17 S Drexel Boulevard                                 Estate Property    Bluebridge Partners Limited                                           $       791,620.17 Investor‐Lender        $   150,000.00
   71              701‐13 S 5th Avenue                 414 Walnut         Estate Property    Bluebridge Partners Limited                                           $       791,620.17 Investor‐Lender        $    77,177.00
   86          7442‐48 S Calumet Avenue                                   Estate Property    Bluebridge Partners Limited                                           $       791,620.17 Investor‐Lender        $   290,000.00
  124            6801 S East End Avenue                                   Former Property    Bluebridge Partners Limited                                           $       791,620.17 Investor‐Lender        $   100,000.00
 96‐99            8326‐50 S Ellis Avenue                                  Estate Property    Bluebridge Partners Limited                                           $       791,620.17 Investor‐Lender        $    73,971.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    BMO Harris Bank N.A.                                                  $     1,719,582.97 Institutional Lender
   73            7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property    Bolanle Addo (Madison Trust Company Custodian FBO Bolanle Addo)       $         50,000.00 Investor‐Lender       $    50,000.00
   86          7442‐48 S Calumet Avenue                                   Estate Property    Bonaparte Properties LLC                                              $         25,000.00 Investor‐Lender       $    25,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property    Bonnie Young                                                          $         65,333.41 Investor‐Lender       $    50,000.00
   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street   Estate Property    Brad and Linda Lutz                                                   $       813,582.00 Investor‐Lender        $    67,876.00


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                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                Alternative Address            Type                                                  Claimant Name               Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                    Amount in Claim            Form            Invested in
                                                                                                                                                                        Category as                              Property
                                                                                                                                                                   Identified on Claim
                                                                                                                                                                          Form)
   75          7625‐33 S East End Avenue                                     Estate Property    Brad and Linda Lutz                                                 $       813,582.00 Investor‐Lender        $   325,962.00
  115              109 N Laramie Avenue                                      Former Property    Brad and Linda Lutz                                                 $       813,582.00 Investor‐Lender        $    39,663.00
  123           7107‐29 S Bennett Avenue                                     Former Property    Brad and Linda Lutz                                                 $       813,582.00 Investor‐Lender        $   339,414.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    Brad and Linda Lutz                                                 $       813,582.00 Investor‐Lender        $     5,000.00
   62              7834‐44 S Ellis Avenue                                    Estate Property    Braden Galloway                                                     $       227,800.02 Investor‐Lender
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Braden Galloway                                                     $       227,800.02 Investor‐Lender
  100        11117‐11119 S Longwood Drive                                    Estate Property    Braden Galloway                                                     $       227,800.02 Investor‐Lender
    2           4533‐47 S Calumet Avenue                                     Estate Property    Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)    $       215,335.54 Investor‐Lender        $    80,000.00
   60           7026‐42 S Cornell Avenue                                     Estate Property    Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)    $       215,335.54 Investor‐Lender        $    30,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property    Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)    $       215,335.54 Investor‐Lender        $    25,000.00
   93           7953‐59 S Marquette Road          2708‐10 E 80th Street      Estate Property    Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)    $       215,335.54 Investor‐Lender        $    25,000.00
  115              109 N Laramie Avenue                                      Former Property    Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)    $       215,335.54 Investor‐Lender
  124             6801 S East End Avenue                                     Former Property    Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)    $       215,335.54 Investor‐Lender        $     5,000.00
  133             4109 N Kimball Avenue                                      Former Property    Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)    $       215,335.54 Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Brett Burnham (Burnham 401k Trust)                                  $       215,335.54 Investor‐Lender        $     8,000.00
  112               7450 S Luella Avenue           2220 East 75th Street     Estate Property    Brett Burnham (Burnham 401k Trust)                                  $       215,335.54 Investor‐Lender        $     5,000.00
  904                       SSDF4                                            Fund               Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)    $       215,334.00 Investor‐Lender
  904                       SSDF4                                            Fund               Brian and Kim Mouty                                                 $         50,000.00   Equity Investor     $    50,000.00
  110       5618‐20 S Martin Luther King Drive                               Estate Property    Brian Shea                                                          $       122,256.00 Investor‐Lender        $    26,500.00
  118              400 S Kilbourn Avenue                                     Former Property    Brian Shea                                                          $       122,256.00 Investor‐Lender        $    63,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Brian Whalley                                                       $         25,000.00 Investor‐Lender       $    25,000.00
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property    Bright Venture, LLC                                                 $       231,142.74    Equity Investor     $    50,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Bright Venture, LLC                                                 $         41,928.77 Investor‐Lender       $    40,000.00
   72            7024‐32 S Paxton Avenue                                     Estate Property    Bright Venture, LLC                                                 $         41,928.77 Investor‐Lender       $    25,000.00
10 to 12        7301‐09 S Stewart Avenue                                     Fund               Bright Venture, LLC                                                 $       231,142.74    Equity Investor     $    52,500.00
               7500‐06 S Eggleston Avenue
                   3030‐32 E 79th Street
102‐106           7927‐49 S Essex Avenue                                     Estate Property    Bright Venture, LLC                                                 $      231,142.74     Equity Investor     $    70,000.00
 13‐15             2909‐19 E 78th Street                                     Fund               Bright Venture, LLC                                                 $      231,142.74     Equity Investor     $    50,000.00
                  7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
  123           7107‐29 S Bennett Avenue                                     Former Property    Brion Conklin                                                       $       65,421.00    Investor‐Lender      $   116,531.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Brook & Sarah Swientisky; J&S Investment, LLC                       $      134,400.01     Equity Investor     $    50,000.00
  904                       SSDF4                                            Fund               Brook & Sarah Swientisky; J&S Investment, LLC                       $      134,400.01     Equity Investor     $    80,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)             $      115,000.00    Investor‐Lender      $    50,000.00
10 to 12                    CCF1                                             Fund               Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)             $      115,000.00    Investor‐Lender      $    25,000.00
13 to 15                    CCF2                                             Fund               Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)             $      115,000.00    Investor‐Lender      $    40,000.00


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                                                                                                       Master Claims List
                                                                                       SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property         Property Address           Alternative Address            Type                                                  Claimant Name        Claimed Amount Claim Category as            Amount
Number                                                                                                                                                 (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                     Amount in Claim             Form           Invested in
                                                                                                                                                         Category as                              Property
                                                                                                                                                    Identified on Claim
                                                                                                                                                           Form)
   3          5001 S Drexel Boulevard        909 E 50th Street       Estate Property    Bryan Corey Purkis , Trustee Vivant Ventures Trust           $       179,250.00     Equity Investor    $   150,000.00
  61         7237‐43 S Bennett Avenue                                Estate Property    BTRUE LLC Barry J. Oates                                     $         93,600.00    Equity Investor    $     5,200.00
  74          3074 Cheltenham Place         7836 S Shore Drive       Estate Property    BTRUE LLC Barry J. Oates                                     $         93,600.00    Equity Investor    $    38,400.00
  100      11117‐11119 S Longwood Drive                              Estate Property    BTRUE LLC Barry J. Oates                                     $         93,600.00    Equity Investor    $    50,000.00
  N/A                   N/A                                          Other              Buildout Inc.                                                $          1,200.00     Independent
                                                                                                                                                                              Contractor
  901                    SSDF1                                       Fund               Cadaval Investment Trust FBO Dana Cadaval Solo 401k          $         50,000.00    Equity Investor    $    50,000.00
  901                    SSDF1                                       Fund               Cadaval Investment Trust FBO Manuel Cadaval Solo 401k        $       100,000.00     Equity Investor    $   100,000.00
  N/A                     N/A                                        Other              Cagan Management Group, Inc.                                 $     1,000,000.00         Other
  70            638‐40 N Avers Avenue                                Estate Property    CAMA SDIRA LLC FBO Robert Guiney IRA                         $       104,314.46 Investor‐Lender        $    40,579.00
  123        7107‐29 S Bennett Avenue                                Former Property    CAMA SDIRA LLC FBO Robert Guiney IRA                         $       104,314.46 Investor‐Lender        $    51,913.00
   5         7749‐59 S Yates Boulevard                               Estate Property    Camano Equities, LLC (Markley, Charles)                      $         46,254.22 Investor‐Lender       $    50,000.00
   1          1700‐08 Juneway Terrace                                Estate Property    Capital Investors, LLC                                       $       930,376.31 Investor‐Lender        $ 250,000.00
   3           5001 S Drexel Boulevard      909 E 50th Street        Estate Property    Capital Investors, LLC                                       $     1,856,942.46     Equity Investor    $ 295,000.00
  58         5955 S Sacramento Avenue     2948‐56 W 60th Street      Estate Property    Capital Investors, LLC                                       $       930,376.31 Investor‐Lender        $    50,000.00
  60          7026‐42 S Cornell Avenue                               Estate Property    Capital Investors, LLC                                       $       930,376.31 Investor‐Lender        $ 379,479.00
  75         7625‐33 S East End Avenue                               Estate Property    Capital Investors, LLC                                       $       930,376.31 Investor‐Lender        $    36,207.00
  81         4317‐19 S Michigan Avenue                               Estate Property    Capital Investors, LLC                                       $       930,376.31 Investor‐Lender        $ 113,793.00
  83           6356 S California Avenue     2804 W 64th Street       Estate Property    Capital Investors, LLC                                       $       930,376.31 Investor‐Lender        $ 250,021.00
  93         7953‐59 S Marquette Road      2708‐10 E 80th Street     Estate Property    Capital Investors, LLC                                       $       930,376.31 Investor‐Lender        $    50,000.00
  101         6949‐59 S Merrill Avenue    2134‐40 East 68th Street   Estate Property    Capital Investors, LLC (6951 S. Merrill Fund I LLC)          $     1,856,942.46     Equity Investor    $ 1,550,000.00
  87             7508 S Essex Avenue       2453‐59 E 75th Street     Estate Property    Capital Liability Investments, LLC                           $         55,025.00 Investor‐Lender       $    55,000.00
  901                    SSDF1                                       Fund               Capital Liability Investments, LLC                           $         55,025.00    Equity Investor    $    55,000.00
    6       6437‐31 S Kenwood Avenue                                 Estate Property    Captain Jack, LLC c/o John McDevitt                          $         95,000.00    Equity Investor    $    75,000.00
10 to 12                 CCF1                                        Fund               Captain Jack, LLC c/o John McDevitt                          $         95,000.00    Equity Investor    $    20,000.00
  76         7635‐43 S East End Avenue                               Estate Property    Carolyn B Ucker                                              $         50,000.00    Equity Investor    $    25,000.00
  118           400 S Kilbourn Avenue                                Former Property    Carolyn B Ucker                                              $         50,000.00    Equity Investor    $    25,000.00
   2         4533‐47 S Calumet Avenue                                Estate Property    Cecilia Wolff                                                $         73,887.50 Investor‐Lender
  76         7635‐43 S East End Avenue                               Estate Property    Cecilia Wolff                                                $         73,887.50 Investor‐Lender       $    25,000.00
  78          7201 S Constance Avenue                                Estate Property    Cecilia Wolff                                                $         73,887.50 Investor‐Lender
  88         7546‐48 S Saginaw Avenue                                Estate Property    Cecilia Wolff                                                $         73,887.50 Investor‐Lender
  92           7748‐52 S Essex Avenue      2450‐52 E 78th Street     Estate Property    Cecilia Wolff                                                $         73,887.50 Investor‐Lender
  118           400 S Kilbourn Avenue                                Former Property    Cecilia Wolff                                                $         73,887.50 Investor‐Lender
  22           7933 S Kingston Avenue                                Estate Property    Celia Tong Revocable Living Trust Dated December 22, 2011    $         27,565.00    Equity Investor    $    20,000.00
  40          7953 S Woodlawn Avenue                                 Estate Property    Celia Tong Revocable Living Trust Dated December 22, 2011    $         28,741.00 Investor‐Lender       $     2,770.00
  77        7750‐58 S Muskegon Avenue       7836 S Shore Drive       Estate Property    Celia Tong Revocable Living Trust Dated December 22, 2011                          Investor‐Lender     $    25,000.00
  115           109 N Laramie Avenue                                 Former Property    Celia Tong Revocable Living Trust Dated December 22, 2011                          Investor‐Lender     $     2,065.00


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                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                Alternative Address            Type                                                  Claimant Name        Claimed Amount Claim Category as            Amount
Number                                                                                                                                                         (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                             Amount in Claim            Form            Invested in
                                                                                                                                                                 Category as                              Property
                                                                                                                                                            Identified on Claim
                                                                                                                                                                   Form)
  904                     SSDF4                                              Fund               Celia Tong Revocable Living Trust Dated December 22, 2011    $         27,565.00   Equity Investor     $    27,565.00
  111             6558 S Vernon Avenue             416‐24 E 66th Street      Estate Property    Chad R Brown                                                 $         42,051.58 Investor‐Lender       $   170,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Charles Michael Edward Fowler                                $         63,007.00 Investor‐Lender       $    63,007.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Charles P McEvoy                                             $       438,733.33 Investor‐Lender        $   100,000.00
    6          6437‐41 S Kenwood Avenue                                      Estate Property    Charles P McEvoy                                             $       438,733.33 Investor‐Lender        $   112,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Charles P McEvoy                                             $       438,733.33 Investor‐Lender        $   150,000.00
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property    Charles P McEvoy                                             $       438,733.33 Investor‐Lender        $    20,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property    Charles P McEvoy                                             $       438,733.33 Investor‐Lender        $    30,000.00
    2          4533‐47 S Calumet Avenue                                      Estate Property    Charles Savona                                               $         37,145.83 Investor‐Lender       $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Charles Smith                                                $       350,000.00 Investor‐Lender        $   350,000.00
    6          6437‐41 S Kenwood Avenue                                      Estate Property    Charlotte A Hofer                                            $       370,000.00    Equity Investor
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Charlotte A Hofer                                            $       370,000.00    Equity Investor
   71              701‐13 S 5th Avenue                  414 Walnut           Estate Property    Charlotte A Hofer                                            $       370,000.00    Equity Investor
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    Charlotte A Hofer                                            $       370,000.00    Equity Investor
  904          SSDF4 (Legacy Fund SSDF4)                                     Fund               Charlotte A Hofer                                            $       370,000.00    Equity Investor
  100        11117‐11119 S Longwood Drive                                    Estate Property    Chestnut Capital LLC                                         $       138,047.00 Investor‐Lender        $    50,000.00
  123           7107‐29 S Bennett Avenue                                     Former Property    Chestnut Capital LLC                                         $       138,047.00 Investor‐Lender        $   219,465.00
13 to 15                   CCF2                                              Fund               Chestnut Capital LLC                                         $         60,000.00   Equity Investor     $    60,000.00
  N/A                      N/A                                               Other              Chicago Real Estate Resources                                $          5,950.00    Independent
                                                                                                                                                                                     Contractor
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Chittima Cook and Pinsurang Tinakorn                         $         51,874.56 Investor‐Lender       $    50,000.00
  123           7107‐29 S Bennett Avenue                                     Former Property    Christine A. Styczynski                                      $         42,033.00 Investor‐Lender       $    42,033.00
  60             7026‐42 S Cornell Avenue                                    Estate Property    Christine Hethcock                                           $         41,500.00 Investor‐Lender       $    40,000.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Christopher Bridges                                          $         42,403.13 Investor‐Lender       $    25,000.00
  93            7953‐59 S Marquette Road           2708‐10 E 80th Street     Estate Property    Christopher Maher Beneficiary IRA                            $         16,500.00 Investor‐Lender       $    16,500.00
  67               1131‐41 E 79th Place                                      Estate Property    Christopher Pong                                             $         17,287.05   Equity Investor     $    17,251.00
  74              3074 Cheltenham Place             7836 S Shore Drive       Estate Property    Christopher Pong                                             $         30,140.90 Investor‐Lender       $    29,280.00
  77           7750‐58 S Muskegon Avenue           2818‐36 E 78th Street     Estate Property    Christopher Wilson and Brittny Wilson (Niosi)                $         52,000.00 Investor‐Lender       $    50,000.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Chronicles Point LLC/Gustavo J Garcia                        $         50,000.00 Investor‐Lender       $    50,000.00
   1             1700‐08 Juneway Terrace                                     Estate Property    Chuck Denton | Denton Real Estate Company Inc. 401k          $       200,000.00 Investor‐Lender        $    25,000.00
   2            4533‐47 S Calumet Avenue                                     Estate Property    Chuck Denton | Denton Real Estate Company Inc. 401k          $       200,000.00 Investor‐Lender        $   100,000.00
  59          6001‐05 S Sacramento Avenue         2945‐51 W 60th Street      Estate Property    Chuck Denton | Denton Real Estate Company Inc. 401k          $       200,000.00 Investor‐Lender        $    25,000.00
  60             7026‐42 S Cornell Avenue                                    Estate Property    Chuck Denton | Denton Real Estate Company Inc. 401k          $       200,000.00 Investor‐Lender        $    50,000.00
  118             400 S Kilbourn Avenue                                      Former Property    Chukwuemeka Ezeume                                           $       178,625.00 Investor‐Lender        $   150,000.00
  63            4520‐26 S Drexel Boulevard                                   Estate Property    Cindy L. Chambers                                            $         33,337.00 Investor‐Lender       $    33,337.00




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Property           Property Address                Alternative Address            Type                                                 Claimant Name                                      Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                                     (Total Claimed   Identified on Claim    Claimed to be
                                                                                                                                                                                         Amount in Claim            Form            Invested in
                                                                                                                                                                                             Category as                              Property
                                                                                                                                                                                        Identified on Claim
                                                                                                                                                                                               Form)
  64          4611‐17 S Drexel Boulevard                                   Estate Property    Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial            $     3,697,340.98 Institutional Lender
                                                                                              Mortgage Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series 2018‐
                                                                                              SB48
  68         6217‐27 S Dorchester Avenue                                   Estate Property    Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial           $     1,954,113.57 Institutional Lender
                                                                                              Mortgage Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series 2018‐
                                                                                              SB48
  69             6250 S Mozart Avenue             2832‐36 W 63rd Street    Estate Property    Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial           $     1,461,176.83 Institutional Lender
                                                                                              Mortgage Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series 2018‐
                                                                                              SB48*
  73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street    Estate Property    Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial           $     1,151,462.06 Institutional Lender
                                                                                              Mortgage Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series 2018‐
                                                                                              SB48*
    6         6437‐41 S Kenwood Avenue                                     Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     5,247.91
    7         7109‐19 S Calumet Avenue                                     Estate Property    City of Chicago                                                                            $       78,479.20         Other           $    13,153.06
   25           8403 S Aberdeen Street                                     Estate Property    City of Chicago                                                                            $       78,479.20         Other           $       413.84
   40          7953 S Woodlawn Avenue                                      Estate Property    City of Chicago                                                                            $       78,479.20         Other           $       431.13
   44            8517 S Vernon Avenue                                      Estate Property    City of Chicago                                                                            $       78,479.20         Other           $       841.94
   49        7300‐04 St Lawrence Avenue                                    Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     1,182.83
   50             7760 S Coles Avenue                                      Estate Property    City of Chicago                                                                            $       78,479.20         Other           $       815.33
   54           8000‐02 S Justine Street           1541 E 80th Street      Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     2,783.04
   61          7237‐43 S Bennett Avenue                                    Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     5,906.05
   73           7255‐57 S Euclid Avenue           1940‐44 E 73rd Street    Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     1,647.65
   74           3074 Cheltenham Place              7836 S Shore Drive      Estate Property    City of Chicago                                                                            $       78,479.20         Other           $    10,812.42
   75         7625‐33 S East End Avenue                                    Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     1,895.90
   76         7635‐43 S East End Avenue                                    Estate Property    City of Chicago                                                                            $       78,479.20         Other           $       610.08
   78          7201 S Constance Avenue            1825‐31 E 72nd Street    Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     8,124.80
   89         7600‐10 S Kingston Avenue           2527‐29 E 76th Street    Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     1,542.97
   90         7656‐58 S Kingston Avenue         2514‐2520 East 77th Street Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     2,000.32
   92           7748‐52 S Essex Avenue            2450‐52 E 78th Street    Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     2,097.70
  110      5618‐20 S Martin Luther King Drive                              Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     4,527.80
13 to 15         2909‐19 E 78th Street                                     Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     5,485.37
 96‐99           8326‐58 S Ellis Avenue                                    Estate Property    City of Chicago                                                                            $       78,479.20         Other           $     3,063.68
    5          7749‐59 S Yates Boulevard                                   Estate Property    Clarice Recamara                                                                           $       25,000.00    Investor‐Lender      $    25,000.00
   64         4611‐17 S Drexel Boulevard                                   Estate Property    Clarice Recamara                                                                           $       20,000.00    Investor‐Lender      $    20,000.00
   61          7237‐43 S Bennett Avenue                                    Estate Property    Clark, Wilma                                                                               $       20,266.67    Investor‐Lender      $    20,000.00
   56              8209 S Ellis Avenue                                     Estate Property    Claude M West , Linda S Gray, Desert Storm Properties Group, LLC                           $      100,000.00    Investor‐Lender      $   100,000.00
  904         SSDF4 (Legacy Fund SSDF4)                                    Fund               Claude M West , Linda S Gray, Desert Storm Properties Group, LLC                           $      100,000.00     Equity Investor     $   100,000.00


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                                                                                    Exhibit 8
                                                                                                      Master Claims List
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property        Property Address           Alternative Address            Type                                                  Claimant Name     Claimed Amount Claim Category as            Amount
Number                                                                                                                                             (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                 Amount in Claim            Form            Invested in
                                                                                                                                                     Category as                              Property
                                                                                                                                                Identified on Claim
                                                                                                                                                       Form)
   1        1700‐08 Juneway Terrace                                 Estate Property    CLC Electric, Inc. (Costel Dumitrescu)                    $       108,000.00     Independent        $    36,000.00
                                                                                                                                                                         Contractor
   9           8100 S Essex Avenue       2449‐57 East 81st Street   Estate Property    CLC Electric, Inc. (Costel Dumitrescu)                    $       108,000.00     Independent        $    15,000.00
                                                                                                                                                                         Contractor
  101       6949‐59 S Merrill Avenue     2134‐40 East 68th Street   Estate Property    CLC Electric, Inc. (Costel Dumitrescu)                    $       108,000.00     Independent        $    57,000.00
                                                                                                                                                                         Contractor
   1        1700‐08 Juneway Terrace                                 Estate Property    CLD Construction, Inc. (Doru Unchias)                     $       434,935.00     Independent        $    70,000.00
                                                                                                                                                                         Contractor
   2        4533‐47 S Calumet Avenue                                Estate Property    CLD Construction, Inc. (Doru Unchias)                     $       434,935.00     Independent        $    26,335.00
                                                                                                                                                                         Contractor
   4        5450‐52 S Indiana Avenue                                Estate Property    CLD Construction, Inc. (Doru Unchias)                     $       434,935.00     Independent        $     2,500.00
                                                                                                                                                                         Contractor
  55          8107‐09 S Ellis Avenue                                Estate Property    CLD Construction, Inc. (Doru Unchias)                     $       434,935.00     Independent        $    52,300.00
                                                                                                                                                                         Contractor
  77       7750‐58 S Muskegon Avenue      2818‐36 E 78th Street     Estate Property    CLD Construction, Inc. (Doru Unchias)                     $       434,935.00     Independent        $    49,000.00
                                                                                                                                                                         Contractor
  78        7201 S Constance Avenue       1825‐31 E 72nd Street     Estate Property    CLD Construction, Inc. (Doru Unchias)                     $       434,935.00     Independent        $   131,000.00
                                                                                                                                                                         Contractor
  93        7953‐59 S Marquette Road                                Estate Property    CLD Construction, Inc. (Doru Unchias)                     $       434,935.00     Independent        $     2,800.00
                                                                                                                                                                         Contractor
  101       6949‐59 S Merrill Avenue     2134‐40 East 68th Street   Estate Property    CLD Construction, Inc. (Doru Unchias)                     $       434,935.00     Independent        $    91,000.00
                                                                                                                                                                         Contractor
  123       7107‐29 S Bennett Avenue                                Former Property    CLD Construction, Inc. (Doru Unchias)                     $       434,935.00     Independent        $    10,000.00
                                                                                                                                                                         Contractor
    1        1700‐08 Juneway Terrace                                Estate Property    Clearwood Funding, LLC                                    $       150,000.00 Investor‐Lender        $    50,000.00
    5        7749‐59 S Yates Boulevard                              Estate Property    Clearwood Funding, LLC                                    $       150,000.00 Investor‐Lender        $    50,000.00
   85      7201‐07 S Dorchester Avenue     1401 E 72nd Street       Estate Property    Clearwood Funding, LLC                                    $       150,000.00 Investor‐Lender        $    50,000.00
    1        1700‐08 Juneway Terrace                                Estate Property    CLOVE, LLC                                                $         21,750.74 Investor‐Lender       $     5,000.00
   71           701‐13 S 5th Avenue            414 Walnut           Estate Property    CLOVE, LLC                                                $         21,750.74 Investor‐Lender       $    15,900.00
10 to 12     7301‐09 S Stewart Avenue                               Fund               CLOVE, LLC                                                $         23,920.01   Equity Investor     $    23,000.00
            7500‐06 S Eggleston Avenue
               3030‐32 E 79th Street
  904       SSDF4 (Legacy Fund SSDF4)                               Fund               CM Group, LLC Keith Cooper                                $       75,000.00    Investor‐Lender      $    75,000.00
  68       6217‐27 S Dorchester Avenue                              Estate Property    Conor Benson King                                         $       15,000.00    Investor‐Lender      $    15,000.00
  73          7255‐57 S Euclid Avenue     1940‐44 E 73rd Street     Estate Property    Conrad Hanns                                              $       50,000.00    Investor‐Lender      $    50,000.00
  N/A                   N/A                                         Other              Consilio, LLC                                             $       65,929.74         Other
   3          5001 S Drexel Boulevard       909 E 50th Street       Estate Property    Consuelo V Needs‐Medical Dictation Services, Inc.         $       50,000.00    Investor‐Lender      $    50,000.00


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                                                                                                               Master Claims List
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Property            Property Address                Alternative Address            Type                                                  Claimant Name        Claimed Amount Claim Category as            Amount
Number                                                                                                                                                         (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                             Amount in Claim            Form            Invested in
                                                                                                                                                                 Category as                              Property
                                                                                                                                                            Identified on Claim
                                                                                                                                                                   Form)
   1             1700‐08 Juneway Terrace                                     Estate Property    Coppy Properties, LLC                                        $         50,000.00 Investor‐Lender       $    50,000.00
  N/A                       N/A                                              Other              Corporate Creations International, Inc.                      $         13,018.40        Other
   6           6437‐41 S Kenwood Avenue                                      Estate Property    Cosmopolitan Properties LLC, Valentina Salge, President      $       177,300.00 Investor‐Lender        $   150,000.00
  87                7508 S Essex Avenue            2453‐59 E 75th Street     Estate Property    Cosmos Building Maintenance Solo 401K Trust Rolando Lopez    $         50,000.00 Investor‐Lender       $    50,000.00
  91              7701‐03 S Essex Avenue                                     Estate Property    Covenant Funding LLC                                         $       386,250.00 Investor‐Lender        $   300,000.00
   1             1700‐08 Juneway Terrace                                     Estate Property    Cross 5774 Holdings LLC ‐ Cross Global Funding Group         $         75,000.00 Investor‐Lender       $    50,000.00
  83             6356 S California Avenue           2804 W 64th Street       Estate Property    Cross 5774 Holdings LLC ‐ Cross Global Funding Group         $         75,000.00 Investor‐Lender       $    25,000.00
 13‐15             2909‐19 E 78th Street                                     Fund               Cynthia Love                                                 $       104,250.01    Equity Investor     $   100,000.00
                  7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
  59          6001‐05 S Sacramento Avenue                                    Former Property    CZE Holdings LLC (Carl Johnson IRA)                          $      299,700.00    Investor‐Lender      $    50,000.00
  60             7026‐42 S Cornell Avenue                                    Estate Property    CZE Holdings LLC (Carl Johnson IRA)                          $      299,700.00    Investor‐Lender      $    55,000.00
  904                      SSDF4                                             Former Property    CZE Holdings LLC (Carl Johnson IRA)                          $      299,700.00    Investor‐Lender      $   194,700.00
  107            1422‐24 East 68th Street                                    Estate Property    Dan Behm                                                     $       96,373.45    Investor‐Lender
  123           7107‐29 S Bennett Avenue                                     Former Property    Dan Behm                                                     $       96,373.45    Investor‐Lender
   1             1700‐08 Juneway Terrace                                     Estate Property    Dana Speed                                                   $      249,710.00    Investor‐Lender      $    40,000.00
   5            7749‐59 S Yates Boulevard                                    Estate Property    Dana Speed                                                   $      249,710.00    Investor‐Lender      $   169,000.00
  60             7026‐42 S Cornell Avenue                                    Estate Property    Dana Speed                                                   $      249,710.00    Investor‐Lender      $    31,000.00
  906                      SSDF6                                             Fund               Dana Speed                                                   $      240,000.00     Equity Investor     $   240,000.00
   9                8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    DANIEL J MARTINEAU                                           $      321,016.60    Investor‐Lender      $   125,750.00
  77           7750‐58 S Muskegon Avenue            7836 S Shore Drive       Estate Property    DANIEL J MARTINEAU                                           $      321,016.60    Investor‐Lender      $   100,000.00
  80              2736‐44 W 64th Street                                      Estate Property    DANIEL J MARTINEAU                                           $      321,016.60    Investor‐Lender      $    50,000.00
  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property    DANIEL J MARTINEAU                                           $      321,016.60    Investor‐Lender      $    25,250.00
  87                7508 S Essex Avenue           2453‐59 E 75th Street      Estate Property    DANIEL J MARTINEAU                                           $      321,016.60    Investor‐Lender      $   110,000.00
  62               7834‐44 S Ellis Avenue                                    Estate Property    Daniel Lewis & Deborah Lewis                                 $       50,000.00    Investor‐Lender      $    50,000.00
  60             7026‐42 S Cornell Avenue                                    Estate Property    Daniel Matthews, Leah Matthews                               $      185,922.54    Investor‐Lender      $    22,812.00
  74              3074 Cheltenham Place             7836 S Shore Drive       Estate Property    Daniel Matthews, Leah Matthews                               $      185,922.54    Investor‐Lender      $    20,000.00
  76            7635‐43 S East End Avenue                                    Estate Property    Daniel Matthews, Leah Matthews                               $      185,922.54    Investor‐Lender      $    72,029.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    Daniel Matthews, Leah Matthews                               $      185,922.54    Investor‐Lender      $    40,000.00
  88            7546‐48 S Saginaw Avenue                                     Estate Property    Daniel Matthews, Leah Matthews                               $      185,922.54    Investor‐Lender      $    29,000.00
  92              7748‐52 S Essex Avenue           2450‐52 E 78th Street     Estate Property    Daniel Matthews, Leah Matthews                               $      185,922.54    Investor‐Lender      $    20,000.00
  93            7953‐59 S Marquette Road           2708‐10 E 80th Street     Estate Property    Daniel Matthews, Leah Matthews                               $      185,922.54    Investor‐Lender      $    32,322.32
  117             3915 N Kimball Avenue                                      Former Property    Daniel Matthews, Leah Matthews                               $      185,922.54    Investor‐Lender      $    47,184.00
  158               5104 W Dakin Street                                      Former Property    Daniel Matthews, Leah Matthews                               $      185,922.54    Investor‐Lender      $     7,635.77
   1             1700‐08 Juneway Terrace                                     Estate Property    Danielle DeVarne                                             $      150,000.00    Investor‐Lender      $    50,000.00
  77           7750‐58 S Muskegon Avenue           2818‐36 E 78th Street     Estate Property    Danielle DeVarne                                             $      150,000.00    Investor‐Lender      $    50,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    Danielle DeVarne                                             $      150,000.00    Investor‐Lender      $    50,000.00


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                                                                                           Exhibit 8
                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address              Alternative Address            Type                                                 Claimant Name                             Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                           (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                               Amount in Claim           Form            Invested in
                                                                                                                                                                                   Category as                             Property
                                                                                                                                                                              Identified on Claim
                                                                                                                                                                                     Form)
  67             1131‐41 E 79th Place                                     Estate Property    Danyel Tiefenbacher and Jamie Lai                                                 $       103,875.01   Equity Investor     $    50,000.00
  74            3074 Cheltenham Place              7836 S Shore Drive     Estate Property    Danyel Tiefenbacher and Jamie Lai                                                 $         51,750.99 Investor‐Lender      $    50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Danyel Tiefenbacher and Jamie Lai                                                 $       103,875.01   Equity Investor     $    50,000.00
102‐106         7927‐49 S Essex Avenue                                    Estate Property    David & Florybeth Stratton                                                        $       150,000.00 Investor‐Lender       $   150,000.00
  60           7026‐42 S Cornell Avenue                                   Estate Property    David Ashley Lawrence Johnson investing under Endurance Capital Management LLC    $         50,000.00 Investor‐Lender      $    50,000.00

  64           4611‐17 S Drexel Boulevard                                 Estate Property    David Ashley Lawrence Johnson investing under Endurance Capital Management LLC    $      172,583.29    Investor‐Lender     $    50,000.00

102‐106          7927‐49 S Essex Avenue                                   Estate Property    David Ashley Lawrence Johnson investing under Endurance Capital Management LLC    $      172,583.29    Investor‐Lender     $   100,000.00

13 to 15                  CCF2                                            Fund               David Ashley Lawrence Johnson investing under Endurance Capital Management LLC    $      117,000.04    Equity Investor     $   100,000.00

  902               SSDF2 Holdco 3 LLC                                    Fund               David E. Chambers                                                                $        30,000.00    Investor‐Lender     $    30,000.00
10 to 12                   CCF1                                           Fund               David E. Chambers                                                                $        50,000.00    Investor‐Lender     $    50,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    DAVID G & LEANNE D RUESCH                                                        $        52,666.68    Investor‐Lender     $    50,000.00
    5           7749‐59 S Yates Boulevard                                 Estate Property    David M Harris                                                                   $       831,700.00    Investor‐Lender     $   100,000.00
    6          6437‐41 S Kenwood Avenue                                   Estate Property    David M Harris                                                                   $       534,555.00     Equity Investor    $   200,000.00
   64          4611‐17 S Drexel Boulevard                                 Estate Property    David M Harris                                                                   $       831,700.00    Investor‐Lender     $   100,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    David M Harris                                                                   $       831,700.00    Investor‐Lender     $    48,145.00
   72           7024‐32 S Paxton Avenue                                   Estate Property    David M Harris                                                                   $       831,700.00    Investor‐Lender     $   100,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    David M Harris                                                                   $       831,700.00    Investor‐Lender     $    96,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    David M Harris                                                                   $       831,700.00    Investor‐Lender     $    53,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    David M Harris                                                                   $       534,555.00     Equity Investor    $    32,700.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    David M Harris                                                                   $       534,555.00     Equity Investor    $   100,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    David M Harris                                                                   $       831,700.00    Investor‐Lender     $    51,855.00
13 to 15                   CCF2                                           Fund               David M Harris                                                                   $       534,555.00     Equity Investor    $   150,000.00
    6          6437‐41 S Kenwood Avenue                                   Estate Property    David M Williams                                                                 $        44,313.83    Investor‐Lender     $    24,274.00
   86          7442‐48 S Calumet Avenue                                   Estate Property    David Marcus                                                                     $     1,370,484.00    Investor‐Lender     $   105,000.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    David Marcus                                                                     $     1,370,484.00    Investor‐Lender     $   895,484.00
13 to 15                   CCF2                                           Fund               David Marcus                                                                     $     1,370,484.00    Investor‐Lender     $   250,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    David Marcus                                                                     $     1,370,484.00    Investor‐Lender     $   120,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    David R. Trengove                                                                $       705,123.88    Investor‐Lender     $    35,000.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    David R. Trengove                                                                $       705,123.88    Investor‐Lender     $   200,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    David R. Trengove                                                                $       705,123.88    Investor‐Lender     $    44,266.00
   61           7237‐43 S Bennett Avenue                                  Estate Property    David R. Trengove                                                                $       705,123.88    Investor‐Lender     $    43,784.00
   62             7834‐44 S Ellis Avenue                                  Estate Property    David R. Trengove                                                                $       705,123.88    Investor‐Lender     $   300,000.00
   64          4611‐17 S Drexel Boulevard                                 Estate Property    David R. Trengove                                                                $       705,123.88    Investor‐Lender     $   150,000.00


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                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address               Alternative Address          Type                                                  Claimant Name     Claimed Amount Claim Category as            Amount
Number                                                                                                                                                   (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                       Amount in Claim            Form            Invested in
                                                                                                                                                           Category as                              Property
                                                                                                                                                      Identified on Claim
                                                                                                                                                             Form)
   70            638‐40 N Avers Avenue                                    Estate Property    David R. Trengove                                         $       705,123.88 Investor‐Lender        $   103,098.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    David R. Trengove                                         $       705,123.88 Investor‐Lender        $   150,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    David R. Trengove                                         $       705,123.88 Investor‐Lender        $    46,000.00
   61           7237‐43 S Bennett Avenue                                  Estate Property    DAVID WEEKS                                               $         53,750.00 Investor‐Lender       $    50,000.00
   70            638‐40 N Avers Avenue                                    Estate Property    Dean & Mare Atanasoski                                    $       100,000.00 Investor‐Lender        $   100,000.00
   80             2736‐44 W 64th Street                                   Estate Property    Debbie Lasley                                             $       104,550.09 Investor‐Lender        $    50,000.00
  116      1102 Bingham St, Houston TX 77007                              Estate Property    Debbie Lasley                                             $       104,550.09 Investor‐Lender        $    55,000.00
   71              701‐13 S 5th Avenue                 414 Walnut         Estate Property    Deborah Buffamanti                                        $         34,723.00   Equity Investor
   81          4317‐19 S Michigan Avenue                                  Estate Property    Deborah Buffamanti                                        $         34,723.00   Equity Investor     $    50,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    Dee Ann Nason                                             $       303,965.00 Investor‐Lender        $    50,000.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    Dee Ann Nason                                             $       303,965.00 Investor‐Lender        $    50,000.00
   64          4611‐17 S Drexel Boulevard                                 Estate Property    Dee Ann Nason                                             $       303,965.00 Investor‐Lender        $     3,965.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Dee Ann Nason                                             $       303,965.00 Investor‐Lender        $    50,000.00
13 to 15                  CCF2                                            Fund               Dee Ann Nason                                             $       303,965.00 Investor‐Lender        $    50,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Dee Ann Nason                                             $       303,965.00 Investor‐Lender        $    50,000.00
    5           7749‐59 S Yates Boulevard                                 Estate Property    Degenhardt, Duane A                                       $       645,000.00 Investor‐Lender        $    13,385.00
    6          6437‐41 S Kenwood Avenue                                   Estate Property    Degenhardt, Duane A                                       $       645,000.00 Investor‐Lender        $   150,000.00
   61           7237‐43 S Bennett Avenue                                  Estate Property    Degenhardt, Duane A                                       $       645,000.00 Investor‐Lender        $     9,139.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Degenhardt, Duane A                                       $       645,000.00 Investor‐Lender        $    20,792.29
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property    Degenhardt, Duane A                                       $       645,000.00 Investor‐Lender        $    66,684.00
10 to 12                  CCF1                                            Fund               Degenhardt, Duane A                                       $       645,000.00 Investor‐Lender        $    50,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Degenhardt, Duane A                                       $       645,000.00 Investor‐Lender        $   100,000.00
13 to 15                  CCF2                                            Fund               Degenhardt, Duane A                                       $       645,000.00 Investor‐Lender        $   150,000.00
   86          7442‐48 S Calumet Avenue                                   Estate Property    Demetres Velendzas                                        $         51,500.00 Investor‐Lender       $    50,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Denise Renee Wilson                                       $         77,704.42 Investor‐Lender       $    90,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    Dennis & Mary Ann Hennefer                                $       679,378.00 Investor‐Lender        $    50,000.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    Dennis & Mary Ann Hennefer                                $       679,378.00 Investor‐Lender        $    52,956.00
   58          5955 S Sacramento Avenue           2948‐56 W 60th Street   Estate Property    Dennis & Mary Ann Hennefer                                $       679,378.00 Investor‐Lender        $   332,334.00
   60           7026‐42 S Cornell Avenue                                  Estate Property    Dennis & Mary Ann Hennefer                                $       679,378.00 Investor‐Lender        $   110,000.00
   62             7834‐44 S Ellis Avenue                                  Estate Property    Dennis & Mary Ann Hennefer                                $       679,378.00 Investor‐Lender        $    55,098.00
   72           7024‐32 S Paxton Avenue                                   Estate Property    Dennis & Mary Ann Hennefer                                $       679,378.00 Investor‐Lender        $   350,000.00
   76          7635‐43 S East End Avenue                                  Estate Property    Dennis & Mary Ann Hennefer                                $       679,378.00 Investor‐Lender        $    25,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Dennis & Mary Ann Hennefer                                $       679,378.00 Investor‐Lender        $    23,768.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    Dennis & Mary Ann Hennefer                                $       679,378.00 Investor‐Lender        $    47,044.00
   91            7701‐03 S Essex Avenue                                   Estate Property    Dennis & Mary Ann Hennefer                                $       679,378.00 Investor‐Lender        $    36,134.00
   28               8800 S Ada Street                                     Estate Property    Dennis K McCoy                                            $       312,238.67 Investor‐Lender        $    60,000.00
   33               3723 W 68th Place                                     Estate Property    Dennis K McCoy                                            $       312,238.67 Investor‐Lender        $    40,000.00


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                                                                                             Exhibit 8
                                                                                                               Master Claims List
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Property            Property Address                Alternative Address            Type                                                  Claimant Name                                 Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                                  (Total Claimed   Identified on Claim    Claimed to be
                                                                                                                                                                                      Amount in Claim            Form            Invested in
                                                                                                                                                                                          Category as                              Property
                                                                                                                                                                                     Identified on Claim
                                                                                                                                                                                            Form)
  91             7701‐03 S Essex Avenue                                      Estate Property    Dennis K McCoy                                                                        $       312,238.67 Investor‐Lender        $   100,000.00
  115             109 N Laramie Avenue                                       Former Property    Dennis K McCoy                                                                        $       312,238.67 Investor‐Lender        $    30,155.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property    Dennis K McCoy                                                                        $       312,238.67 Investor‐Lender        $    50,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Dennis K McCoy                                                                        $       312,238.67 Investor‐Lender        $    76,667.00
  124            6801 S East End Avenue                                      Former Property    Dennis Ray Hennefer                                                                   $         34,840.00 Investor‐Lender       $    34,840.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Denny Kon                                                                             $         52,000.01 Investor‐Lender       $    50,000.00
  77           7750‐58 S Muskegon Avenue          2818‐36 E 78th Street      Estate Property    Derrick, Horace                                                                       $       100,000.00 Investor‐Lender        $   100,000.00
  58            5955 S Sacramento Avenue          2948‐56 W 60th Street      Estate Property    Diana Johan                                                                           $         25,000.00 Investor‐Lender       $    25,000.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    Direct Lending Partner LLC (successor to Arena DLP Lender LLC and DLP Lending Fund    $     3,118,675.50 Institutional Lender
                                                                                                LLC)
    4           5450‐52 S Indiana Avenue             118‐132 E Garfield      Estate Property    Distributive Marketing Inc.                                                           $      100,000.00    Investor‐Lender      $    50,000.00
    6          6437‐41 S Kenwood Avenue                                      Estate Property    Distributive Marketing Inc.                                                           $      155,000.00     Equity Investor     $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Distributive Marketing Inc.                                                           $      100,000.00    Investor‐Lender      $    50,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Distributive Marketing Inc.                                                           $      155,000.00     Equity Investor     $    55,000.00
10 to 12        7301‐09 S Stewart Avenue                                     Fund               Distributive Marketing Inc.                                                           $      155,000.00     Equity Investor     $    50,000.00
               7500‐06 S Eggleston Avenue
                   3030‐32 E 79th Street
   69              6250 S Mozart Avenue           2832‐36 W 63rd Street      Estate Property    DK Phenix Investments LLC                                                             $      575,750.00    Investor‐Lender      $   100,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    DK Phenix Investments LLC                                                             $      575,750.00    Investor‐Lender      $    75,000.00
13 to 15                    CCF2                                             Fund               DK Phenix Investments LLC                                                             $      575,750.00    Investor‐Lender      $   100,000.00
   91             7701‐03 S Essex Avenue                                     Estate Property    Domenic Simone                                                                        $      153,246.58     Equity Investor     $   100,000.00
  107            1422‐24 East 68th Street                                    Estate Property    Domenic Simone                                                                        $      153,246.58     Equity Investor     $   165,000.00
  155            Campo‐Mar, Puerto Rico                                      Former Property    Domenic Simone                                                                        $      153,246.58     Equity Investor     $   100,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Donald Freers aka Meadows Advisors LLC                                                $      198,000.00    Investor‐Lender      $    48,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Donald Freers aka Meadows Advisors LLC                                                $      198,000.00    Investor‐Lender      $    95,000.00
   67               1131‐41 E 79th Place                                     Estate Property    Donald Freers aka Meadows Advisors LLC                                                $      198,000.00    Investor‐Lender      $    48,000.00
   84             7051 S Bennett Avenue                                      Estate Property    Donald Freers aka Meadows Advisors LLC                                                $      198,000.00    Investor‐Lender      $     5,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Donald Hendrickson                                                                    $       10,595.99    Investor‐Lender      $    10,000.00
   89          7600‐10 S Kingston Avenue                                     Estate Property    Donald Minchow                                                                        $      225,000.00    Investor‐Lender      $   110,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Doron Kermanian                                                                       $       30,000.00    Investor‐Lender      $    25,000.00
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property    Doron Reichenberg                                                                     $      179,000.00    Investor‐Lender      $    50,000.00
  101            6949‐59 S Merrill Avenue         2134‐40 East 68th Street   Estate Property    Doron Reichenberg                                                                     $      179,000.00    Investor‐Lender      $    54,000.00
13 to 15                    CCF2                                             Fund               Doron Reichenberg                                                                     $      179,000.00    Investor‐Lender      $    75,000.00
    2           4533‐47 S Calumet Avenue                                     Estate Property    Double Portion Foundation                                                             $       40,000.00    Investor‐Lender      $    40,000.00
    2           4533‐47 S Calumet Avenue                                     Estate Property    Douglas Nebel and Narine Nebel                                                        $      155,752.25    Investor‐Lender      $    50,000.00
    4           5450‐52 S Indiana Avenue             118‐132 E Garfield      Estate Property    Douglas Nebel and Narine Nebel                                                        $      155,752.25    Investor‐Lender      $    65,000.00
   67               1131‐41 E 79th Place                                     Estate Property    Douglas Nebel and Narine Nebel                                                        $      155,752.25    Investor‐Lender      $    50,000.00


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                                                                                              Exhibit 8
                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                 Alternative Address           Type                                                  Claimant Name           Claimed Amount Claim Category as            Amount
Number                                                                                                                                                            (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                Amount in Claim             Form           Invested in
                                                                                                                                                                    Category as                              Property
                                                                                                                                                               Identified on Claim
                                                                                                                                                                      Form)
  904                     SSDF4                                              Fund               Douglas Nebel and Narine Nebel                                  $       115,000.00 Investor‐Lender        $   115,000.00
13 to 15                   CCF2                                              Fund               Douglas Nebel and Narine Nebel                                  $       155,752.25 Investor‐Lender        $    15,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Duke E. Heger and Viviana Heger                                 $       117,000.00 Investor‐Lender        $    35,000.00
   59         6001‐05 S Sacramento Avenue           2945‐51 W 60th Street    Estate Property    Duke E. Heger and Viviana Heger                                 $       117,000.00 Investor‐Lender        $    12,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Duke E. Heger and Viviana Heger                                 $       117,000.00 Investor‐Lender        $    50,000.00
   89          7600‐10 S Kingston Avenue            2527‐29 E 76th Street    Estate Property    Duke E. Heger and Viviana Heger                                 $       117,000.00 Investor‐Lender        $    20,000.00
13 to 15                   CCF2                                              Fund               Duke E. Heger and Viviana Heger                                 $         60,000.00    Equity Investor    $    60,000.00
  902               SSDF2 Holdco 3 LLC                                       Fund               Duty, Darrell and Frances                                                             Investor‐Lender
   58          5955 S Sacramento Avenue             2948‐56 W 60th Street    Estate Property    DVH Investment Trust                                            $         20,000.00 Investor‐Lender       $   198,500.00
   60           7026‐42 S Cornell Avenue                                     Estate Property    DVH Investment Trust                                            $         20,000.00 Investor‐Lender       $    80,000.00
   72           7024‐32 S Paxton Avenue                                      Estate Property    DVH Investment Trust                                            $         20,000.00 Investor‐Lender       $    35,000.00
  901                     SSDF1                                              Fund               DVH Investment Trust                                            $         20,000.00 Investor‐Lender       $   315,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Easley Family Trust c/o Todd Easley                             $         25,000.00 Investor‐Lender       $    25,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    EastWest Funding Trust                                          $         52,000.00 Investor‐Lender       $    50,000.00
   73            7255‐57 S Euclid Avenue            1940‐44 E 73rd Street    Estate Property    Eco2 Capital Inc.                                               $         36,308.25 Investor‐Lender       $    50,000.00
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Eco2 Capital Inc. 401k                                          $         43,933.81 Investor‐Lender       $    50,000.00
    9              8100 S Essex Avenue             2449‐57 East 81st Street Estate Property     Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $   101,000.00
   53             6807 S Indiana Avenue                                      Estate Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $    45,000.00
   56               8209 S Ellis Avenue                                      Estate Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $   100,000.00
   75          7625‐33 S East End Avenue                                     Estate Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $   176,226.00
   78           7201 S Constance Avenue             1825‐31 E 72nd Street    Estate Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $    17,374.00
   80             2736‐44 W 64th Street                                      Estate Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $    30,000.00
   90          7656‐58 S Kingston Avenue          2514‐2520 East 77th Street Estate Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $   102,149.00
   93          7953‐59 S Marquette Road             2708‐10 E 80th Street    Estate Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $    58,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $   100,000.00
  122          7616‐7624 S Phillips Avenue                                   Former Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00     Equity Investor    $    27,000.00
  145          4755 S St Lawrence Avenue                                     Former Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00     Equity Investor    $    50,000.00
10 to 12                   CCF1                                              Fund               Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $    70,175.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property    Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $   100,400.00
13 to 15                   CCF2                                              Fund               Edge Investments, LLC, Janet F. Turco, Owner/Member      IRA    $     1,031,324.00 Investor‐Lender        $   104,000.00
   69             6250 S Mozart Avenue              2832‐36 W 63rd Street    Estate Property    Edward J. Netzel                                                $         20,000.00 Investor‐Lender       $    20,000.00
  123           7107‐29 S Bennett Avenue                                     Former Property    Edwin BARKER                                                    $         36,773.52 Investor‐Lender       $    50,000.00
    1           1700‐08 Juneway Terrace                                      Estate Property    Elaine Sison Ernst                                              $         95,000.00 Investor‐Lender       $    30,000.00
    6          6437‐41 S Kenwood Avenue                                      Estate Property    Elaine Sison Ernst                                              $         95,000.00 Investor‐Lender       $    15,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Elaine Sison Ernst                                              $         95,000.00 Investor‐Lender       $    50,000.00
    1           1700‐08 Juneway Terrace                                      Estate Property    Elizabeth A. Monnot‐Chase                                       $       107,450.00 Investor‐Lender        $   105,000.00
13 to 15                   CCF2                                              Fund               Elizabeth Riley Gerber                                          $         47,347.23    Equity Investor    $    50,000.00


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Property         Property Address          Alternative Address          Type                                                  Claimant Name                            Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                  (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                      Amount in Claim            Form            Invested in
                                                                                                                                                                          Category as                              Property
                                                                                                                                                                     Identified on Claim
                                                                                                                                                                            Form)
   6         6437‐41 S Kenwood Avenue                             Estate Property    Elizabeth Zeng                                                                   $       148,422.77 Investor‐Lender        $    25,000.00
  60          7026‐42 S Cornell Avenue                            Estate Property    Elizabeth Zeng                                                                   $       148,422.77 Investor‐Lender        $     9,000.00
  67             1131‐41 E 79th Place                             Estate Property    Elizabeth Zeng                                                                   $          8,914.75   Equity Investor     $     8,450.00
  68        6217‐27 S Dorchester Avenue                           Estate Property    Elizabeth Zeng                                                                   $       148,422.77 Investor‐Lender        $    94,000.00
  88         7546‐48 S Saginaw Avenue                             Estate Property    Elizabeth Zeng                                                                   $       148,422.77 Investor‐Lender        $    12,000.00
  100      11117‐11119 S Longwood Drive                           Estate Property    Ellen Liu                                                                        $       400,000.00    Equity Investor     $   150,000.00
 10‐12                  CCF1                                      Fund               Ellen Liu                                                                        $       400,000.00    Equity Investor     $   250,000.00
  62            7834‐44 S Ellis Avenue                            Estate Property    Emile P. Dufrene, III                                                            $         50,422.00 Investor‐Lender       $    50,000.00
  72          7024‐32 S Paxton Avenue                             Estate Property    Emile P. Dufrene, III                                                            $         50,422.00 Investor‐Lender       $    50,000.00
   6         6437‐41 S Kenwood Avenue                             Estate Property    Equity Capital Resources, LLC                                                    $         77,166.66 Investor‐Lender       $    25,000.00
  59       6001‐05 S Sacramento Avenue    2945‐51 W 60th Street   Estate Property    Equity Capital Resources, LLC                                                    $         77,166.66 Investor‐Lender       $    50,000.00
  80           2736‐44 W 64th Street                              Estate Property    EQUITY TRUST COMPANY CUSTODIAN FBO ALBERT RUFFIN IRA                             $         50,000.00 Investor‐Lender       $    50,000.00
  124          6801 S East End Avenue                             Former Property    EQUITY TRUST COMPANY CUSTODIAN FBO CHRISTOPHER M GUILLEN IRA                     $          2,951.00 Investor‐Lender       $     2,951.00
  124          6801 S East End Avenue                             Former Property    EQUITY TRUST COMPANY CUSTODIAN FBO JETT C GUILLEN CESA                           $          2,608.00 Investor‐Lender       $     2,608.00
  60          7026‐42 S Cornell Avenue                            Estate Property    Equity Trust Company Custodian FBO Linda A. Smith IRA                            $         50,000.00 Investor‐Lender       $    50,000.00
  88         7546‐48 S Saginaw Avenue                             Estate Property    Equity Trust Company Custodian FBO Marvette Cofield Roth IRA; Equity Trust       $         25,000.00 Investor‐Lender       $    25,000.00
                                                                                     Company Custodian FBO Marvette Cofield SEP IRA
  124         6801 S East End Avenue                              Former Property    EQUITY TRUST COMPANY CUSTODIAN FBO PATRICIA F GUILLEN IRA                       $        14,775.00    Investor‐Lender      $    14,775.00
  124         6801 S East End Avenue                              Former Property    Equity Trust Company Custodian FBO Theodore J. Guillen                          $        14,775.00    Investor‐Lender      $    14,775.00
  124         6801 S East End Avenue                              Former Property    EQUITY TRUST COMPANY CUSTODIAN FBO THEODORE P GUILLEN JR. IR                    $         2,391.00    Investor‐Lender      $     2,391.00
  76        7635‐43 S East End Avenue                             Estate Property    Equity Trust Custodian FBO Dorothy Marie Baker IRA                              $        15,000.00    Investor‐Lender      $    10,000.00
  118          400 S Kilbourn Avenue                              Former Property    Equity TrustCompany Custodian FBO Karuna Voddi IRA                              $        12,777.00    Investor‐Lender      $    12,777.00
   6        6437‐41 S Kenwood Avenue                              Estate Property    Eric Schwartz                                                                   $       144,153.72    Investor‐Lender      $    12,000.00
  69           6250 S Mozart Avenue       2832‐36 W 63rd Street   Estate Property    Eric Schwartz                                                                   $       144,153.72    Investor‐Lender      $    60,082.00
  87            7508 S Essex Avenue       2453‐59 E 75th Street   Estate Property    Eric Schwartz                                                                   $       144,153.72    Investor‐Lender      $     7,213.00
  130        4511 N Merimac Avenue                                Former Property    Eric Schwartz                                                                   $       144,153.72    Investor‐Lender      $    44,178.86
  908                   SSDF8                                     Fund               Eric Schwartz                                                                   $         2,787.00     Equity Investor     $     2,787.00
  74          3074 Cheltenham Place        7836 S Shore Drive     Estate Property    Erika Dietz                                                                     $        20,000.00    Investor‐Lender      $    50,000.00
   4         5450‐52 S Indiana Avenue      118‐132 E Garfield     Estate Property    Erika Dietz IRA account (Madison Trust Company Custodian FBO Erika Dietz Acct   $       102,666.66    Investor‐Lender      $   100,000.00
                                                                                     #M1612085)
  68       6217‐27 S Dorchester Avenue                            Estate Property    Erwin J Page Trust, Jeffrey Steybe, Trustee                                     $        52,666.68 Investor‐Lender         $    50,000.00
   1         1700‐08 Juneway Terrace                              Estate Property    Evans & Associates LLC (Will Evans)                                             $        50,000.00 Investor‐Lender         $    50,000.00
  69          6250 S Mozart Avenue        2832‐36 W 63rd Street   Estate Property    Evelyn Stratton (iPlanGroup Agent for Custodial FBO Evelyn Stratton IRA)        $       100,000.00 Investor‐Lender         $   100,000.00
  115         109 N Laramie Avenue                                Former Property    FDD Properties LLC                                                              $       225,000.00   Equity Investor       $    50,000.00
  904                 SSDF4                                       Fund               FDD Properties LLC                                                              $       225,000.00   Equity Investor       $   225,000.00
  70          638‐40 N Avers Avenue                               Estate Property    Federal Home Loan Mortgage Corporation [Freddie Mac]                            $     1,273,346.96 Institutional Lender
  72         7024‐32 S Paxton Avenue                              Estate Property    Federal Home Loan Mortgage Corporation [Freddie Mac]                            $     1,825,895.85 Institutional Lender


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                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                Alternative Address             Type                                                 Claimant Name                      Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                       (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                           Amount in Claim            Form            Invested in
                                                                                                                                                                               Category as                              Property
                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                 Form)
   67             1131‐41 E 79th Place                                       Estate Property    Federal National Mortgage Association                                      $     1,319,255.08 Institutional Lender
   92           7748‐52 S Essex Avenue             2450‐52 E 78th Street     Estate Property    Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)               $       300,000.00 Investor‐Lender        $   250,000.00
13 to 15                  CCF2                                               Fund               Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)               $       300,000.00 Investor‐Lender        $    25,000.00
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property    Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)               $       300,000.00 Investor‐Lender        $    25,000.00
    9             8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property    Fields Loss Consultants LLC                                                $       134,618.00    Trade Creditor      $   143,618.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property    Fireshark Enterprises, LLC, a Texas Series Limited Liability Company       $       279,898.28 Investor‐Lender        $   313,418.93
  N/A                     N/A                                                Other              First Western Properties                                                   $         21,756.00    Independent
                                                                                                                                                                                                   Contractor
10 to 12        7301‐09 S Stewart Avenue                                     Fund               FIVE STAR CAPITAL GROUP, LLC                                               $       266,666.65 Investor‐Lender and    $   250,000.00
               7500‐06 S Eggleston Avenue                                                                                                                                                        Equity Investor
                  3030‐32 E 79th Street
  107            1422‐24 East 68th Street                                    Estate Property    Fixed Slice LLC                                                           $        64,775.00 Investor‐Lender     $       250,642.00
  901                     SSDF1                                              Fund               Florybeth & David Stratton                                                $       200,000.00    Equity Investor  $       200,000.00
  124            6801 S East End Avenue                                      Former Property    Focus4 Investments, LLC                                                   $       104,349.99 Investor‐Lender     $       100,000.00
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property    Frances D Cook, Sunwest Trust Custodian FBO Frances D Cook IRA #1713343   $         6,000.00 Investor‐Lender     $         6,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Francisco Fernandez                                                       $       584,237.50 Investor‐Lender     $        65,000.00
   83            6356 S California Avenue           2804 W 64th Street       Estate Property    Francisco Fernandez                                                       $       584,237.50 Investor‐Lender     $        41,604.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    Francisco Fernandez                                                       $       584,237.50 Investor‐Lender     $        23,396.00
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property    Francisco Fernandez                                                       $       584,237.50 Investor‐Lender     $        50,000.00
  122          7616‐7624 S Phillips Avenue                                   Former Property    Francisco Fernandez                                                       $       584,237.50 Investor‐Lender     $       175,000.00
10 to 12                  CCF1                                               Fund               Francisco Fernandez                                                       $       312,124.98    Equity Investor  $       250,000.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property    Francisco Fernandez                                                       $       584,237.50 Investor‐Lender     $       165,000.00
13 to 15                  CCF2                                               Fund               Francisco Fernandez                                                       $       312,124.98    Equity Investor  $        50,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Francisco Fernandez                                                       $       584,237.50 Investor‐Lender     $        45,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property    Frank and Laura Sohm                                                      $       167,893.65    Equity Investor  $        65,000.00
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property    Frank and Laura Sohm                                                      $       167,893.65 Investor‐Lender     $        35,300.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    Frank and Laura Sohm                                                      $       167,893.65 Investor‐Lender     $        14,700.00
   94           816‐20 E Marquette Road                                      Estate Property    Frank and Laura Sohm                                                      $       167,893.65 Investor‐Lender     $        50,000.00
  120            7823‐27 S Essex Avenue                                      Former Property    Frank and Laura Sohm                                                      $       167,893.65    Equity Investor  $        26,000.00
  135            4930 W Cornelia Avenue                                      Former Property    Frank and Laura Sohm                                                      $       167,893.65    Equity Investor
10 to 12        7301‐09 S Stewart Avenue                                     Fund               Frank and Laura Sohm                                                      $       167,893.65 Investor‐Lender and $        26,000.00
               7500‐06 S Eggleston Avenue                                                                                                                                                       Equity Investor
                  3030‐32 E 79th Street
 13‐15            2909‐19 E 78th Street                                      Fund               Frank and Laura Sohm                                                       $      167,893.65    Equity Investor      $    10,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
  71               701‐13 S 5th Avenue                  414 Walnut           Estate Property    Frank Sohm IRA                                                             $      148,604.93    Investor‐Lender      $    40,000.00


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                                                                                    Exhibit 8
                                                                                                    Master Claims List
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Property         Property Address          Alternative Address           Type                                                 Claimant Name                  Claimed Amount Claim Category as            Amount
Number                                                                                                                                                        (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                            Amount in Claim            Form            Invested in
                                                                                                                                                                Category as                              Property
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
   89        7600‐10 S Kingston Avenue    2527‐29 E 76th Street   Estate Property    Frank Sohm IRA                                                         $       148,604.93 Investor‐Lender        $    15,796.00
  120          7823‐27 S Essex Avenue                             Former Property    Frank Sohm IRA                                                         $       148,604.93 Investor‐Lender        $    40,000.00
  135          4930 W Cornelia Avenue                             Former Property    Frank Sohm IRA                                                         $       148,604.93 Investor‐Lender        $    25,000.00
10 to 12      7301‐09 S Stewart Avenue                            Fund               Frank Sohm IRA                                                         $       148,664.93 Investor‐Lender and    $    10,000.00
             7500‐06 S Eggleston Avenue                                                                                                                                           Equity Investor
                 3030‐32 E 79th Street
 13‐15           2909‐19 E 78th Street                            Fund               Frank Sohm IRA                                                         $      148,664.93    Equity Investor      $    40,000.00
               7549‐59 S Essex Avenue
             8047‐55 S Manistee Avenue
  N/A                    N/A                                      UPN                Frank Sohm IRA                                                         $      148,604.93    Investor‐Lender      $    10,992.19
   76        7635‐43 S East End Avenue                            Estate Property    Frank Starosciak                                                       $       47,407.14    Investor‐Lender      $    17,125.00
   89        7600‐10 S Kingston Avenue    2527‐29 E 76th Street   Estate Property    Frank Starosciak                                                       $       47,407.14    Investor‐Lender      $    20,000.00
 96‐99          8326‐58 S Ellis Avenue                            Estate Property    Frank Starosciak                                                       $       47,407.14    Investor‐Lender      $     5,000.00
   89        7600‐10 S Kingston Avenue    2527‐29 E 76th Street   Estate Property    Fraser Realty Capital, LLC                                             $       20,038.00    Investor‐Lender      $    20,038.00
   77       7750‐58 S Muskegon Avenue     2818‐36 E 78th Street   Estate Property    Fraser Realty Investments, LLC                                         $      120,000.00    Investor‐Lender      $   100,000.00
   95          8201 S Kingston Avenue                             Estate Property    Fraser Realty Investments, LLC                                         $      120,000.00    Investor‐Lender      $    20,000.00
   85       7201‐07 S Dorchester Avenue     1401 E 72nd Street    Estate Property    Freda R. Smith                                                         $       25,141.58    Investor‐Lender      $    20,000.00
   58        5955 S Sacramento Avenue     2948‐56 W 60th Street   Estate Property    Fredric R. Gottlieb                                                    $      212,481.00    Investor‐Lender      $    37,481.00
   62           7834‐44 S Ellis Avenue                            Estate Property    Fredric R. Gottlieb                                                    $      391,776.10    Investor‐Lender      $    58,617.00
   68       6217‐27 S Dorchester Avenue                           Estate Property    Fredric R. Gottlieb                                                    $      391,776.10    Investor‐Lender      $    15,740.00
   73          7255‐57 S Euclid Avenue    1940‐44 E 73rd Street   Estate Property    Fredric R. Gottlieb                                                    $      391,776.10    Investor‐Lender      $    60,000.00
13 to 15                CCF2                                      Fund               Fredric R. Gottlieb                                                    $      212,481.00    Investor‐Lender      $   100,000.00
 96‐99          8326‐58 S Ellis Avenue                            Estate Property    Fredric R. Gottlieb                                                    $      212,481.00    Investor‐Lender      $    75,000.00
 96‐99          8326‐58 S Ellis Avenue                            Estate Property    Fredric R. Gottlieb                                                    $      391,776.10    Investor‐Lender      $   184,259.00
   60         7026‐42 S Cornell Avenue                            Estate Property    Fredric R. Gottlieb (South Florida Realty Management & Investments)    $      433,306.00    Investor‐Lender      $    58,306.00
10 to 12                CCF1                                      Fund               Fredric R. Gottlieb (South Florida Realty Management & Investments)    $      433,306.00    Investor‐Lender      $   100,000.00
102‐106        7927‐49 S Essex Avenue                             Estate Property    Fredric R. Gottlieb (South Florida Realty Management & Investments)    $      433,306.00    Investor‐Lender      $   100,000.00
13 to 15                CCF2                                      Fund               Fredric R. Gottlieb (South Florida Realty Management & Investments)    $      433,306.00    Investor‐Lender      $   175,000.00
    6        6437‐41 S Kenwood Avenue                             Estate Property    Freyja Partners, a California Limited Partnership                      $      179,625.00    Investor‐Lender      $    50,000.00
13 to 15                CCF2                                      Fund               Freyja Partners, a California Limited Partnership                      $      179,625.00    Investor‐Lender      $    50,000.00
 96‐99          8326‐58 S Ellis Avenue                            Estate Property    Freyja Partners, a California Limited Partnership                      $      179,625.00    Investor‐Lender      $    50,000.00
   74           3074 Cheltenham Place      7836 S Shore Drive     Estate Property    G&M You‐Nique Properties, LLC                                          $       62,325.00    Investor‐Lender      $    60,000.00
    2         4533‐47 S Calumet Avenue                            Estate Property    Gallowglass LLC c/o Patrick Bournes                                    $      100,000.00    Investor‐Lender
   60         7026‐42 S Cornell Avenue                            Estate Property    Gallowglass LLC c/o Patrick Bournes                                    $      100,000.00    Investor‐Lender
   83          6356 S California Avenue    2804 W 64th Street     Estate Property    Gallowglass LLC c/o Patrick Bournes                                    $      100,000.00    Investor‐Lender
   85       7201‐07 S Dorchester Avenue    1401 E 72nd Street     Estate Property    Gallowglass LLC c/o Patrick Bournes                                    $      100,000.00    Investor‐Lender
  100      11117‐11119 S Longwood Drive                           Estate Property    Gallowglass LLC c/o Patrick Bournes                                    $      100,000.00    Investor‐Lender


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                                                                                             Exhibit 8
                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                Alternative Address            Type                                                  Claimant Name                       Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                        (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                            Amount in Claim            Form            Invested in
                                                                                                                                                                                Category as                              Property
                                                                                                                                                                           Identified on Claim
                                                                                                                                                                                  Form)
   93           7953‐59 S Marquette Road           2708‐10 E 80th Street     Estate Property    Gallucci, Henry                                                             $         77,000.00 Investor‐Lender       $    17,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Ganpat and FEREEDA Seunath                                                  $       216,194.22 Investor‐Lender        $     2,372.00
   59         6001‐05 S Sacramento Avenue          2945‐51 W 60th Street     Estate Property    Ganpat and FEREEDA Seunath                                                  $       216,194.22 Investor‐Lender        $   109,844.00
   67               1131‐41 E 79th Place                                     Estate Property    Ganpat and FEREEDA Seunath                                                  $       216,194.22 Investor‐Lender        $    19,714.00
  124             6801 S East End Avenue                                     Former Property    Ganpat and FEREEDA Seunath                                                  $       216,194.22 Investor‐Lender        $    19,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    Ganpat and FEREEDA Seunath                                                  $       216,194.22 Investor‐Lender        $    51,585.00
  N/A          Roth IRA and Traditional IRA                                  Fund               Ganpat and FEREEDA Seunath                                                  $       202,515.02    Equity Investor     $   202,515.02
    6          6437‐41 S Kenwood Avenue                                      Estate Property    Garwood Weatherhead                                                         $       184,941.00 Investor‐Lender        $   150,000.00
13 to 15                    CCF2                                             Fund               Gary Kucera                                                                 $       204,357.34    Equity Investor     $   200,000.00
    1            1700‐08 Juneway Terrace                                     Estate Property    Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)    $          9,523.00 Investor‐Lender       $     1,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)    $          9,523.00 Investor‐Lender       $     2,990.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)    $          9,523.00 Investor‐Lender       $     3,171.00
  129            4494 West Roscoe Street                                     Former Property    Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)    $          9,523.00 Investor‐Lender       $     2,362.00
  901                      SSDF1                                             Fund               Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)    $          9,523.00   Equity Investor     $     7,161.00
   76           7635‐43 S East End Avenue                                    Estate Property    Gary R Burnham Jr Solo401K Trust                                            $         42,029.00 Investor‐Lender       $    42,029.00
  904                      SSDF4                                             Fund               Gary R Burnham Jr Solo401K Trust                                            $         60,000.00   Equity Investor     $    60,000.00
    1            1700‐08 Juneway Terrace                                     Estate Property    Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                   $         30,718.00 Investor‐Lender       $     9,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                   $         30,718.00 Investor‐Lender       $     7,465.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                   $         30,718.00   Equity Investor     $    14,253.00
  901                      SSDF1                                             Fund               Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                   $         30,718.00   Equity Investor     $    30,718.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Gary R. Burnham Jr. Solo 401K Trust                                         $       205,608.00 Investor‐Lender        $    36,000.00
   59         6001‐05 S Sacramento Avenue          2945‐51 W 60th Street     Estate Property    Gary R. Burnham Jr. Solo 401K Trust                                         $       205,608.00 Investor‐Lender        $     7,971.00
   72            7024‐32 S Paxton Avenue                                     Estate Property    Gary R. Burnham Jr. Solo 401K Trust                                         $       205,608.00 Investor‐Lender        $   106,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Gary R. Burnham Jr. Solo 401K Trust                                         $       205,608.00 Investor‐Lender        $    10,000.00
   88           7546‐48 S Saginaw Avenue                                     Estate Property    Gary R. Burnham Jr. Solo 401K Trust                                         $       205,608.00 Investor‐Lender        $    10,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Gary R. Burnham Jr. Solo 401K Trust                                         $       205,608.00 Investor‐Lender        $    30,000.00
  129            4494 West Roscoe Street                                     Former Property    Gary R. Burnham Jr. Solo 401K Trust                                         $       205,608.00 Investor‐Lender        $     5,637.00
  901                      SSDF1                                             Fund               Gary R. Burnham Jr. Solo 401K Trust                                         $       204,026.00    Equity Investor     $   204,026.00
10 to 12                    CCF1                                             Fund               GEGO NADLAN REALTY LLC                                                      $         50,000.00 Investor‐Lender       $    50,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Gene X Erquiaga                                                             $         51,749.99 Investor‐Lender
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Genevieve Giuliana Heger                                                    $         20,058.00 Investor‐Lender       $    10,000.00
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property    Genevieve Giuliana Heger                                                    $         20,058.00 Investor‐Lender       $    10,000.00
  908                      SSDF8                                             Fund               Genevieve Heger and Duke Heger, JTWROS                                      $         10,000.00   Equity Investor     $    10,000.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    George S Black                                                              $         95,000.00 Investor‐Lender       $    27,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    George S Black                                                              $         95,000.00 Investor‐Lender       $    68,000.00
   75           7625‐33 S East End Avenue                                    Estate Property    Geronimo Usuga Carmona                                                      $          8,937.50 Investor‐Lender       $    35,667.00
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property    Geronimo Usuga Carmona                                                      $          8,937.50 Investor‐Lender       $    39,333.00


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                                                                                                               Master Claims List
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Property            Property Address                Alternative Address            Type                                                  Claimant Name                             Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                              (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                                  Amount in Claim            Form            Invested in
                                                                                                                                                                                      Category as                              Property
                                                                                                                                                                                 Identified on Claim
                                                                                                                                                                                        Form)
  92             7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property    Gerry Recamara                                                                    $         55,000.00 Investor‐Lender       $    55,000.00
  81           4317‐19 S Michigan Avenue                                     Estate Property    Gerry / Clarice Recamara                                                          $          2,227.80 Investor‐Lender
  112              7450 S Luella Avenue            2220 East 75th Street     Estate Property    Gerry / Clarice Recamara                                                          $          2,227.80 Investor‐Lender
  118             400 S Kilbourn Avenue                                      Former Property    Gerry / Clarice Recamara                                                          $          2,227.80 Investor‐Lender
   1            1700‐08 Juneway Terrace                                      Estate Property    Gilbert D Sherman Declaration of Trust 7/30/2013                                  $         60,500.00 Investor‐Lender       $    50,000.00
  71               701‐13 S 5th Avenue                  414 Walnut           Estate Property    Girish Juneja Self Directed Roth IRA, Custodian: Kingdom Trust Acc# 3567954194    $         57,800.00   Equity Investor     $    50,000.00
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Girl Cat Capital West LLC, Valentina Salge, President                             $       212,145.00 Investor‐Lender        $    50,000.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Girl Cat Capital West LLC, Valentina Salge, President                             $       212,145.00 Investor‐Lender        $     8,426.00
  68          6217‐27 S Dorchester Avenue                                    Estate Property    Girl Cat Capital West LLC, Valentina Salge, President                             $       212,145.00 Investor‐Lender        $    12,145.00
  72            7024‐32 S Paxton Avenue                                      Estate Property    Girl Cat Capital West LLC, Valentina Salge, President                             $       212,145.00 Investor‐Lender        $    50,000.00
  77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property    Girl Cat Capital West LLC, Valentina Salge, President                             $       212,145.00 Investor‐Lender        $    25,000.00
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property    Girl Cat Capital West LLC, Valentina Salge, President                             $       212,145.00 Investor‐Lender        $    16,574.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Girl Cat Capital West LLC, Valentina Salge, President                             $       212,145.00 Investor‐Lender        $   100,000.00
  N/A                       N/A                                              Other              Gomberg Sharfman, PC                                                              $            748.00    Independent
                                                                                                                                                                                                          Contractor
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Gowrisankar Challagundla                                                          $         59,750.00 Investor‐Lender       $    50,000.00
    1           1700‐08 Juneway Terrace                                      Estate Property    Grace Ndungu                                                                      $         45,169.81 Investor‐Lender       $    50,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $   149,081.00
    6          6437‐41 S Kenwood Avenue                                      Estate Property    Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $    57,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property    Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $   100,000.00
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $   150,000.00
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property    Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $   100,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $    50,000.00
   94           816‐20 E Marquette Road                                      Estate Property    Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $    35,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $    53,000.00
  904                    SSDF4                                               Fund               Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $    50,000.00
  908                    SSDF8                                               Fund               Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $    50,000.00
10 to 12                  CCF1                                               Fund               Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $   100,000.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property    Grathia Corp                                                                      $     1,184,081.00 Investor‐Lender        $    50,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Graystone Realty, LLC                                                             $         52,000.01 Investor‐Lender       $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Green Light Investments, LLC                                                      $         90,000.00 Investor‐Lender       $    50,000.00
   84            7051 S Bennett Avenue                                       Estate Property    Green Light Investments, LLC                                                      $         90,000.00                       $    40,000.00
  904                    SSDF4                                               Fund               Greg Oja                                                                          $         15,000.00   Equity Investor     $    15,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property    Greg S. Wirth                                                                     $          7,300.00   Equity Investor     $     7,300.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property    Greg S. Wirth                                                                     $         12,600.00   Equity Investor     $    12,600.00
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Greg S. Wirth                                                                     $          7,300.00 Investor‐Lender       $     7,300.00
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Greg S. Wirth                                                                     $         12,600.00 Investor‐Lender       $    12,600.00


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                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                 Alternative Address           Type                                                  Claimant Name     Claimed Amount Claim Category as            Amount
Number                                                                                                                                                      (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                          Amount in Claim            Form            Invested in
                                                                                                                                                              Category as                              Property
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
   62              7834‐44 S Ellis Avenue                                   Estate Property     Gregory C. Snyder                                         $         50,000.00 Investor‐Lender       $    50,000.00
   88           7546‐48 S Saginaw Avenue                                    Estate Property     Gregory M. Wetz                                           $         50,000.00 Investor‐Lender       $    50,000.00
    1            1700‐08 Juneway Terrace                                    Estate Property     Gregory R Scott and Gene X Erquiaga                       $         52,333.32 Investor‐Lender       $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                             Estate Property     Guenter Scheel and Karen Scheel                           $         25,000.00 Investor‐Lender       $    25,000.00
13 to 15                    CCF2                                            Fund                Gurinder Singh Dhillon                                    $         50,000.00   Equity Investor     $    50,000.00
   82            6355‐59 S Talman Avenue            2616‐22 W 64th Street   Estate Property     H&W Management Company, Inc.                              $       200,000.00 Investor‐Lender        $   200,000.00
10 to 12        7301‐09 S Stewart Avenue                                    Fund                H&W Management Company, Inc.                              $       327,616.00    Equity Investor     $   327,616.00
               7500‐06 S Eggleston Avenue
                   3030‐32 E 79th Street
  93            7953‐59 S Marquette Road            2708‐10 E 80th Street    Estate Property    Halbur, William and Janice                                $       20,000.00    Investor‐Lender      $     8,763.00
  111              6558 S Vernon Avenue             416‐24 E 66th Street     Estate Property    Halbur, William and Janice                                $       20,000.00    Investor‐Lender      $    20,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    Halbur, William and Janice                                $       20,000.00    Investor‐Lender      $    20,000.00
  61            7237‐43 S Bennett Avenue                                     Estate Property    Hang Zhou and Lu Dong                                     $      157,821.57    Investor‐Lender      $    50,000.00
  81           4317‐19 S Michigan Avenue                                     Estate Property    Hang Zhou and Lu Dong                                     $      157,821.57    Investor‐Lender      $    50,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Hang Zhou and Lu Dong                                     $      157,821.57    Investor‐Lender      $    50,000.00
  906                      SSDF6                                             Fund               Hang Zhou and Lu Dong                                                           Equity Investor
   4             5450‐52 S Indiana Avenue             118‐132 E Garfield     Estate Property    Harendra Pal                                              $       11,165.00    Investor‐Lender      $     8,932.00
  62               7834‐44 S Ellis Avenue                                    Estate Property    HARENDRA PAL                                              $      125,000.00    Investor‐Lender      $   100,000.00
  94             816‐20 E Marquette Road                                     Estate Property    Harendra Pal                                              $      105,400.00    Investor‐Lender      $   100,000.00
  95              8201 S Kingston Avenue                                     Estate Property    Harendra Pal                                              $      125,000.00    Investor‐Lender      $   100,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    Harendra Pal                                              $       51,335.00    Investor‐Lender      $    41,068.00
   2            4533‐47 S Calumet Avenue                                     Estate Property    Harvey Singer                                             $      854,387.63    Investor‐Lender      $   100,000.00
  58            5955 S Sacramento Avenue            2948‐56 W 60th Street    Estate Property    Harvey Singer                                             $      854,387.63    Investor‐Lender      $   198,500.00
  60             7026‐42 S Cornell Avenue                                    Estate Property    Harvey Singer                                             $      854,387.63    Investor‐Lender      $    51,500.00
  81           4317‐19 S Michigan Avenue                                     Estate Property    Harvey Singer                                             $      854,387.63    Investor‐Lender      $   210,000.00
  86            7442‐48 S Calumet Avenue                                     Estate Property    Harvey Singer                                             $      854,387.63    Investor‐Lender      $    37,500.00
  90            7656‐58 S Kingston Avenue         2514‐2520 East 77th Street Estate Property    Harvey Singer                                             $      854,387.63    Investor‐Lender      $   100,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    Harvey Singer                                             $      854,387.63    Investor‐Lender      $    65,000.00
  92              7748‐52 S Essex Avenue            2450‐52 E 78th Street    Estate Property    Heidi H. Liu                                              $       76,079.07     Equity Investor     $    50,000.00
  49           7300‐04 St Lawrence Avenue                                    Estate Property    Helen Boyd                                                $      105,000.00    Investor‐Lender      $    50,000.00
  50                7760 S Coles Avenue                                      Estate Property    Helen Boyd                                                $      105,000.00    Investor‐Lender      $    55,000.00
102‐106           7927‐49 S Essex Avenue                                     Estate Property    Helen Boyd                                                $      105,000.00    Investor‐Lender      $   150,000.00
   1             1700‐08 Juneway Terrace                                     Estate Property    Helene D Kapsky                                           $      100,000.00    Investor‐Lender      $   100,000.00
   9                8100 S Essex Avenue            2449‐57 East 81st Street Estate Property     Henry C. Scheuller                                        $      246,440.00    Investor‐Lender
  61            7237‐43 S Bennett Avenue                                     Estate Property    Henry C. Scheuller                                        $      246,440.00    Investor‐Lender
  87                7508 S Essex Avenue             2453‐59 E 75th Street    Estate Property    Henry C. Scheuller                                        $      246,440.00    Investor‐Lender
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    Henry C. Scheuller                                        $      246,440.00    Investor‐Lender


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                                                                                     Exhibit 8
                                                                                                       Master Claims List
                                                                                       SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property         Property Address           Alternative Address            Type                                                  Claimant Name          Claimed Amount Claim Category as            Amount
Number                                                                                                                                                   (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                       Amount in Claim            Form            Invested in
                                                                                                                                                           Category as                              Property
                                                                                                                                                      Identified on Claim
                                                                                                                                                             Form)
  77        7750‐58 S Muskegon Avenue      2818‐36 E 78th Street     Estate Property    Henry D. Gallucci                                              $         77,000.00 Investor‐Lender       $    60,000.00
  63         4520‐26 S Drexel Boulevard                              Estate Property    Henry S. Scheuller                                             $         85,400.00   Equity Investor     $    85,000.00
  55            8107‐09 S Ellis Avenue                               Estate Property    Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member    $       505,000.00 Investor‐Lender        $    50,000.00
  68        6217‐27 S Dorchester Avenue                              Estate Property    Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member    $       505,000.00 Investor‐Lender        $    65,000.00
  77        7750‐58 S Muskegon Avenue      2818‐36 E 78th Street     Estate Property    Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member    $       505,000.00 Investor‐Lender        $   125,000.00
  81         4317‐19 S Michigan Avenue                               Estate Property    Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member    $       505,000.00 Investor‐Lender        $    75,000.00
  85        7201‐07 S Dorchester Avenue     1401 E 72nd Street       Estate Property    Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member    $       505,000.00 Investor‐Lender        $    50,000.00
  94          816‐20 E Marquette Road                                Estate Property    Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member    $       505,000.00 Investor‐Lender        $    65,000.00
  100      11117‐11119 S Longwood Drive                              Estate Property    Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member    $       505,000.00 Investor‐Lender        $    75,000.00
  118           400 S Kilbourn Avenue                                Former Property    Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member    $       505,000.00 Investor‐Lender        $    50,000.00
   1          1700‐08 Juneway Terrace                                Estate Property    HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                      $         26,260.28 Investor‐Lender       $    24,000.00
   4          5450‐52 S Indiana Avenue      118‐132 E Garfield       Estate Property    HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                      $         26,260.28 Investor‐Lender       $    26,000.00
  88         7546‐48 S Saginaw Avenue                                Estate Property    HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                      $         26,260.28 Investor‐Lender       $    50,000.00
  51             1401 W 109th Place                                  Estate Property    Hiu Tung Carol                                                 $         62,000.00 Investor‐Lender       $   115,487.00
   6         6437‐41 S Kenwood Avenue                                Estate Property    Hoang Small Trust c/o Dalano Hoang                             $       300,000.00 Investor‐Lender
   9             8100 S Essex Avenue      2449‐57 East 81st Street   Estate Property    Hoang Small Trust c/o Dalano Hoang                             $       300,000.00 Investor‐Lender
  93         7953‐59 S Marquette Road      2708‐10 E 80th Street     Estate Property    Hoang Small Trust c/o Dalano Hoang                             $       300,000.00 Investor‐Lender        $    50,000.00
 96‐99          8326‐58 S Ellis Avenue                               Estate Property    Hoang Small Trust c/o Dalano Hoang                             $       300,000.00 Investor‐Lender
  80            2736‐44 W 64th Street                                Estate Property    Hongjun Li and Sheyu Zhou                                      $         95,370.00 Investor‐Lender       $    93,000.00
  82          6355‐59 S Talman Avenue     2616‐22 W 64th Street      Estate Property    Hopson & Associates LLC                                        $         75,000.00 Investor‐Lender       $    75,000.00
  937              Mezzazine Fund                                    Fund               Hopson & Associates LLC                                        $         75,000.00 Investor‐Lender
   3           5001 S Drexel Boulevard      909 E 50th Street        Estate Property    Horst Siegrfied Filtzer Jr.                                    $         90,983.33 Investor‐Lender       $   100,000.00
   4          5450‐52 S Indiana Avenue      118‐132 E Garfield       Estate Property    Howard and Doris Bybee                                         $         65,000.00 Investor‐Lender       $    15,000.00
  93         7953‐59 S Marquette Road     2708‐10 E 80th Street      Estate Property    Howard and Doris Bybee                                         $         65,000.00 Investor‐Lender       $    50,000.00
  82          6355‐59 S Talman Avenue     2616‐22 W 64th Street      Estate Property    Huiyi Yang                                                     $         37,000.00 Investor‐Lender       $    37,000.00
  87             7508 S Essex Avenue      2453‐59 E 75th Street      Estate Property    Huiyi Yang                                                     $         21,935.00 Investor‐Lender       $    21,935.00
  50             7760 S Coles Avenue                                 Estate Property    Huiyi Yang and Hui Wang                                        $         43,150.22 Investor‐Lender       $    20,166.67
  88         7546‐48 S Saginaw Avenue                                Estate Property    Huiyi Yang and Hui Wang                                        $         43,150.22 Investor‐Lender       $    16,374.00
  94          816‐20 E Marquette Road                                Estate Property    Huiyi Yang and Hui Wang                                        $         43,150.22 Investor‐Lender       $    13,847.00
  62            7834‐44 S Ellis Avenue                               Estate Property    Hutchings, Matt                                                $       362,766.68 Investor‐Lender        $   150,000.00
  68        6217‐27 S Dorchester Avenue                              Estate Property    Hutchings, Matt                                                $       362,766.68 Investor‐Lender        $    50,000.00
  95           8201 S Kingston Avenue                                Estate Property    Hutchings, Matt                                                $       362,766.68 Investor‐Lender        $   150,000.00
  55            8107‐09 S Ellis Avenue                               Estate Property    Hyman J. Small                                                 $         75,000.00 Investor‐Lender
  56              8209 S Ellis Avenue                                Estate Property    Hyman J. Small                                                 $         75,000.00 Investor‐Lender
   4          5450‐52 S Indiana Avenue      118‐132 E Garfield       Estate Property    IG Investment Trust                                            $         27,213.71 Investor‐Lender       $    25,000.00
  904                    SSDF4                                       Fund               Indranie Jodha/Chetram Jodha                                   $         32,000.00   Equity Investor     $    32,000.00
   4          5450‐52 S Indiana Avenue      118‐132 E Garfield       Estate Property    Influx Investments LLC                                         $       100,000.00 Investor‐Lender        $    25,000.00


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                                                                                            Exhibit 8
                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address               Alternative Address           Type                                                 Claimant Name                   Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                 (Total Claimed     Identified on Claim Claimed to be
                                                                                                                                                                     Amount in Claim             Form           Invested in
                                                                                                                                                                         Category as                             Property
                                                                                                                                                                    Identified on Claim
                                                                                                                                                                           Form)
   61           7237‐43 S Bennett Avenue                                  Estate Property    Influx Investments LLC                                                  $       100,000.00 Investor‐Lender       $     50,000.00
10 to 12                  CCF1                                            Fund               Influx Investments LLC                                                  $       100,000.00     Equity Investor   $     25,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Ingrid Beyer and Joel Beyer                                             $         10,346.02 Investor‐Lender      $     10,000.00
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property    Initium LLC/Harry Saint‐Preux                                           $       150,000.00 Investor‐Lender       $     50,000.00
  126         5201‐5207 W Washington Blvd                                 Former Property    Initium LLC/Harry Saint‐Preux                                           $       150,000.00 Investor‐Lender       $     10,000.00
13 to 15                  CCF2                                            Fund               IP Holdings, LLC                                                        $         50,000.00 Investor‐Lender      $     50,000.00
   93           7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property    iPlan Group Agent for Custodian FBO Daniel O'Hare IRA                   $         50,000.00 Investor‐Lender      $     50,000.00
  902                     SSDF2                                           Fund               IPlan Group Agent for Custodian FBO David Stratton IRA                  $         55,700.00    Equity Investor   $     44,000.00
  904                     SSDF4                                           Fund               IPlan Group Agent for Custodian FBO David Stratton IRA                  $         55,700.00    Equity Investor   $     11,700.00
  122          7616‐7624 S Phillips Avenue                                Former Property    iPlan Group Agent for Custodian FBO James B Ploeger IRA                 $         72,000.00 Investor‐Lender      $     55,000.00
  906                     SSDF6                                           Fund               iPlan Group Agent for Custodian FBO James B Ploeger IRA                 $         72,000.00 Investor‐Lender      $     55,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    iPlan Group Agent for Custodian FBO James B Ploeger IRA                 $         72,000.00 Investor‐Lender      $     17,000.00
   64          4611‐17 S Drexel Boulevard                                 Estate Property    iPlan Group Agent for Custodian FBO Jyotsna Sharma                      $         50,000.00 Investor‐Lender      $     25,000.00
   74             3074 Cheltenham Place            7836 S Shore Drive     Estate Property    iPlan Group Agent for Custodian FBO Jyotsna Sharma IRA                  $         50,000.00 Investor‐Lender      $     25,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    iPlan Group Agent for Custodian FBO Marvette Cofield IRA 3321057        $         10,000.00 Investor‐Lender      $     10,000.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    iPlan Group Agent for Custodian FBO Paula Levand Roth                   $         34,819.65 Investor‐Lender      $     18,497.00
  135            4930 W Cornelia Avenue                                   Former Property    iPlan Group Agent for Custodian FBO Paula Levand Roth                   $         34,819.65 Investor‐Lender      $     16,322.65
    5           7749‐59 S Yates Boulevard                                 Estate Property    iPlan Group Agent for Custodian FBO Rama Voddi Roth IRA                 $         33,000.00 Investor‐Lender      $     33,000.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    iPlan Group Agent for Custodian FBO Stephen B Apple ROTH IRA            $         43,705.00 Investor‐Lender      $     43,705.00
    5           7749‐59 S Yates Boulevard                                 Estate Property    iPlan Group FBO Garwood Weatherhead IRA Account # 3320844               $       184,270.00 Investor‐Lender       $     13,096.00
    5           7749‐59 S Yates Boulevard                                 Estate Property    iPlan Group FBO Garwood Weatherhead IRA Account # 3421004               $       184,270.00 Investor‐Lender       $     16,152.00
   72            7024‐32 S Paxton Avenue                                  Estate Property    iPlan Group FBO Randall Pong IRA                                        $         60,568.03 Investor‐Lender and
                                                                                                                                                                                            Equity Investor
  77           7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property    iPlan Group FBO Randall Pong IRA                                        $         60,568.03 Investor‐Lender and
                                                                                                                                                                                            Equity Investor
  85          7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property    iPlan Group FBO Randall Pong IRA                                        $         60,568.03 Investor‐Lender and
                                                                                                                                                                                            Equity Investor
  87               7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    iPlan Group FBO Randall Pong IRA                                        $         60,568.03 Investor‐Lender and
                                                                                                                                                                                            Equity Investor
13 to 15                  CCF2                                            Fund               iPlan Group FBO Randall Pong IRA                                        $         60,568.03 Investor‐Lender and $       7,000.00
                                                                                                                                                                                            Equity Investor
   1            1700‐08 Juneway Terrace                                   Estate Property    iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018    $         46,000.00 Investor‐Lender      $     20,000.00
   5            7749‐59 S Yates Boulevard                                 Estate Property    iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018    $         46,000.00 Investor‐Lender      $      6,000.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018    $         46,000.00 Investor‐Lender      $     20,000.00
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    iPlanGroup Agent for Custodian FBO Charles Michael Anglin               $       238,889.23 Investor‐Lender       $     15,000.00
   5            7749‐59 S Yates Boulevard                                 Estate Property    iPlanGroup Agent for Custodian FBO Charles Michael Anglin               $       238,889.23 Investor‐Lender       $     50,000.00
  77          7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property    iPlanGroup Agent for Custodian FBO Charles Michael Anglin               $       238,889.23 Investor‐Lender       $     10,633.00


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                                                                                              Exhibit 8
                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                 Alternative Address           Type                                                  Claimant Name                        Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                         (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                             Amount in Claim           Form            Invested in
                                                                                                                                                                                 Category as                             Property
                                                                                                                                                                            Identified on Claim
                                                                                                                                                                                   Form)
   90          7656‐58 S Kingston Avenue          2514‐2520 East 77th Street Estate Property    iPlanGroup Agent for Custodian FBO Charles Michael Anglin                    $       165,739.00   Equity Investor     $    50,000.00
   90          7656‐58 S Kingston Avenue          2514‐2520 East 77th Street Estate Property    iPlanGroup Agent for Custodian FBO Charles Michael Anglin                    $       238,889.23 Investor‐Lender       $    50,000.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property    iPlanGroup Agent for Custodian FBO Charles Michael Anglin                    $       165,739.00   Equity Investor     $    52,475.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property    iPlanGroup Agent for Custodian FBO Charles Michael Anglin                    $       238,889.23 Investor‐Lender       $    52,474.56
  906                     SSDF6                                              Fund               iPlanGroup Agent for Custodian FBO Charles Michael Anglin                    $       238,889.23 Investor‐Lender       $    52,474.56
    1           1700‐08 Juneway Terrace                                      Estate Property    iPlanGroup Agent for Custodian FBO Charles Powell IRA                        $       260,000.00 Investor‐Lender
    2          4533‐47 S Calumet Avenue                                      Estate Property    iPlanGroup Agent for Custodian FBO Charles Powell IRA                        $       260,000.00 Investor‐Lender
    4           5450‐52 S Indiana Avenue              118‐132 E Garfield     Estate Property    iPlanGroup Agent for Custodian FBO Charles Powell IRA                        $       260,000.00 Investor‐Lender
    9              8100 S Essex Avenue             2449‐57 East 81st Street Estate Property     iPlanGroup Agent for Custodian FBO Charles Powell IRA                        $       260,000.00 Investor‐Lender
   59         6001‐05 S Sacramento Avenue           2945‐51 W 60th Street    Estate Property    iPlanGroup Agent for Custodian FBO Charles Powell IRA                        $       260,000.00 Investor‐Lender
   62             7834‐44 S Ellis Avenue                                     Estate Property    iPlanGroup Agent for Custodian FBO Charles Powell IRA                        $       260,000.00 Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    iPlanGroup Agent for Custodian FBO Charles Powell IRA                        $       260,000.00 Investor‐Lender
   88          7546‐48 S Saginaw Avenue                                      Estate Property    iPlanGroup Agent for Custodian FBO Charles Powell IRA                        $       260,000.00 Investor‐Lender
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    iPlanGroup Agent for Custodian FBO Charles Powell IRA                        $       260,000.00 Investor‐Lender
    2          4533‐47 S Calumet Avenue                                      Estate Property    iPlanGroup Agent for Custodian FBO Christopher Mora IRA Account # 3320826    $         67,000.00 Investor‐Lender      $    67,000.00
    2          4533‐47 S Calumet Avenue                                      Estate Property    iPlanGroup Agent for Custodian FBO Joshua Mora IRA Account # 3300975         $         57,000.00 Investor‐Lender      $    57,000.00
    2          4533‐47 S Calumet Avenue                                      Estate Property    iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                 $         71,321.00 Investor‐Lender      $       971.00
    9              8100 S Essex Avenue             2449‐57 East 81st Street Estate Property     iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                 $         71,321.00 Investor‐Lender      $       714.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                 $         71,321.00 Investor‐Lender      $     7,800.00
   76          7635‐43 S East End Avenue                                     Estate Property    iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                 $         71,321.00 Investor‐Lender      $    10,000.00
   83           6356 S California Avenue             2804 W 64th Street      Estate Property    iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                 $         71,321.00 Investor‐Lender      $     9,321.00
   85         7201‐07 S Dorchester Avenue             1401 E 72nd Street     Estate Property    iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                 $         71,321.00 Investor‐Lender      $     7,800.00
   89          7600‐10 S Kingston Avenue            2527‐29 E 76th Street    Estate Property    iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                 $         71,321.00 Investor‐Lender      $     3,715.00
  120            7823‐27 S Essex Avenue                                      Former Property    iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                 $         71,321.00 Investor‐Lender      $    31,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    iPlanGroup Agent for Custodian FBO Lyle J Swiney IRA                         $       100,000.00 Investor‐Lender       $   100,000.00
    2          4533‐47 S Calumet Avenue                                      Estate Property    IPlanGroup Agent for Custodian FBO Mark Young                                $       380,000.00 Investor‐Lender       $    50,000.00
   69             6250 S Mozart Avenue              2832‐36 W 63rd Street    Estate Property    IPlanGroup Agent for Custodian FBO Mark Young                                $       380,000.00 Investor‐Lender       $    55,000.00
   74            3074 Cheltenham Place                7836 S Shore Drive     Estate Property    IPlanGroup Agent for Custodian FBO Mark Young                                $       380,000.00 Investor‐Lender       $   100,000.00
   85         7201‐07 S Dorchester Avenue             1401 E 72nd Street     Estate Property    IPlanGroup Agent for Custodian FBO Mark Young                                $       380,000.00 Investor‐Lender       $    20,000.00
   94           816‐20 E Marquette Road                                      Estate Property    IPlanGroup Agent for Custodian FBO Mark Young                                $       380,000.00 Investor‐Lender       $    50,000.00
   95            8201 S Kingston Avenue                                      Estate Property    IPlanGroup Agent for Custodian FBO Mark Young                                $       380,000.00 Investor‐Lender       $    60,000.00
10 to 12                   CCF1                                              Fund               IPlanGroup Agent for Custodian FBO Mark Young                                $       380,000.00 Investor‐Lender       $    50,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    IPlanGroup Agent for Custodian FBO Mark Young                                $       380,000.00 Investor‐Lender       $    45,000.00
   86          7442‐48 S Calumet Avenue                                      Estate Property    iPlanGroup Agent for Custodian FBO Mary Lohrman IRA                          $         51,783.33 Investor‐Lender      $    50,000.00
   60           7026‐42 S Cornell Avenue                                     Estate Property    iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA               $         44,433.00 Investor‐Lender      $       817.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA               $         44,433.00 Investor‐Lender      $     7,200.00
   83           6356 S California Avenue             2804 W 64th Street      Estate Property    iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA               $         44,433.00 Investor‐Lender      $     7,152.00


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                                                                                              Exhibit 8
                                                                                                                Master Claims List
                                                                                                SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                 Alternative Address            Type                                                  Claimant Name              Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                (Total Claimed     Identified on Claim Claimed to be
                                                                                                                                                                    Amount in Claim             Form           Invested in
                                                                                                                                                                        Category as                             Property
                                                                                                                                                                   Identified on Claim
                                                                                                                                                                          Form)
  89           7600‐10 S Kingston Avenue            2527‐29 E 76th Street    Estate Property     iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA     $         44,433.00 Investor‐Lender      $     14,264.00
  141               431 E 42nd Place                                         Estate Property     iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA     $         44,433.00 Investor‐Lender      $     22,944.44
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property     iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA     $         44,433.00 Investor‐Lender      $      5,000.00
  68          6217‐27 S Dorchester Avenue                                    Estate Property     iPlanGroup Agent for Custodian FBO Michelle Grimes IRA #3301097    $         56,636.17 Investor‐Lender      $     50,000.00
   4            5450‐52 S Indiana Avenue             118‐132 E Garfield      Estate Property     iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA       $       110,000.00 Investor‐Lender       $     10,000.00
   9              8100 S Essex Avenue              2449‐57 East 81st Street Estate Property      iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA       $       110,000.00 Investor‐Lender       $     50,000.00
  85          7201‐07 S Dorchester Avenue            1401 E 72nd Street      Estate Property     iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA       $       110,000.00 Investor‐Lender       $     50,000.00
  86           7442‐48 S Calumet Avenue                                      Estate Property     Iplangroup agent for custodian FBO Richard Lohrman IRA             $       129,701.60 Investor‐Lender       $     35,000.00
  88           7546‐48 S Saginaw Avenue                                      Estate Property     Iplangroup agent for custodian FBO Richard Lohrman IRA             $       129,701.60 Investor‐Lender       $ 185,000.00
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property     iPlanGroup Agent for Custodian FBO Swetha Voddi IRA                $         14,000.00 Investor‐Lender      $     14,000.00
  80             2736‐44 W 64th Street                                       Estate Property     iPlanGroup Agent for Custodian Leah Kalish IRA                     $       119,000.00 Investor‐Lender       $     70,000.00
  90           7656‐58 S Kingston Avenue          2514‐2520 East 77th Street Estate Property     iPlanGroup Agent for Custodian Leah Kalish IRA                     $       119,000.00 Investor‐Lender       $     49,000.00
  74             3074 Cheltenham Place               7836 S Shore Drive      Estate Property     Ira J. Fields Living Trust, Glynis Sheppard, Trustee               $         65,750.00 Investor‐Lender and $      50,000.00
                                                                                                                                                                                           Equity Investor
  904                     SSDF4                                               Fund               IRA Resources, Inc., FBO Edward Joseph Day, Account # 35‐36374     $         55,555.73    Equity Investor   $     48,553.00
   1            1700‐08 Juneway Terrace                                       Estate Property    IRA Services Trust Company CFBO Melbourne Kimsey II                $       150,000.00     Equity Investor   $     50,000.00
  100        11117‐11119 S Longwood Drive                                     Estate Property    IRA Services Trust Company CFBO Melbourne Kimsey II                $       150,000.00     Equity Investor   $     50,000.00
  901                     SSDF1                                               Fund               IRA Services Trust Company CFBO Melbourne Kimsey II                $       150,000.00     Equity Investor   $     50,000.00
  901                     SSDF1                                               Fund               IRA Services Trust Company IRA220656 for Jean‐Marc Cabrol          $       381,650.00     Equity Investor   $ 381,650.00
   4            5450‐52 S Indiana Avenue              118‐132 E Garfield      Estate Property    IRA Services Trust Custodian FBO Ronald Stephen Klein              $       114,666.74 Investor‐Lender       $     50,000.00
 96‐99            8326‐58 S Ellis Avenue                                      Estate Property    IRA Services Trust Custodian FBO Ronald Stephen Klein              $       114,666.74 Investor‐Lender       $     50,000.00
  79       6160‐6212 S Martin Luther King Drive                               Estate Property    Irene Gacad                                                        $         26,103.82 Investor‐Lender      $     25,000.00
  60            7026‐42 S Cornell Avenue                                      Estate Property    Ivan A. Campbell                                                   $         52,000.00 Investor‐Lender
  88           7546‐48 S Saginaw Avenue                                       Estate Property    Ivan A. Campbell                                                   $         52,000.00 Investor‐Lender
   9               8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property    James & Suzanne Mandeville                                         $       113,918.75     Equity Investor   $ 110,000.00
   4            5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property    James Anthony Ande                                                 $         75,000.00 Investor‐Lender      $     25,000.00
  63           4520‐26 S Drexel Boulevard                                     Estate Property    James Anthony Ande                                                 $         75,000.00    Equity Investor   $     75,000.00
  64           4611‐17 S Drexel Boulevard                                     Estate Property    James Anthony Ande                                                 $         75,000.00 Investor‐Lender      $     50,000.00
   9               8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property    James Clements                                                     $       185,910.00 Investor‐Lender       $     50,000.00
  59          6001‐05 S Sacramento Avenue           2945‐51 W 60th Street     Estate Property    James Clements                                                     $       185,910.00 Investor‐Lender       $     70,000.00
  76           7635‐43 S East End Avenue                                      Estate Property    James Clements                                                     $       185,910.00 Investor‐Lender       $     20,000.00
  92             7748‐52 S Essex Avenue             2450‐52 E 78th Street     Estate Property    James Clements                                                     $       185,910.00 Investor‐Lender       $     50,000.00
  124            6801 S East End Avenue                                       Former Property    James Clements                                                     $       185,910.00 Investor‐Lender
  904                     SSDF4                                               Fund               James Henderson                                                    $         49,200.00 Investor‐Lender and $      49,200.00
                                                                                                                                                                                           Equity Investor
  74             3074 Cheltenham Place               7836 S Shore Drive       Estate Property    James Hoven                                                        $         50,000.00 Investor‐Lender      $     50,000.00
   9              8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property    James M McKnight and Silma L McKnight                              $          5,546.87 Investor‐Lender      $      6,000.00


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                                                                                             Exhibit 8
                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                Alternative Address            Type                                                  Claimant Name     Claimed Amount Claim Category as            Amount
Number                                                                                                                                                      (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                          Amount in Claim            Form            Invested in
                                                                                                                                                              Category as                              Property
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    James M McKnight and Silma L McKnight                     $       140,325.13 Investor‐Lender        $    85,000.00
  67               1131‐41 E 79th Place                                      Estate Property    James M McKnight and Silma L McKnight                     $       140,325.13 Investor‐Lender        $    11,000.00
  87               7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    James M McKnight and Silma L McKnight                     $       140,325.13 Investor‐Lender        $    11,000.00
  904                     SSDF4                                              Fund               James M McKnight and Silma L McKnight                     $          5,546.87   Equity Investor     $     6,000.00
  904                     SSDF4                                              Fund               James M McKnight and Silma L McKnight                     $       140,325.13 Investor‐Lender        $    48,000.00
  61            7237‐43 S Bennett Avenue                                     Estate Property    James Patrick Sullivan                                    $         20,000.00 Investor‐Lender       $    20,000.00
  61            7237‐43 S Bennett Avenue                                     Estate Property    James Patrick Sullivan                                    $         80,750.00 Investor‐Lender       $    30,000.00
  71               701‐13 S 5th Avenue                 414 Walnut            Estate Property    James Patrick Sullivan                                    $         80,750.00 Investor‐Lender       $    50,000.00
  87               7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    James Taber                                               $       125,000.00 Investor‐Lender        $    50,000.00
  115             109 N Laramie Avenue                                       Former Property    James Taber                                               $       125,000.00 Investor‐Lender        $    50,000.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    James Tutsock                                             $       900,000.00 Investor‐Lender        $    47,286.00
  57           8214‐16 S Ingleside Avenue                                    Estate Property    James Tutsock                                             $       900,000.00 Investor‐Lender
  63           4520‐26 S Drexel Boulevard                                    Estate Property    James Tutsock                                             $       169,483.00    Equity Investor     $   319,483.00
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property    James Tutsock                                             $       900,000.00 Investor‐Lender
  100        11117‐11119 S Longwood Drive                                    Estate Property    James Tutsock                                             $       169,483.00    Equity Investor     $   250,000.00
  112              7450 S Luella Avenue            2220 East 75th Street     Estate Property    James Tutsock                                             $       900,000.00 Investor‐Lender        $   180,517.00
 13‐15            2909‐19 E 78th Street                                      Fund               James Tutsock                                             $       169,483.00    Equity Investor     $   100,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
   64          4611‐17 S Drexel Boulevard                                    Estate Property    James Walsh                                               $      200,000.00    Investor‐Lender      $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    James Walsh                                               $      200,000.00    Investor‐Lender      $    50,000.00
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street      Estate Property    James Walsh                                               $      200,000.00    Investor‐Lender      $   100,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property    Jane Shafrin                                              $      110,000.00    Investor‐Lender      $    50,000.00
13 to 15                   CCF2                                              Fund               Jane Shafrin                                              $      110,000.00    Investor‐Lender      $    60,000.00
    1           1700‐08 Juneway Terrace                                      Estate Property    JANICE BURRELL                                            $      160,543.38    Investor‐Lender      $    87,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    JANICE BURRELL                                            $      160,543.38    Investor‐Lender      $    50,000.00
  145          4755 S St Lawrence Avenue                                     Former Property    Jannapureddy Brothers                                     $       19,251.27     Equity Investor     $   140,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property    Jason Park                                                $       38,000.00    Investor‐Lender      $    25,000.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property    Jason Park                                                $       38,000.00    Investor‐Lender      $    10,000.00
    1           1700‐08 Juneway Terrace                                      Estate Property    Jason Ragan ‐ TSA                                         $      128,050.00     Equity Investor     $    10,000.00
    1           1700‐08 Juneway Terrace                                      Estate Property    Jason Ragan ‐ TSA                                         $      473,079.71     Equity Investor     $    20,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Jason Ragan ‐ TSA                                         $      327,324.29     Equity Investor     $     3,451.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Jason Ragan ‐ TSA                                         $      327,324.29     Equity Investor     $     1,547.00
   60           7026‐42 S Cornell Avenue                                     Estate Property    Jason Ragan ‐ TSA                                         $      327,324.29     Equity Investor     $     1,241.00
   61           7237‐43 S Bennett Avenue                                     Estate Property    Jason Ragan ‐ TSA                                         $      473,079.71     Equity Investor     $    25,500.00
   77         7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property    Jason Ragan ‐ TSA                                         $      327,324.29     Equity Investor     $     2,022.00
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property    Jason Ragan ‐ TSA                                         $      327,324.29     Equity Investor     $     4,747.00


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                                                                                             Exhibit 8
                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                Alternative Address            Type                                                  Claimant Name     Claimed Amount Claim Category as           Amount
Number                                                                                                                                                      (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                          Amount in Claim           Form            Invested in
                                                                                                                                                              Category as                             Property
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Jason Ragan ‐ TSA                                         $       327,324.29   Equity Investor     $   110,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    Jason Ragan ‐ TSA                                         $       128,050.00   Equity Investor     $    20,600.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    Jason Ragan ‐ TSA                                         $       473,079.71   Equity Investor     $    16,100.00
   89          7600‐10 S Kingston Avenue            2527 E 76th Street       Estate Property    Jason Ragan ‐ TSA                                         $       473,079.71   Equity Investor
  109           4750‐52 S Indiana Avenue                                     Estate Property    Jason Ragan ‐ TSA                                         $       128,050.00   Equity Investor     $    80,000.00
  130            4511 N Merimac Avenue                                       Former Property    Jason Ragan ‐ TSA                                         $       473,079.71   Equity Investor     $    21,522.04
  135            4930 W Cornelia Avenue                                      Former Property    Jason Ragan ‐ TSA                                         $       473,079.71   Equity Investor     $     5,525.25
  904                     SSDF4                                              Fund               Jason Ragan ‐ TSA                                         $       327,324.29   Equity Investor     $    50,000.00
  906                     SSDF6                                              Fund               Jason Ragan ‐ TSA                                         $       327,324.29   Equity Investor     $    60,000.00
  908                     SSDF8                                              Fund               Jason Ragan ‐ TSA                                         $       128,050.00   Equity Investor     $    17,450.00
  908                     SSDF8                                              Fund               Jason Ragan ‐ TSA                                         $       327,324.29   Equity Investor     $    54,289.29
  911               Hybrid Capital Fund                                      Fund               Jason Ragan ‐ TSA                                         $       473,079.71   Equity Investor     $       243.00
13 to 15                   CCF2                                              Fund               Jason Ragan ‐ TSA                                         $       327,324.29   Equity Investor     $   100,000.00
 13‐15             2909‐19 E 78th Street                                     Fund               Jason Ragan ‐ TSA                                         $       473,079.71   Equity Investor     $    54,500.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
 96‐99            8326‐50 S Ellis Avenue                                     Estate Property    Jason Ragan ‐ TSA                                         $      473,079.71     Equity Investor
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property    Jay Sutherland                                            $       51,749.99    Investor‐Lender     $    50,000.00
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street      Estate Property    JBMacy Solo 401K Trust                                    $       61,950.00    Investor‐Lender     $    60,000.00
   61           7237‐43 S Bennett Avenue                                     Estate Property    JDSKPS LLC, Jeffrey Steybe Mgr                            $      156,000.00    Investor‐Lender     $   150,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Jeffery B McMeans                                         $       53,333.35    Investor‐Lender     $    50,000.00
13 to 15                   CCF2                                              Fund               Jeffery B McMeans                                         $       53,203.10     Equity Investor    $    50,000.00
   40           7953 S Woodlawn Avenue                                       Estate Property    Jeffrey Lee Blankenship                                   $       89,822.12    Investor‐Lender     $    30,629.18
   63          4520‐26 S Drexel Boulevard                                    Estate Property    Jeffrey Lee Blankenship                                   $      103,698.00     Equity Investor
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Jeffrey Lee Blankenship                                   $      103,698.00     Equity Investor
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Jeffrey Lee Blankenship                                   $       89,822.12    Investor‐Lender     $    75,855.00
   71              701‐13 S 5th Avenue                  414 Walnut           Estate Property    Jeffrey Lee Blankenship                                   $       89,822.12    Investor‐Lender     $    93,698.00
  131           4108 N Monticello Avenue                                     Former Property    Jeffrey Lee Blankenship                                   $       89,822.12    Investor‐Lender     $    48,890.12
   76          7635‐43 S East End Avenue                                     Estate Property    Jeffry M. Edwards                                         $       50,000.00    Investor‐Lender     $    50,000.00
   70             638‐40 N Avers Avenue                                      Estate Property    Jenks, Nicolas and Joyce                                  $      155,249.47    Investor‐Lender     $    50,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Jenks, Nicolas and Joyce                                  $      155,249.47    Investor‐Lender     $    25,000.00
  901                     SSDF1                                              Fund               Jeremy Hemphill                                           $       54,000.00     Equity Investor    $    50,000.00
  901                     SSDF1                                              Fund               Jeremy Hemphill for REAP, LLC                             $      108,000.00     Equity Investor    $   100,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property    Jerome B. Shaffer                                         $      250,000.00    Investor‐Lender     $    14,736.00
   71              701‐13 S 5th Avenue                  414 Walnut           Estate Property    Jerome B. Shaffer                                         $      250,000.00    Investor‐Lender     $    85,264.00
   86          7442‐48 S Calumet Avenue                                      Estate Property    Jerome B. Shaffer                                         $      250,000.00    Investor‐Lender     $   150,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Jerome B. Shaffer and Sharon Shaffer                      $      150,000.00    Investor‐Lender     $   150,000.00


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                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address              Alternative Address            Type                                                 Claimant Name     Claimed Amount Claim Category as            Amount
Number                                                                                                                                                   (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                       Amount in Claim            Form            Invested in
                                                                                                                                                           Category as                              Property
                                                                                                                                                      Identified on Claim
                                                                                                                                                             Form)
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Jerome B. Shaffer, Trustee                                $       100,000.00 Investor‐Lender        $   100,000.00
   84            7051 S Bennett Avenue                                    Estate Property    Jerry Adamsky                                             $         84,000.00 Investor‐Lender       $    50,000.00
13 to 15                 CCF2                                             Fund               Jerry Adamsky                                             $         84,000.00 Investor‐Lender       $    50,000.00
  N/A                     N/A                                             Other              Jessica Baier                                             $          1,982.05    Independent
                                                                                                                                                                               Contractor
    1           1700‐08 Juneway Terrace                                   Estate Property    Jill Meekcoms (Halverson)                                 $       113,999.92 Investor‐Lender        $    50,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property    Jill Meekcoms (Halverson)                                 $       113,999.92 Investor‐Lender        $    50,000.00
   76          7635‐43 S East End Avenue                                  Estate Property    JK Electron, Inc., Jan Kobylarczyk                        $         13,250.00   Trade Creditor      $    13,250.00
   56               8209 S Ellis Avenue                                   Estate Property    JKG Investments, LLC                                      $         25,000.00 Investor‐Lender       $    25,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    JLO Enterprises LLC                                       $         54,714.37 Investor‐Lender       $    37,000.00
   71              701‐13 S 5th Avenue                414 Walnut          Estate Property    JLO Enterprises LLC                                       $         54,714.37 Investor‐Lender       $    15,750.00
  904                     SSDF4                                           Fund               JLO Enterprises LLC                                       $       315,002.49    Equity Investor     $    20,000.00
10 to 12        7301‐09 S Stewart Avenue                                  Fund               JLO Enterprises LLC                                       $       315,002.49    Equity Investor     $   250,000.00
               7500‐06 S Eggleston Avenue
                  3030‐32 E 79th Street
 13‐15            2909‐19 E 78th Street                                   Fund               JLO Enterprises LLC                                       $      315,002.49     Equity Investor     $    33,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
    1           1700‐08 Juneway Terrace                                   Estate Property    JML Roth LLC                                             $         4,140.01    Investor‐Lender      $     4,000.00
10 to 12        7301‐09 S Stewart Avenue                                  Fund               JML Roth LLC                                             $        31,200.00     Equity Investor     $    30,000.00
               7500‐06 S Eggleston Avenue
                  3030‐32 E 79th Street
  68          6217‐27 S Dorchester Avenue                                 Estate Property    JN Investment Trust, Trustee Janice Nelson                $      160,000.00 Investor‐Lender         $    50,000.00
  85          7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property    JN Investment Trust, Trustee Janice Nelson                $      160,000.00 Investor‐Lender         $    60,000.00
  124            6801 S East End Avenue                                   Former Property    JN Investment Trust, Trustee Janice Nelson                $      160,000.00 Investor‐Lender         $    50,000.00
  68          6217‐27 S Dorchester Avenue                                 Estate Property    Joe F Siracusa                                            $       60,000.00 Investor‐Lender         $    60,000.00
  62              7834‐44 S Ellis Avenue                                  Estate Property    Joel Feingold JFKN Investment Trust                       $       95,000.00 Investor‐Lender         $    30,000.00
  87               7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    Joel Feingold JFKN Investment Trust                       $       95,000.00 Investor‐Lender         $    40,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Joel Feingold JFKN Investment Trust                       $       95,000.00 Investor‐Lender         $    25,000.00
   1            1700‐08 Juneway Terrace                                   Estate Property    John A Martino                                            $      100,000.00 Investor‐Lender         $   100,000.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    John A Martino & Carole J Wysocki                         $       12,171.78 Investor‐Lender         $    50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    John and Cynthia Braden                                   $       43,888.41 Investor‐Lender         $    50,000.00
  904                     SSDF4                                           Fund               John and Cynthia Love                                     $       84,506.24 Investor‐Lender and     $    75,000.00
                                                                                                                                                                            Equity Investor
 13‐15                    CCF2                                            Fund               John Asciutto                                            $        50,000.00    Equity Investor      $    50,000.00
   6           6437‐41 S Kenwood Avenue                                   Estate Property    John B. Allred & Glenda K. Allred                        $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                            Equity Investor


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                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address               Alternative Address           Type                                                 Claimant Name     Claimed Amount Claim Category as           Amount
Number                                                                                                                                                   (Total Claimed    Identified on Claim Claimed to be
                                                                                                                                                       Amount in Claim            Form           Invested in
                                                                                                                                                           Category as                            Property
                                                                                                                                                      Identified on Claim
                                                                                                                                                             Form)
  54             8000‐02 S Justine Street          1541 E 80th Street     Estate Property    John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                             Equity Investor
  55              8107‐09 S Ellis Avenue                                  Estate Property    John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                             Equity Investor
  60            7026‐42 S Cornell Avenue                                  Estate Property    John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                             Equity Investor
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                             Equity Investor
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                             Equity Investor
  100        11117‐11119 S Longwood Drive                                 Estate Property    John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                             Equity Investor
  115             109 N Laramie Avenue                                    Former Property    John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                             Equity Investor
  118             400 S Kilbourn Avenue                                   Former Property    John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                             Equity Investor
  123           7107‐29 S Bennett Avenue                                  Former Property    John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                             Equity Investor
  135            4930 W Cornelia Avenue                                   Former Property    John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and
                                                                                                                                                                             Equity Investor
  904                     SSDF4                                           Fund               John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and $ 443,010.24
                                                                                                                                                                             Equity Investor
 13‐15                    CCF2                                            Fund               John B. Allred & Glenda K. Allred                         $     1,421,646.52 Investor‐Lender and $      50,000.00
                                                                                                                                                                             Equity Investor
   5            7749‐59 S Yates Boulevard                                 Estate Property    John Bloxham                                              $         36,374.24 Investor‐Lender     $     35,000.00
   6           6437‐41 S Kenwood Avenue                                   Estate Property    John Bloxham                                              $         52,000.01 Investor‐Lender     $     50,000.00
  61            7237‐43 S Bennett Avenue                                  Estate Property    John Bloxham                                              $       103,375.00 Investor‐Lender      $ 100,000.00
  62              7834‐44 S Ellis Avenue                                  Estate Property    John Bloxham                                              $         51,762.92 Investor‐Lender     $     50,396.00
  64           4611‐17 S Drexel Boulevard                                 Estate Property    John Bloxham                                              $         51,762.92 Investor‐Lender     $     50,000.00
  69              6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property    John Bloxham                                              $       110,000.00 Investor‐Lender      $      7,009.00
  70             638‐40 N Avers Avenue                                    Estate Property    John Bloxham                                              $         63,999.92 Investor‐Lender     $     50,000.00
  76           7635‐43 S East End Avenue                                  Estate Property    John Bloxham                                              $         51,500.00 Investor‐Lender     $     50,000.00
  88           7546‐48 S Saginaw Avenue                                   Estate Property    John Bloxham                                              $         25,123.83 Investor‐Lender     $     24,333.00
  88           7546‐48 S Saginaw Avenue                                   Estate Property    John Bloxham                                              $       110,000.00 Investor‐Lender      $     52,991.00
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    John Bloxham                                              $         36,826.17 Investor‐Lender     $     35,667.00
  93           7953‐59 S Marquette Road           2708‐10 E 80th Street   Estate Property    John Bloxham                                              $       110,000.00 Investor‐Lender      $ 110,000.00
  904                    SSDF4                                            Fund               John Bloxham                                              $         51,500.00   Equity Investor   $     50,000.00


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                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                  Alternative Address           Type                                                 Claimant Name     Claimed Amount Claim Category as            Amount
Number                                                                                                                                                      (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                          Amount in Claim            Form            Invested in
                                                                                                                                                              Category as                              Property
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
  908                     SSDF8                                              Fund               John Bloxham                                              $         25,123.83   Equity Investor     $    24,333.00
                      Mezzazine Fund
  908                     SSDF8                                              Fund               John Bloxham                                              $       35,667.00     Equity Investor     $    35,667.00
                      Mezzazine Fund
  908                     SSDF8                                              Fund               John Bloxham                                              $      102,991.00     Equity Investor     $   162,991.00
                      Mezzazine Fund
  92             7748‐52 S Essex Avenue              2450‐52 E 78th Street   Estate Property    John Bloxham for JBMacy Solo 401K Trust                  $        61,950.00    Investor‐Lender      $    60,000.00
  61            7237‐43 S Bennett Avenue                                     Estate Property    John Braden and Cynthia Braden                           $        42,000.64    Investor‐Lender      $    50,000.00
  69              6250 S Mozart Avenue              2832‐36 W 63rd Street    Estate Property    John Braden and Cynthia Braden                           $         6,716.67    Investor‐Lender      $    10,000.00
  82            6355‐59 S Talman Avenue             2616‐22 W 64th Street    Estate Property    John Braden and Cynthia Braden                           $        37,691.67    Investor‐Lender      $    50,000.00
  902                     SSDF2                                              Fund               John Braden and Cynthia Braden                           $        50,000.00    Investor‐Lender      $    50,000.00
  904                     SSDF4                                              Fund               John Braden and Cynthia Braden                           $        46,508.23    Investor‐Lender      $    50,000.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    John E Mize                                              $        50,000.00    Investor‐Lender      $    50,000.00
  77          7750‐58 S Muskegon Avenue             2818‐36 E 78th Street    Estate Property    John E. Wysocki                                          $       117,000.00     Equity Investor
  83             6356 S California Avenue            2804 W 64th Street      Estate Property    John E. Wysocki                                          $       117,000.00     Equity Investor
  88           7546‐48 S Saginaw Avenue                                      Estate Property    John E. Wysocki                                          $       117,000.00     Equity Investor
  90           7656‐58 S Kingston Avenue          2514‐2520 East 77th Street Estate Property    John E. Wysocki                                          $       117,000.00     Equity Investor
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    John E. Wysocki                                          $       117,000.00     Equity Investor
  907                     SSDF7                                              Fund               John Gorske                                              $        53,087.30     Equity Investor     $    53,087.00
 13‐15             2909‐19 E 78th Street                                     Fund               John Hutchison                                           $        50,000.00    Investor‐Lender      $    50,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
  67               1131‐41 E 79th Place                                      Estate Property    John Love                                                 $      207,500.00     Equity Investor     $   200,000.00
  71               701‐13 S 5th Avenue                    414 Walnut         Estate Property    John Love                                                 $       31,275.00    Investor‐Lender      $    30,000.00
  904                     SSDF4                                              Fund               John Love                                                 $       46,350.00     Equity Investor     $    45,000.00
   58          5955 S Sacramento Avenue           2948‐56 W 60th Street      Estate Property    John McDevitt                                             $      220,000.00     Equity Investor     $    20,000.00
   67              1131‐41 E 79th Place                                      Estate Property    John McDevitt                                             $      220,000.00     Equity Investor     $    50,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    John McDevitt                                             $      220,000.00     Equity Investor     $   100,000.00
  904               Legacy Fund SSDF 4                                       Fund               John McDevitt                                             $      220,000.00     Equity Investor     $    50,000.00
  78            7201 S Constance Avenue              1825‐31 E 72nd Street   Estate Property    John P. Sullivan                                          $      107,000.00    Investor‐Lender      $    50,000.00
  80              2736‐44 W 64th Street                                      Estate Property    John P. Sullivan                                          $      107,000.00    Investor‐Lender      $    57,000.00
  94            816‐20 E Marquette Road                                      Estate Property    John R Taxeras                                            $      105,686.72    Investor‐Lender      $    50,000.00
  68          6217‐27 S Dorchester Avenue                                    Estate Property    John Taxeras                                              $      105,686.72    Investor‐Lender      $     1,830.00
  74              3074 Cheltenham Place               7836 S Shore Drive     Estate Property    John Taxeras                                              $      105,686.72    Investor‐Lender      $    18,552.85
  77          7750‐58 S Muskegon Avenue              2818‐36 E 78th Street   Estate Property    John Taxeras                                              $      105,686.72     Equity Investor     $    21,400.00
  130            4511 N Merimac Avenue                                       Former Property    John Taxeras                                              $      105,686.72    Investor‐Lender      $    25,000.00
   5            7749‐59 S Yates Boulevard                                    Estate Property    John Witzigreuter                                         $      200,000.00    Investor‐Lender      $    50,000.00


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                                                                                      Exhibit 8
                                                                                                       Master Claims List
                                                                                       SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property         Property Address            Alternative Address           Type                                                  Claimant Name     Claimed Amount Claim Category as            Amount
Number                                                                                                                                              (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                  Amount in Claim            Form            Invested in
                                                                                                                                                      Category as                              Property
                                                                                                                                                 Identified on Claim
                                                                                                                                                        Form)
   64        4611‐17 S Drexel Boulevard                              Estate Property    John Witzigreuter                                         $       200,000.00 Investor‐Lender        $    50,000.00
   73          7255‐57 S Euclid Avenue      1940‐44 E 73rd Street    Estate Property    John Witzigreuter                                         $       200,000.00 Investor‐Lender        $    50,000.00
   92          7748‐52 S Essex Avenue       2450‐52 E 78th Street    Estate Property    John Witzigreuter                                         $       200,000.00 Investor‐Lender        $    50,000.00
  901                   SSDF1                                        Fund               John Witzigreuter                                         $       250,000.00    Equity Investor     $   200,000.00
   73          7255‐57 S Euclid Avenue      1940‐44 E 73rd Street    Estate Property    Johnny Colson                                             $         35,952.85 Investor‐Lender       $    50,000.00
  903                   SSDF3                                        Fund               Johnstun, Chad                                            $       190,729.17    Equity Investor     $   190,729.17
   57        8214‐16 S Ingleside Avenue                              Estate Property    Joral Schmalle                                            $     1,735,782.00 Investor‐Lender        $   759,000.00
  123         7107‐29 S Bennett Avenue                               Former Property    Joral Schmalle                                            $     1,735,782.00 Investor‐Lender        $   630,000.00
   90        7656‐58 S Kingston Avenue    2514‐2520 East 77th Street Estate Property    Jose Galarza                                              $         20,107.00 Investor‐Lender       $    35,107.00
   60         7026‐42 S Cornell Avenue                               Estate Property    Joseph E. Kennedy                                         $         60,412.54 Investor‐Lender       $    45,141.00
   60         7026‐42 S Cornell Avenue                               Estate Property    Joseph E. Kennedy                                         $       298,138.29 Investor‐Lender        $    40,979.00
  100      11117‐11119 S Longwood Drive                              Estate Property    Joseph E. Kennedy                                         $       298,138.29 Investor‐Lender        $    50,000.00
  115           109 N Laramie Avenue                                 Former Property    Joseph E. Kennedy                                         $       298,138.29 Investor‐Lender        $   181,311.00
    5         7749‐59 S Yates Boulevard                              Estate Property    Joseph P. McCarthy                                        $       277,847.33 Investor‐Lender        $    10,000.00
   62           7834‐44 S Ellis Avenue                               Estate Property    Joseph P. McCarthy                                        $       277,847.33 Investor‐Lender        $    27,884.00
   63        4520‐26 S Drexel Boulevard                              Estate Property    Joseph P. McCarthy                                        $       277,847.33 Investor‐Lender        $    45,000.00
   73          7255‐57 S Euclid Avenue      1940‐44 E 73rd Street    Estate Property    Joseph P. McCarthy                                        $       277,847.33 Investor‐Lender        $    40,000.00
  124          6801 S East End Avenue                                Former Property    Joseph P. McCarthy                                        $       277,847.33 Investor‐Lender        $    25,000.00
  901                   SSDF1                                        Fund               Joseph P. McCarthy                                        $       277,847.33 Investor‐Lender        $    45,000.00
  904                   SSDF4                                        Fund               Joseph P. McCarthy                                        $       277,847.33 Investor‐Lender        $    90,000.00
13 to 15                CCF2                                         Fund               Joseph P. McCarthy                                        $       277,847.33 Investor‐Lender        $    50,000.00
 96‐99          8326‐58 S Ellis Avenue                               Estate Property    Joseph P. McCarthy                                        $       277,847.33 Investor‐Lender        $    15,000.00
   63        4520‐26 S Drexel Boulevard                              Estate Property    Joshua Lapin                                              $         25,000.00   Equity Investor     $    25,000.00
   74          3074 Cheltenham Place         7836 S Shore Drive      Estate Property    Joshua Morrow                                             $         51,749.99 Investor‐Lender       $    50,000.00
    2        4533‐47 S Calumet Avenue                                Estate Property    Joshua Paul Mora                                          $         57,000.00 Investor‐Lender
 13‐15          2909‐19 E 78th Street                                Fund               Jossie Romero                                             $         53,541.66   Equity Investor     $    50,000.00
               7549‐59 S Essex Avenue
             8047‐55 S Manistee Avenue
  67             1131‐41 E 79th Place                               Estate Property     Julia Pong                                                $       18,418.05     Equity Investor     $    18,382.00
  74           3074 Cheltenham Place         7836 S Shore Drive     Estate Property     Julia Pong                                                $       34,947.00    Investor‐Lender      $    34,572.00
  92           7748‐52 S Essex Avenue       2450‐52 E 78th Street   Estate Property     Julie Elaine Fogle                                        $       50,000.00    Investor‐Lender      $    50,000.00
   4          5450‐52 S Indiana Avenue       118‐132 E Garfield     Estate Property     Julie Patel                                               $       97,038.00    Investor‐Lender      $    10,000.00
   5          7749‐59 S Yates Boulevard                             Estate Property     Julie Patel                                               $       97,038.00    Investor‐Lender      $    35,291.00
   6        6437‐41 S Kenwood Avenue                                Estate Property     Julie Patel                                               $       97,038.00    Investor‐Lender      $    40,000.00
  84           7051 S Bennett Avenue                                Estate Property     Julie Patel                                               $       97,038.00    Investor‐Lender      $     1,409.00
  89         7600‐10 S Kingston Avenue      2527‐29 E 76th Street   Estate Property     Julie Patel                                               $       97,038.00    Investor‐Lender      $    10,338.00
   1          1700‐08 Juneway Terrace                               Estate Property     Juliette Farr‐Barksdale & Thomas Farr                     $      323,900.00     Equity Investor     $   300,000.00


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                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address              Alternative Address           Type                                                  Claimant Name                        Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                      (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                          Amount in Claim            Form            Invested in
                                                                                                                                                                              Category as                              Property
                                                                                                                                                                         Identified on Claim
                                                                                                                                                                                Form)
  72            7024‐32 S Paxton Avenue                                   Estate Property    Juliette Farr‐Barksdale & Thomas Farr                                        $       323,900.00    Equity Investor     $    23,900.00
  67               1131‐41 E 79th Place                                   Estate Property    Justin Tubbs                                                                 $         15,000.00 Investor‐Lender       $    15,000.00
   1            1700‐08 Juneway Terrace                                   Estate Property    KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)           $       220,000.00 Investor‐Lender        $   100,000.00
  60            7026‐42 S Cornell Avenue                                  Estate Property    KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)           $       220,000.00 Investor‐Lender        $    40,000.00
  63           4520‐26 S Drexel Boulevard                                 Estate Property    KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)           $       185,000.00    Equity Investor     $   125,000.00
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)           $       220,000.00 Investor‐Lender        $    80,000.00
  904                     SSDF4                                           Fund               KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)           $       185,000.00    Equity Investor     $    60,000.00
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    Karen Droste                                                                 $         74,000.00 Investor‐Lender       $    74,000.00
   5            7749‐59 S Yates Boulevard                                 Estate Property    Karen L Hendrickson                                                          $         10,597.66 Investor‐Lender       $    10,000.00
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Karl R. DeKlotz                                                              $     1,586,165.90 Investor‐Lender        $   150,000.00
  64           4611‐17 S Drexel Boulevard                                 Estate Property    Karl R. DeKlotz                                                              $     1,586,165.90 Investor‐Lender        $   300,000.00
  68          6217‐27 S Dorchester Avenue                                 Estate Property    Karl R. DeKlotz                                                              $     1,586,165.90 Investor‐Lender        $   150,000.00
  71               701‐13 S 5th Avenue                414 Walnut          Estate Property    Karl R. DeKlotz                                                              $     1,586,165.90 Investor‐Lender        $   300,000.00
  72            7024‐32 S Paxton Avenue                                   Estate Property    Karl R. DeKlotz                                                              $     1,586,165.90 Investor‐Lender        $   150,000.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Karl R. DeKlotz                                                              $     1,586,165.90 Investor‐Lender        $   100,000.00
 13‐15            2909‐19 E 78th Street                                   Fund               Karl R. DeKlotz                                                              $     1,586,165.90 Investor‐Lender and    $   200,000.00
                 7549‐59 S Essex Avenue                                                                                                                                                         Equity Investor
               8047‐55 S Manistee Avenue
  33                3723 W 68th Place                                     Estate Property    Kathleen Martin                                                              $      304,605.24    Equity Investor      $   172,423.00
  83             6356 S California Avenue          2804 W 64th Street     Estate Property    Kathleen Martin                                                              $      304,605.24    Equity Investor      $    50,095.00
  109           4750‐52 S Indiana Avenue                                  Estate Property    Kathleen Martin                                                              $      304,605.24    Equity Investor      $    50,000.00

  129           4494 West Roscoe Street                                   Former Property    Kathleen Martin                                                              $      304,605.24     Equity Investor     $    35,367.00
  73             7255‐57 S Euclid Avenue                                  Estate Property    Katie Whitlock                                                               $       61,651.00     Equity Investor
  88           7546‐48 S Saginaw Avenue                                   Estate Property    Katie Whitlock                                                               $       61,651.00     Equity Investor
  129           4494 West Roscoe Street                                   Former Property    Katie Whitlock                                                               $       61,651.00     Equity Investor
  904              SSDF4 Legacy Fund                                      Fund               Keith Cooper ‐ Concorde Management, LLC                                      $      335,000.00    Investor‐Lender      $   335,000.00
   5           7749‐59 S Yates Boulevard                                  Estate Property    Keith P Rowland and Jane E Rowland                                           $       52,583.32    Investor‐Lender      $    50,000.00
   5           7749‐59 S Yates Boulevard                                  Estate Property    Keith Randall                                                                $      250,000.00    Investor‐Lender      $    70,000.00
  63           4520‐26 S Drexel Boulevard                                 Estate Property    Keith Randall                                                                $      370,000.00     Equity Investor     $   100,000.00
  124            6801 S East End Avenue                                   Former Property    Keith Randall                                                                $      250,000.00    Investor‐Lender      $    80,000.00
  901                    SSDF1                                            Fund               Keith Randall                                                                $      370,000.00     Equity Investor     $   170,000.00
  904                    SSDF4                                            Fund               Keith Randall                                                                $      370,000.00     Equity Investor     $   200,700.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Keith Randall                                                                $      250,000.00    Investor‐Lender      $   100,000.00
  73             7255‐57 S Euclid Avenue                                  Estate Property    Kelly E Welton (Equity Trust Company for Custodian FBO Kelly Welton, IRA)    $       83,813.00    Investor‐Lender      $     8,400.00
  82            6355‐59 S Talman Avenue                                   Estate Property    Kelly E Welton (Equity Trust Company for Custodian FBO Kelly Welton, IRA)    $       83,813.00    Investor‐Lender      $     3,000.00
  55              8107‐09 S Ellis Avenue                                  Estate Property    Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)        $       83,813.00    Investor‐Lender      $    26,200.00


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                                                                                                          Master Claims List
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Property           Property Address              Alternative Address          Type                                                  Claimant Name                    Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                    Amount in Claim            Form            Invested in
                                                                                                                                                                        Category as                              Property
                                                                                                                                                                   Identified on Claim
                                                                                                                                                                          Form)
   78          7201 S Constance Avenue                                  Estate Property    Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)    $         83,813.00 Investor‐Lender       $    31,233.00
   89         7600‐10 S Kingston Avenue                                 Estate Property    Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)    $         83,813.00 Investor‐Lender       $     8,000.00
  115            109 N Laramie Avenue                                   Former Property    Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)    $         83,813.00 Investor‐Lender       $    31,213.00
  N/A                     SSDF                                          Fund               Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)    $         83,813.00   Equity Investor
   62            7834‐44 S Ellis Avenue                                 Estate Property    Kelly E Welton, and Mary M Andrews, deceased                             $         83,813.00 Investor‐Lender       $     7,000.00
10 to 12                  CCF1                                          Fund               Kelvin Kon                                                               $         95,000.00   Equity Investor     $    50,000.00
13 to 15                  CCF2                                          Fund               Kelvin Kon                                                               $         95,000.00   Equity Investor     $    45,000.00
  108             2800‐06 E 81st Street                                 Estate Property    Kendall Chenier                                                          $       667,084.15         Other
  113           7840‐42 S Yates Avenue                                  Estate Property    Kendall Chenier                                                          $       667,084.15         Other
  145         4755 S St Lawrence Avenue                                 Former Property    Kendall Chenier                                                          $          9,858.12 Investor‐Lender       $     9,858.12
   55            8107‐09 S Ellis Avenue                                 Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                 $       453,233.25 Investor‐Lender        $    31,000.00
   62            7834‐44 S Ellis Avenue                                 Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                 $       453,233.25 Investor‐Lender        $     4,246.00
   64         4611‐17 S Drexel Boulevard                                Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                 $       453,233.25 Investor‐Lender        $   150,000.00
   70            638‐40 N Avers Avenue                                  Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                 $       453,233.25 Investor‐Lender        $   146,902.00
   73           7255‐57 S Euclid Avenue         1940‐44 E 73rd Street   Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                 $       453,233.25 Investor‐Lender        $    51,544.00
   74           3074 Cheltenham Place            7836 S Shore Drive     Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                 $       453,233.25 Investor‐Lender        $    42,000.00
   92           7748‐52 S Essex Avenue          2450‐52 E 78th Street   Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                 $       453,233.25 Investor‐Lender        $   121,506.00
  130           4511 N Merimac Avenue                                   Former Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                 $       453,233.25 Investor‐Lender        $    60,000.00
  N/A                     N/A                                           UPN                Kenneth (Ken) and Maria (Tina) Jorgensen                                 $       453,233.25 Investor‐Lender        $    37,956.48
10 to 12                  CCF1                                          Fund               Kennett, Victor S ‐ Kennett Family Trust                                 $       200,000.00    Equity Investor     $   200,000.00
   71             701‐13 S 5th Avenue                414 Walnut         Estate Property    Kester Brothers Farm, LLC, C/O James R. Kester                           $       152,911.82 Investor‐Lender        $    68,000.00
   74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property    Kester Brothers Farm, LLC, C/O James R. Kester                           $       152,911.82 Investor‐Lender        $    50,000.00
   82          6355‐59 S Talman Avenue          2616‐22 W 64th Street   Estate Property    Kester Brothers Farm, LLC, C/O James R. Kester                           $       152,911.82 Investor‐Lender        $    30,000.00
    5          7749‐59 S Yates Boulevard                                Estate Property    Kevin & Laura Allred                                                     $         61,000.00 Investor‐Lender       $    50,000.00
   67             1131‐41 E 79th Place                                  Estate Property    Kevin & Laura Allred                                                     $         61,000.00 Investor‐Lender       $    11,000.00
   50             7760 S Coles Avenue                                   Estate Property    Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA          $       102,367.34 Investor‐Lender        $    76,000.00
   62            7834‐44 S Ellis Avenue                                 Estate Property    Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA          $       102,367.34 Investor‐Lender        $    48,000.00
  110      5618‐20 S Martin Luther King Drive                           Estate Property    Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA          $       102,367.34 Investor‐Lender        $   200,000.00
  112             7450 S Luella Avenue          2220 East 75th Street   Estate Property    Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA          $       102,367.34 Investor‐Lender        $    50,000.00
   62            7834‐44 S Ellis Avenue                                 Estate Property    Kevin Chang                                                              $         65,000.00 Investor‐Lender       $    65,000.00
   69            6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property    Kevin Lyons                                                              $         98,899.84   Equity Investor     $    25,000.00
  111            6558 S Vernon Avenue            416‐24 E 66th Street   Estate Property    Kevin Lyons                                                              $         98,899.84   Equity Investor     $    25,000.00
  126        5201‐5207 W Washington Blvd                                Former Property    Kevin Lyons                                                              $         98,899.84   Equity Investor     $    50,000.00
   68        6217‐27 S Dorchester Avenue                                Estate Property    Kevin Randall                                                            $       200,000.00 Investor‐Lender        $    70,000.00
   74           3074 Cheltenham Place            7836 S Shore Drive     Estate Property    Kevin Randall                                                            $       200,000.00 Investor‐Lender        $    50,000.00
  904                    SSDF4                                          Fund               Kevin Randall                                                            $       200,000.00    Equity Investor     $   200,000.00
 96‐99           8326‐58 S Ellis Avenue                                 Estate Property    Kevin Randall                                                            $       200,000.00 Investor‐Lender        $    70,000.00


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                                                                                              Exhibit 8
                                                                                                                Master Claims List
                                                                                                SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                 Alternative Address            Type                                                  Claimant Name                            Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                              (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                                  Amount in Claim           Form            Invested in
                                                                                                                                                                                      Category as                             Property
                                                                                                                                                                                 Identified on Claim
                                                                                                                                                                                        Form)
  84             7051 S Bennett Avenue                                        Estate Property    Kimberly W Robinson                                                              $         98,000.00 Investor‐Lender      $    50,000.00
  123           7107‐29 S Bennett Avenue                                      Former Property    Kimberly W Robinson                                                              $         98,000.00 Investor‐Lender      $    30,000.00
  123           7107‐29 S Bennett Avenue                                      Former Property    Kingdom Trust Company custodian, FBO Louis Duane Velez SEP IRA Acc. #7422686172 $          43,046.58 Investor‐Lender      $    50,000.00

  90           7656‐58 S Kingston Avenue          2514‐2520 East 77th Street Estate Property     Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP IRA Acc.                 $   100,000.00   Investor‐Lender     $   100,000.00
                                                                                                 #7422686172
  77           7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property    Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP IRA acct #               $   100,000.00   Investor‐Lender     $   100,000.00
                                                                                                 7422686172
    4           5450‐52 S Indiana Avenue              118‐132 E Garfield      Estate Property    Kirk Road Investments, LLC                                                           $   434,195.69   Investor‐Lender     $   121,855.00
   52               310 E 50th Street                                         Estate Property    Kirk Road Investments, LLC                                                           $   434,195.69   Investor‐Lender     $   193,750.00
   64          4611‐17 S Drexel Boulevard                                     Estate Property    Kirk Road Investments, LLC                                                           $   434,195.69   Investor‐Lender     $   121,855.00
   78           7201 S Constance Avenue             1825‐31 E 72nd Street     Estate Property    Kirk Road Investments, LLC                                                           $   434,195.69   Investor‐Lender     $    63,000.00
  151              8107 S Coles Avenue                                        Former Property    Kirk Road Investments, LLC                                                           $   434,195.69   Investor‐Lender     $    87,500.00
13 to 15                   CCF2                                               Fund               Kirk Road Investments, LLC                                                           $   318,867.20    Equity Investor    $   235,000.00
    5           7749‐59 S Yates Boulevard                                     Estate Property    KKW Investments, LLC                                                                 $   100,033.40   Investor‐Lender     $     3,000.00
    6          6437‐41 S Kenwood Avenue                                       Estate Property    KKW Investments, LLC                                                                 $   100,033.40   Investor‐Lender     $     2,000.00
    9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property    KKW Investments, LLC                                                                 $   100,033.40   Investor‐Lender     $     5,000.00
   68         6217‐27 S Dorchester Avenue                                     Estate Property    KKW Investments, LLC                                                                 $   100,033.40   Investor‐Lender     $     2,627.40
   69             6250 S Mozart Avenue              2832‐36 W 63rd Street     Estate Property    KKW Investments, LLC                                                                 $   100,033.40   Investor‐Lender     $     3,500.00
   72           7024‐32 S Paxton Avenue                                       Estate Property    KKW Investments, LLC                                                                 $   100,033.40   Investor‐Lender     $     3,900.00
   74            3074 Cheltenham Place               7836 S Shore Drive       Estate Property    KKW Investments, LLC                                                                 $   100,033.40   Investor‐Lender     $     1,600.00
   75          7625‐33 S East End Avenue                                      Estate Property    KKW Investments, LLC                                                                 $   100,033.40   Investor‐Lender     $    75,000.00
10 to 12                   CCF1                                               Fund               KKW Investments, LLC                                                                 $   100,033.40   Investor‐Lender     $     2,000.00
 96‐99            8326‐58 S Ellis Avenue                                      Estate Property    KKW Investments, LLC                                                                 $   100,033.40   Investor‐Lender     $     7,306.00
   75          7625‐33 S East End Avenue                                      Estate Property    Knickerbocker LLC                                                                    $   102,505.16   Investor‐Lender     $    39,664.00
   79      6160‐6212 S Martin Luther King Drive                               Estate Property    Knickerbocker LLC                                                                    $   102,505.16   Investor‐Lender     $    50,000.00
  116      1102 Bingham St, Houston TX 77007                                  Estate Property    Knickerbocker LLC                                                                    $   102,505.16   Investor‐Lender     $    50,000.00
  131           4108 N Monticello Avenue                                      Former Property    Knickerbocker LLC                                                                    $   102,505.16   Investor‐Lender     $    50,000.00
  908                     SSDF8                                               Fund               Knickerbocker LLC                                                                    $   105,387.00    Equity Investor    $    50,000.00
10 to 12                   CCF1                                               Fund               Knickerbocker LLC                                                                    $   105,387.00    Equity Investor    $    55,387.00
    2          4533‐47 S Calumet Avenue                                       Estate Property    Koates LLC                                                                           $    85,000.00    Equity Investor    $    12,000.00
    5           7749‐59 S Yates Boulevard                                     Estate Property    Koates LLC                                                                           $    85,000.00    Equity Investor    $     3,200.00
    7          7109‐19 S Calumet Avenue                                       Estate Property    Koates LLC                                                                           $    85,000.00    Equity Investor    $    12,000.00
   61           7237‐43 S Bennett Avenue                                      Estate Property    Koates LLC                                                                           $    85,000.00    Equity Investor    $    19,800.00
  100        11117‐11119 S Longwood Drive                                     Estate Property    Koates LLC                                                                           $    85,000.00    Equity Investor    $    50,000.00
  100        11117‐11119 S Longwood Drive                                     Estate Property    Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k) FBO Kristien Van   $    22,434.28   Investor‐Lender     $    25,000.00
                                                                                                 Hecke


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Property            Property Address                 Alternative Address            Type                                                 Claimant Name                                 Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                                  (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                                      Amount in Claim            Form            Invested in
                                                                                                                                                                                          Category as                              Property
                                                                                                                                                                                     Identified on Claim
                                                                                                                                                                                            Form)
13 to 15                  CCF2                                               Fund               Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k) FBO Kristien Van    $         23,661.80   Equity Investor     $    25,000.00
                                                                                                Hecke
   88           7546‐48 S Saginaw Avenue                                     Estate Property    Krushna Dundigalla                                                                    $       60,000.00    Investor‐Lender      $    60,000.00
13 to 15                    CCF2                                             Fund               Krushna M Dundigalla Revocable Living Trust                                           $      100,000.00     Equity Investor     $   100,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Kuldeep Jain                                                                          $      156,000.00    Investor‐Lender      $   100,000.00
   69              6250 S Mozart Avenue             2832‐36 W 63rd Street    Estate Property    Kuldeep Jain                                                                          $      156,000.00    Investor‐Lender      $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Kyle Jacobs                                                                           $       95,000.00    Investor‐Lender      $    30,000.00
   92             7748‐52 S Essex Avenue            2450‐52 E 78th Street    Estate Property    Kyle Jacobs                                                                           $       95,000.00    Investor‐Lender      $    95,000.00
   87               7508 S Essex Avenue             2453‐59 E 75th Street    Estate Property    LA DONNA WRIGHT ACKLEN                                                                $      268,666.74    Investor‐Lender      $    50,000.00
   94            816‐20 E Marquette Road                                     Estate Property    LA DONNA WRIGHT ACKLEN                                                                $      268,666.74    Investor‐Lender      $    40,000.00
  130             4511 N Merimac Avenue                                      Former Property    LA DONNA WRIGHT ACKLEN                                                                $      268,666.74    Investor‐Lender      $   120,000.00
   49          7300‐04 St Lawrence Avenue                                    Estate Property    LaDawn K. Westbrook ‐ Miss Property LLC                                               $       71,546.64    Investor‐Lender
  123           7107‐29 S Bennett Avenue                                     Former Property    LaDawn K. Westbrook ‐ Miss Property LLC                                               $       71,546.64    Investor‐Lender      $    50,000.00
  130             4511 N Merimac Avenue                                      Former Property    LaDawn K. Westbrook ‐ Miss Property LLC                                               $       71,546.64    Investor‐Lender      $     6,978.00
  123           7107‐29 S Bennett Avenue                                     Former Property    Lake Erie LLC (Douglas Lichtinger)                                                    $       21,683.17    Investor‐Lender      $    26,948.71
10 to 12         7301‐09 S Stewart Avenue                                    Fund               LaMore, LLC (George Elmore & Marti LaTour)                                            $      309,999.94    Investor‐Lender      $   250,000.00
               7500‐06 S Eggleston Avenue
                   3030‐32 E 79th Street
   61           7237‐43 S Bennett Avenue                                     Estate Property    Larry James Eggenberger                                                               $       50,000.00 Investor‐Lender         $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Larry White                                                                           $       53,900.00 Investor‐Lender         $    52,500.00
   92             7748‐52 S Essex Avenue            2450‐52 E 78th Street    Estate Property    Larry White                                                                           $       50,800.00 Investor‐Lender         $    50,000.00
   62              7834‐44 S Ellis Avenue                                    Estate Property    Laura J. Sohm IRA                                                                     $      104,593.29 Investor‐Lender         $    15,000.00
   69              6250 S Mozart Avenue             2832‐36 W 63rd Street    Estate Property    Laura J. Sohm IRA                                                                     $      104,593.29 Investor‐Lender         $    63,315.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Laura J. Sohm IRA                                                                     $      104,593.29 Investor‐Lender         $    63,000.00
10 to 12         7301‐09 S Stewart Avenue                                    Fund               Laura J. Sohm IRA                                                                     $      104,593.29 Investor‐Lender and     $    14,000.00
               7500‐06 S Eggleston Avenue                                                                                                                                                                  Equity Investor
                   3030‐32 E 79th Street
  64            4611‐17 S Drexel Boulevard                                   Estate Property    Law Office of V.L. Heger, A Professional Corporation                                  $       50,369.00    Investor‐Lender      $    50,000.00
  89            7600‐10 S Kingston Avenue           2527‐29 E 76th Street    Estate Property    Law Office of V.L. Heger, A Professional Corporation                                  $       50,369.00    Investor‐Lender      $    50,000.00
   2            4533‐47 S Calumet Avenue                                     Estate Property    Layne A. Hermansen                                                                    $       51,000.00    Investor‐Lender      $    51,000.00
   5            7749‐59 S Yates Boulevard                                    Estate Property    Legacy Trading LLC                                                                    $      257,000.00    Investor‐Lender      $   237,000.00
  90            7656‐58 S Kingston Avenue         2514‐2520 East 77th Street Estate Property    Legacy Trading LLC                                                                    $      257,000.00    Investor‐Lender      $    20,000.00
  59          6001‐05 S Sacramento Avenue           2945‐51 W 60th Street    Estate Property    Leonard Grosso                                                                        $      177,499.95    Investor‐Lender      $    50,000.00
  62               7834‐44 S Ellis Avenue                                    Estate Property    Leonard Grosso                                                                        $      177,499.95    Investor‐Lender      $    50,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    Leonard Grosso                                                                        $      177,499.95    Investor‐Lender      $    50,000.00
  53               6807 S Indiana Avenue                                     Estate Property    Leroy & Martha Johnson                                                                $       81,066.85    Investor‐Lender      $   100,000.00
   3              5001 S Drexel Boulevard             909 E 50th Street      Estate Property    LEVENT KESEN                                                                          $      150,000.00    Investor‐Lender      $    50,000.00


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Property            Property Address                 Alternative Address           Type                                                  Claimant Name     Claimed Amount        Claim Category as        Amount
Number                                                                                                                                                      (Total Claimed      Identified on Claim    Claimed to be
                                                                                                                                                          Amount in Claim              Form             Invested in
                                                                                                                                                              Category as                                 Property
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
   71              701‐13 S 5th Avenue                   414 Walnut          Estate Property    LEVENT KESEN                                              $       150,000.00      Investor‐Lender      $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    LEVENT KESEN                                              $       150,000.00      Investor‐Lender      $    50,000.00
   67              1131‐41 E 79th Place                                      Estate Property    Lewis Thomas                                              $         25,000.00     Investor‐Lender      $    25,000.00
   80            2736‐44 W 64th Street                                       Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   81          4317‐19 S Michigan Avenue                                     Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   82           6355‐59 S Talman Avenue             2616‐22 W 64th Street    Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   83           6356 S California Avenue             2804 W 64th Street      Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   84            7051 S Bennett Avenue                                       Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   85         7201‐07 S Dorchester Avenue             1401 E 72nd Street     Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   86          7442‐48 S Calumet Avenue                                      Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   87              7508 S Essex Avenue              2453‐59 E 75th Street    Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   88          7546‐48 S Saginaw Avenue                                      Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   89          7600‐10 S Kingston Avenue            2527‐29 E 76th Street    Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   90          7656‐58 S Kingston Avenue          2514‐2520 East 77th Street Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   91            7701‐03 S Essex Avenue                                      Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   92            7748‐52 S Essex Avenue             2450‐52 E 78th Street    Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   93          7953‐59 S Marquette Road             2708‐10 E 80th Street    Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   94           816‐20 E Marquette Road                                      Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   95            8201 S Kingston Avenue                                      Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Liberty EBCP, LLC                                         $ 10,638,796.40       Institutional Lender
   58          5955 S Sacramento Avenue             2948‐56 W 60th Street    Estate Property    Liberty Quest Investment Group LLC                        $       210,000.00       Equity Investor     $   210,000.00
   60           7026‐42 S Cornell Avenue                                     Estate Property    Linda Lipschultz                                          $         53,405.00     Investor‐Lender      $    22,477.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Linda Lipschultz                                          $         53,405.00     Investor‐Lender      $    18,500.00
  125           6548 N Campbell Avenue                                       Former Property    Linda Lipschultz                                          $         53,405.00     Investor‐Lender      $    27,000.00
  904                     SSDF4                                              Fund               Linda Lipschultz                                          $         53,405.00      Equity Investor     $    53,405.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    LISA MARIE KENNEDY / BRANDELLA CONSULTING, LLC.           $         50,000.00     Investor‐Lender      $    50,000.00
   92            7748‐52 S Essex Avenue             2450‐52 E 78th Street    Estate Property    Liwen Zhao                                                $         98,000.00     Investor‐Lender      $   156,000.00
    4           5450‐52 S Indiana Avenue              118‐132 E Garfield     Estate Property    LMJ Sales, Inc.                                           $       559,807.34      Investor‐Lender      $   100,000.00
    9              8100 S Essex Avenue             2449‐57 East 81st Street Estate Property     LMJ Sales, Inc.                                           $       559,807.34      Investor‐Lender      $   215,127.00
   50              7760 S Coles Avenue                                       Estate Property    LMJ Sales, Inc.                                           $       559,807.34      Investor‐Lender      $   100,000.00
   59         6001‐05 S Sacramento Avenue           2945‐51 W 60th Street    Estate Property    LMJ Sales, Inc.                                           $       559,807.34      Investor‐Lender      $    50,000.00
   92            7748‐52 S Essex Avenue             2450‐52 E 78th Street    Estate Property    LMJ Sales, Inc.                                           $       559,807.34      Investor‐Lender      $    45,000.00
  159                7420 S Colfax Ave                                       Former Property    LMJ Sales, Inc.                                           $       559,807.34      Investor‐Lender      $   123,100.00
10 to 12                   CCF1                                              Fund               LMJ Sales, Inc.                                           $       270,066.18       Equity Investor     $   100,000.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property    LMJ Sales, Inc.                                           $       270,066.18       Equity Investor     $   115,937.00
  904               SSDF4 Legacy Fund                                        Fund               Lola S. Cooper                                            $       210,000.00      Investor‐Lender      $   210,000.00
   35                61 E 92nd Street                                        Estate Property    Lorenzo J Jaquias                                         $         71,635.00     Investor‐Lender      $    86,600.00


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Property            Property Address                Alternative Address            Type                                                  Claimant Name                             Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                              (Total Claimed    Identified on Claim Claimed to be
                                                                                                                                                                                  Amount in Claim             Form          Invested in
                                                                                                                                                                                      Category as                            Property
                                                                                                                                                                                 Identified on Claim
                                                                                                                                                                                        Form)
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Lorenzo Jaquias                                                                   $         71,635.00 Investor‐Lender     $     21,635.00
   75           7625‐33 S East End Avenue                                    Estate Property    Lorenzo Jaquias                                                                   $         71,635.00 Investor‐Lender     $     50,000.00
   76           7635‐43 S East End Avenue                                    Estate Property    Lorenzo Jaquias                                                                   $         71,635.00 Investor‐Lender     $     50,000.00
  140             5428 S Michigan Avenue                                     Former Property    Lorenzo Jaquias                                                                   $         71,635.00 Investor‐Lender     $     42,100.00
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Lori Moreland                                                                     $         21,574.00 Investor‐Lender     $     10,000.00
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Lori Moreland                                                                     $         52,233.00 Investor‐Lender     $     47,000.00
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Lori Moreland                                                                     $         52,233.00 Investor‐Lender     $     45,000.00
   78            7201 S Constance Avenue           1825‐31 E 72nd Street     Estate Property    Lori Moreland                                                                     $         21,574.00 Investor‐Lender     $     10,074.00
   78            7201 S Constance Avenue           1825‐31 E 72nd Street     Estate Property    Lori Moreland                                                                     $         52,233.00 Investor‐Lender     $     48,087.00
   78            7201 S Constance Avenue           1825‐31 E 72nd Street     Estate Property    Lori Moreland                                                                     $       102,348.00 Investor‐Lender      $     52,348.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    Lori Moreland                                                                     $       102,348.00 Investor‐Lender      $     50,000.00
  124             6801 S East End Avenue                                     Former Property    Lori Moreland                                                                     $       102,348.00 Investor‐Lender      $     11,500.00
  124             6801 S East End Avenue                                     Former Property    Lori Moreland                                                                     $       102,348.00 Investor‐Lender      $      4,246.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    Lori Waring                                                                       $         65,063.99 Investor‐Lender     $     50,000.00
    2           4533‐47 S Calumet Avenue                                     Estate Property    Lorraine K Mcclane                                                                $         36,896.00 Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Louis Barrows                                                                     $         25,000.00    Equity Investor  $     25,000.00
   88           7546‐48 S Saginaw Avenue                                     Estate Property    Louis Duane Velez, LLC (Louis Duane Velez as manager)                             $         50,000.00 Investor‐Lender     $     50,000.00
   91             7701‐03 S Essex Avenue                                     Estate Property    Louis Duane Velez, LLC (Louis Duane Velez as the manager)                         $       150,000.00 Investor‐Lender      $ 150,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Louis Duane Velez, LLV (Louis Duane Velez as manager)                             $         46,131.09 Investor‐Lender     $     50,000.00
    2           4533‐47 S Calumet Avenue                                     Estate Property    Louis Liu                                                                         $         37,908.57    Equity Investor  $     50,000.00
  123           7107‐29 S Bennett Avenue                                     Former Property    Low Altitude, LLC                                                                 $       100,000.00 Investor‐Lender      $ 100,000.00
10 to 12                   CCF1                                              Fund               Low Altitude, LLC                                                                 $       100,000.00     Equity Investor  $ 100,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Luna and Jerry Ellis                                                              $         41,066.65 Investor‐Lender     $     40,000.00
13 to 15                   CCF2                                              Fund               Lynn Kupfer                                                                       $         99,426.00 Investor Lender and $     75,000.00
                                                                                                                                                                                                         Equity Investor
    5          7749‐59 S Yates Boulevard                                     Estate Property    Lynn Marie Kupfer                                                                 $       114,201.00 Investor‐Lender      $ 100,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                                 $       200,000.00 Investor‐Lender      $ 100,000.00
10 to 12                 CCF1                                                Fund               Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                                 $       200,000.00 Investor‐Lender and $ 100,000.00
                                                                                                                                                                                                         Equity Investor
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property    Madison Trust Co, Custodian FBO Sonia Silver IRA #M1612049                        $         50,000.00 Investor‐Lender     $     50,000.00
   6           6437‐41 S Kenwood Avenue                                      Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust $        623,489.57     Equity Investor
                                                                                                IRA
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust $        623,489.57     Equity Investor
                                                                                                IRA
  58           5955 S Sacramento Avenue           2948‐56 W 60th Street      Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust $        623,489.57     Equity Investor
                                                                                                IRA




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Property            Property Address              Alternative Address            Type                                                 Claimant Name                             Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                           (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                               Amount in Claim           Form            Invested in
                                                                                                                                                                                   Category as                             Property
                                                                                                                                                                              Identified on Claim
                                                                                                                                                                                     Form)
  61            7237‐43 S Bennett Avenue                                  Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust $        623,489.57   Equity Investor
                                                                                             IRA
  74             3074 Cheltenham Place             7836 S Shore Drive     Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust $        623,489.57   Equity Investor
                                                                                             IRA
  75            7625‐33 S East End Avenue                                 Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust $        623,489.57   Equity Investor
                                                                                             IRA
  88            7546‐48 S Saginaw Avenue                                  Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust $        623,489.57   Equity Investor
                                                                                             IRA
  904                     SSDF4                                           Fund               Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust $        623,489.57   Equity Investor     $   610,998.00
                                                                                             IRA
  62              7834‐44 S Ellis Avenue                                  Estate Property    Madison Trust Company Custodian FBO Brent Jacobs                                  $         12,119.00 Investor‐Lender      $    12,119.00
                                                                                             M1609105
   1            1700‐08 Juneway Terrace                                   Estate Property    Madison Trust Company Custodian FBO Brian Shaffer IRA Account# M1608073 and       $       155,625.00 Investor‐Lender
                                                                                             M1703059
  71               701‐13 S 5th Avenue                414 Walnut          Estate Property    Madison Trust Company Custodian FBO Brian Shaffer IRA Account# M1608073 and       $       155,625.00 Investor‐Lender
                                                                                             M1703059
10 to 12        7301‐09 S Stewart Avenue                                  Fund               Madison Trust Company Custodian FBO Cynthia B. Jennings IRA #M1710119             $       101,400.00 Investor‐Lender       $   100,000.00
               7500‐06 S Eggleston Avenue
                  3030‐32 E 79th Street
  87              7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property    Madison Trust Company Custodian FBO David Harris                                   $      53,487.09    Investor‐Lender     $    53,000.00
   5            7749‐59 S Yates Boulevard                                 Estate Property    Madison Trust Company custodian FBO Guenter Scheel IRA M1702087                    $      25,000.00    Investor‐Lender     $    25,000.00
  904                    SSDF4                                            Fund               Madison Trust Company custodian FBO Guenter Scheel IRA M1702087                    $      25,000.00     Equity Investor    $    25,000.00
  67              1131‐41 E 79th Place                                    Estate Property    MADISON TRUST COMPANY CUSTODIAN FBO JAMES R ROBINSON SELF‐DIRECTED                 $      21,833.00     Equity Investor    $    21,092.00
                                                                                             ROTH IRA 1704092
  85          7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property    MADISON TRUST COMPANY CUSTODIAN FBO JAMES R ROBINSON SELF‐DIRECTED                 $      51,749.00    Investor‐Lender     $    50,000.00
                                                                                             ROTH IRA 1704092
   6           6437‐41 S Kenwood Avenue                                   Estate Property    Madison Trust Company Custodian FBO James R Robinson Traditional IRA Acct#         $      88,099.00    Investor‐Lender     $    25,000.00
                                                                                             1705044
  73             7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property    Madison Trust Company Custodian FBO James R Robinson Traditional IRA Acct#         $      88,099.00    Investor‐Lender     $    60,000.00
                                                                                             1705044
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    Madison Trust Company Custodian FBO James R. Talman IRA                           $       20,000.00    Investor‐Lender     $    20,000.00
  64           4611‐17 S Drexel Boulevard                                 Estate Property    MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR M1608009                  $      107,946.27    Investor‐Lender     $    30,225.00
  70             638‐40 N Avers Avenue                                    Estate Property    MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR M1608009                  $      107,946.27    Investor‐Lender     $    30,775.00
  904              SSDF4 Legacy Fund                                      Fund               MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR M1608009                  $      107,946.27    Investor‐Lender     $   130,000.00

  71              701‐13 S 5th Avenue                 414 Walnut          Estate Property    Madison Trust Company Custodian FBO Kathy B. Talman IRA                            $      75,000.00    Investor‐Lender     $    50,000.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Madison Trust Company Custodian FBO Kathy B. Talman IRA                            $      75,000.00    Investor‐Lender     $    25,000.00


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                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                Alternative Address             Type                                                 Claimant Name                         Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                          (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                              Amount in Claim           Form            Invested in
                                                                                                                                                                                  Category as                             Property
                                                                                                                                                                             Identified on Claim
                                                                                                                                                                                    Form)
  100        11117‐11119 S Longwood Drive                                    Estate Property    Madison Trust Company Custodian FBO Patrick Coppinger M1708149, Patrick       $         60,000.00 Investor‐Lender      $    60,000.00
                                                                                                Coppinger
  69              6250 S Mozart Avenue             2832‐36 W 63rd Street     Estate Property    Madison Trust Company Custodian FBO Robert W. Jennings Account# M1605053      $      309,318.75    Investor‐Lender     $   225,461.00
  74             3074 Cheltenham Place               7836 S Shore Drive      Estate Property    Madison Trust Company Custodian FBO Robert W. Jennings Account# M1605053      $      309,318.75    Investor‐Lender     $    74,539.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Madison Trust Company Custodian FBO Stuart Edelman                            $      255,332.70    Investor‐Lender     $   106,000.00
  87               7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    Madison Trust Company Custodian FBO Stuart Edelman                            $      255,332.70    Investor‐Lender     $    50,000.00
  95             8201 S Kingston Avenue                                      Estate Property    Madison Trust Company Custodian FBO Stuart Edelman                            $      255,332.70    Investor‐Lender     $    50,000.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property    Madison Trust Company Custodian FBO Stuart Edelman                            $      255,332.70    Investor‐Lender     $    35,000.00
   3             5001 S Drexel Boulevard             909 E 50th Street       Estate Property    Madison Trust Company FBO Judy Newton IRA                                     $      102,235.61    Investor‐Lender     $    50,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Madison Trust Company FBO Judy Newton IRA                                     $      102,235.61    Investor‐Lender     $    50,000.00
  901                     SSDF1                                              Fund               Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company Cust.    $      140,592.00     Equity Investor    $    20,000.00
                                                                                                Laurie Connely M1711182)
  904                     SSDF4                                              Fund               Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company Cust.    $      140,592.00    Equity Investor     $   100,592.00
                                                                                                Laurie Connely M1711182)
  939            Equity Build SECPN‐829                                      Fund               Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company Cust.    $      140,592.00    Equity Investor     $    20,000.00
                                                                                                Laurie Connely M1711182)
   67              1131‐41 E 79th Place                                      Estate Property    Madison Trust Company FBO Rick Newton SEP IRA                                $        50,000.00    Investor‐Lender     $    50,000.00
10 to 12                   CCF1                                              Fund               Madison Trust Company FBO. Mehernosh Pithawalla (M1704056)                   $        30,999.94    Investor‐Lender     $    25,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Madison Trust Custodian FBO Brent Jacobs                                     $        37,881.00    Investor‐Lender     $    37,881.00
   77          7750‐58 S Muskegon Avenue          2818‐36 E 78th Street      Estate Property    Maher, Avery (Christopher Maher CESA)                                        $        11,000.00    Investor‐Lender     $    11,000.00
   77          7750‐58 S Muskegon Avenue          2818‐36 E 78th Street      Estate Property    Maher, Christopher                                                           $        30,500.00    Investor‐Lender     $    14,000.00
   93           7953‐59 S Marquette Road          2708‐10 E 80th Street      Estate Property    Maher, Christopher                                                           $        30,500.00    Investor‐Lender     $    16,500.00
   77          7750‐58 S Muskegon Avenue          2818‐36 E 78th Street      Estate Property    Maher, Gavin (Christopher Maher, CESA)                                       $        15,000.00    Investor‐Lender     $    15,000.00
   77          7750‐58 S Muskegon Avenue          2818‐36 E 78th Street      Estate Property    Maher, Travis (Christopher Maher, CESA)                                      $        10,000.00    Investor‐Lender     $    10,000.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property    Mahesh Koli                                                                  $        25,125.00    Investor‐Lender     $    25,125.00
   26           8405 S Marquette Avenue                                      Estate Property    Manoj Donthineni                                                             $        71,544.30    Investor‐Lender     $   141,340.00
   76           7635‐43 S East End Avenue                                    Estate Property    Manoj Donthineni                                                             $        71,544.30    Investor‐Lender     $    41,007.00
  129            4494 West Roscoe Street                                     Former Property    Manoj Donthineni                                                             $        71,544.30    Investor‐Lender     $    12,198.90
  901                     SSDF1                                              Fund               Manuel Cadaval                                                               $        25,000.00     Equity Investor    $    25,000.00
  901                     SSDF1                                              Fund               Manuel Cadaval custodian for Jacob Cadaval                                   $        25,000.00     Equity Investor    $    25,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Manuel Camacho                                                               $       104,434.59    Investor‐Lender     $    25,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Manuel Camacho                                                               $       104,434.59    Investor‐Lender     $    25,000.00
   69             6250 S Mozart Avenue             2832‐36 W 63rd Street     Estate Property    Manuel Camacho                                                               $       104,434.59    Investor‐Lender     $    33,250.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Marcus, Ernest                                                               $        50,000.00    Investor‐Lender     $    50,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Margaret M Morgan                                                            $        50,000.00    Investor‐Lender     $    50,000.00
   72            7024‐32 S Paxton Avenue                                     Estate Property    Maricris M. Lee                                                              $         8,426.68    Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Maricris M. Lee                                                              $         8,426.68    Investor‐Lender


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Property         Property Address             Alternative Address           Type                                                  Claimant Name      Claimed Amount Claim Category as           Amount
Number                                                                                                                                                (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                    Amount in Claim           Form            Invested in
                                                                                                                                                        Category as                             Property
                                                                                                                                                   Identified on Claim
                                                                                                                                                          Form)
   56             8209 S Ellis Avenue                                 Estate Property    Marilyn B. Ackerman                                        $       165,913.00   Equity Investor     $   200,000.00
  133           4109 N Kimball Avenue                                 Former Property    Mario Flores                                               $         40,697.50 Investor‐Lender      $   133,456.15
    9            8100 S Essex Avenue        2449‐57 East 81st Street Estate Property     Marjorie Jean Sexton                                       $       200,000.00 Investor‐Lender       $   100,000.00
   50            7760 S Coles Avenue                                  Estate Property    Marjorie Jean Sexton                                       $       200,000.00 Investor‐Lender       $    50,000.00
   59      6001‐05 S Sacramento Avenue       2945‐51 W 60th Street    Estate Property    Marjorie Jean Sexton                                       $       200,000.00 Investor‐Lender       $    40,564.00
   81        4317‐19 S Michigan Avenue                                Estate Property    Marjorie Jean Sexton                                       $       200,000.00 Investor‐Lender       $     9,436.00
   92          7748‐52 S Essex Avenue        2450‐52 E 78th Street    Estate Property    Marjorie Jean Sexton                                       $       200,000.00 Investor‐Lender       $     3,000.00
    1         1700‐08 Juneway Terrace                                 Estate Property    Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006    $       150,000.00 Investor‐Lender       $   100,000.00
10 to 12                 CCF1                                         Fund               Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006    $       150,000.00 Investor‐Lender       $    50,000.00
10 to 12      Chicago Capital Fund I LLC                              Fund               Mark and Julie Akita                                       $       100,000.00   Equity Investor     $   100,000.00
    4         5450‐52 S Indiana Avenue         118‐132 E Garfield     Estate Property    Mark DeLuca                                                $       110,000.00 Investor‐Lender       $   110,000.00
    4         5450‐52 S Indiana Avenue         118‐132 E Garfield     Estate Property    Mark P. Mouty                                              $       180,702.77 Investor‐Lender       $    20,000.00
    9            8100 S Essex Avenue        2449‐57 East 81st Street Estate Property     Mark P. Mouty                                              $       180,702.77 Investor‐Lender       $    25,000.00
   63        4520‐26 S Drexel Boulevard                               Estate Property    Mark P. Mouty                                              $       130,703.00   Equity Investor     $    10,000.00
   70          638‐40 N Avers Avenue                                  Estate Property    Mark P. Mouty                                              $       180,702.77 Investor‐Lender       $    25,000.00
   77       7750‐58 S Muskegon Avenue        2818‐36 E 78th Street    Estate Property    Mark P. Mouty                                              $       180,702.77 Investor‐Lender       $    50,000.00
  119           4019 S Indiana Avenue                                 Former Property    Mark P. Mouty                                              $       130,703.00   Equity Investor     $   120,703.00
  906                   SSDF6                                         Fund               Mark P. Mouty                                              $       130,703.00   Equity Investor     $   120,703.00
10 to 12                 CCF1                                         Fund               Mark P. Mouty                                              $       180,702.77 Investor‐Lender       $    25,000.00
13 to 15                 CCF2                                         Fund               Mark P. Mouty                                              $       180,702.77 Investor‐Lender       $    25,000.00
   73          7255‐57 S Euclid Avenue       1940‐44 E 73rd Street    Estate Property    Mark Young                                                 $       366,131.08 Investor‐Lender       $    40,000.00
   77       7750‐58 S Muskegon Avenue        2818‐36 E 78th Street    Estate Property    Mark Young                                                 $       366,131.08 Investor‐Lender       $   100,000.00
   80           2736‐44 W 64th Street                                 Estate Property    Mark Young                                                 $       366,131.08 Investor‐Lender       $    50,000.00
   90        7656‐58 S Kingston Avenue     2514‐2520 East 77th Street Estate Property    Mark Young                                                 $       366,131.08 Investor‐Lender       $    50,000.00
   92          7748‐52 S Essex Avenue        2450‐52 E 78th Street    Estate Property    Mark Young                                                 $       366,131.08 Investor‐Lender       $    30,000.00
   95          8201 S Kingston Avenue                                 Estate Property    Mark Young                                                 $       366,131.08 Investor‐Lender       $    50,000.00
  126      5201‐5207 W Washington Blvd                                Former Property    Mark Young                                                 $       366,131.08 Investor‐Lender       $    50,000.00
13 to 15                 CCF2                                         Fund               MarTech, Inc.                                              $       600,000.00   Equity Investor     $   600,000.00
   71            701‐13 S 5th Avenue              414 Walnut          Estate Property    Mary Alexander‐Brum                                        $         52,124.99 Investor‐Lender      $    50,000.00
  124          6801 S East End Avenue                                 Former Property    Mary Ann Hennefer                                          $         15,160.00 Investor‐Lender      $    15,160.00
   60         7026‐42 S Cornell Avenue                                Estate Property    MaryAnn Zimmerman                                          $         50,000.00 Investor‐Lender      $    18,104.00
   88        7546‐48 S Saginaw Avenue                                 Estate Property    MaryAnn Zimmerman                                          $         50,000.00 Investor‐Lender      $    31,716.00
   49       7300‐04 St Lawrence Avenue                                Estate Property    Matthew Boyd                                               $       405,000.00 Investor‐Lender       $   259,302.00
   50            7760 S Coles Avenue                                  Estate Property    Matthew Boyd                                               $       405,000.00 Investor‐Lender       $    55,000.00
   58        5955 S Sacramento Avenue        2948‐56 W 60th Street    Estate Property    Matthew Boyd                                               $       405,000.00 Investor‐Lender       $    40,698.00
   77       7750‐58 S Muskegon Avenue        2818‐36 E 78th Street    Estate Property    Matthew Boyd                                               $       405,000.00 Investor‐Lender       $    50,000.00
102‐106        7927‐49 S Essex Avenue                                 Estate Property    Matthew Boyd                                               $       405,000.00 Investor‐Lender       $   314,302.00


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Property            Property Address              Alternative Address           Type                                                  Claimant Name                             Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                           (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                               Amount in Claim            Form            Invested in
                                                                                                                                                                                   Category as                              Property
                                                                                                                                                                              Identified on Claim
                                                                                                                                                                                     Form)
   1            1700‐08 Juneway Terrace                                   Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC     $       631,739.82 Investor‐Lender        $   110,000.00
  67              1131‐41 E 79th Place                                    Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)    $       631,739.82 Investor‐Lender and    $    50,000.00
                                                                                                                                                                                                     Equity Investor
  74             3074 Cheltenham Place             7836 S Shore Drive     Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)    $       631,739.82 Investor‐Lender        $    86,515.00

  77           7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)    $      631,739.82    Investor‐Lender      $    25,000.00

  79       6160‐6212 S Martin Luther King Drive                           Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)    $      631,739.82    Investor‐Lender      $    60,000.00

  95             8201 S Kingston Avenue                                   Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)    $      631,739.82    Investor‐Lender      $    25,000.00

  124            6801 S East End Avenue                                   Former Property    May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)    $      631,739.82         Other           $    84,500.00

  126         5201‐5207 W Washington Blvd                                 Former Property    May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)    $      631,739.82    Investor‐Lender      $    25,000.00

  145          4755 S St Lawrence Avenue                                  Former Property    May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)    $       88,868.41         Other           $    68,360.31

 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)    $      631,739.82    Investor‐Lender      $    50,000.00

   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Meadows Enterprises Inc, Kenyon Meadows, president                                $       75,000.00    Investor‐Lender      $    25,000.00
13 to 15                  CCF2                                            Fund               Meadows Enterprises Inc, Kenyon Meadows, president                                $       75,000.00    Investor‐Lender      $    50,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    Melanie T. or Gary M. Gonzales                                                    $      525,525.01    Investor‐Lender      $   250,000.00
   84            7051 S Bennett Avenue                                    Estate Property    Melanie T. or Gary M. Gonzales                                                    $      525,525.01    Investor‐Lender      $   155,000.00
 96‐99           8326‐58 S Ellis Avenue                                   Estate Property    Melanie T. or Gary M. Gonzales                                                    $      525,525.01    Investor‐Lender      $   100,000.00
  115            109 N Laramie Avenue                                     Former Property    Melvin Shurtz                                                                      $              ‐    Investor‐Lender      $    25,000.00
  904              SSDF4 Legacy Fund                                      Fund               Melvin Shurtz                                                                     $       25,000.00     Equity Investor     $    25,000.00
   50             7760 S Coles Avenue                                     Estate Property    Metro Rural Real Estate Solutions (Tamara Molenaar‐Angelier)                      $       18,253.51    Investor‐Lender      $    70,000.00
   51             1401 W 109th Place                                      Estate Property    Michael and Lyanne Terada                                                         $       73,336.53    Investor‐Lender      $    33,847.00
  940             Colony 4 Investment                                     Fund               Michael and Lyanne Terada                                                         $       66,815.34     Equity Investor     $    60,194.00
   64          4611‐17 S Drexel Boulevard                                 Estate Property    Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman, Michael    $       80,377.98    Investor‐Lender      $     7,728.00
                                                                                             Goldman)
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman, Michael    $       80,377.98    Investor‐Lender      $    61,860.75
                                                                                             Goldman)
  132            9531 S Fairfield Avenue                                  Former Property    Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman, Michael    $       80,377.98    Investor‐Lender      $     5,405.73
                                                                                             Goldman)
  156            4351 S Calumet Avenue                                    Former Property    Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman, Michael    $       80,377.98    Investor‐Lender      $    20,239.25
                                                                                             Goldman)


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Property         Property Address            Alternative Address           Type                                                  Claimant Name                                    Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                             (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                                 Amount in Claim            Form            Invested in
                                                                                                                                                                                     Category as                              Property
                                                                                                                                                                                Identified on Claim
                                                                                                                                                                                       Form)
   47             5437 S Laflin Street                               Estate Property    Michael Borgia                                                                           $     1,253,784.00 Investor‐Lender        $   250,000.00
   78        7201 S Constance Avenue        1825‐31 E 72nd Street    Estate Property    Michael Borgia                                                                           $     1,253,784.00 Investor‐Lender        $   669,327.00
  115           109 N Laramie Avenue                                 Former Property    Michael Borgia                                                                           $     1,253,784.00 Investor‐Lender        $   455,673.00
    1         1700‐08 Juneway Terrace                                Estate Property    Michael Borgia IRA                                                                       $       975,416.00 Investor‐Lender        $   125,000.00
   73         7255‐57 S Euclid Avenue       1940‐44 E 73rd Street    Estate Property    Michael Borgia IRA                                                                       $       975,416.00 Investor‐Lender        $   125,000.00
  122       7616‐7624 S Phillips Avenue                              Former Property    Michael Borgia IRA                                                                       $       975,416.00 Investor‐Lender        $   325,000.00
  126      5201‐5207 W Washington Blvd                               Former Property    Michael Borgia IRA                                                                       $       975,416.00 Investor‐Lender        $   400,416.00
 96‐99          8326‐58 S Ellis Avenue                               Estate Property    Michael Burns                                                                            $         50,000.00 Investor‐Lender       $    50,000.00
    2        4533‐47 S Calumet Avenue                                Estate Property    Michael C. Jacobs                                                                        $       178,833.00    Equity Investor     $    50,000.00
   67            1131‐41 E 79th Place                                Estate Property    Michael C. Jacobs                                                                        $       178,833.00    Equity Investor     $    70,000.00
   73         7255‐57 S Euclid Avenue       1940‐44 E 73rd Street    Estate Property    Michael C. Jacobs                                                                        $       178,833.00    Equity Investor     $    25,000.00
   78        7201 S Constance Avenue        1825‐31 E 72nd Street    Estate Property    Michael C. Jacobs                                                                        $       178,833.00    Equity Investor     $    25,000.00
  124          6801 S East End Avenue                                Former Property    Michael C. Jacobs                                                                        $       103,666.68 Investor‐Lender        $   100,000.00
    1         1700‐08 Juneway Terrace                                Estate Property    Michael C. McClane                                                                       $         82,277.75 Investor‐Lender
   90       7656‐58 S Kingston Avenue     2514‐2520 East 77th Street Estate Property    Michael D More                                                                           $       100,000.00 Investor‐Lender        $   100,000.00
  901                   SSDF1                                        Fund               Michael D More                                                                           $       100,000.00    Equity Investor     $   100,000.00
   60        7026‐42 S Cornell Avenue                                Estate Property    Michael E. Thomas                                                                        $         19,000.00 Investor‐Lender       $    50,000.00
    5        7749‐59 S Yates Boulevard                               Estate Property    Michael F Grant & L. Gretchen Grant                                                      $       695,000.00 Investor‐Lender        $    50,000.00
   62           7834‐44 S Ellis Avenue                               Estate Property    Michael F Grant & L. Gretchen Grant                                                      $       695,000.00 Investor‐Lender        $    50,000.00
   72         7024‐32 S Paxton Avenue                                Estate Property    Michael F Grant & L. Gretchen Grant                                                      $       695,000.00 Investor‐Lender        $    40,000.00
   74          3074 Cheltenham Place         7836 S Shore Drive      Estate Property    Michael F Grant & L. Gretchen Grant                                                      $       695,000.00 Investor‐Lender        $    50,000.00
   81       4317‐19 S Michigan Avenue                                Estate Property    Michael F Grant & L. Gretchen Grant                                                      $       695,000.00 Investor‐Lender        $    50,000.00
   88        7546‐48 S Saginaw Avenue                                Estate Property    Michael F Grant & L. Gretchen Grant                                                      $       695,000.00 Investor‐Lender        $   110,000.00
   89       7600‐10 S Kingston Avenue       2527‐29 E 76th Street    Estate Property    Michael F Grant & L. Gretchen Grant                                                      $       695,000.00 Investor‐Lender        $    50,000.00
   92          7748‐52 S Essex Avenue       2450‐52 E 78th Street    Estate Property    Michael F Grant & L. Gretchen Grant                                                      $       695,000.00 Investor‐Lender        $   270,000.00
13 to 15                 CCF2                                        Fund               Michael F Grant & L. Gretchen Grant                                                      $       695,000.00 Investor‐Lender and    $    50,000.00
                                                                                                                                                                                                       Equity Investor
 96‐99        8326‐58 S Ellis Avenue                                Estate Property     Michael F Grant & L. Gretchen Grant                                                      $       695,000.00 Investor‐Lender        $    35,000.00
   5        7749‐59 S Yates Boulevard                               Estate Property     Michael Grow                                                                             $       223,996.00 Investor‐Lender and
                                                                                                                                                                                                       Equity Investor
  67           1131‐41 E 79th Place                                 Estate Property     Michael Grow                                                                             $       223,996.00 Investor‐Lender and
                                                                                                                                                                                                       Equity Investor
  124        6801 S East End Avenue                                 Former Property     Michael Hill                                                                             $         85,000.00 Investor‐Lender       $    50,000.00
  85       7201‐07 S Dorchester Avenue       1401 E 72nd Street     Estate Property     Michael Hill (Remoni Global Holdings LLC)                                                $         85,000.00 Investor‐Lender       $    35,000.00
  54         8000‐02 S Justine Street        1541 E 80th Street     Estate Property     Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of Survivorship    $       310,000.00 Investor‐Lender        $   110,000.00




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Property            Property Address               Alternative Address          Type                                                  Claimant Name                                    Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                                  (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                                      Amount in Claim           Form            Invested in
                                                                                                                                                                                          Category as                             Property
                                                                                                                                                                                     Identified on Claim
                                                                                                                                                                                            Form)
  69              6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property    Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of Survivorship    $       310,000.00 Investor‐Lender       $    50,000.00

  75            7625‐33 S East End Avenue                                 Estate Property    Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of Survivorship    $      310,000.00    Investor‐Lender     $    92,561.00

  76            7635‐43 S East End Avenue                                 Estate Property    Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of Survivorship    $      310,000.00    Investor‐Lender     $    57,439.00

  64           4611‐17 S Drexel Boulevard                                 Estate Property    Michael Kessock                                                                         $         3,333.33    Investor‐Lender     $   100,000.00
  904                    SSDF4                                            Fund               Michael Kessock                                                                         $       103,000.00     Equity Investor    $   100,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Michael Prokop                                                                          $           197.01     Equity Investor    $   150,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Michael Prokop                                                                          $           197.01     Equity Investor    $    50,000.00
  904                    SSDF4                                            Fund               Michael Schankman                                                                       $       112,557.00     Equity Investor    $    50,000.00
   5            7749‐59 S Yates Boulevard                                 Estate Property    Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP                      $       203,254.00    Investor‐Lender     $    24,000.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP                      $       203,254.00     Equity Investor    $    90,000.00
  116      1102 Bingham St, Houston TX 77007                              Estate Property    Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP                      $       203,254.00    Investor‐Lender     $    54,254.00
  904              SSDF4 Legacy Fund                                      Fund               Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP                      $       203,254.00     Equity Investor    $    54,524.00

13 to 15                  CCF2                                            Fund               Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP                      $       203,254.00   Equity Investor      $    35,000.00
  122          7616‐7624 S Phillips Avenue                                Former Property    Michigan Shore Apartments, LLC                                                          $       435,350.00         Other
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property    MID LLC by Carolyn Mize                                                                 $        53,061.25   Equity Investor      $    50,000.00
  109           4750‐52 S Indiana Avenue                                  Estate Property    MID LLC by Carolyn Mize                                                                 $        53,061.25 Investor‐Lender        $     5,000.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    Midland IRA, Inc. LLC Custodian FBO, Terry L Merrill, IRA Account # 6820601             $        60,000.00 Investor‐Lender        $    60,000.00
   16             1017 W 102nd Street                                     Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American     $     1,605,189.95 Institutional Lender
                                                                                             Finance 2015‐1, Ltd.
  17                1516 E 85th Place                                     Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American     $     1,605,189.95 Institutional Lender
                                                                                             Finance 2015‐1, Ltd.
  18               2136 W 83rd Street                                     Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American     $     1,605,189.95 Institutional Lender
                                                                                             Finance 2015‐1, Ltd.
  19               417 Oglesby Avenue                                     Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American     $     1,605,189.95 Institutional Lender
                                                                                             Finance 2015‐1, Ltd.
  20              7922 S Luella Avenue                                    Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American     $     1,605,189.95 Institutional Lender
                                                                                             Finance 2015‐1, Ltd.
  21             7925 S Kingston Avenue                                   Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American     $     1,605,189.95 Institutional Lender
                                                                                             Finance 2015‐1, Ltd.
  22             7933 S Kingston Avenue                                   Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American     $     1,605,189.95 Institutional Lender
                                                                                             Finance 2015‐1, Ltd.
  23            8030 S Marquette Avenue                                   Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American     $     1,605,189.95 Institutional Lender
                                                                                             Finance 2015‐1, Ltd.


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                                                                              Exhibit 8
                                                                                             Master Claims List
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Property      Property Address       Alternative Address         Type                                                  Claimant Name                                  Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                 (Total Claimed   Identified on Claim    Claimed to be
                                                                                                                                                                     Amount in Claim            Form            Invested in
                                                                                                                                                                         Category as                              Property
                                                                                                                                                                    Identified on Claim
                                                                                                                                                                           Form)
  24       8104 S Kingston Avenue                          Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $     1,605,189.95 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  25        8403 S Aberdeen Street                         Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,605,189.95 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  26       8405 S Marquette Avenue                         Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,605,189.95 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  27        8529 S Rhodes Avenue                           Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,605,189.95 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  28          8800 S Ada Street                            Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,605,189.95 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  29        9212 S Parnell Avenue                          Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,605,189.95 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  30        10012 S LaSalle Avenue                         Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  31        11318 S Church Street                          Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  32         3213 S Throop Street                          Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  33          3723 W 68th Place                            Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  34           406 E 87th Place                            Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  35           61 E 92nd Street                            Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  36        6554 S Rhodes Avenue                           Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  37        6825 S Indiana Avenue                          Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  38        7210 S Vernon Avenue                           Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  39         7712 S Euclid Avenue                          Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  40       7953 S Woodlawn Avenue                          Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.
  41       8107 S Kingston Avenue                          Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American   $     1,924,211.14 Institutional Lender
                                                                              Finance 2015‐1, Ltd.




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                                                                                SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property        Property Address        Alternative Address         Type                                                  Claimant Name                                    Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                      (Total Claimed   Identified on Claim    Claimed to be
                                                                                                                                                                          Amount in Claim            Form            Invested in
                                                                                                                                                                              Category as                              Property
                                                                                                                                                                         Identified on Claim
                                                                                                                                                                                Form)
  42        8346 S Constance Avenue                           Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American      $     1,924,211.14 Institutional Lender
                                                                                 Finance 2015‐1, Ltd.
  43          8432 S Essex Avenue                             Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American     $     1,924,211.14 Institutional Lender
                                                                                 Finance 2015‐1, Ltd.
  44         8517 S Vernon Avenue                             Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American     $     1,924,211.14 Institutional Lender
                                                                                 Finance 2015‐1, Ltd.
  45           2129 W 71st Street                             Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     1,973,393.52 Institutional Lender
                                                                                 N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage
                                                                                 Pass‐Through Certificates
  46        9610 S Woodlawn Avenue                            Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     1,973,393.52 Institutional Lender
                                                                                 N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage
                                                                                 Pass‐Through Certificates
  47           5437 S Laflin Street                           Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     1,973,393.52 Institutional Lender
                                                                                 N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage
                                                                                 Pass‐Through Certificates
  48         6759 S Indiana Avenue                            Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     1,973,393.52 Institutional Lender
                                                                                 N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage
                                                                                 Pass‐Through Certificates
  49       7300‐04 St Lawrence Avenue                         Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     1,973,393.52 Institutional Lender
                                                                                 N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage
                                                                                 Pass‐Through Certificates
  50          7760 S Coles Avenue                             Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     1,973,393.52 Institutional Lender
                                                                                 N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage
                                                                                 Pass‐Through Certificates
  51           1401 W 109th Place                             Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     3,003,129.41 Institutional Lender
                                                                                 N.A., as Trustee for the Registered Holders of Corevest American Finance 2017‐2
                                                                                 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2
  52            310 E 50th Street                             Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     3,003,129.41 Institutional Lender
                                                                                 N.A., as Trustee for the Registered Holders of Corevest American Finance 2017‐2
                                                                                 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2
  53         6807 S Indiana Avenue                            Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     3,003,129.41 Institutional Lender
                                                                                 N.A., as Trustee for the Registered Holders of Corevest American Finance 2017‐2
                                                                                 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2
  54         8000‐02 S Justine Street   1541 E 80th Street    Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     3,003,129.41 Institutional Lender
                                                                                 N.A., as Trustee for the Registered Holders of Corevest American Finance 2017‐2
                                                                                 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2




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                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address               Alternative Address          Type                                                  Claimant Name                                    Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                                  (Total Claimed   Identified on Claim    Claimed to be
                                                                                                                                                                                      Amount in Claim            Form            Invested in
                                                                                                                                                                                          Category as                              Property
                                                                                                                                                                                     Identified on Claim
                                                                                                                                                                                            Form)
  55              8107‐09 S Ellis Avenue                                  Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,    $     3,003,129.41 Institutional Lender
                                                                                             N.A., as Trustee for the Registered Holders of Corevest American Finance 2017‐2
                                                                                             Trust, Mortgage Pass‐Through Certificates, Series 2017‐2
  56               8209 S Ellis Avenue                                    Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     3,003,129.41 Institutional Lender
                                                                                             N.A., as Trustee for the Registered Holders of Corevest American Finance 2017‐2
                                                                                             Trust, Mortgage Pass‐Through Certificates, Series 2017‐2
  57           8214‐16 S Ingleside Avenue                                 Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,   $     3,003,129.41 Institutional Lender
                                                                                             N.A., as Trustee for the Registered Holders of Corevest American Finance 2017‐2
                                                                                             Trust, Mortgage Pass‐Through Certificates, Series 2017‐2
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Mike Dirnberger                                                                          $       15,000.00    Investor‐Lender
   88          7546‐48 S Saginaw Avenue                                   Estate Property    Mike Dirnberger                                                                          $       15,000.00    Investor‐Lender
  100        11117‐11119 S Longwood Drive                                 Estate Property    Mike M. Cocos                                                                            $      150,000.00     Equity Investor     $    50,000.00
  911              Hybrid Capital Fund                                    Fund               Mike M. Cocos                                                                            $      150,000.00     Equity Investor     $    50,000.00
13 to 15                  CCF2                                            Fund               Mike M. Cocos                                                                            $      150,000.00     Equity Investor     $    50,000.00
   64          4611‐17 S Drexel Boulevard                                 Estate Property    Minchow, Donald                                                                          $      225,000.00    Investor‐Lender      $    40,000.00
13 to 15                  CCF2                                            Fund               Minchow, Donald                                                                          $      225,000.00    Investor‐Lender      $    75,000.00
   70            638‐40 N Avers Avenue                                    Estate Property    Minchow, Rochelle                                                                        $      190,000.00    Investor‐Lender      $    30,000.00
10 to 12                  CCF1                                            Fund               Mitchell Young Trust                                                                     $       30,000.00    Investor‐Lender      $    30,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    Mona M. Leonard SD ROTH ‐ 2692021                                                        $      190,609.00     Equity Investor     $    50,000.00
   61           7237‐43 S Bennett Avenue                                  Estate Property    Mona M. Leonard SD ROTH ‐ 2692021                                                        $      190,609.00     Equity Investor     $   200,000.00
    8             1414 East 62nd Place                                    Estate Property    Moran Blueshtein and Upender Subramanian                                                 $      146,857.18     Equity Investor     $    30,188.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Moran Blueshtein and Upender Subramanian                                                 $      146,857.18    Investor‐Lender      $    20,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Moran Blueshtein and Upender Subramanian                                                 $      146,857.18    Investor‐Lender      $    30,188.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Moran Blueshtein and Upender Subramanian                                                 $      146,857.18    Investor‐Lender      $    46,000.00
  904                    SSDF4                                            Fund               Moran Blueshtein and Upender Subramanian                                                 $      100,000.00     Equity Investor     $   100,000.00
13 to 15                  CCF2                                            Fund               Moran Blueshtein and Upender Subramanian                                                 $      146,857.18    Investor‐Lender      $    50,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                               $      159,000.00    Investor‐Lender      $    10,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                               $      159,000.00    Investor‐Lender      $     7,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property    Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                               $      159,000.00    Investor‐Lender      $    50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                               $      159,000.00    Investor‐Lender      $    92,000.00
  904                    SSDF4                                            Fund               MTASS Realty LLC                                                                         $      349,521.00     Equity Investor     $   349,521.00
  124            6801 S East End Avenue                                   Former Property    Mudlic Properties LLC                                                                    $      207,194.24    Other (property      $   674,377.90
                                                                                                                                                                                                          owner; mortgagor)
  904                    SSDF4                                            Fund               Nancy A Markwalter                                                                       $       25,000.00     Equity Investor     $    25,000.00
   3            5001 S Drexel Boulevard             909 E 50th Street     Estate Property    Nancy Cree (Cree Capital Ventures)                                                       $      300,000.00     Equity Investor     $   300,000.00
   6           6437‐41 S Kenwood Avenue                                   Estate Property    Nancy Cree (Cree Capital Ventures)                                                       $      725,000.00    Investor‐Lender      $   250,000.00
  68          6217‐27 S Dorchester Avenue                                 Estate Property    Nancy Cree (Cree Capital Ventures)                                                       $      725,000.00    Investor‐Lender      $   225,000.00


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                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                Alternative Address            Type                                                  Claimant Name                            Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                             (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                                 Amount in Claim            Form            Invested in
                                                                                                                                                                                     Category as                              Property
                                                                                                                                                                                Identified on Claim
                                                                                                                                                                                       Form)
  100        11117‐11119 S Longwood Drive                                    Estate Property    Nancy Cree (Cree Capital Ventures)                                               $       725,000.00 Investor‐Lender        $   250,000.00
   67              1131‐41 E 79th Place                                      Estate Property    Nancy Fillmore                                                                   $         90,974.27 Investor‐Lender
  100        11117‐11119 S Longwood Drive                                    Estate Property    Nancy Fillmore                                                                   $         90,974.27 Investor‐Lender
13 to 15                  CCF2                                               Fund               Nancy Fillmore                                                                   $         90,974.27 Investor‐Lender       $    25,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Nandini S Chennappan                                                             $         10,000.00 Investor‐Lender       $    10,000.00
   67              1131‐41 E 79th Place                                      Estate Property    Narine Nebel                                                                     $         62,256.25 Investor‐Lender       $    50,000.00
13 to 15                  CCF2                                               Fund               Narine Nebel                                                                     $         62,256.25 Investor‐Lender       $    15,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property    Natalie T. Scheuller                                                             $         85,400.00   Equity Investor     $    85,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Nathan and Brandi Hennefer                                                       $         25,000.00 Investor‐Lender       $    25,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Nathan Hennefer                                                                  $         44,000.00 Investor‐Lender       $    44,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Naveen Kwatra                                                                    $         75,000.00 Investor‐Lender       $    25,000.00
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property    Naveen Kwatra                                                                    $         75,000.00 Investor‐Lender       $    50,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                  $       252,907.00 Investor‐Lender        $    25,000.00
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property    Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                  $       252,907.00 Investor‐Lender        $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                  $       252,907.00 Investor‐Lender        $    50,000.00
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property    Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                  $       252,907.00 Investor‐Lender        $    52,907.00
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property    Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                  $       252,907.00 Investor‐Lender        $    25,000.00
13 to 15                  CCF2                                               Fund               Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                  $       252,907.00 Investor‐Lender and    $    50,000.00
                                                                                                                                                                                                       Equity Investor
   2           4533‐47 S Calumet Avenue                                      Estate Property    Neil R Martin                                                                    $         20,991.00   Equity Investor     $    20,000.00
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property    Neil R Martin                                                                    $         20,991.00   Equity Investor
  904              SSDF4 Legacy Fund                                         Fund               Nerses Abramyan                                                                  $         25,000.00   Equity Investor     $    25,000.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    New Direction IRA, Inc. FBO Ingrid Beyer, Roth IRA                               $         25,865.84 Investor‐Lender       $    25,000.00
  59          6001‐05 S Sacramento Avenue         2945‐51 W 60th Street      Estate Property    New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                                 $       103,990.94 Investor‐Lender        $    16,000.00
  70             638‐40 N Avers Avenue                                       Estate Property    New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                                 $       103,990.94 Investor‐Lender        $    85,000.00
   2           4533‐47 S Calumet Avenue                                      Estate Property    New Move Ventures Inc. (Steven Fecko)                                            $       120,000.00 Investor‐Lender        $    70,000.00
  74             3074 Cheltenham Place              7836 S Shore Drive       Estate Property    New Move Ventures Inc. (Steven Fecko)                                            $       120,000.00 Investor‐Lender        $    50,000.00
  60            7026‐42 S Cornell Avenue                                     Estate Property    Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S Kapsky IRA 3207    $         23,000.00 Investor‐Lender       $    13,000.00

  68          6217‐27 S Dorchester Avenue                                    Estate Property    Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S Kapsky IRA 3207    $       23,000.00    Investor‐Lender      $    10,000.00

  60            7026‐42 S Cornell Avenue                                     Estate Property    Next Generation Trust Company FBO Mark Kapsky IRA 2396                           $       42,000.00    Investor‐Lender      $     2,000.00
  68          6217‐27 S Dorchester Avenue                                    Estate Property    Next Generation Trust Company FBO Mark Kapsky IRA 2396                           $       42,000.00    Investor‐Lender
  60            7026‐42 S Cornell Avenue                                     Estate Property    Next Generation Trust Company FBO Mark Steven Kapsky Roth IRA 2702               $       35,000.00    Investor‐Lender      $    25,000.00
  901                    SSDF1                                               Fund               NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                               $      335,000.00     Equity Investor     $   100,000.00
  904              SSDF4 Legacy Fund                                         Fund               NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                               $      335,000.00     Equity Investor     $   235,000.00




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                                                                                                           Master Claims List
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Property            Property Address              Alternative Address          Type                                                  Claimant Name     Claimed Amount Claim Category as            Amount
Number                                                                                                                                                  (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                      Amount in Claim            Form            Invested in
                                                                                                                                                          Category as                              Property
                                                                                                                                                     Identified on Claim
                                                                                                                                                            Form)
   83            6356 S California Avenue         2804 W 64th Street     Estate Property    Nicolas and Joyce Jenks                                   $       155,249.47 Investor‐Lender        $    25,000.00
   85         7201‐07 S Dorchester Avenue         1401 E 72nd Street     Estate Property    Nicolas and Joyce Jenks                                   $       155,249.47 Investor‐Lender        $    50,000.00
10 to 12                  CCF1                                           Fund               Nisha Gupta 401(K) Profit Sharing Plan & Trust            $         92,000.00 Investor‐Lender       $    75,000.00
13 to 15                  CCF2                                           Fund               Nisha Gupta 401(K) Profit Sharing Plan & Trust            $         36,604.64 Investor‐Lender       $    29,500.00
10 to 12                  CCF1                                           Fund               Nisha Gupta Defined Benefit Plan and Trust                $       214,666.61 Investor‐Lender        $   175,000.00
13 to 15                  CCF2                                           Fund               Nisha Gupta Defined Benefit Plan and Trust                $         99,887.14 Investor‐Lender       $    80,500.00
   83            6356 S California Avenue         2804 W 64th Street     Estate Property    OAK BARREL ONE, LLC (TED GUILLEN)                         $         20,038.00 Investor‐Lender       $    20,038.00
102‐106          7927‐49 S Essex Avenue                                  Estate Property    OE Holdings LLC                                           $         30,000.00 Investor‐Lender       $    30,000.00
    2          4533‐47 S Calumet Avenue                                  Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $    70,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $   170,000.00
    5           7749‐59 S Yates Boulevard                                Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $   100,000.00
    6          6437‐41 S Kenwood Avenue                                  Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $    30,000.00
    7          7109‐19 S Calumet Avenue                                  Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $   200,000.00
   60           7026‐42 S Cornell Avenue                                 Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $   165,000.00
   61           7237‐43 S Bennett Avenue                                 Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $    65,000.00
   62             7834‐44 S Ellis Avenue                                 Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $   250,000.00
   64          4611‐17 S Drexel Boulevard                                Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $   105,831.00
   68         6217‐27 S Dorchester Avenue                                Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $    20,000.00
   70             638‐40 N Avers Avenue                                  Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $   250,000.00
   74             3074 Cheltenham Place           7836 S Shore Drive     Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $    60,000.00
   85         7201‐07 S Dorchester Avenue         1401 E 72nd Street     Estate Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $    77,500.00
  128             8623‐54 S Ellis Avenue                                 Former Property    Optima Property Solutions, LLC                            $       487,209.71 Investor‐Lender        $    50,000.00
  901                     SSDF1                                          Fund               Optima Property Solutions, LLC                            $       856,284.00    Equity Investor     $   856,284.00
13 to 15                  CCF2                                           Fund               Overhead Solutions Inc (Paul Collins)                     $         50,000.00   Equity Investor     $    50,000.00
   68         6217‐27 S Dorchester Avenue                                Estate Property    Pacific Ocean Services Inc                                $       175,000.00 Investor‐Lender        $   150,000.00
102‐106          7927‐49 S Essex Avenue                                  Estate Property    Pacific Ocean Services Inc                                $       175,000.00 Investor‐Lender        $   150,000.00
    7          7109‐19 S Calumet Avenue                                  Estate Property    Pankaj Patel BDA EZ NJ VENTURES, LLC.                     $       223,000.00 Investor‐Lender        $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                          Estate Property    Pankaj Patel BDA EZ NJ VENTURES, LLC.                     $       223,000.00 Investor‐Lender        $    50,000.00
  111             6558 S Vernon Avenue            416‐24 E 66th Street   Estate Property    Pankaj Patel BDA EZ NJ VENTURES, LLC.                     $       223,000.00 Investor‐Lender        $    50,000.00
  123           7107‐29 S Bennett Avenue                                 Former Property    Pankaj Patel BDA EZ NJ VENTURES, LLC.                     $       223,000.00 Investor‐Lender        $    50,000.00
  155            Campo‐Mar, Puerto Rico                                  Former Property    Pankaj Patel BDA EZ NJ VENTURES, LLC.                     $       223,000.00 Investor‐Lender        $    50,000.00
  124            6801 S East End Avenue                                  Former Property    Paper Street Realty LLC d/b/a Rent Ready Apartments       $       135,847.03 Other (Mechanics
                                                                                                                                                                             Lien Claimant
  52               310 E 50th Street                                     Estate Property    Paper Street Realty LLC DBA Rent Ready Apartments         $       234,139.18    Trade Creditor      $    49,600.68
  56              8209 S Ellis Avenue                                    Estate Property    Paper Street Realty LLC DBA Rent Ready Apartments         $       234,139.18    Trade Creditor      $     2,740.00
  57           8214‐16 S Ingleside Avenue                                Estate Property    Paper Street Realty LLC DBA Rent Ready Apartments         $       234,139.18    Trade Creditor      $    18,986.00
  61           7237‐43 S Bennett Avenue                                  Estate Property    Paper Street Realty LLC DBA Rent Ready Apartments         $       234,139.18    Trade Creditor      $   162,812.50


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                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address               Alternative Address          Type                                                  Claimant Name     Claimed Amount Claim Category as             Amount
Number                                                                                                                                                   (Total Claimed     Identified on Claim   Claimed to be
                                                                                                                                                       Amount in Claim              Form           Invested in
                                                                                                                                                           Category as                               Property
                                                                                                                                                      Identified on Claim
                                                                                                                                                             Form)
  124            6801 S East End Avenue                                   Former Property    Pat DeSantis                                                                     Investor‐Lender     $   328,561.00
    5           7749‐59 S Yates Boulevard                                 Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   250,000.00
   61           7237‐43 S Bennett Avenue                                  Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   100,000.00
   62             7834‐44 S Ellis Avenue                                  Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   250,000.00
   64          4611‐17 S Drexel Boulevard                                 Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   250,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   250,000.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   110,000.00
   70            638‐40 N Avers Avenue                                    Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   250,000.00
   72           7024‐32 S Paxton Avenue                                   Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   250,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   110,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   250,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   110,000.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   110,000.00
   94           816‐20 E Marquette Road                                   Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   100,000.00
13 to 15                  CCF2                                            Fund               Pat DeSantis                                              $     2,684,539.00      Equity Investor    $   500,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Pat DeSantis                                              $     2,684,539.00 Investor‐Lender         $   250,000.00
  123           7107‐29 S Bennett Avenue                                  Former Property    Patricia A Brown                                          $         84,631.88 Investor‐Lender        $   100,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Patricia E Gomes (Ravin3 LLC / Longwood11117, LLC)        $       405,333.28 Investor‐Lender         $   400,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Patricia Guillen                                          $         50,000.00 Investor‐Lender and    $    50,000.00
                                                                                                                                                                               Equity Investor
  62              7834‐44 S Ellis Avenue                                  Estate Property    Patricia J Theil and Samuel D Theil                       $         26,429.55 Investor‐Lender        $    25,211.00
  62              7834‐44 S Ellis Avenue                                  Estate Property    Patricia J Theil C/F Jacqueline M Theil                   $         62,062.58 Investor‐Lender        $    49,165.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Patricia J Theil C/F Jacqueline M Theil                   $         62,062.58 Investor‐Lender        $    11,257.00
  67               1131‐41 E 79th Place                                   Estate Property    Patricia M. McCorry, Manager McCorry Real Estate LLC      $         51,250.00     Equity Investor    $    50,000.00
 13‐15            2909‐19 E 78th Street                                   Fund               Patricia M. McCorry, Manager McCorry Real Estate LLC      $         25,708.34 Investor‐Lender        $    25,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
   1            1700‐08 Juneway Terrace                                   Estate Property    Patrick Connely                                           $       50,000.00     Investor‐Lender      $    50,000.00
   5            7749‐59 S Yates Boulevard                                 Estate Property    Patrick Connely                                           $       20,000.00     Investor‐Lender      $    20,000.00
  64           4611‐17 S Drexel Boulevard                                 Estate Property    Patrick Connely                                           $       30,000.00     Investor‐Lender      $    30,000.00
  901                     SSDF1                                           Fund               Patrick Connely                                           $       50,000.00      Equity Investor     $    50,000.00
  904                     SSDF4                                           Fund               Patrick Connely                                           $       20,000.00      Equity Investor     $    20,000.00
  904                     SSDF4                                           Fund               PATRICK SHEEHAN                                           $       90,125.00      Equity Investor     $    50,000.00
  911               Hybrid Capital Fund                                   Fund               PATRICK SHEEHAN                                           $       90,125.00      Equity Investor     $    40,125.00
  62              7834‐44 S Ellis Avenue                                  Estate Property    Paul Franklin                                             $       25,000.00     Investor‐Lender      $    24,420.00
  131           4108 N Monticello Avenue                                  Former Property    Paul Franklin                                             $       25,000.00     Investor‐Lender      $    25,000.00
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property    Paul Harrison                                             $      420,331.59     Investor‐Lender      $    43,098.00


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                                                                                                            Master Claims List
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Property            Property Address              Alternative Address           Type                                                  Claimant Name              Claimed Amount Claim Category as           Amount
Number                                                                                                                                                            (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                Amount in Claim           Form            Invested in
                                                                                                                                                                    Category as                             Property
                                                                                                                                                               Identified on Claim
                                                                                                                                                                      Form)
   81          4317‐19 S Michigan Avenue                                  Estate Property    Paul Harrison                                                      $       420,331.59 Investor‐Lender       $   152,771.00
   86          7442‐48 S Calumet Avenue                                   Estate Property    Paul Harrison                                                      $       420,331.59 Investor‐Lender       $   124,329.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Paul Harrison                                                      $       420,331.59 Investor‐Lender       $    63,694.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Paul Harrison                                                      $       420,331.59 Investor‐Lender       $    25,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
   49         7300‐04 St Lawrence Avenue                                  Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
   60           7026‐42 S Cornell Avenue                                  Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
   64          4611‐17 S Drexel Boulevard                                 Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    50,000.00
   70            638‐40 N Avers Avenue                                    Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    50,000.00
   73            7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
   76          7635‐43 S East End Avenue                                  Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    50,000.00
   77         7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
   81          4317‐19 S Michigan Avenue                                  Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
   85         7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
   88          7546‐48 S Saginaw Avenue                                   Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    75,000.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    75,000.00
   94           816‐20 E Marquette Road                                   Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,185.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    15,000.00
  111             6558 S Vernon Avenue            416‐24 E 66th Street    Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    50,000.00
10 to 12                  CCF1                                            Fund               Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    75,000.00
13 to 15                  CCF2                                            Fund               Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    25,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Paul N. Wilmesmeier                                                $       790,185.00 Investor‐Lender       $    50,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan    $       106,000.00 Investor‐Lender       $    45,000.00
   80             2736‐44 W 64th Street                                   Estate Property    Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan    $       106,000.00 Investor‐Lender       $    30,000.00
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property    Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan    $       106,000.00 Investor‐Lender       $    20,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan    $       106,000.00 Investor‐Lender       $    11,000.00
    5           7749‐59 S Yates Boulevard                                 Estate Property    Paul Scribner                                                      $       200,000.00 Investor‐Lender       $     5,500.00
    6          6437‐41 S Kenwood Avenue                                   Estate Property    Paul Scribner                                                      $       200,000.00 Investor‐Lender       $    50,000.00
   61           7237‐43 S Bennett Avenue                                  Estate Property    Paul Scribner                                                      $       200,000.00 Investor‐Lender       $    50,000.00
   70            638‐40 N Avers Avenue                                    Estate Property    Paul Scribner                                                      $       200,000.00 Investor‐Lender       $    16,826.00


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                                                                                                            Master Claims List
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Property            Property Address               Alternative Address          Type                                                  Claimant Name                     Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                   (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                       Amount in Claim            Form            Invested in
                                                                                                                                                                           Category as                              Property
                                                                                                                                                                      Identified on Claim
                                                                                                                                                                             Form)
   77          7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property    Paul Scribner                                                             $       200,000.00 Investor‐Lender        $     6,708.00
   83            6356 S California Avenue          2804 W 64th Street     Estate Property    Paul Scribner                                                             $       200,000.00 Investor‐Lender        $     7,910.00
   84             7051 S Bennett Avenue                                   Estate Property    Paul Scribner                                                             $       200,000.00 Investor‐Lender        $    50,000.00
   92             7748‐52 S Essex Avenue          2450‐52 E 78th Street   Estate Property    Paul Scribner                                                             $       200,000.00 Investor‐Lender        $     7,000.00
   64           4611‐17 S Drexel Boulevard                                Estate Property    Paula Tucker                                                              $         40,000.00 Investor‐Lender       $    40,000.00
  122          7616‐7624 S Phillips Avenue                                Former Property    Paule M Nagy                                                              $         50,000.00 Investor‐Lender       $    50,000.00
   76           7635‐43 S East End Avenue                                 Estate Property    Penny W Goree                                                             $         36,000.00   Equity Investor     $    50,000.00
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property    Pensco Trust Company Custodian FBO Kathleen A Robinson                    $         15,405.00 Investor‐Lender       $    12,500.00
    5           7749‐59 S Yates Boulevard                                 Estate Property    Peter Jordan                                                              $       153,456.56 Investor‐Lender
    8               1414 East 62nd Place                                  Estate Property    Peter Jordan                                                              $       153,456.56 Investor‐Lender
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Peter Jordan                                                              $       153,456.56 Investor‐Lender
  140             4528 S Michigan Avenue                                  Former Property    Peter (Pierre) Henri Gelinas                                              $         26,499.94 Investor‐Lender       $    25,000.00
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property    Peter (Pierre) Henri Gelinas                                              $         26,499.94 Investor‐Lender       $    12,847.46
  906                   SSDF6, LLC                                        Fund               Peter Flanagan (IRA Services Trust Co. CFBO: Peter Flanagan IRA176308)    $         50,000.00   Equity Investor     $    50,000.00
102‐106           7927‐49 S Essex Avenue                                  Estate Property    Peter Schonberger                                                         $         30,000.00   Equity Investor     $    30,000.00
   72            7024‐32 S Paxton Avenue                                  Estate Property    Peters, David (The Dominquez‐Peters Living Turst)                         $         50,000.00 Investor‐Lender       $    50,000.00
    4            5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property    Petra Zoeller                                                             $       546,619.00 Investor‐Lender        $    50,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Petra Zoeller                                                             $       546,619.00 Investor‐Lender        $   100,000.00
   88           7546‐48 S Saginaw Avenue                                  Estate Property    Petra Zoeller                                                             $       546,619.00 Investor‐Lender        $    50,000.00
   92             7748‐52 S Essex Avenue          2450‐52 E 78th Street   Estate Property    Petra Zoeller                                                             $       546,619.00 Investor‐Lender        $    70,000.00
   94            816‐20 E Marquette Road                                  Estate Property    Petra Zoeller                                                             $       546,619.00 Investor‐Lender        $    30,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Petra Zoeller                                                             $       546,619.00 Investor‐Lender        $   199,000.00
13 to 15                    CCF2                                          Fund               Petra Zoeller                                                             $       546,619.00 Investor‐Lender        $    35,000.00
   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street   Estate Property    PFFR TRUST (Garrett Miller)                                               $          5,299.00 Investor‐Lender       $     5,299.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Philip J Lombardo and Dianne E Lombardo                                   $         54,666.63 Investor‐Lender       $    50,000.00
    5           7749‐59 S Yates Boulevard                                 Estate Property    Phillip G. Vander Kraats                                                  $         80,186.82 Investor‐Lender       $     1,374.00
   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street   Estate Property    Phillip G. Vander Kraats                                                  $         80,186.82 Investor‐Lender       $       312.00
   70             638‐40 N Avers Avenue                                   Estate Property    Phillip G. Vander Kraats                                                  $         80,186.82 Investor‐Lender       $     2,000.00
   72            7024‐32 S Paxton Avenue                                  Estate Property    Phillip G. Vander Kraats                                                  $         80,186.82 Investor‐Lender       $    50,000.00
   88           7546‐48 S Saginaw Avenue                                  Estate Property    Phillip G. Vander Kraats                                                  $         80,186.82 Investor‐Lender       $    28,314.00
  128              8623‐54 S Ellis Avenue                                 Former Property    Phillip Silver Trust dated 12/11/08                                       $         50,000.00 Investor‐Lender       $    50,000.00
   69              6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property    Phyllis Harte                                                             $         36,069.53 Investor‐Lender       $     7,330.00
   87               7508 S Essex Avenue           2453‐59 E 75th Street   Estate Property    Phyllis Harte                                                             $         36,069.53 Investor‐Lender       $     9,270.00
   92             7748‐52 S Essex Avenue          2450‐52 E 78th Street   Estate Property    Phyllis Harte                                                             $         36,069.53 Investor‐Lender       $    20,000.00
   81           4317‐19 S Michigan Avenue                                 Estate Property    PINELLAS FLORIDA FREEDOM REALTY, LLC (GARRETT MILLER)                     $         10,000.00 Investor‐Lender       $    10,000.00
   85         7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property    Ping Liu                                                                  $         58,505.33 Investor‐Lender       $    50,000.00
    1            1700‐08 Juneway Terrace                                  Estate Property    Pioneer Valley Properties LLC                                             $         50,000.00 Investor‐Lender       $    50,000.00


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                                                                                                               Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address                Alternative Address            Type                                                  Claimant Name         Claimed Amount Claim Category as            Amount
Number                                                                                                                                                          (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                              Amount in Claim             Form           Invested in
                                                                                                                                                                  Category as                              Property
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
    5           7749‐59 S Yates Boulevard                                    Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    12,000.00
    6          6437‐41 S Kenwood Avenue                                      Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    10,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    20,000.00
   50              7760 S Coles Avenue                                       Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    25,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $   125,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    50,000.00
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    75,000.00
   74             3074 Cheltenham Place             7836 S Shore Drive       Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    10,000.00
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    50,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    18,000.00
10 to 12                   CCF1                                              Fund               PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    10,000.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property    PNW Investments, LLC                                          $       350,000.00 Investor‐Lender        $    25,000.00
13 to 15                   CCF2                                              Fund               Prakash, Sukumar Samson                                       $       215,875.00
   67              1131‐41 E 79th Place                                      Estate Property    Priscilla Wallace                                             $         25,000.00    Equity Investor    $    25,000.00
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property    Private Finance Solutions, LLC                                $       128,406.34 Investor‐Lender        $    23,328.00
  115             109 N Laramie Avenue                                       Former Property    Private Finance Solutions, LLC                                $       128,406.34 Investor‐Lender        $    88,970.00
  117             3915 N Kimball Avenue                                      Former Property    Private Finance Solutions, LLC                                $       128,406.34 Investor‐Lender        $    30,311.00
  142            5209 W Warwick Avenue                                       Former Property    Private Finance Solutions, LLC                                $       128,406.34 Investor‐Lender        $    88,970.00
  109           4750‐52 S Indiana Avenue                                     Estate Property    Professional Real Estate Solutions, LLC / Edward J. Netzel    $         13,204.91    Equity Investor    $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    PROFESSIONAL RENTAL LP, GEORGE SAMUEL                         $         58,000.04 Investor‐Lender       $    50,000.00
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property    Property Solutions LLC, Kevin Bybee (managing member)         $         60,000.00 Investor‐Lender       $    60,000.00
  907                     SSDF7                                              Fund               Property Solutions LLC, Kevin Bybee (managing member)         $       144,161.89     Equity Investor    $   144,161.89
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Provident Trust Group F.B.O Charles Smith SoloK               $         50,000.00 Investor‐Lender       $    50,000.00
    2          4533‐47 S Calumet Avenue                                      Estate Property    Provident Trust Group, LLC FBO Stephan Tang IRA               $         71,815.00 Investor‐Lender
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Provident Trust Group, LLC FBO Stephan Tang IRA               $         71,815.00 Investor‐Lender       $    71,815.00
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property    Provident Trust Group, LLC FBO Stephan Tang IRA               $         71,815.00 Investor‐Lender       $    35,345.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Provident Trust Group, LLC FBO Stephan Tang IRA               $         71,815.00 Investor‐Lender       $    36,470.00
  906                     SSDF6                                              Fund               Provident Trust Group, LLC FBO Stephan Tang IRA               $         71,815.00    Equity Investor    $    71,815.00
10 to 12                   CCF1                                              Fund               PSB Investment Trust ‐ Stephen Boynton                        $         46,398.10    Equity Investor    $    50,000.00
   76          7635‐43 S East End Avenue                                     Estate Property    QCH Investment Trust                                          $         50,000.00 Investor‐Lender       $    50,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Quantum Growth Holdings LLC                                   $         15,321.00 Investor‐Lender       $     5,500.00
   40           7953 S Woodlawn Avenue                                       Estate Property    Quantum Growth Holdings LLC                                                         Investor‐Lender     $     8,053.89
   62             7834‐44 S Ellis Avenue                                     Estate Property    Quantum Growth Holdings LLC                                                         Investor‐Lender     $     6,056.44
  123           7107‐29 S Bennett Avenue                                     Former Property    Quantum Growth Holdings LLC                                   $         15,321.00    Equity Investor    $     1,971.00
  131           4108 N Monticello Avenue                                     Former Property    Quantum Growth Holdings LLC                                                         Investor‐Lender     $     8,434.38
  904                     SSDF4                                              Fund               Quantum Growth Holdings LLC                                   $         15,321.00    Equity Investor    $    15,321.00




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Property         Property Address          Alternative Address           Type                                                 Claimant Name                             Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                   (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                       Amount in Claim           Form            Invested in
                                                                                                                                                                           Category as                             Property
                                                                                                                                                                      Identified on Claim
                                                                                                                                                                             Form)
 13‐15         2909‐19 E 78th Street                              Fund               Quest IRA Inc FBO Larry J Eggenberger IRA                                         $         50,000.00 Investor‐Lender      $    50,000.00
              7549‐59 S Essex Avenue
            8047‐55 S Manistee Avenue
   5         7749‐59 S Yates Boulevard                            Estate Property    QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21      $       89,482.53    Investor‐Lender     $    12,100.00
  74          3074 Cheltenham Place        7836 S Shore Drive     Estate Property    QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21      $       89,482.53    Investor‐Lender     $    56,000.00
  88        7546‐48 S Saginaw Avenue                              Estate Property    QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21      $       89,482.53    Investor‐Lender     $     5,000.00
  92          7748‐52 S Essex Avenue      2450‐52 E 78th Street   Estate Property    QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21      $       89,482.53    Investor‐Lender     $    10,000.00
   1         1700‐08 Juneway Terrace                              Estate Property    Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21    $      184,785.31    Investor‐Lender     $    10,500.00

  64        4611‐17 S Drexel Boulevard                            Estate Property    Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21    $      184,785.31    Investor‐Lender     $    50,000.00

  68       6217‐27 S Dorchester Avenue                            Estate Property    Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21    $      184,785.31    Investor‐Lender     $    19,500.00

  82         6355‐59 S Talman Avenue      2616‐22 W 64th Street   Estate Property    Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21    $      184,785.31    Investor‐Lender     $    45,000.00

  88         7546‐48 S Saginaw Avenue                             Estate Property    Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21    $      184,785.31    Investor‐Lender     $     9,000.00

  89        7600‐10 S Kingston Avenue     2527‐29 E 76th Street   Estate Property    Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21    $      184,785.31    Investor‐Lender     $    39,953.00

  135         4930 W Cornelia Avenue                              Former Property    QUEST IRA INC. FBO REBECA E. SAVORY‐ROMERO IRA ACCOUNT #15528‐11 AND              $      184,785.31    Investor‐Lender     $    35,256.92
                                                                                     #15528‐21
   91          7701‐03 S Essex Avenue                             Estate Property    Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611                           $       55,500.00    Investor‐Lender     $    50,000.00
   92          7748‐52 S Essex Avenue     2450‐52 E 78th Street   Estate Property    Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611                           $       55,500.00    Investor‐Lender     $     5,500.00
    1         1700‐08 Juneway Terrace                             Estate Property    Quest Trust Company FBO Paul Applefield Roth IRA#16413‐21                         $       13,500.00    Investor‐Lender     $     6,500.00
  100      11117‐11119 S Longwood Drive                           Estate Property    Quest Trust Company FBO Paul Applefield Roth IRA#16413‐21                         $       13,500.00    Investor‐Lender     $     7,000.00
    1         1700‐08 Juneway Terrace                             Estate Property    Quest Trust Company FBO Robin Applefield Roth IRA#25164‐21                        $       13,500.00    Investor‐Lender     $     6,500.00
  100      11117‐11119 S Longwood Drive                           Estate Property    Quest Trust Company FBO Robin Applefield Roth IRA#25164‐21                        $       13,500.00    Investor‐Lender     $     7,000.00
   61        7237‐43 S Bennett Avenue                             Estate Property    QuestIRAFBOFrancisDWebb1437711                                                    $      185,819.00    Investor‐Lender     $    12,064.00
   74          3074 Cheltenham Place       7836 S Shore Drive     Estate Property    QuestIRAFBOFrancisDWebb1437711                                                    $      185,819.00    Investor‐Lender     $    22,035.00
   77       7750‐58 S Muskegon Avenue     2818‐36 E 78th Street   Estate Property    QuestIRAFBOFrancisDWebb1437711                                                    $      185,819.00    Investor‐Lender     $    50,000.00
  126      5201‐5207 W Washington Blvd                            Former Property    QuestIRAFBOFrancisDWebb1437711                                                    $      185,819.00    Investor‐Lender     $    50,000.00
10 to 12                 CCF1                                     Fund               QuestIRAFBOFrancisDWebb1437711                                                    $      185,819.00    Investor‐Lender     $    36,222.00
    1         1700‐08 Juneway Terrace                             Estate Property    R D Meredith General Contractors LLC                                              $      100,000.00    Investor‐Lender     $   100,000.00
    1         1700‐08 Juneway Terrace                             Estate Property    R.D.Meredith General Contractors LLC 401K                                         $      373,617.16    Investor‐Lender     $    40,000.00
   55           8107‐09 S Ellis Avenue                            Estate Property    R.D.Meredith General Contractors LLC 401K                                         $      373,617.16    Investor‐Lender     $    91,672.00
   68       6217‐27 S Dorchester Avenue                           Estate Property    R.D.Meredith General Contractors LLC 401K                                         $      373,617.16    Investor‐Lender     $   150,750.00
  118           400 S Kilbourn Avenue                             Former Property    R.D.Meredith General Contractors LLC 401K                                         $      373,617.16    Investor‐Lender     $     5,875.00


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Property           Property Address            Alternative Address           Type                                                  Claimant Name                              Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                         (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                             Amount in Claim            Form            Invested in
                                                                                                                                                                                 Category as                              Property
                                                                                                                                                                            Identified on Claim
                                                                                                                                                                                   Form)
  123           7107‐29 S Bennett Avenue                               Former Property    R.D.Meredith General Contractors LLC 401K                                          $       373,617.16 Investor‐Lender        $   103,000.00
    4           5450‐52 S Indiana Avenue        118‐132 E Garfield     Estate Property    R2V2 Investments LLC                                                               $         88,590.47 Investor‐Lender       $    20,000.00
   68         6217‐27 S Dorchester Avenue                              Estate Property    R2V2 Investments LLC                                                               $         88,590.47 Investor‐Lender       $    30,188.00
  123           7107‐29 S Bennett Avenue                               Former Property    R2V2 Investments LLC                                                               $         88,590.47 Investor‐Lender       $    47,004.00
  904                    SSDF4                                         Fund               Race Mouty                                                                         $         20,000.00   Equity Investor     $    20,000.00
    3            5001 S Drexel Boulevard         909 E 50th Street     Estate Property    Rachael B Curcio                                                                   $       121,092.00 Investor‐Lender        $    50,000.00
   67              1131‐41 E 79th Place                                Estate Property    Rachael B Curcio                                                                   $       121,092.00 Investor‐Lender        $    71,092.00
   85         7201‐07 S Dorchester Avenue       1401 E 72nd Street     Estate Property    Rachel Beck                                                                        $         64,480.66 Investor‐Lender       $    50,000.00
  157             1655 N Humboldt Blvd                                 Former Property    Raghu Pulluru, FBO 1634276 Midland IRA                                             $       246,000.00 Investor‐Lender        $   153,000.00
  100        11117‐11119 S Longwood Drive                              Estate Property    Rajesh Gupta Roth IRA                                                              $       318,674.45 Investor‐Lender        $   265,562.00
13 to 15                  CCF2                                         Fund               Rajesh Gupta Roth IRA                                                              $         35,984.11 Investor‐Lender       $    29,000.00
    2          4533‐47 S Calumet Avenue                                Estate Property    Rajitha Dundigalla                                                                 $         50,000.00 Investor‐Lender       $    50,000.00
  100        11117‐11119 S Longwood Drive                              Estate Property    Rajitha Dundigalla                                                                 $         50,000.00 Investor‐Lender       $    50,000.00
10 to 12                  CCF1                                         Fund               Rajitha Dundigalla                                                                 $         50,000.00   Equity Investor     $    50,000.00
13 to 15                  CCF2                                         Fund               Rajitha Dundigalla                                                                 $         50,000.00   Equity Investor     $    50,000.00
  116      1102 Bingham St, Houston TX 77007                           Estate Property    RAMANAN RAMADOSS                                                                   $            204.96   Equity Investor     $    15,000.00
    6          6437‐41 S Kenwood Avenue                                Estate Property    Ramsey Stephan                                                                     $         50,000.00 Investor‐Lender       $     9,481.00
   71              701‐13 S 5th Avenue             414 Walnut          Estate Property    Ramsey Stephan                                                                     $         50,000.00 Investor‐Lender       $    20,519.00
   81          4317‐19 S Michigan Avenue                               Estate Property    Ramsey Stephan                                                                     $         50,000.00 Investor‐Lender       $    20,000.00
  912                SSPH Portfolio 1                                  Fund               Ran Barth                                                                          $       326,358.35    Equity Investor     $   331,000.00
    2          4533‐47 S Calumet Avenue                                Estate Property    Randall Sotka                                                                      $       255,000.00 Investor‐Lender        $   100,000.00
   60           7026‐42 S Cornell Avenue                               Estate Property    Randall Sotka                                                                      $       255,000.00 Investor‐Lender        $     4,225.00
   70            638‐40 N Avers Avenue                                 Estate Property    Randall Sotka                                                                      $       255,000.00 Investor‐Lender        $    11,949.00
   72           7024‐32 S Paxton Avenue                                Estate Property    Randall Sotka                                                                      $       255,000.00 Investor‐Lender        $    55,000.00
   75          7625‐33 S East End Avenue                               Estate Property    Randall Sotka                                                                      $       255,000.00 Investor‐Lender        $    38,826.00
10 to 12                  CCF1                                         Fund               Randall Sotka                                                                      $       255,000.00 Investor‐Lender        $   100,000.00
  904               SSDF4 Legacy Fund                                  Fund               Randeep S Kapoor                                                                   $         50,000.00   Equity Investor     $    50,000.00

  92            7748‐52 S Essex Avenue         2450‐52 E 78th Street   Estate Property    Ranell Durgan                                                                       $      50,000.00    Investor‐Lender      $    50,000.00
  92            7748‐52 S Essex Avenue         2450‐52 E 78th Street   Estate Property    Ranell Durgan                                                                       $      50,000.00    Investor‐Lender      $    50,000.00
102‐106         7927‐49 S Essex Avenue                                 Estate Property    Ranell Durgan                                                                       $     200,000.00    Investor‐Lender      $   200,000.00
102‐106         7927‐49 S Essex Avenue                                 Estate Property    Ranell Durgan (Polycomp Trust Company_CFBO)                                         $     200,000.00    Investor‐Lender      $   200,000.00
  71             701‐13 S 5th Avenue               414 Walnut          Estate Property    Rashmi Juneja Self Directed Roth IRA, Custodian: Kingdom Trust, account # 907667763 $      57,800.00     Equity Investor     $    50,000.00

   5           7749‐59 S Yates Boulevard                               Estate Property    Raymond Thompson Investment Trust LLC                                              $       80,000.00    Investor‐Lender      $    30,000.00
 96‐99           8326‐58 S Ellis Avenue                                Estate Property    Raymond Thompson Investment Trust LLC                                              $       80,000.00    Investor‐Lender      $    50,000.00




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Property            Property Address                Alternative Address            Type                                                  Claimant Name                                Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                                 (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                                     Amount in Claim            Form            Invested in
                                                                                                                                                                                         Category as                              Property
                                                                                                                                                                                    Identified on Claim
                                                                                                                                                                                           Form)
  118             400 S Kilbourn Avenue                                      Former Property    RE Solutions MD, LLC Employee Profit Sharing/401K by Mary E. Doerr, an unaccredited $          50,000.00 Investor‐Lender       $    50,000.00
                                                                                                investor
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    Real Envisions LLC                                                                   $         53,000.00 Investor‐Lender       $    50,000.00
  62              7834‐44 S Ellis Avenue                                     Estate Property    REBECCA D BLUST                                                                      $         10,000.00   Equity Investor     $    10,000.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    Receivables to Cash, LLC d/b/a Berenger Capital                                      $       150,000.00 Investor‐Lender        $    50,000.00
  87               7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    Receivables to Cash, LLC d/b/a Berenger Capital                                      $       150,000.00 Investor‐Lender        $    50,000.00
  124            6801 S East End Avenue                                      Former Property    Receivables to Cash, LLC d/b/a Berenger Capital                                      $       150,000.00 Investor‐Lender        $    50,000.00
  108             2800‐06 E 81st Street                                      Estate Property    Rende, Nicolas                                                                       $       830,000.00 Investor‐Lender        $   430,000.00
  113            7840‐42 S Yates Avenue                                      Estate Property    Rende, Nicolas                                                                       $       830,000.00 Investor‐Lender        $   400,000.00
  54             8000‐02 S Justine Street           1541 E 80th Street       Estate Property    Rene Hribal                                                                          $     1,525,473.04 Investor‐Lender        $   729,000.00
  64           4611‐17 S Drexel Boulevard                                    Estate Property    Rene Hribal                                                                          $     1,525,473.04 Investor‐Lender        $   300,000.00
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property    Rene Hribal                                                                          $     1,525,473.04 Investor‐Lender        $   439,517.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    Rene Hribal                                                                          $     1,525,473.04 Investor‐Lender        $   100,000.00
  92             7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property    Rene Hribal                                                                          $     1,525,473.04 Investor‐Lender        $   180,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Rene Hribal                                                                          $     1,525,473.04 Investor‐Lender        $    95,000.00
  N/A                      N/A                                               Other              Return Path                                                                          $         22,750.00   Trade Creditor
  68          6217‐27 S Dorchester Avenue                                    Estate Property    Reymone Randall                                                                      $         64,076.00 Investor‐Lender       $    50,500.00
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property    Reynald Lalonde & Chantal Lemaire                                                    $         51,000.00 Investor‐Lender       $    50,000.00
   1            1700‐08 Juneway Terrace                                      Estate Property    Ricardo Acevedo Lopez                                                                $         15,000.00 Investor‐Lender       $    15,000.00
  94            816‐20 E Marquette Road                                      Estate Property    Ricardo Acevedo Lopez                                                                $         35,000.00 Investor‐Lender       $    35,000.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Richard L. Braddock                                                                  $          9,526.99 Investor‐Lender       $     9,250.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Richard L. Braddock                                                                  $         92,375.45 Investor‐Lender       $    40,000.00
  62              7834‐44 S Ellis Avenue                                     Estate Property    Richard L. Braddock                                                                  $       104,161.08 Investor‐Lender        $    50,000.00
  70             638‐40 N Avers Avenue                                       Estate Property    Richard L. Braddock                                                                  $       104,161.08 Investor‐Lender        $    50,000.00
  92             7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property    Richard L. Braddock                                                                  $         92,375.45 Investor‐Lender       $    50,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Rinku Uberoi                                                                         $       250,000.00 Investor‐Lender        $   250,000.00
   1            1700‐08 Juneway Terrace                                      Estate Property    Rise Up Real Estate Group, LLC                                                       $       352,258.39 Investor‐Lender        $   144,046.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Rise Up Real Estate Group, LLC                                                       $       352,258.39 Investor‐Lender        $   125,000.00
  60            7026‐42 S Cornell Avenue                                     Estate Property    Rita Aken                                                                            $         75,000.00 Investor‐Lender
  61            7237‐43 S Bennett Avenue                                     Estate Property    Rita Aken                                                                            $         75,000.00 Investor‐Lender
  89           7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property    Rita Aken                                                                            $         75,000.00 Investor‐Lender
  73             7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property    Rita Deierlein                                                                       $         32,000.00   Equity Investor     $    32,000.00
   1            1700‐08 Juneway Terrace                                      Estate Property    RLD Denouement Holding Company, LLC                                                  $         20,000.00 Investor‐Lender       $    20,000.00
  904                     SSDF4                                              Fund               RLD Denouement Holding Company, LLC                                                  $       150,000.00    Equity Investor     $    50,000.00




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Property           Property Address              Alternative Address             Type                                                 Claimant Name                            Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                          (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                              Amount in Claim           Form            Invested in
                                                                                                                                                                                  Category as                             Property
                                                                                                                                                                             Identified on Claim
                                                                                                                                                                                    Form)
10 to 12       7301‐09 S Stewart Avenue                                   Fund               RLD Denouement Holding Company, LLC                                              $       150,000.00   Equity Investor     $   100,000.00
              7500‐06 S Eggleston Avenue
                  3030‐32 E 79th Street
   6          6437‐41 S Kenwood Avenue                                    Estate Property    Robert A Demick DDS PA 401K                                                      $      177,678.65    Investor‐Lender     $    50,000.00
  58           5955 S Sacramento Avenue        2948‐56 W 60th Street      Estate Property    Robert A Demick DDS PA 401K                                                      $      177,678.65    Investor‐Lender     $    29,000.00
  71               701‐13 S 5th Avenue              414 Walnut            Estate Property    Robert A Demick DDS PA 401K                                                      $      177,678.65    Investor‐Lender     $    50,000.00
  72            7024‐32 S Paxton Avenue                                   Estate Property    Robert A Demick DDS PA 401K                                                      $      177,678.65    Investor‐Lender     $    50,000.00
  115             109 N Laramie Avenue                                    Former Property    Robert A Demick DDS PA 401K                                                      $      177,678.65    Investor‐Lender     $    30,000.00
  904                     SSDF4                                           Fund               Robert A Demick DDS PA 401K                                                      $       50,422.00     Equity Investor    $    50,422.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    ROBERT A LAPORTE                                                                 $      100,000.00    Investor‐Lender     $    50,000.00
 13‐15            2909‐19 E 78th Street                                   Fund               ROBERT A LAPORTE                                                                 $      100,000.00    Investor‐Lender     $    50,000.00
                 7549‐59 S Essex Avenue
              8047‐55 S Manistee Avenue
    2          4533‐47 S Calumet Avenue                                   Estate Property    Robert Conley III                                                               $         3,187.50    Investor‐Lender     $    75,000.00
    9              8100 S Essex Avenue         2449‐57 East 81st Street   Estate Property    Robert Conley III                                                                                     Investor‐Lender     $   325,000.00
  904                     SSDF4                                           Fund               Robert Conley III                                                               $         9,750.00     Equity Investor    $   325,000.00
  126        5201‐5207 W Washington Blvd                                  Former Property    Robert Demick                                                                   $        46,131.88    Investor‐Lender     $    49,000.00
10 to 12                   CCF1                                           Fund               Robert E. Jeter                                                                 $       300,000.00    Investor‐Lender
13 to 15                   CCF2                                           Fund               Robert E. Jeter                                                                 $       300,000.00    Investor‐Lender
   76          7635‐43 S East End Avenue                                  Estate Property    Robert Guiney                                                                   $       112,260.00    Investor‐Lender     $    18,250.00
   80            2736‐44 W 64th Street                                    Estate Property    Robert Guiney                                                                   $       112,260.00    Investor‐Lender     $    50,000.00
   86          7442‐48 S Calumet Avenue                                   Estate Property    Robert Guiney                                                                   $       112,260.00    Investor‐Lender     $    25,000.00
  111             6558 S Vernon Avenue          416‐24 E 66th Street      Estate Property    Robert Guiney                                                                   $       112,260.00    Investor‐Lender     $    14,058.22
  117            3915 N Kimball Avenue                                    Former Property    Robert Guiney                                                                   $       112,260.00    Investor‐Lender     $    11,097.00
   73           7255‐57 S Euclid Avenue         1940‐44 E 73rd Street     Estate Property    Robert Houston                                                                  $        51,749.99    Investor‐Lender     $    50,000.00
  116      1102 Bingham St, Houston TX 77007                              Estate Property    Robert Karlsson for MiLLCreek Holdings LLC                                      $       255,035.70    Investor‐Lender     $   200,000.00
   89          7600‐10 S Kingston Avenue       2527‐29 E 76th Street      Estate Property    Robert Maione                                                                   $       110,000.00    Investor‐Lender     $   110,000.00
   69             6250 S Mozart Avenue         2832‐36 W 63rd Street      Estate Property    Robert Mennella (Madison Trust Company Custodian FBO Robert Mennella Roth IRA   $        18,150.00    Investor‐Lender     $    18,150.00
                                                                                             M1604064)
   1           1700‐08 Juneway Terrace                                    Estate Property    Robert Potter                                                                    $      282,999.00    Investor‐Lender     $    79,274.00
   2          4533‐47 S Calumet Avenue                                    Estate Property    Robert Potter                                                                    $      282,999.00    Investor‐Lender     $     6,634.00
   5           7749‐59 S Yates Boulevard                                  Estate Property    Robert Potter                                                                    $      282,999.00    Investor‐Lender     $    15,000.00
   6          6437‐41 S Kenwood Avenue                                    Estate Property    Robert Potter                                                                    $      282,999.00    Investor‐Lender     $    47,786.00
   9             8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Robert Potter                                                                    $      282,999.00    Investor‐Lender     $    11,412.00
  60           7026‐42 S Cornell Avenue                                   Estate Property    Robert Potter                                                                    $      282,999.00    Investor‐Lender     $    12,549.00
  75          7625‐33 S East End Avenue                                   Estate Property    Robert Potter                                                                    $      282,999.00    Investor‐Lender     $       786.00
  78           7201 S Constance Avenue          1825‐31 E 72nd Street     Estate Property    Robert Potter                                                                    $      282,999.00    Investor‐Lender     $     2,796.00


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                                                                                             Exhibit 8
                                                                                                            Master Claims List
                                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property            Property Address               Alternative Address           Type                                                 Claimant Name                              Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                            (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                                Amount in Claim            Form            Invested in
                                                                                                                                                                                    Category as                              Property
                                                                                                                                                                               Identified on Claim
                                                                                                                                                                                      Form)
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Robert Potter                                                                      $       282,999.00 Investor‐Lender        $    23,000.00
  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property    Robert Potter                                                                      $       282,999.00 Investor‐Lender        $     4,858.00
  85          7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property    Robert Potter                                                                      $       282,999.00 Investor‐Lender        $    11,868.00
  88           7546‐48 S Saginaw Avenue                                   Estate Property    Robert Potter                                                                      $       282,999.00 Investor‐Lender        $    15,500.00
  93           7953‐59 S Marquette Road           2708‐10 E 80th Street   Estate Property    Robert Potter                                                                      $       282,999.00 Investor‐Lender        $    34,716.00
  124            6801 S East End Avenue                                   Former Property    Robert Potter                                                                      $       282,999.00 Investor‐Lender        $    13,454.00
  904              SSDF4 Legacy Fund                                      Fund               Robert Potter                                                                      $         15,000.00   Equity Investor     $    15,000.00

   73            7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property    Robert R. Cook     Principle Assets LLC                                           $         9,000.00    Investor‐Lender      $     9,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    Robert R. Cook     Principle Assets LLC                                           $         9,000.00    Investor‐Lender
  125           6548 N Campbell Avenue                                    Former Property    Robert Thaete                                                                     $        75,358.42    Investor‐Lender      $    74,067.00
  155            Campo‐Mar, Puerto Rico                                   Former Property    Robert Thaete                                                                     $        75,358.42    Investor‐Lender      $    26,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property    Robert W. Jennings                                                                $       308,632.47    Investor‐Lender      $   150,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Robert W. Jennings                                                                $       308,632.47    Investor‐Lender      $   150,000.00
  119             4019 S Indiana Avenue                                   Former Property    Robert Weech                                                                      $           503.31    Investor‐Lender      $     6,912.56
13 to 15                   CCF2                                           Fund               Roberta Doucet, Cumen LLC                                                         $        25,000.00     Equity Investor     $    25,000.00
   83           6356 S California Avenue           2804 W 64th Street     Estate Property    Rochelle Minchow                                                                  $       190,000.00    Investor‐Lender      $   110,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    Rochelle Minchow                                                                  $       190,000.00    Investor‐Lender      $    50,000.00
   81          4317‐19 S Michigan Avenue                                  Estate Property    Ronald Mark Beal                                                                  $        90,000.00    Investor‐Lender      $    90,000.00
  123          7107‐29 S Bennett Avenue                                   Former Property    Ronald Tucker                                                                     $        51,583.00    Investor‐Lender      $    51,583.00
10 to 12                   CCF1                                           Fund               Ronald Tucker and Paula Tucker                                                    $        51,583.00    Investor‐Lender      $    51,583.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Roswitha M. and John S. Ennema                                                    $        58,179.21    Investor‐Lender      $     5,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Roswitha M. and John S. Ennema                                                    $        58,179.21    Investor‐Lender      $    45,000.00
13 to 15                   CCF2                                           Fund               Roswitha M. and John S. Ennema                                                    $        59,208.29     Equity Investor     $    50,000.00
    6         6437‐41 S Kenwood Avenue                                    Estate Property    RSS TRIAD INVESTMENTS, LLC                                                        $        31,400.00    Investor‐Lender      $    30,000.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    Russ Moreland                                                                     $         3,000.00    Investor‐Lender      $    50,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    Russ Moreland                                                                     $         3,000.00    Investor‐Lender      $    50,000.00
  115             109 N Laramie Avenue                                    Former Property    Russell Shurtz (Horizon Trust Company, Custodian FBO Russell Shurtz IRA Account     $              ‐    Investor‐Lender      $    25,000.00
                                                                                             599991402)
  904                     SSDF4                                           Fund               Russell Shurtz (Horizon Trust Company, Custodian FBO Russell Shurtz IRA Account    $       25,000.00     Equity Investor     $    25,000.00
                                                                                             599991402)
  68          6217‐27 S Dorchester Avenue                                 Estate Property    Russell Waite                                                                      $      155,176.75    Investor‐Lender      $    85,425.00
  111            6558 S Vernon Avenue              416‐24 E 66th Street   Estate Property    Russell Waite                                                                      $      155,176.75    Investor‐Lender      $   220,119.00
  116      1102 Bingham St, Houston TX 77007                              Estate Property    Russell Waite                                                                      $      155,176.75    Investor‐Lender      $    50,000.00
  143              5434 S Wood Street                                     Former Property    Ryan Lam                                                                           $      150,000.00    Investor‐Lender      $    67,325.82
  144             6525 S Evans Avenue                                     Former Property    Ryan Lam                                                                           $      150,000.00    Investor‐Lender      $   106,000.00
  67              1131‐41 E 79th Place                                    Estate Property    S and P Investment Properties EPSP401k, Pat Thomasson, Trustee                     $       22,705.83    Investor‐Lender      $    22,000.00


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Property            Property Address                Alternative Address            Type                                                  Claimant Name                                 Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                                  (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                                      Amount in Claim            Form            Invested in
                                                                                                                                                                                          Category as                              Property
                                                                                                                                                                                     Identified on Claim
                                                                                                                                                                                            Form)
   5            7749‐59 S Yates Boulevard                                    Estate Property    Sam Gerber, CEO, Gerber and Associates, REI, LLC                                      $       139,985.85 Investor‐Lender        $    12,000.00
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property    Sam Gerber, CEO, Gerber and Associates, REI, LLC                                      $       139,985.85 Investor‐Lender        $    42,000.00
  74             3074 Cheltenham Place              7836 S Shore Drive       Estate Property    Sam Gerber, CEO, Gerber and Associates, REI, LLC                                      $       139,985.85 Investor‐Lender        $    80,000.00
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Sam Harrison                                                                          $         50,000.00 Investor‐Lender       $    25,000.00
  908                    SSDF 8                                              Fund               Sam Harrison                                                                          $         50,000.00 Investor‐Lender       $    25,000.00
  88            7546‐48 S Saginaw Avenue                                     Estate Property    Samir S. Totah and Norma S. Totah, Trustees of the Samir S. Totah and Norma S. Totah $          24,500.00 Investor‐Lender       $    50,000.00
                                                                                                Declaration Trust 03/08/200
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property    Samir Totah                                                                           $       178,437.50 Investor‐Lender        $   150,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property    SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                             $       235,519.28 Investor‐Lender        $    50,000.00
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property    SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                             $       235,519.28 Investor‐Lender        $   107,869.00
   74             3074 Cheltenham Place             7836 S Shore Drive       Estate Property    SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                             $       235,519.28 Investor‐Lender        $    41,131.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Sandeep Kattar                                                                        $         50,000.00 Investor‐Lender       $    50,000.00
10 to 12                   CCF1                                              Fund               Sandy Kikerpill, Fresh Advantage                                                      $       233,000.00 Investor‐Lender        $   100,000.00
13 to 15                   CCF2                                              Fund               Sandy Kikerpill, Fresh Advantage                                                      $       233,000.00 Investor‐Lender        $   100,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Sarah Geldart                                                                         $         57,200.00 Investor‐Lender       $    37,500.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Sarah Geldart                                                                         $         57,200.00 Investor‐Lender       $    20,000.00
  109           4750‐52 S Indiana Avenue                                     Estate Property    Sarah Qiuhong Yang                                                                    $       100,000.00    Equity Investor     $   100,000.00
  119             4019 S Indiana Avenue                                      Former Property    Sarah Qiuhong Yang                                                                    $         60,543.00 Investor‐Lender       $    53,420.00
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property    Schankman, Michael                                                                    $         57,402.06 Investor‐Lender       $    50,000.00
  119             4019 S Indiana Avenue                                      Former Property    Schankman, Michael                                                                    $         57,402.06 Investor‐Lender       $    26,000.00
10 to 12                   CCF1                                              Fund               Schankman, Michael                                                                    $       112,557.00    Equity Investor     $    50,000.00
   50              7760 S Coles Avenue                                       Estate Property    Scott E Pammer                                                                        $       243,954.00 Investor‐Lender        $    12,070.00
   74             3074 Cheltenham Place             7836 S Shore Drive       Estate Property    Scott E Pammer                                                                        $       243,954.00 Investor‐Lender        $    70,000.00
   77          7750‐58 S Muskegon Avenue           2818‐36 E 78th Street     Estate Property    Scott E Pammer                                                                        $       243,954.00 Investor‐Lender        $    70,000.00
   83            6356 S California Avenue           2804 W 64th Street       Estate Property    Scott E Pammer                                                                        $       243,954.00 Investor‐Lender        $    50,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Scott E Pammer                                                                        $       243,954.00 Investor‐Lender        $    50,000.00
    1           1700‐08 Juneway Terrace                                      Estate Property    Scott Eaton                                                                           $       549,101.33 Investor‐Lender        $    25,000.00
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property    Scott Eaton                                                                           $       549,101.33 Investor‐Lender        $   100,000.00
   61           7237‐43 S Bennett Avenue                                     Estate Property    Scott Eaton                                                                           $       549,101.33 Investor‐Lender        $    50,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Scott Eaton                                                                           $       549,101.33 Investor‐Lender        $    25,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Scott Eaton                                                                           $       549,101.33 Investor‐Lender        $    50,000.00
  904                     SSDF4                                              Fund               Scott Eaton                                                                           $         49,200.00   Equity Investor     $    50,000.00
13 to 15                   CCF2                                              Fund               Scott Eaton                                                                           $         49,200.00   Equity Investor     $    20,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Scott Eaton                                                                           $       549,101.33 Investor‐Lender        $    60,000.00
  122          7616‐7624 S Phillips Avenue                                   Former Property    Scott Naftulin dba N North End, LLC                                                   $         71,946.23 Investor‐Lender       $    50,000.00
  123           7107‐29 S Bennett Avenue                                     Former Property    Scott Naftulin dba N North End, LLC                                                   $         71,946.23 Investor‐Lender       $    25,000.00
  125            6548 N Campbell Avenue                                      Former Property    Scott Naftulin dba N North End, LLC                                                   $         71,946.23 Investor‐Lender       $    25,000.00


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Property         Property Address           Alternative Address            Type                                                  Claimant Name                                Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                         (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                             Amount in Claim             Form           Invested in
                                                                                                                                                                                 Category as                              Property
                                                                                                                                                                            Identified on Claim
                                                                                                                                                                                   Form)
  61         7237‐43 S Bennett Avenue                                Estate Property    Scott Tyler Williams as Custodian of New Idea Properties, Inc Profit Sharing Plan    $         20,000.00 Investor‐Lender       $    20,000.00
   4         5450‐52 S Indiana Avenue       118‐132 E Garfield       Estate Property    SeaDog Properties LLC / Darrell Odum                                                 $       134,000.00 Investor‐Lender        $    24,000.00
  67             1131‐41 E 79th Place                                Estate Property    SeaDog Properties LLC / Darrell Odum                                                 $       134,000.00 Investor‐Lender        $    50,000.00
  95           8201 S Kingston Avenue                                Estate Property    SeaDog Properties LLC / Darrell Odum                                                 $       134,000.00 Investor‐Lender        $    60,000.00
  77        7750‐58 S Muskegon Avenue      2818‐36 E 78th Street     Estate Property    Self Directed IRA Services, Inc., Custodian FBO Ping Liu IRA                         $         57,290.32 Investor‐Lender       $    50,000.00
   1          1700‐08 Juneway Terrace                                Estate Property    Serva Fidem, LLC                                                                     $         78,510.69 Investor‐Lender       $    34,930.00
  100      11117‐11119 S Longwood Drive                              Estate Property    Serva Fidem, LLC                                                                     $         78,510.69 Investor‐Lender       $    25,000.00
  91           7701‐03 S Essex Avenue                                Estate Property    Shane E Veltri                                                                       $       465,000.00     Equity Investor    $   465,000.00
   7         7109‐19 S Calumet Avenue                                Estate Property    SHANKAR THIRUPPATHI                                                                  $       100,000.00 Investor‐Lender        $   100,000.00
  68        6217‐27 S Dorchester Avenue                              Estate Property    SHANKAR THIRUPPATHI                                                                  $       100,000.00 Investor‐Lender        $    84,190.00
  69            6250 S Mozart Avenue      2832‐36 W 63rd Street      Estate Property    SHANKAR THIRUPPATHI                                                                  $       100,000.00 Investor‐Lender        $    16,310.00
   4         5450‐52 S Indiana Avenue       118‐132 E Garfield       Estate Property    Shatar Capital Inc et al                                                             $     2,341,486.08 Institutional Lender
                                                                                                                                                                                                   Investor‐Lender
   5         7749‐59 S Yates Boulevard                               Estate Property    Shatar Capital Inc et al                                                             $     2,341,486.08 Institutional Lender
                                                                                                                                                                                                   Investor‐Lender
  95          8201 S Kingston Avenue                                 Estate Property    Shelton Gandy                                                                        $         82,360.00    Equity Investor    $    50,000.00
   2        4533‐47 S Calumet Avenue                                 Estate Property    Shengjie Li and Yuye Xu                                                              $       165,441.12 Investor‐Lender        $    50,000.00
   9            8100 S Essex Avenue       2449‐57 East 81st Street   Estate Property    Shengjie Li and Yuye Xu                                                              $       165,441.12 Investor‐Lender        $   100,000.00
  68       6217‐27 S Dorchester Avenue                               Estate Property    Shengjie Li and Yuye Xu                                                              $       165,441.12 Investor‐Lender        $    35,000.00
  94         816‐20 E Marquette Road                                 Estate Property    Shengjie Li and Yuye Xu                                                              $       165,441.12 Investor‐Lender        $    25,000.00
  60         7026‐42 S Cornell Avenue                                Estate Property    Sherri Agnifili                                                                      $         30,962.50 Investor‐Lender       $    30,000.00
  69           6250 S Mozart Avenue       2832‐36 W 63rd Street      Estate Property    Sheryl F. Mennella (Madison Trust Company Custodian FBO Sheryl F. Mennella Roth      $         18,150.00 Investor‐Lender       $    18,150.00
                                                                                        IRA M1604088)
   5         7749‐59 S Yates Boulevard                               Estate Property    Shlomo Zussman                                                                       $       25,000.00    Investor‐Lender      $    25,000.00
 13‐15         2909‐19 E 78th Street                                 Fund               Shreeja LLC                                                                          $       55,814.04    Investor‐Lender      $    50,000.00
              7549‐59 S Essex Avenue
            8047‐55 S Manistee Avenue
  82         6355‐59 S Talman Avenue      2616‐22 W 64th Street      Estate Property    Sidney Cohn                                                                          $       87,049.30    Investor‐Lender      $    60,000.00
  73          7255‐57 S Euclid Avenue     1940‐44 E 73rd Street      Estate Property    Sidney Glenn Willeford II                                                            $       75,000.00    Investor‐Lender      $    75,000.00
  74          3074 Cheltenham Place         7836 S Shore Drive       Estate Property    Sidney Haggins                                                                       $       85,000.00    Investor‐Lender      $    30,000.00
  78         7201 S Constance Avenue      1825‐31 E 72nd Street      Estate Property    Sidney Haggins                                                                       $       70,000.00    Investor‐Lender      $    50,000.00
  88        7546‐48 S Saginaw Avenue                                 Estate Property    Sidney Haggins                                                                       $       70,000.00    Investor‐Lender      $    20,000.00
102‐106       7927‐49 S Essex Avenue                                 Estate Property    Sidney Haggins                                                                       $       85,000.00    Investor‐Lender      $    35,000.00
 96‐99         8326‐58 S Ellis Avenue                                Estate Property    Sidney Haggins                                                                       $       85,000.00    Investor‐Lender      $    20,000.00
   1         1700‐08 Juneway Terrace                                 Estate Property    Simon Usuga                                                                          $       95,000.00    Investor‐Lender      $    45,000.00
 96‐99         8326‐58 S Ellis Avenue                                Estate Property    Simon Usuga                                                                          $       95,000.00    Investor‐Lender      $    50,000.00
  55           8107‐09 S Ellis Avenue                                Estate Property    SLB Ventures, LLC                                                                    $      215,215.48    Investor‐Lender      $    95,000.00


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Property           Property Address              Alternative Address            Type                                                  Claimant Name                               Claimed Amount Claim Category as             Amount
Number                                                                                                                                                                             (Total Claimed     Identified on Claim   Claimed to be
                                                                                                                                                                                 Amount in Claim             Form            Invested in
                                                                                                                                                                                     Category as                               Property
                                                                                                                                                                                Identified on Claim
                                                                                                                                                                                       Form)
  56              8209 S Ellis Avenue                                     Estate Property    SLB Ventures, LLC                                                                   $       215,215.48 Investor‐Lender         $    24,960.00
  109          4750‐52 S Indiana Avenue                                   Estate Property    SLB Ventures, LLC                                                                   $       215,215.48 Investor‐Lender         $    80,040.00
   5          7749‐59 S Yates Boulevard                                   Estate Property    Smart Technologies PSP, Nizarali Jetha ‐ Manager                                    $       106,458.35 Investor‐Lender         $   100,000.00
  81          4317‐19 S Michigan Avenue                                   Estate Property    Sohm Strategic Investments, LLC                                                     $         77,250.00 Investor‐Lender        $    25,000.00
  88          7546‐48 S Saginaw Avenue                                    Estate Property    Sohm Strategic Investments, LLC                                                     $         77,250.00 Investor‐Lender        $    50,000.00
  904                   SSDF4                                             Fund               Sohm Strategic Investments, LLC                                                     $         77,250.00 Investor‐Lender and    $    75,000.00
                                                                                                                                                                                                        Equity Investor
13 to 15                  CCF2                                            Fund               Sonoca Corporation                                                                  $         47,630.56    Equity Investor     $    50,000.00
  126        5201‐5207 W Washington Blvd                                  Former Property    Soujanya Simhadri                                                                   $         25,000.00 Investor‐Lender        $    25,000.00
    9             8100 S Essex Avenue          2449‐57 East 81st Street   Estate Property    Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)                     $       148,278.93 Investor‐Lender         $    50,000.00
   61          7237‐43 S Bennett Avenue                                   Estate Property    Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)                     $       148,278.93 Investor‐Lender         $    35,000.00
   73           7255‐57 S Euclid Avenue         1940‐44 E 73rd Street     Estate Property    Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)                     $       148,278.93 Investor‐Lender         $    60,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    Source One Funding, LLC                                                             $         51,534.99 Investor‐Lender        $    50,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    Spectra Investments LLC/ Deborah L. Mullica                                         $       579,288.00 Investor‐Lender         $   110,000.00
   77         7750‐58 S Muskegon Avenue         2818‐36 E 78th Street     Estate Property    Spectra Investments LLC/ Deborah L. Mullica                                         $       579,288.00 Investor‐Lender         $    82,255.00
   89          7600‐10 S Kingston Avenue        2527‐29 E 76th Street     Estate Property    Spectra Investments LLC/ Deborah L. Mullica                                         $       579,288.00 Investor‐Lender and     $   126,126.00
                                                                                                                                                                                                        Equity Investor
  115            109 N Laramie Avenue                                     Former Property    Spectra Investments LLC/ Deborah L. Mullica                                         $       579,288.00 Investor‐Lender         $   105,772.00
  116      1102 Bingham St, Houston TX 77007                              Estate Property    Spectra Investments LLC/ Deborah L. Mullica                                         $       579,288.00 Investor‐Lender         $   139,971.00
  904                    SSDF4                                            Fund               Spectra Investments LLC/ Deborah L. Mullica                                         $       579,288.00     Equity Investor     $   260,907.00
  912        South Shore Property Holdings                                Fund               Spectra Investments LLC/ Deborah L. Mullica                                         $       579,288.00     Equity Investor     $   110,000.00
   67             1131‐41 E 79th Place                                    Estate Property    Sri Navalpakkam (AniPri Enterprises LLC)                                            $       259,775.00 Investor‐Lender         $   159,775.00
13 to 15                 CCF2                                             Fund               Sri Navalpakkam (AniPri Enterprises LLC)                                            $       259,775.00     Equity Investor     $   100,000.00
  904                    SSDF4                                            Fund               Stanley J Kessock                                                                   $         82,400.00 Investor‐Lender and    $    50,000.00
                                                                                                                                                                                                        Equity Investor
13 to 15                 CCF2                                             Fund               STANLEY SCOTT                                                                       $         56,845.00 Investor‐Lender        $    60,000.00
   75          7625‐33 S East End Avenue                                  Estate Property    Stephan Tang                                                                        $       123,256.97 Investor‐Lender         $    25,185.00
   88          7546‐48 S Saginaw Avenue                                   Estate Property    Stephan Tang                                                                        $         50,000.00    Equity Investor     $    50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Stephan Tang                                                                        $         50,000.00    Equity Investor     $    50,000.00
  115            109 N Laramie Avenue                                     Former Property    Stephan Tang                                                                        $       123,256.97 Investor‐Lender         $    50,000.00
    2          4533‐47 S Calumet Avenue                                   Estate Property    Stephen V Mancuso, Laura L Mancuso, SLM Property Investments, IRA Trust Services    $         50,000.00 Investor‐Lender        $    50,000.00
                                                                                             Co. FBO SLM Property INvestments IRA Account #5877315203
    5          7749‐59 S Yates Boulevard                                  Estate Property    Steve Weera Tonasut and Esther Kon Tonasut                                          $       50,000.00      Equity Investor     $    50,000.00
   84           7051 S Bennett Avenue                                     Estate Property    Steve Weera Tonasut and Esther Kon Tonasut                                          $       50,000.00     Investor‐Lender      $    50,000.00
  908                   SSDF8                                             Fund               Steve Weera Tonasut and Esther Kon Tonasut                                          $       16,033.00      Equity Investor     $    16,033.00
  937              Mezzazine Fund                                         Fund               Steve Weera Tonasut and Esther Kon Tonasut                                          $       33,967.00      Equity Investor     $    33,967.00
10 to 12                 CCF1                                             Fund               Steve Weera Tonasut and Esther Kon Tonasut                                          $      100,000.00      Equity Investor     $   100,000.00


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                                                                                        Exhibit 8
                                                                                                       Master Claims List
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Property         Property Address             Alternative Address           Type                                                 Claimant Name     Claimed Amount Claim Category as           Amount
Number                                                                                                                                              (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                  Amount in Claim           Form            Invested in
                                                                                                                                                      Category as                             Property
                                                                                                                                                 Identified on Claim
                                                                                                                                                        Form)
 13‐15           2909‐19 E 78th Street                               Fund               Steve Weera Tonasut and Esther Kon Tonasut                $       150,000.00   Equity Investor     $   150,000.00
               7549‐59 S Essex Avenue
             8047‐55 S Manistee Avenue
  55             8107‐09 S Ellis Avenue                              Estate Property    Steven and Linda Lipschultz                               $      350,360.00    Investor‐Lender     $    73,360.00
  77        7750‐58 S Muskegon Avenue        2818‐36 E 78th Street   Estate Property    Steven and Linda Lipschultz                               $      350,360.00    Investor‐Lender     $   100,000.00
  93         7953‐59 S Marquette Road        2708‐10 E 80th Street   Estate Property    Steven and Linda Lipschultz                               $      350,360.00    Investor‐Lender     $   177,000.00
   2         4533‐47 S Calumet Avenue                                Estate Property    Steven C Noss                                             $       69,388.00    Investor‐Lender     $    50,000.00
   6         6437‐41 S Kenwood Avenue                                Estate Property    Steven C Noss                                             $       69,388.00    Investor‐Lender     $    25,000.00
  124           6801 S East End Avenue                               Former Property    Steven C Noss                                             $       69,388.00    Investor‐Lender     $    17,560.00
   4          5450‐52 S Indiana Avenue        118‐132 E Garfield     Estate Property    Steven G. Mouty                                           $       50,000.00    Investor‐Lender     $    50,000.00
   5          7749‐59 S Yates Boulevard                              Estate Property    Steven G. Mouty                                           $       50,000.00    Investor‐Lender     $    50,000.00
  100      11117‐11119 S Longwood Drive                              Estate Property    Steven G. Mouty                                           $      465,000.00     Equity Investor    $   150,000.00
  904                   SSDF4                                        Fund               Steven G. Mouty                                           $      465,000.00     Equity Investor    $   100,000.00
            (EB South Chicago 1, 2, 3, &4)
102‐106        7927‐49 S Essex Avenue                                Estate Property    Steven G. Mouty                                           $      465,000.00    Equity Investor     $   100,000.00
 13‐15           2909‐19 E 78th Street                               Fund               Steven G. Mouty                                           $      465,000.00    Equity Investor     $   115,000.00
               7549‐59 S Essex Avenue
             8047‐55 S Manistee Avenue
   78         7201 S Constance Avenue        1825‐31 E 72nd Street   Estate Property    Steven J. Talyai                                          $      175,000.00    Investor‐Lender
  124           6801 S East End Avenue                               Former Property    Steven J. Talyai                                          $      175,000.00    Investor‐Lender
13 to 15                 CCF2                                        Fund               Steven K Chennappan                                       $      100,000.00    Investor‐Lender
   78         7201 S Constance Avenue        1825‐31 E 72nd Street   Estate Property    Steven K. Chennappan IRA # 17293‐31                       $      128,000.00    Investor‐Lender     $    10,000.00
   92          7748‐52 S Essex Avenue        2450‐52 E 78th Street   Estate Property    Steven K. Chennappan IRA # 17293‐31                       $      128,000.00    Investor‐Lender     $    18,000.00
   93        7953‐59 S Marquette Road        2708‐10 E 80th Street   Estate Property    Steven K. Chennappan IRA # 17293‐31                       $      128,000.00    Investor‐Lender     $    50,000.00
  126      5201‐5207 W Washington Blvd                               Former Property    Steven K. Chennappan IRA # 17293‐31                       $      128,000.00    Investor‐Lender     $    50,000.00
  904                   SSDF4                                        Fund               Steven K. Chennappan IRA # 17293‐31                       $      100,000.00     Equity Investor    $   100,000.00
   60         7026‐42 S Cornell Avenue                               Estate Property    Steven Lipschultz                                         $       71,126.00     Equity Investor    $    31,635.00
   68       6217‐27 S Dorchester Avenue                              Estate Property    Steven Lipschultz                                         $       71,126.00     Equity Investor    $    22,000.00
   68       6217‐27 S Dorchester Avenue                              Estate Property    Steven Lipschultz                                         $       85,000.00     Equity Investor    $    85,000.00
  125          6548 N Campbell Avenue                                Former Property    Steven Lipschultz                                         $       71,126.00    Investor‐Lender     $    38,000.00
  126      5201‐5207 W Washington Blvd                               Former Property    Steven Lipschultz                                         $       71,126.00     Equity Investor    $    50,000.00
  904                   SSDF4                                        Fund               Steven Lipschultz                                         $       71,126.00     Equity Investor    $    71,126.00
    1         1700‐08 Juneway Terrace                                Estate Property    Steven R. Bald                                            $      586,378.00    Investor‐Lender     $    60,000.00
   58        5955 S Sacramento Avenue        2948‐56 W 60th Street   Estate Property    Steven R. Bald                                            $      586,378.00    Investor‐Lender     $    40,000.00
   61         7237‐43 S Bennett Avenue                               Estate Property    Steven R. Bald                                            $      586,378.00    Investor‐Lender     $    60,000.00
   62            7834‐44 S Ellis Avenue                              Estate Property    Steven R. Bald                                            $      586,378.00    Investor‐Lender     $   181,378.00
   64        4611‐17 S Drexel Boulevard                              Estate Property    Steven R. Bald                                            $      586,378.00    Investor‐Lender     $   180,000.00


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Property            Property Address                Alternative Address            Type                                                  Claimant Name                  Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                   (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                       Amount in Claim            Form            Invested in
                                                                                                                                                                           Category as                              Property
                                                                                                                                                                      Identified on Claim
                                                                                                                                                                             Form)
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property    Steven R. Bald                                                         $       586,378.00 Investor‐Lender        $    40,000.00
   75          7625‐33 S East End Avenue                                     Estate Property    Steven R. Bald                                                         $       586,378.00 Investor‐Lender
   76          7635‐43 S East End Avenue                                     Estate Property    Steven R. Bald                                                         $       586,378.00 Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Steven R. Bald                                                         $       586,378.00 Investor‐Lender        $    30,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Steven R. Bald                                                         $         45,000.00   Equity Investor     $    45,000.00
  124            6801 S East End Avenue                                      Former Property    Steven R. Bald                                                         $       586,378.00 Investor‐Lender        $    20,000.00
  128             8623‐54 S Ellis Avenue                                     Former Property    Steven R. Bald                                                         $       586,378.00 Investor‐Lender        $    60,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Steven Roche                                                           $       127,821.13 Investor‐Lender        $     5,000.00
    6          6437‐41 S Kenwood Avenue                                      Estate Property    Steven Roche                                                           $       127,821.13 Investor‐Lender        $    42,319.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Steven Roche                                                           $       127,821.13 Investor‐Lender        $    10,000.00
   72           7024‐32 S Paxton Avenue                                      Estate Property    Steven Roche                                                           $       127,821.13 Investor‐Lender        $     9,500.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Steven Roche                                                           $       127,821.13 Investor‐Lender        $    50,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property    Steven Roche                                                           $       127,821.13 Investor‐Lender        $    10,000.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    Steven Roche                                                           $       127,821.13 Investor‐Lender        $    20,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Steven Trzaska                                                         $       167,000.00 Investor‐Lender        $   100,000.00
10 to 12                   CCF1                                              Fund               Steven Trzaska                                                         $       167,000.00 Investor‐Lender        $    67,000.00
   67              1131‐41 E 79th Place                                      Estate Property    Stilwell, Heidi                                                        $       125,000.00 Investor‐Lender        $    25,000.00
10 to 12                   CCF1                                              Fund               Stilwell, Heidi                                                        $       125,000.00 Investor‐Lender        $   100,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Strata Trust Company FBO David J Geldart                               $       230,621.00 Investor‐Lender
   75          7625‐33 S East End Avenue                                     Estate Property    Strata Trust Company FBO David J Geldart                               $       230,621.00 Investor‐Lender
  115             109 N Laramie Avenue                                       Former Property    Strata Trust Company FBO David J Geldart                               $       230,621.00 Investor‐Lender
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Strata Trust Company FBO Gary Wayne Williams                           $         50,000.00   Equity Investor     $    50,000.00
   83            6356 S California Avenue           2804 W 64th Street       Estate Property    Strata Trust Company FBO Vincent Michael Spreuwenberg IRA 201207909    $         39,976.38 Investor‐Lender       $    35,067.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Strategic Wealth Ventures, LLC, Brian Kothman Member                   $         70,866.00 Investor‐Lender       $    35,655.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Strategic Wealth Ventures, LLC, Brian Kothman Member                   $         70,866.00 Investor‐Lender       $    23,626.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Strategic Wealth Ventures, LLC, Brian Kothman Member                   $         70,866.00 Investor‐Lender       $    11,585.00
   67              1131‐41 E 79th Place                                      Estate Property    Stuart Edelman                                                         $       167,250.00 Investor‐Lender        $    90,000.00
   95            8201 S Kingston Avenue                                      Estate Property    Stuart Edelman                                                         $       167,250.00 Investor‐Lender        $    75,000.00
   80             2736‐44 W 64th Street                                      Estate Property    Sunshine Bliss LLC                                                     $         32,800.00 Investor‐Lender       $    32,800.00
  123           7107‐29 S Bennett Avenue                                     Former Property    Sunwest Trust Custodian FBO Jose G. Galarza IRA                        $         44,789.00 Investor‐Lender       $    50,000.00
10 to 12                   CCF1                                              Fund               Sunwest Trust FBO Francis Webb 1510692                                 $         27,000.00   Equity Investor     $    27,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property    Sunwest Trust‐FBO Mark P. Mouty                                        $       100,000.00    Equity Investor     $   100,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    Susan Kalisiak                                                         $       469,921.00 Investor‐Lender        $     9,274.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Susan Kalisiak                                                         $       469,921.00 Investor‐Lender        $    48,226.00
    6          6437‐41 S Kenwood Avenue                                      Estate Property    Susan Kalisiak                                                         $       469,921.00 Investor‐Lender        $    50,000.00
   74             3074 Cheltenham Place             7836 S Shore Drive       Estate Property    Susan Kalisiak                                                         $       469,921.00 Investor‐Lender        $    50,000.00




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Property            Property Address                Alternative Address             Type                                                 Claimant Name                  Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                   (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                       Amount in Claim           Form            Invested in
                                                                                                                                                                           Category as                             Property
                                                                                                                                                                      Identified on Claim
                                                                                                                                                                             Form)
  904              SSDF4 Legacy Fund                                         Fund               Susan Kalisiak                                                         $       106,000.00   Equity Investor     $    50,000.00

 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Susan Kalisiak                                                         $      469,921.00    Investor‐Lender     $    40,000.00
   81          4317‐19 S Michigan Avenue                                     Estate Property    SUSAN MARTINEZ                                                         $       51,000.00    Investor‐Lender     $    50,000.00
    5           7749‐59 S Yates Boulevard                                    Estate Property    Teena B Ploeger                                                        $       18,500.00    Investor‐Lender     $    18,500.00
    1           1700‐08 Juneway Terrace                                      Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $    26,513.00
   58          5955 S Sacramento Avenue            2948‐56 W 60th Street     Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $    25,000.00
   60           7026‐42 S Cornell Avenue                                     Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $    50,000.00
   61           7237‐43 S Bennett Avenue                                     Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $    15,000.00
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender
   70            638‐40 N Avers Avenue                                       Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $     2,000.00
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $    50,000.00
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $    50,000.00
   86          7442‐48 S Calumet Avenue                                      Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $    30,000.00
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $    30,000.00
  118             400 S Kilbourn Avenue                                      Former Property    Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $    50,000.00
10 to 12                   CCF1                                              Fund               Teresita M. Shelton                                                    $      426,513.00    Investor‐Lender     $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Terri S. Tracy                                                         $      265,000.00    Investor‐Lender     $    25,000.00
   82           6355‐59 S Talman Avenue            2818‐36 E 78th Street     Estate Property    Terri S. Tracy                                                         $      265,000.00    Investor‐Lender     $    70,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    Terri S. Tracy                                                         $      265,000.00    Investor‐Lender     $   120,000.00
   94           816‐20 E Marquette Road                                      Estate Property    Terri S. Tracy                                                         $      265,000.00    Investor‐Lender     $    50,000.00
    6          6437‐41 S Kenwood Avenue                                      Estate Property    Terry L. Merrill, Sheryl R. Merrill                                    $      299,500.00    Investor‐Lender     $    50,000.00
   60           7026‐42 S Cornell Avenue                                     Estate Property    Terry L. Merrill, Sheryl R. Merrill                                    $      299,500.00    Investor‐Lender     $    50,000.00
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property    Terry L. Merrill, Sheryl R. Merrill                                    $      299,500.00    Investor‐Lender     $    50,000.00
   77         7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property    Terry L. Merrill, Sheryl R. Merrill                                    $      299,500.00    Investor‐Lender     $    49,500.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Terry L. Merrill, Sheryl R. Merrill                                    $      299,500.00    Investor‐Lender     $    50,000.00
   91            7701‐03 S Essex Avenue                                      Estate Property    Terry L. Merrill, Sheryl R. Merrill                                    $      299,500.00    Investor‐Lender     $    50,000.00
   64          4611‐17 S Drexel Boulevard                                    Estate Property    Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA    $      137,333.33    Investor‐Lender     $    50,000.00
   88          7546‐48 S Saginaw Avenue                                      Estate Property    Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA    $      137,333.33    Investor‐Lender     $    87,333.33
  901                      SSDF1                                             Fund               Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA    $      137,333.33     Equity Investor    $   137,333.33
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property    Terry M McDonald and Rhonda R McDonald                                 $       50,000.00    Investor‐Lender     $    50,000.00
   61           7237‐43 S Bennett Avenue                                     Estate Property    Teton Equity Group LLC                                                 $      208,439.99    Investor‐Lender     $   100,000.00
   71              701‐13 S 5th Avenue                  414 Walnut           Estate Property    Teton Equity Group LLC                                                 $      208,439.99    Investor‐Lender     $   100,000.00
  N/A                       N/A                                              Other              Texas Comptroller of Public Accounts                                   $       42,261.72         Other
   68         6217‐27 S Dorchester Avenue                                    Estate Property    TFG Retirement Trust                                                   $      340,886.77    Investor‐Lender     $    50,000.00


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Property            Property Address                 Alternative Address           Type                                                  Claimant Name                               Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                                (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                                    Amount in Claim            Form            Invested in
                                                                                                                                                                                        Category as                              Property
                                                                                                                                                                                   Identified on Claim
                                                                                                                                                                                          Form)
  145          4755 S St Lawrence Avenue                                     Former Property    TFG Retirement Trust                                                                $       340,886.77 Investor‐Lender        $   261,376.12
10 to 12                   CCF1                                              Fund               TFG Retirement Trust                                                                $       340,886.77 Investor‐Lender        $   100,000.00
   81          4317‐19 S Michigan Avenue                                     Estate Property    Thaddeus Gala                                                                       $       100,000.00 Investor‐Lender
    9              8100 S Essex Avenue                                       Estate Property    Thaddeus Gala (Grand Mountain)                                                      $       100,000.00 Investor‐Lender
   62             7834‐44 S Ellis Avenue                                     Estate Property    Thaddeus Gala (Grand Mountain)                                                      $       100,000.00 Investor‐Lender
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street    Estate Property    The Anchor Group LLC ‐ Ronald J. Hansen, Managing Partner                           $         25,000.00 Investor‐Lender       $    25,000.00
   80             2736‐44 W 64th Street                                      Estate Property    The Anchor Group LLC ‐ Ronald J. Hansen, Managing Partner                           $         25,000.00 Investor‐Lender       $    30,000.00
   93           7953‐59 S Marquette Road            2708‐10 E 80th Street    Estate Property    The Bonita R. Skurski & Steven E Skurski Trust                                      $         98,452.43 Investor‐Lender       $    80,000.00
  115             109 N Laramie Avenue                                       Former Property    The Bonita R. Skurski & Steven E Skurski Trust                                      $         98,452.43 Investor‐Lender       $    20,000.00
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street    Estate Property    The Edward Falkowitz Living Trust                                                   $       305,584.73 Investor‐Lender
   90          7656‐58 S Kingston Avenue          2514‐2520 East 77th Street Estate Property    The Edward Falkowitz Living Trust                                                   $       305,584.73 Investor‐Lender
  120            7823‐27 S Essex Avenue                                      Former Property    The Edward Falkowitz Living Trust                                                   $       305,584.73 Investor‐Lender
   63          4520‐26 S Drexel Boulevard                                    Estate Property    The Entrust Group FBO Dee Ann Nason 7230011277                                      $       150,000.00 Investor‐Lender        $    50,000.00
   71              701‐13 S 5th Avenue                   414 Walnut          Estate Property    The Entrust Group FBO Dee Ann Nason 7230011277                                      $       150,000.00 Investor‐Lender        $    50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    The Entrust Group FBO Dee Ann Nason 7230011277                                      $       150,000.00 Investor‐Lender        $    50,000.00
   76          7635‐43 S East End Avenue                                     Estate Property    THE INCOME FUND, LLC Thomas Garlock, Managing Member                                $       771,830.76 Investor‐Lender        $    80,000.00
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street    Estate Property    THE INCOME FUND, LLC Thomas Garlock, Managing Member                                $       771,830.76 Investor‐Lender        $   150,000.00
  110       5618‐20 S Martin Luther King Drive                               Estate Property    THE INCOME FUND, LLC Thomas Garlock, Managing Member                                $       771,830.76 Investor‐Lender        $   429,650.00
  152              7635 S Coles Avenue                                       Former Property    THE INCOME FUND, LLC Thomas Garlock, Managing Member                                $       771,830.76 Investor‐Lender        $   105,000.00
    7          7109‐19 S Calumet Avenue                                      Estate Property    The Jacqueline C Rowe Living Trust                                                  $       372,417.74 Investor‐Lender        $     9,000.00
   71              701‐13 S 5th Avenue                   414 Walnut          Estate Property    The Jacqueline C Rowe Living Trust                                                  $       372,417.74 Investor‐Lender
   82           6355‐59 S Talman Avenue             2616‐22 W 64th Street    Estate Property    The Jacqueline C Rowe Living Trust                                                  $       372,417.74 Investor‐Lender
   84            7051 S Bennett Avenue                                       Estate Property    The Jacqueline C Rowe Living Trust                                                  $       372,417.74 Investor‐Lender        $    75,000.00
   93          7953‐59 S Marquette Road             2708‐10 E 80th Street    Estate Property    The Jacqueline C Rowe Living Trust                                                  $       372,417.74 Investor‐Lender
  111             6558 S Vernon Avenue               416‐24 E 66th Street    Estate Property    The Jacqueline C Rowe Living Trust                                                  $       372,417.74 Investor‐Lender
  118             400 S Kilbourn Avenue                                      Former Property    The Jacqueline C Rowe Living Trust                                                  $       372,417.74 Investor‐Lender        $    80,000.00
  122          7616‐7624 S Phillips Avenue                                   Former Property    The Jacqueline C Rowe Living Trust                                                  $       372,417.74 Investor‐Lender        $    25,000.00
  904                      SSDF4                                             Fund               The Jacqueline C Rowe Living Trust                                                  $       372,417.74    Equity Investor
  N/A                       N/A                                              Other              The Kraus Law Firm                                                                  $         12,010.00   Trade Creditor
  N/A                       N/A                                              Other              The Law Office of Richard K. Hellerman, PC                                          $         10,032.67    Independent
                                                                                                                                                                                                            Contractor
  77           7750‐58 S Muskegon Avenue            2818‐36 E 78th Street   Estate Property     The Mennco Properties, LLC. Solo 401K Plan (by Robert Mennella Managing Partner)    $         50,000.00 Investor‐Lender       $    50,000.00

  69             6250 S Mozart Avenue               2832‐36 W 63rd Street   Estate Property     The Mennco Properties, LLC. Solo 401k Plan (Robert Mennella Managing Partner)       $       14,200.00    Investor‐Lender      $    14,200.00
  58           5955 S Sacramento Avenue             2948‐56 W 60th Street   Estate Property     The Moore/Ferrer Family 2004 Trust                                                  $      208,341.66    Investor‐Lender      $    50,000.00
  82            6355‐59 S Talman Avenue             2616‐22 W 64th Street   Estate Property     The Moore/Ferrer Family 2004 Trust                                                  $      208,341.66    Investor‐Lender      $    50,000.00
 96‐99           8326‐58 S Ellis Avenue                                     Estate Property     The Moore/Ferrer Family 2004 Trust                                                  $      208,341.66    Investor‐Lender      $   100,000.00


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                                                                                                       Master Claims List
                                                                                       SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property        Property Address             Alternative Address           Type                                                  Claimant Name     Claimed Amount        Claim Category as        Amount
Number                                                                                                                                              (Total Claimed      Identified on Claim    Claimed to be
                                                                                                                                                  Amount in Claim              Form             Invested in
                                                                                                                                                      Category as                                 Property
                                                                                                                                                 Identified on Claim
                                                                                                                                                        Form)
  71             701‐13 S 5th Avenue             414 Walnut          Estate Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $ 100,000.00
  75        7625‐33 S East End Avenue                                Estate Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $ 167,100.00
  76        7635‐43 S East End Avenue                                Estate Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $    50,000.00
  83          6356 S California Avenue       2804 W 64th Street      Estate Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $ 149,212.00
  84           7051 S Bennett Avenue                                 Estate Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $ 175,530.00
  86        7442‐48 S Calumet Avenue                                 Estate Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $    11,121.00
  88         7546‐48 S Saginaw Avenue                                Estate Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $    85,500.00
  90        7656‐58 S Kingston Avenue     2514‐2520 East 77th Street Estate Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $    27,165.00
  111           6558 S Vernon Avenue         416‐24 E 66th Street    Estate Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $ 100,000.00
  118           400 S Kilbourn Avenue                                Former Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $    95,000.00
  122       7616‐7624 S Phillips Avenue                              Former Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $    82,650.00
  124          6801 S East End Avenue                                Former Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $    30,000.00
  150             526 W 78th Street                                  Former Property    The Peter Paul Nuspl Living Trust                         $     1,123,278.00      Investor‐Lender      $    50,000.00
  904                    SSDF4                                       Fund               The Peter Paul Nuspl Living Trust                         $         91,237.31      Equity Investor     $ 1,123,278.00
   9             8100 S Essex Avenue       2449‐57 East 81st Street Estate Property     Therese Tibbits                                           $         77,826.66     Investor‐Lender      $    60,000.00
  67             1131‐41 E 79th Place                                Estate Property    Thomas A Connely and Laurie A Connely                     $         55,000.00      Equity Investor     $    55,000.00
   4         5450‐52 S Indiana Avenue         118‐132 E Garfield     Estate Property    Thomas F. Gordon                                          $       200,000.00       Equity Investor     $ 100,000.00
   6        6437‐41 S Kenwood Avenue                                 Estate Property    Thomas F. Gordon                                          $         85,000.00      Equity Investor     $    85,000.00
  77       7750‐58 S Muskegon Avenue        2818‐36 E 78th Street    Estate Property    Thomas F. Gordon                                          $       200,000.00       Equity Investor     $ 100,000.00
  70           638‐40 N Avers Avenue                                 Estate Property    Thomas Walsh                                              $         51,749.99     Investor‐Lender      $    50,000.00
   1         1700‐08 Juneway Terrace                                 Estate Property    Thorofare Asset Based Lending REIT Fund IV, LLC           $     2,698,151.51    Institutional Lender
  101         6949‐59 S Merrill Avenue     2134‐40 East 68th Street Estate Property     Thorofare Asset Based Lending REIT Fund IV, LLC           $     1,915,706.50    Institutional Lender
   1         1700‐08 Juneway Terrace                                 Estate Property    Tiger Chang Investments LLC                               $         49,000.00     Investor‐Lender      $    10,000.00
   3          5001 S Drexel Boulevard          909 E 50th Street     Estate Property    Tiger Chang Investments LLC                               $          5,000.00      Equity Investor     $     5,000.00
   9             8100 S Essex Avenue       2449‐57 East 81st Street Estate Property     Tiger Chang Investments LLC                               $         49,000.00     Investor‐Lender      $    10,000.00
  76        7635‐43 S East End Avenue                                Estate Property    Tiger Chang Investments LLC                               $         49,000.00     Investor‐Lender      $    25,000.00
102‐106        7927‐49 S Essex Avenue                                Estate Property    Tiger Chang Investments LLC                               $         49,000.00     Investor‐Lender      $     4,000.00
   9             8100 S Essex Avenue       2449‐57 East 81st Street Estate Property     TIMMY RINK                                                                        Investor‐Lender
  123        7107‐29 S Bennett Avenue                                Former Property    TIMMY RINKJ                                               $       78,048.23       Investor‐Lender
   4         5450‐52 S Indiana Avenue         118‐132 E Garfield     Estate Property    Timothy S Sharp                                           $      650,000.00       Investor‐Lender      $    50,000.00
   9             8100 S Essex Avenue       2449‐57 East 81st Street Estate Property     Timothy S Sharp                                           $      650,000.00       Investor‐Lender      $    50,000.00
  58        5955 S Sacramento Avenue        2948‐56 W 60th Street    Estate Property    Timothy S Sharp                                           $      650,000.00       Investor‐Lender      $    50,000.00
  64        4611‐17 S Drexel Boulevard                               Estate Property    Timothy S Sharp                                           $      650,000.00       Investor‐Lender      $    50,000.00
  68       6217‐27 S Dorchester Avenue                               Estate Property    Timothy S Sharp                                           $      650,000.00       Investor‐Lender      $   100,000.00
  85       7201‐07 S Dorchester Avenue        1401 E 72nd Street     Estate Property    Timothy S Sharp                                           $      650,000.00       Investor‐Lender      $    50,000.00
  86        7442‐48 S Calumet Avenue                                 Estate Property    Timothy S Sharp                                           $      650,000.00       Investor‐Lender      $    50,000.00
  89        7600‐10 S Kingston Avenue       2527‐29 E 76th Street    Estate Property    Timothy S Sharp                                           $      650,000.00       Investor‐Lender      $    50,000.00


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Property            Property Address               Alternative Address          Type                                                  Claimant Name                                   Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                                 (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                                     Amount in Claim            Form            Invested in
                                                                                                                                                                                         Category as                              Property
                                                                                                                                                                                    Identified on Claim
                                                                                                                                                                                           Form)
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property    Timothy S Sharp                                                                         $       650,000.00 Investor‐Lender        $   100,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Timothy S Sharp                                                                         $       650,000.00 Investor‐Lender        $    50,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Timothy S Sharp                                                                         $       650,000.00 Investor‐Lender        $    50,000.00
13 to 15                  CCF2                                            Fund               Timothy S Sharp                                                                         $       650,000.00 Investor‐Lender        $    50,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property    TMAKINDE, LLC                                                                           $       247,000.00 Investor‐Lender        $    25,000.00
   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street   Estate Property    TMAKINDE, LLC                                                                           $       247,000.00 Investor‐Lender        $   108,000.00
   70            638‐40 N Avers Avenue                                    Estate Property    TMAKINDE, LLC                                                                           $       247,000.00 Investor‐Lender        $   114,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Todd Colucy                                                                             $         54,000.02 Investor‐Lender       $    50,000.00
  901                     SSDF1                                           Fund               Todd Colucy                                                                             $         50,000.00   Equity Investor     $    50,000.00
    5           7749‐59 S Yates Boulevard                                 Estate Property    Tolu Makinde                                                                            $         90,000.00 Investor‐Lender       $    30,000.00
   70            638‐40 N Avers Avenue                                    Estate Property    Tolu Makinde                                                                            $         90,000.00 Investor‐Lender       $    15,000.00
   73            7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property    Tolu Makinde                                                                            $         90,000.00 Investor‐Lender       $    25,000.00
  908                     SSDF8                                           Fund               Tolu Makinde                                                                            $         90,000.00 Investor‐Lender       $    20,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Top Mark Home Solutions                                                                 $         30,800.00 Investor‐Lender       $    30,000.00
   71              701‐13 S 5th Avenue                 414 Walnut         Estate Property    Toramba Trust (ROTH) Matthew Boyd, Trustee                                              $       158,000.00 Investor‐Lender        $    58,000.00
13 to 15                  CCF2                                            Fund               Toramba Trust (ROTH) Matthew Boyd, Trustee                                              $       100,000.00    Equity Investor     $   100,000.00
   76          7635‐43 S East End Avenue                                  Estate Property    Total Return Income Fund, LLC Thomas Garlock, Managing Member                           $     1,571,886.00 Investor‐Lender        $   520,000.00
  122          7616‐7624 S Phillips Avenue                                Former Property    Total Return Income Fund, LLC Thomas Garlock, Managing Member                           $     1,571,886.00 Investor‐Lender        $   435,350.00
  123           7107‐29 S Bennett Avenue                                  Former Property    Total Return Income Fund, LLC Thomas Garlock, Managing Member                           $     1,571,886.00 Investor‐Lender        $   400,000.00
  152              7635 S Coles Avenue                                    Former Property    Total Return Income Fund, LLC Thomas Garlock, Managing Member                           $     1,571,886.00 Investor‐Lender        $   105,000.00
   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street   Estate Property    Towpath Investments LLC ‐ Robert Kessing (manager)                                      $       135,000.00 Investor‐Lender        $    30,000.00
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property    Towpath Investments LLC ‐ Robert Kessing (manager)                                      $       135,000.00 Investor‐Lender        $    50,000.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property    Towpath Investments LLC ‐ Robert Kessing (manager)                                      $       135,000.00 Investor‐Lender        $    30,000.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    Towpath Investments LLC ‐ Robert Kessing (manager)                                      $       135,000.00 Investor‐Lender        $    25,000.00
   76          7635‐43 S East End Avenue                                  Estate Property    Trey Hopkins                                                                            $       100,000.00 Investor‐Lender        $   100,000.00
   71              701‐13 S 5th Avenue                414 Walnut          Estate Property    TruStar Real Estate Solutions, LLC                                                      $       385,000.00 Investor‐Lender        $    75,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property    TruStar Real Estate Solutions, LLC                                                      $       385,000.00 Investor‐Lender        $    75,000.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    TruStar Real Estate Solutions, LLC                                                      $       385,000.00 Investor‐Lender        $   210,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    TruStar Real Estate Solutions, LLC                                                      $       385,000.00 Investor‐Lender        $    25,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    TSC Trust (Patricia Scully, Trustee)                                                    $         50,000.00 Investor‐Lender       $    50,000.00
    7          7109‐19 S Calumet Avenue                                   Estate Property    U.S. Bank National Association, as Trustee for the Registered Holders of J.P. Morgan    $     1,691,737.07 Institutional Lender
                                                                                             Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐Through
                                                                                             Certificates, Series 2017‐SB30
  63           4520‐26 S Drexel Boulevard                                 Estate Property    U.S. Bank National Association, as Trustee for the Registered Holders of J.P. Morgan   $     4,830,977.15 Institutional Lender
                                                                                             Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐Through
                                                                                             Certificates, Series 2017‐SB41




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Property            Property Address               Alternative Address          Type                                                  Claimant Name                                   Claimed Amount Claim Category as             Amount
Number                                                                                                                                                                                 (Total Claimed   Identified on Claim     Claimed to be
                                                                                                                                                                                     Amount in Claim            Form             Invested in
                                                                                                                                                                                         Category as                               Property
                                                                                                                                                                                    Identified on Claim
                                                                                                                                                                                           Form)
  65            6751‐59 S Merrill Avenue                                  Estate Property    U.S. Bank National Association, as Trustee for the Registered Holders of J.P. Morgan    $     1,604,962.42 Institutional Lender
                                                                                             Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐Through
                                                                                             Certificates, Series 2018‐SB50*
  66              7110 S Cornell Avenue                                   Estate Property    U.S. Bank National Association, as Trustee for the Registered Holders of J.P. Morgan   $     1,400,491.73 Institutional Lender
                                                                                             Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐Through
                                                                                             Certificates, Series 2018‐SB50*
  107            1422‐24 East 68th Street                                 Estate Property    UBS AG                                                                                 $     4,649,579.63   Institutional Lender
  108              2800‐06 E 81st Street                                  Estate Property    UBS AG                                                                                 $     4,649,579.63   Institutional Lender
  109           4750‐52 S Indiana Avenue                                  Estate Property    UBS AG                                                                                 $     4,649,579.63   Institutional Lender
  110       5618‐20 S Martin Luther King Drive                            Estate Property    UBS AG                                                                                 $     4,649,579.63   Institutional Lender
  111             6558 S Vernon Avenue            416‐24 E 66th Street    Estate Property    UBS AG                                                                                 $     4,649,579.63   Institutional Lender
  112              7450 S Luella Avenue           2220 East 75th Street   Estate Property    UBS AG                                                                                 $     4,649,579.63   Institutional Lender
  113            7840‐42 S Yates Avenue                                   Estate Property    UBS AG                                                                                 $     4,649,579.63   Institutional Lender
  76           7635‐43 S East End Avenue                                  Estate Property    Umbrella Investment Partners                                                           $        72,894.00     Investor‐Lender      $    12,833.00
  87               7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    Umbrella Investment Partners                                                           $        72,894.00     Investor‐Lender      $    40,000.00
  95             8201 S Kingston Avenue                                   Estate Property    Umbrella Investment Partners                                                           $        72,894.00     Investor‐Lender      $     5,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Umbrella Investment Partners                                                           $        41,500.00      Equity Investor     $    40,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Umbrella Investment Partners                                                           $        72,894.00     Investor‐Lender      $    12,500.00
   5            7749‐59 S Yates Boulevard                                 Estate Property    United Capital Properties, LLC                                                         $       144,999.00     Investor‐Lender      $       979.00
  75           7625‐33 S East End Avenue                                  Estate Property    United Capital Properties, LLC                                                         $       144,999.00     Investor‐Lender      $     2,303.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    United Capital Properties, LLC                                                         $       144,999.00     Investor‐Lender      $    30,000.00
  84              7051 S Bennett Avenue                                   Estate Property    United Capital Properties, LLC                                                         $       144,999.00     Investor‐Lender      $    36,730.00
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    United Capital Properties, LLC                                                         $       144,999.00     Investor‐Lender      $    11,257.00
  92             7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property    United Capital Properties, LLC                                                         $       144,999.00     Investor‐Lender      $     8,730.00
  904               SSDF4 Legacy Fund                                     Fund               United Capital Properties, LLC                                                         $       144,999.00     Investor‐Lender      $    55,000.00

   3             5001 S Drexel Boulevard            909 E 50th Street     Estate Property    US Freedom Investments, LLC                                                             $      175,500.00    Investor‐Lender       $    17,000.00
  72            7024‐32 S Paxton Avenue                                   Estate Property    US Freedom Investments, LLC                                                             $      175,500.00    Investor‐Lender       $    50,000.00
  73             7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property    US Freedom Investments, LLC                                                             $      175,500.00    Investor‐Lender       $    25,000.00
  78            7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property    US Freedom Investments, LLC                                                             $      175,500.00    Investor‐Lender       $    25,000.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    US Freedom Investments, LLC                                                             $      175,500.00    Investor‐Lender       $    25,000.00
  88           7546‐48 S Saginaw Avenue                                   Estate Property    US Freedom Investments, LLC                                                             $      175,500.00    Investor‐Lender       $     7,500.00
  901                    SSDF1                                            Fund               US Freedom Investments, LLC                                                             $      175,500.00     Equity Investor      $   100,000.00
  904                    SSDF4                                            Fund               US Freedom Investments, LLC                                                             $      175,500.00     Equity Investor      $    32,500.00
 13‐15            2909‐19 E 78th Street                                   Fund               US Freedom Investments, LLC                                                             $      175,500.00    Investor‐Lender       $    25,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue


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Property            Property Address               Alternative Address           Type                                                 Claimant Name                               Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                             (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                                 Amount in Claim           Form            Invested in
                                                                                                                                                                                     Category as                             Property
                                                                                                                                                                                Identified on Claim
                                                                                                                                                                                       Form)
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    Uyen Dinh                                                                           $         15,793.28 Investor‐Lender      $     7,192.81
 13‐15            2909‐19 E 78th Street                                   Fund               Vagmi LLC                                                                           $         27,113.23 Investor‐Lender      $    25,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
 13‐15            2909‐19 E 78th Street                                   Fund               Vagmi LLC                                                                           $       54,058.32    Investor‐Lender     $    50,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
10 to 12        7301‐09 S Stewart Avenue                                  Fund               Vagmi, LLC                                                                          $       55,484.91    Investor‐Lender     $    50,000.00
               7500‐06 S Eggleston Avenue
                  3030‐32 E 79th Street
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Valery Lipenko                                                                      $       50,000.00    Investor‐Lender     $    50,000.00
   2            4533‐47 S Calumet Avenue                                  Estate Property    Vantage Appraisals 401k Profit Sharing Plan Benef Patricia Mueller Dcd              $       81,024.17    Investor‐Lender     $    55,000.00
  904                     SSDF4                                           Fund               Vartan Tarakchyan                                                                   $      415,000.00     Equity Investor    $   415,000.00
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Verdell Michaux                                                                     $       34,000.00     Equity Investor    $     5,000.00
  81           4317‐19 S Michigan Avenue                                  Estate Property    Verdell Michaux                                                                     $       34,000.00     Equity Investor    $     4,000.00
  111             6558 S Vernon Avenue            416‐24 E 66th Street    Estate Property    Verdell Michaux                                                                     $       34,000.00     Equity Investor    $    25,000.00
   3             5001 S Drexel Boulevard           909 E 50th Street      Estate Property    Victor Esposito T/A 2E‐LLC I am the manager member and the sole member of 2E‐LLC    $       50,000.00    Investor‐Lender     $    50,000.00

  902                     SSDF2                                           Fund               Victor Esposito T/A 2E‐LLC I am the manager member and the sole member of 2E‐LLC    $       50,000.00    Equity Investor     $    50,000.00

   3             5001 S Drexel Boulevard            909 E 50th Street     Estate Property    Victor Shaw                                                                        $       296,025.03    Investor‐Lender     $    50,000.00
  78            7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property    Victor Shaw                                                                        $       296,025.03    Investor‐Lender     $    55,000.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Victor Shaw                                                                        $       296,025.03    Investor‐Lender     $    50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Victor Shaw                                                                        $       296,025.03    Investor‐Lender     $    50,000.00
102‐106           7927‐49 S Essex Avenue                                  Estate Property    Victor Shaw                                                                        $       296,025.03    Investor‐Lender     $    30,000.00
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property    Victor Shaw                                                                        $       296,025.03    Investor‐Lender     $    50,000.00
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property    Viren R Patel                                                                      $        50,000.00    Investor‐Lender     $    50,000.00
  83             6356 S California Avenue          2804 W 64th Street     Estate Property    Virginia Lieblein                                                                  $        19,551.16    Investor‐Lender     $    16,698.33
  109           4750‐52 S Indiana Avenue                                  Estate Property    Virginia Lieblein                                                                  $        19,551.16    Investor‐Lender     $     2,852.83
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property    Virginia S Oton                                                                    $         9,710.00    Investor‐Lender     $     9,710.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Vistex Properties LLC                                                              $       107,000.02    Investor‐Lender     $   100,000.00
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Vivek Pingili                                                                      $       150,213.00    Investor‐Lender     $    30,000.00
  126         5201‐5207 W Washington Blvd                                 Former Property    Vivek Pingili                                                                      $       150,213.00    Investor‐Lender     $   130,213.00
   1             1700‐08 Juneway Terrace                                  Estate Property    Vladimir Matviishin                                                                $       290,200.00    Investor‐Lender     $     7,500.00
   2            4533‐47 S Calumet Avenue                                  Estate Property    Vladimir Matviishin                                                                $       290,200.00    Investor‐Lender     $    51,000.00
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Vladimir Matviishin                                                                $       290,200.00    Investor‐Lender     $    14,000.00
  62               7834‐44 S Ellis Avenue                                 Estate Property    Vladimir Matviishin                                                                $       199,075.00    Investor‐Lender     $    50,000.00


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                                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587

Property        Property Address          Alternative Address          Type                                                  Claimant Name                                     Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                          (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                              Amount in Claim            Form            Invested in
                                                                                                                                                                                  Category as                              Property
                                                                                                                                                                             Identified on Claim
                                                                                                                                                                                    Form)
  64        4611‐17 S Drexel Boulevard           SSDF1           Estate Property    Vladimir Matviishin                                                                       $       290,200.00 Investor‐Lender        $     8,000.00
  69           6250 S Mozart Avenue      2832‐36 W 63rd Street   Estate Property    Vladimir Matviishin                                                                       $       290,200.00 Investor‐Lender        $   150,000.00
  71            701‐13 S 5th Avenue           414 Walnut         Estate Property    Vladimir Matviishin                                                                       $       199,075.00 Investor‐Lender        $    55,000.00
  73          7255‐57 S Euclid Avenue    1940‐44 E 73rd Street   Estate Property    Vladimir Matviishin                                                                       $       199,075.00 Investor‐Lender        $    50,000.00
  74          3074 Cheltenham Place        7836 S Shore Drive    Estate Property    Vladimir Matviishin                                                                       $       199,075.00 Investor‐Lender        $    28,075.00
  95          8201 S Kingston Avenue                             Estate Property    Vladimir Matviishin                                                                       $       290,200.00 Investor‐Lender        $    20,000.00
  904                  SSDF4                                     Fund               Vladimir Matviishin                                                                       $         50,000.00   Equity Investor     $    50,000.00
  61        7237‐43 S Bennett Avenue                             Estate Property    Vladimir Matviishin, dba Network Expert                                                   $       165,000.00 Investor‐Lender        $    50,000.00
  62           7834‐44 S Ellis Avenue                            Estate Property    Vladimir Matviishin, dba Network Expert                                                   $       165,000.00 Investor‐Lender        $    50,000.00
  64        4611‐17 S Drexel Boulevard                           Estate Property    Vladimir Matviishin, dba Network Expert                                                   $       165,000.00 Investor‐Lender        $    50,000.00
  73          7255‐57 S Euclid Avenue    1940‐44 E 73rd Street   Estate Property    Vladimir Matviishin, dba Network Expert                                                   $       138,075.00 Investor‐Lender        $    50,000.00
  74          3074 Cheltenham Place       7836 S Shore Drive     Estate Property    Vladimir Matviishin, dba Network Expert                                                   $       138,075.00 Investor‐Lender        $    28,075.00
 96‐99         8326‐58 S Ellis Avenue                            Estate Property    Vladimir Matviishin, dba Network Expert                                                   $       138,075.00 Investor‐Lender        $    50,000.00
   1         1700‐08 Juneway Terrace                             Estate Property    VLADIMIR RAUL GARCIA MELIJOV                                                              $       100,000.00 Investor‐Lender        $   100,000.00
  77       7750‐58 S Muskegon Avenue     2818‐36 E 78th Street   Estate Property    Walter Akita                                                                              $         50,000.00 Investor‐Lender       $    50,000.00
  63        4520‐26 S Drexel Boulevard                           Estate Property    Walter T Akita and Margaret M Akita                                                       $         50,000.00   Equity Investor     $    50,000.00
  74          3074 Cheltenham Place       7836 S Shore Drive     Estate Property    Walter T Akita and Margaret M Akita                                                       $       100,000.00 Investor‐Lender        $    50,000.00
  88        7546‐48 S Saginaw Avenue                             Estate Property    Walter T Akita and Margaret M Akita                                                       $       100,000.00 Investor‐Lender        $    50,000.00
   4         5450‐52 S Indiana Avenue      118‐132 E Garfield    Estate Property    Wanda M. Behling                                                                          $         43,719.00 Investor‐Lender       $    11,219.00
  906                  SSDF6                                     Fund               Wanda M. Behling                                                                          $         43,719.00   Equity Investor     $    11,219.00
 10‐12                  CCF1                                     Fund               Wanda M. Behling                                                                          $         43,719.00   Equity Investor     $    32,500.00
  124         6801 S East End Avenue                             Former Property    Wayne K Larsen                                                                            $       110,000.00    Equity Investor     $   110,000.00
  124         6801 S East End Avenue                             Former Property    Wayne K Larsen Diane Larsen                                                               $       110,000.00    Equity Investor     $   110,000.00
  61        7237‐43 S Bennett Avenue                             Estate Property    Wealth Builders 1, LLC                                                                    $         50,000.00 Investor‐Lender       $    50,000.00
   5        7749‐59 S Yates Boulevard                            Estate Property    Wesley Pittman                                                                            $       180,048.45 Investor‐Lender        $    32,000.00
  56             8209 S Ellis Avenue                             Estate Property    Wesley Pittman                                                                            $       180,048.45 Investor‐Lender        $    70,000.00
  123       7107‐29 S Bennett Avenue                             Former Property    Wesley Pittman                                                                            $       180,048.45 Investor‐Lender
  73          7255‐57 S Euclid Avenue    1940‐44 E 73rd Street   Estate Property    Wesley Pittman (Pittman Gold LLC)                                                         $       180,048.45 Investor‐Lender
  75        7625‐33 S East End Avenue                            Estate Property    Wesley Pittman (Pittman Gold LLC)                                                         $       180,048.45 Investor‐Lender
  87            7508 S Essex Avenue      2453‐59 E 75th Street   Estate Property    Wesley Pittman (Pittman Gold LLC)                                                         $       180,048.45 Investor‐Lender
  92          7748‐52 S Essex Avenue     2450‐52 E 78th Street   Estate Property    Wesley Pittman (Pittman Gold LLC)                                                         $       180,048.45 Investor‐Lender
   5        7749‐59 S Yates Boulevard                            Estate Property    White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),    $       127,152.37 Investor‐Lender        $    50,000.00
                                                                                    Trustees
  60        7026‐42 S Cornell Avenue                             Estate Property    White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),    $      127,152.37    Investor‐Lender      $    83,000.00
                                                                                    Trustees
  63        4520‐26 Drexel Boulevard                             Estate Property    White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),    $       64,634.86     Equity Investor     $    50,000.00
                                                                                    Trustees


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                                                                                                               Master Claims List
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Property            Property Address                Alternative Address             Type                                                 Claimant Name                                     Claimed Amount Claim Category as           Amount
Number                                                                                                                                                                                      (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                                                                          Amount in Claim           Form            Invested in
                                                                                                                                                                                              Category as                             Property
                                                                                                                                                                                         Identified on Claim
                                                                                                                                                                                                Form)
  72            7024‐32 S Paxton Avenue                                      Estate Property    White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),    $       127,152.37 Investor‐Lender       $    83,000.00
                                                                                                Trustees
  88            7546‐48 S Saginaw Avenue                                     Estate Property    White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),    $      127,152.37    Investor‐Lender     $    17,000.00
                                                                                                Trustees
10 to 12                  CCF1                                               Fund               White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),    $       64,634.86     Equity Investor    $    30,000.00
                                                                                                Trustees
  N/A                      N/A                                               Other              Whitley Penn LLP                                                                          $      161,406.22      Trade Creditor
  128             8623‐54 S Ellis Avenue                                     Former Property    Wiegert Tierie                                                                            $      104,000.00     Investor‐Lender    $    10,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    William (Will) J Cook III                                                                 $      100,000.00     Investor‐Lender
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property    William and Janice Halbur                                                                 $       20,000.00     Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    William B. Dreischmeir                                                                                          Investor‐Lender    $    60,000.00
    1           1700‐08 Juneway Terrace                                      Estate Property    William H. Akins, Jr.                                                                    $     1,100,000.00      Equity Investor   $    20,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    William H. Akins, Jr.                                                                    $     1,100,000.00      Equity Investor   $    10,000.00
   61           7237‐43 S Bennett Avenue                                     Estate Property    William H. Akins, Jr.                                                                    $     1,100,000.00      Equity Investor   $    35,000.00
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property    William H. Akins, Jr.                                                                    $     1,100,000.00     Investor‐Lender    $    50,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    William H. Akins, Jr.                                                                    $     1,100,000.00      Equity Investor   $   110,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    William H. Akins, Jr.                                                                    $     1,100,000.00     Investor‐Lender    $   250,000.00
10 to 12                   CCF1                                              Fund               William H. Akins, Jr.                                                                    $     1,100,000.00   Investor‐Lender and $     25,000.00
                                                                                                                                                                                                                 Equity Investor
  85          7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    William H. Akins, Jr.                                                                    $     1,100,000.00      Equity Investor   $    50,000.00
   1            1700‐08 Juneway Terrace                                      Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                                $     1,100,000.00     Investor‐Lender    $    25,000.00
   4           5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                                $     1,100,000.00     Investor‐Lender    $    20,000.00
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                                $     1,100,000.00      Investor‐Lender   $    60,000.00
                                                                                                                                                                                                               and Equity Investor
  61            7237‐43 S Bennett Avenue                                     Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                                $     1,100,000.00     Investor‐Lender    $   100,000.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                                $     1,100,000.00     Investor‐Lender    $    35,000.00
  87               7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                                $     1,100,000.00     Investor‐Lender    $    10,000.00
  94            816‐20 E Marquette Road                                      Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                                $     1,100,000.00     Investor‐Lender    $   250,000.00
   1             1700‐08 Juneway Terrace                                     Estate Property    William Hooper                                                                           $        93,000.00      Equity Investor   $    54,800.00
  904                     SSDF4                                              Fund               William Hooper                                                                           $        93,000.00      Equity Investor   $    93,000.00
   2            4533‐47 S Calumet Avenue                                     Estate Property    William Needham                                                                          $       355,428.00     Investor‐Lender    $   169,500.00
  61            7237‐43 S Bennett Avenue                                     Estate Property    William Needham                                                                          $       355,428.00     Investor‐Lender    $    35,000.00
  62              7834‐44 S Ellis Avenue                                     Estate Property    William Needham                                                                          $       355,428.00     Investor‐Lender    $   200,000.00
  71               701‐13 S 5th Avenue                  414 Walnut           Estate Property    William Needham                                                                          $       355,428.00     Investor‐Lender    $    50,000.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    William Needham                                                                          $       355,428.00     Investor‐Lender    $    25,000.00
  94            816‐20 E Marquette Road                                      Estate Property    William Needham                                                                          $       355,428.00     Investor‐Lender    $     6,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    William S Burk                                                                           $        46,131.08     Investor‐Lender    $    50,000.00


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Property            Property Address               Alternative Address          Type                                                  Claimant Name                                   Claimed Amount Claim Category as            Amount
Number                                                                                                                                                                                 (Total Claimed    Identified on Claim   Claimed to be
                                                                                                                                                                                     Amount in Claim            Form            Invested in
                                                                                                                                                                                         Category as                              Property
                                                                                                                                                                                    Identified on Claim
                                                                                                                                                                                           Form)
   3             5001 S Drexel Boulevard            909 E 50th Street     Estate Property    Wilmington Trust, National Association, As Trustee For the Registered Holders of Wells $      2,879,601.67 Institutional Lender
                                                                                             Fargo Commercial Mortgage Trust 2014‐LC16, Commercial Mortgage Pass‐Through
                                                                                             Certificates, Series 2014‐LC16*
   76          7635‐43 S East End Avenue                                  Estate Property    Winnie Quick Blackwell (née Winnie Jannett Quick)                                       $         11,000.00 Investor‐Lender       $    11,000.00
  130            4511 N Merimac Avenue                                    Former Property    Wisconsin Real Estate Investment Solutions LLC                                          $       101,166.49 Investor‐Lender        $    25,000.00
  132             9531 S Fairfield Avenue                                 Former Property    Wisconsin Real Estate Investment Solutions LLC                                          $       101,166.49 Investor‐Lender        $    50,000.00
   58          5955 S Sacramento Avenue           2948‐56 W 60th Street   Estate Property    Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
   61           7237‐43 S Bennett Avenue                                  Estate Property    Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
   64          4611‐17 S Drexel Boulevard                                 Estate Property    Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
   84             7051 S Bennett Avenue                                   Estate Property    Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
   88          7546‐48 S Saginaw Avenue                                   Estate Property    Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property    Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
   94           816‐20 E Marquette Road                                   Estate Property    Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
  100        11117‐11119 S Longwood Drive                                 Estate Property    Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender        $    50,000.00
  904               SSDF4 Legacy Fund                                     Fund               Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
  937                Mezzazine Fund                                       Fund               Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $       668,979.00 Investor‐Lender
  100        11117‐11119 S Longwood Drive                                 Estate Property    WT Investment Trust (Wiegert Tierie)                                                    $         18,043.99 Investor‐Lender       $    17,350.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Xiaoqing Chen                                                                           $         11,408.33 Investor‐Lender       $    10,000.00
    1           1700‐08 Juneway Terrace                                   Estate Property    XUWEN LIN                                                                               $         58,700.00 Investor‐Lender       $     8,700.00
   71              701‐13 S 5th Avenue                 414 Walnut         Estate Property    XUWEN LIN                                                                               $         58,700.00 Investor‐Lender       $    16,521.00
   84             7051 S Bennett Avenue                                   Estate Property    XUWEN LIN                                                                               $         58,700.00 Investor‐Lender       $     8,523.00
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property    XUWEN LIN                                                                               $         58,700.00 Investor‐Lender       $    24,956.00
  904                     SSDF4                                           Fund               Yanicque Michaux                                                                        $         20,000.00   Equity Investor     $    20,000.00
   60           7026‐42 S Cornell Avenue                                  Estate Property    Yaron Fisher                                                                            $       130,193.00 Investor‐Lender        $    11,263.00
  133             4109 N Kimball Avenue                                   Former Property    Yaron Fisher                                                                            $       130,193.00 Investor‐Lender        $     5,203.00
13 to 15                   CCF2                                           Fund               Yaron Fisher                                                                            $       130,193.00 Investor‐Lender        $   108,617.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Yin Liu, Ping Xu                                                                        $       300,000.00 Investor‐Lender        $   200,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Yin Liu, Ping Xu                                                                        $       300,000.00 Investor‐Lender        $   100,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Yin Liu, Ping Xu                                                                        $       150,000.00    Equity Investor     $   100,000.00
   67              1131‐41 E 79th Place                                   Estate Property    Ying Xu (Brainwave Investments)                                                         $       126,625.00 Investor‐Lender
10 to 12                   CCF1                                           Fund               Ying Xu (Brainwave Investments)                                                         $       126,625.00 Investor‐Lender
   61           7237‐43 S Bennett Avenue                                  Estate Property    Young Family Trust                                                                      $       115,000.00 Investor‐Lender        $    30,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Young Family Trust                                                                      $       115,000.00 Investor‐Lender        $    40,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property    Young Family Trust                                                                      $       115,000.00 Investor‐Lender        $    45,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property    Yvette Nazaire Camacho                                                                  $         30,000.00 Investor‐Lender       $    30,000.00


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                                                                                    Exhibit 8
                                                                                                  Master Claims List
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Property         Property Address         Alternative Address         Type                                                  Claimant Name     Claimed Amount Claim Category as           Amount
Number                                                                                                                                         (Total Claimed   Identified on Claim   Claimed to be
                                                                                                                                             Amount in Claim           Form            Invested in
                                                                                                                                                 Category as                             Property
                                                                                                                                            Identified on Claim
                                                                                                                                                   Form)
  61         7237‐43 S Bennett Avenue                           Estate Property    Yvette Sahai                                              $         47,048.08 Investor‐Lender
  126      5201‐5207 W Washington Blvd                          Former Property    Yvette Sahai                                              $         47,048.08 Investor‐Lender      $    28,780.00
   1         1700‐08 Juneway Terrace                            Estate Property    Zahra (Nina) Mofrad                                       $         75,000.00 Investor‐Lender      $    25,000.00
  62           7834‐44 S Ellis Avenue                           Estate Property    Zahra (Nina) Mofrad                                       $         75,000.00 Investor‐Lender      $    75,000.00
  84          7051 S Bennett Avenue                             Estate Property    ZIN INVESTMENTS LLC ‐ c/o WILLIAM J. IANNAZZI             $       402,500.00 Investor‐Lender       $   350,000.00
  123        7107‐29 S Bennett Avenue                           Former Property    ZIN INVESTMENTS LLC ‐ c/o WILLIAM J. IANNAZZI             $         83,178.85 Investor‐Lender      $   108,766.67
  100      11117‐11119 S Longwood Drive                         Estate Property    Zouhair and Nada Stephan                                  $       300,000.00 Investor‐Lender       $   150,000.00
102‐106       7927‐49 S Essex Avenue                            Estate Property    Zouhair and Nada Stephan                                  $       300,000.00 Investor‐Lender       $   150,000.00




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